                  Case 8:24-bk-12738-TA             Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                Desc
                                                    Main Document    Page 1 of 1415


                          1    Monique D. Jewett-Brewster, State Bar No. 217792
                               mjb@lathropgpm.com
                          2    LATHROP GPM LLP
                               70 South First Street
                          3    San Jose, CA 95113
                               mailing address:
                          4    P.O. Box 1469
                               San Jose, CA 95109-1469
                          5    Telephone: 408.286.9800
                               Facsimile: 408.998.4790
                          6
                               Benjamin C. Struby, MO State Bar No. 56711
                          7    benjamin.struby@lathropgpm.com
                               LATHROP GPM LLP
                          8    2345 Grand Blvd., Suite 2200
                               Kansas City, MO 64108-2618
                          9    Telephone: 816.292.2000
                               (admitted pro hac vice)
                     10
                               Attorneys for Del Taco LLC, a California limited
                     11        liability company

                     12                                 UNITED STATES BANKRUPTCY COURT
                     13
                                                         CENTRAL DISTRICT OF CALIFORNIA
                     14
                                                                  SANTA ANA DIVISION
                     15
                               In re:                                              Case No. 8:24-bk-12738-TA
                     16                                                            Chapter 11
                               Newport Ventures LLC
                     17                                                            APPLICATION FOR ORDER
                                                                                   SHORTENING TIME FOR
                     18                                                            EMERGENCY HEARING ON
                                                                                   RENEWED MOTION FOR RELIEF
                     19                                                            FROM THE AUTOMATIC STAY
                     20                                                            Date: TBD
                                                                                   Time: __:__ _.m.
                     21                                                            Place: Via ZoomGov Video and Audio
                                                                                   Judge: Hon. Theodor Albert
                     22

                     23

                     24

                     25

                     26

                     27

                     28
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                      -1-                                 8:24-bk-12738-TA
                              APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON RENEWED MOTION FOR RELIEF FROM THE
                              AUTOMATIC STAY
                  Case 8:24-bk-12738-TA             Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                  Desc
                                                    Main Document    Page 2 of 1415


                          1           Franchisor Del Taco LLC (“Del Taco”) by and through its undersigned counsel, hereby

                          2   filed this Application for Order Shortening Time for Emergency Hearing on Renewed Motion for

                          3   Relief from the Automatic Stay, (this “Application”). As identified below, circumstances with

                          4   Debtor Newport Venture, LLC (the “Debtor”) have changed and the Chief Restructuring Officer

                          5   appointed by the Court has closed all eighteen (18) restaurants (the “Restaurants”) effective

                          6   February 27, 2025. Granting relief from the automatic stay will allow Del Taco to exercise its

                          7   rights to take possession of and operate the Restaurants to preserve its brand and image.

                          8   Furthermore, granting relief from the automatic stay will allow Del Taco or one of its franchisees

                          9   to step in immediately to work to retain and pay employees at the locations at a cost to someone

                     10       other than the bankruptcy estate, which will in turn result in less hardship on those frontline

                     11       employees who suddenly find themselves jobless.

                     12       I.      STATEMENT OF FACTS
                     13               A.     Background
                     14               On December 11, 2024 Del Taco filed its Motion for Relief and papers in support (the

                     15       “Motion for Relief”) [ECF. 160]. A true and correct copy of the Motion for Relief and its exhibits

                     16       are attached hereto and incorporated by this reference as Exhibit A. On December 23, 2024, Debtor

                     17       filed its Response to the Motion for Relief (the “Response”)[ECF. 171]. On December 31, 2024,

                     18       Del Taco filed it Reply to Debtor’s Response to the Motion for Relief (the “Reply”) [ECF. 177].

                     19       The Court heard argument on the Motion for Relief, the Response, and the Reply on January 7,

                     20       2025. The Court denied the Motion without prejudice to renewal and reset the hearing for March

                     21       26, 2025. See ECF. 191. That hearing date was later continued by the Court sua sponte to April 9,

                     22       2025.

                     23               After arguments on the Motion for Relief, on February 10, 2025 Debtor filed an Emergency

                     24       Consensual Motion for Entry of Agreed Order Appointing Chief Restructuring Officer [ECF. 243],

                     25       which was granted by order dated February 12, 2025 (the “CRO Order”) [ECF. 244]. The CRO

                     26       Order appointed Allen Soong (the “CRO”) of Paladin Management Group, LLC as the chief

                     27       restructuring officer. The CRO took control of the Restaurants shortly thereafter.

                     28
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                      -2-                                   8:24-bk-12738-TA
                               APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON RENEWED MOTION FOR RELIEF FROM THE
                               AUTOMATIC STAY
                  Case 8:24-bk-12738-TA             Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                Desc
                                                    Main Document    Page 3 of 1415


                          1          B.      Cause Exists for Shortening Time for an Emergency Hearing on the Motion

                          2                  for Relief

                          3          As a preliminary matter, the cause for relief identified in the Motion for Relief and Reply

                          4   still exists. This Application is supported by the Declaration of Jack Tang, Vice President and In-

                          5   House Counsel for Del Taco and the Application of Benjamin Struby, counsel of Del Taco in this

                          6   proceedings, attached hereto and incorporated by this reference as Exhibit B and Exhibit C,

                          7   respectively. Unfortunately, the situation with the Debtor has become dire such that the Court

                          8   should consider the Motion for Relief now, versus waiting until the continued hearing date of April

                          9   9, 2025. On February 27, 2025 at 1:01 a.m. PST, the CRO informed Del Taco via email that he

                     10       was closing the Restaurants effective that day:

                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26              As set forth in the email, the Debtor’s secured lender informed the CRO that it would not

                     27       fund the Debtor’s operations any further and that without such funding the CRO had to cease

                     28       operations.
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                         -3-                              8:24-bk-12738-TA
                               APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON RENEWED MOTION FOR RELIEF FROM THE
                               AUTOMATIC STAY
                  Case 8:24-bk-12738-TA              Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                 Desc
                                                     Main Document    Page 4 of 1415


                          1          Consistent with that message, the CRO and/or the Debtor caused the following

                          2   communication to be distributed to employees at the Restaurants, advising them that their position

                          3   are eliminated as of the end of the work day on February 27, 2025:

                          4

                          5

                          6

                          7

                          8

                          9

                     10

                     11

                     12

                     13

                     14

                     15

                     16

                     17              Additionally, notices were, or will be, posted at the Restaurants with the following message

                     18       to customers:

                     19

                     20

                     21

                     22

                     23

                     24              Finally, it has been reported to Del Taco, and confirmed by the CRO, that the CRO has

                     25       instructed employees to dispose of food which was just delivered to the Restaurants yesterday,

                     26       February 26, 2025. Relatedly, the food vendor has informed Del Taco’s counsel that it is ceasing

                     27       deliveries. In short, the closures are actually happening – this is not posturing.

                     28
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                        -4-                                 8:24-bk-12738-TA
                               APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON RENEWED MOTION FOR RELIEF FROM THE
                               AUTOMATIC STAY
                  Case 8:24-bk-12738-TA             Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                 Desc
                                                    Main Document    Page 5 of 1415


                          1          The closure of the Restaurants constitutes cause to hear the Motion for Relief on an

                          2   expedited basis, as does the fact that the Debtor no longer has the financial support necessary to

                          3   fund the Restaurants’ operations. Closure of the Restaurants and delay in replacing Debtor/the

                          4   CRO as operator will cause harm to Del Taco and its brand and image. However if the Motion for

                          5   Relief is heard on an emergency basis and granted, Del Taco can work to mitigate that harm, and

                          6   at the same time minimize the hardship that employees at the Restaurants will experience. Although

                          7   Del Taco has requested that Debtor consent to relief via an agreed order granting the Motion for

                          8   Relief so that Del Taco can take the steps identified above, as of this filing it did not have such

                          9   consent.

                     10       II.    CONCLUSION
                     11              WHEREFORE, Del Taco requests this Court grant this Application for an expedited hearing

                     12       on Del Taco’s renewed Motion for Relief from the Automatic Stay, that the Court hear the Motion

                     13       for Relief as soon as possible, that the relief requested in the Motion for Relief be granted and for

                     14       such other and further relief as this Court deems just and proper.

                     15
                               Dated: February 27, 2025                     LATHROP GPM LLP
                     16

                     17                                                     By: /s/ Monique D. Jewett-Brewster
                                                                            Monique D. Jewett-Brewster, State Bar No. 217792
                     18                                                     mjb@lathropgpm.com
                                                                            LATHROP GPM LLP
                     19                                                     70 South First Street
                                                                            San Jose, CA 95113
                     20                                                     Telephone: 408.286.9800
                     21                                                     And
                     22                                                     By:/s/ Benjamin C. Struby
                                                                            Benjamin C. Struby, MO State Bar No. 56711
                     23                                                     benjamin.struby@lathropgpm.com
                                                                            LATHROP GPM LLP
                     24                                                     2345 Grand Blvd., Suite 2200
                                                                            Kansas City, MO 64108-2618
                     25                                                     Telephone: 816.292.2000
                                                                            Admitted pro hac vice
                     26
                                                                            Attorneys for Del Taco LLC,
                     27                                                     a California limited liability company
                     28
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                       -5-                                 8:24-bk-12738-TA
                               APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON RENEWED MOTION FOR RELIEF FROM THE
                               AUTOMATIC STAY
Case 8:24-bk-12738-TA   Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49   Desc
                        Main Document    Page 6 of 1415




               Exhibit A
        Case 8:24-bk-12738-TA                     Doc 267
                                                      166 Filed 02/27/25
                                                                12/12/24 Entered 02/27/25
                                                                                   12/12/24 16:15:49
                                                                                            15:46:22                                     Desc
                                                  Main
                                                   MainDocument
                                                        Document Page
                                                                    Page71ofof1415
                                                                               10


 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

Monique D. Jewett-Brewster, State Bar No. 217792
mjb@lathropgpm.com
LATHROP GPM LLP
70 South First Street
San Jose, CA 95113
mailing address:
P.O. Box 1469
San Jose, CA 95109-1469
Telephone: 408.286.9800
Facsimile: 408.998.4790

Benjamin C. Struby, MO State Bar No. 56711
benjamin.struby@lathropgpm.com
LATHROP GPM LLP
2345 Grand Blvd., Suite 2200
Kansas City, MO 64108-2618
Telephone: 816.292.2000
(admitted pro hac vice)




     Individual appearing without attorney
     Attorney for: Del Taco LLC, a California Limited
     Liability Company
                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:24-bk-12738-TA
 Newport Ventures LLC
                                                                              CHAPTER: 11

                                                                                   AMENDED NOTICE OF MOTION AND
                                                                                     MOTION FOR RELIEF FROM THE
                                                                                 AUTOMATIC STAY UNDER 11 U.S.C. § 362
                                                                                      (with supporting declarations)
                                                                                (ACTION IN NONBANKRUPTCY FORUM)

                                                                              DATE: January 7. 2025
                                                                              TIME: 10:30 a.m.
                                                                              COURTROOM: Via ZoomGov Video and Audio
                                                              Debtor(s).                     411 West Fourth Street
                                                                                             Suite 5085 / Courtroom 5B
 Movant: Del Taco LLC, a California Limited Liability Company




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 2                                F 4001-1.RFS.NONBK.MOTION
          Case 8:24-bk-12738-TA                   Doc 267
                                                      166 Filed 02/27/25
                                                                12/12/24 Entered 02/27/25
                                                                                   12/12/24 16:15:49
                                                                                            15:46:22                                     Desc
                                                  Main
                                                   MainDocument
                                                        Document Page
                                                                    Page82ofof1415
                                                                               10

1. Hearing Location:
          255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
          21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
          3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.

4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)      and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: December 12, 2024                                                       Lathrop GPM LLP
                                                                                    Printed name of law firm (if applicable)

                                                                                   Monique D. Jewett-Brewster
                                                                                    Printed name of individual Movant or attorney for Movant



                                                                                   /s/ Monique D. Jewett-Brewster
                                                                                    Signature of individual Movant or attorney for Movant




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 2                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA                    Doc 267
                                                      166 Filed 02/27/25
                                                                12/12/24 Entered 02/27/25
                                                                                   12/12/24 16:15:49
                                                                                            15:46:22                                     Desc
                                                  Main
                                                   MainDocument
                                                        Document Page
                                                                    Page93ofof1415
                                                                               10

      MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION

1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify):

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action) involving
   the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action:
    b. Docket number:
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:

    d. Causes of action or claims for relief (Claims):

3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                        7        11    12        13
               was filed on (date) October 26, 2024     .

    b.         An order to convert this case to chapter                    7   11       12       13
               was entered on (date)                                   .

    c.         A plan was confirmed on (date)                                       .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                  Page 3                                F 4001-1.RFS.NONBK.MOTION
          Case 8:24-bk-12738-TA                   Doc 267
                                                       166 Filed 02/27/25
                                                                 12/12/24 Entered 02/27/25
                                                                                    12/12/24 16:15:49
                                                                                             15:46:22                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page104of
                                                                             of1415
                                                                                10

     f.        The bankruptcy case was filed in bad faith.

               (1)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (2)       The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                         with the Nonbankruptcy Action.
               (3)       Multiple bankruptcy cases affect the Nonbankruptcy Action.
               (4)       The Debtor filed only a few case commencement documents. No schedules or statement of financial
                         affairs (or chapter 13 plan, if appropriate) has been filed.

     g.        Other (specify): Movant seeks relief from the automatic stay to permit enforcement of its post-termination
               rights under Franchise Agreements with the Debtor, including, without limitation, enjoining the Debtor from
               using or infringing Del Taco’s Proprietary Marks, compelling assignment of any real-estate leases for the
               restaurants that Del Taco requests assignment of and the surrender of the restaurants’ premises to Del Taco
               so it can take control over assignment of the franchise locations and protect its brand.

5.   Grounds for Annulment of Stay.

     a.        The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.

     b.        Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
               Exhibit.     .

     c.        Other (specify):


6. Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
   under penalty of perjury and attached to this motion.)

     a.        The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.        Supplemental declaration(s).

     c.        The statements made by Debtor under penalty of perjury concerning Movant’s claims as set forth in Debtor’s
               case commencement documents. Authenticated copies of the relevant portions of the Debtor’s case
               commencement documents are attached as Exhibit.         .

     d.        Other evidence (specify):


7.        An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1. Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.        Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
          the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
          against the Debtor or property of the Debtor’s bankruptcy estate.

3.        The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
          Nonbankruptcy Action shall not constitute a violation of the stay.


            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 4                                F 4001-1.RFS.NONBK.MOTION
           Case 8:24-bk-12738-TA                     Doc 267
                                                          166 Filed 02/27/25
                                                                    12/12/24 Entered 02/27/25
                                                                                       12/12/24 16:15:49
                                                                                                15:46:22                                    Desc
                                                     Main
                                                      MainDocument
                                                            Document Page
                                                                        Page115of
                                                                                of1415
                                                                                   10

   4.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified, or annulled as to the co-debtor,
           on the same terms and condition as to the Debtor.

   5.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

   6.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
           days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

   7.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
           notice

   8.      Other relief requested.




Date: December 12, 2024                                                 Lathrop GPM LLP
                                                                                Printed name of law firm (if applicable)

                                                                        Monique D. Jewett-Brewster
                                                                        Printed name of individual Movant or attorney for Movant

                                                                        /s/ Monique D. Jewett-Brewster
                                                                        Signature of individual Movant or attorney for Movant




               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

   June 2014                                                                 Page 5                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA                    Doc 267
                                                       166 Filed 02/27/25
                                                                 12/12/24 Entered 02/27/25
                                                                                    12/12/24 16:15:49
                                                                                             15:46:22                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page126of
                                                                             of1415
                                                                                10

                             DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
I, (name of Declarant)                                                                                                    , declare as follows:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

         I am the Movant.
         I am Movant’s attorney of record in the Nonbankruptcy Action.
         I am employed by Movant as (title and capacity):
         Other (specify):

2. I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
   to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
   I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
   Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
   in the ordinary course of Movant’s business at or near the time of the acts, conditions or events to which they relate.
   Any such document was prepared in the ordinary course of business of Movant by a person who had personal
   knowledge of the event being recorded and had or has a business duty to record accurately such event. The
   business records are available for inspection and copies can be submitted to the court if required.

3. In the Nonbankruptcy Action, Movant is:

         Plaintiff
         Defendant
         Other (specify):

4. The Nonbankruptcy Action is pending as:

    a. Name of Nonbankruptcy Action:
    b. Docket number:
    c. Nonbankruptcy court or agency where Nonbankruptcy Action is pending:


5. Procedural Status of Nonbankruptcy Action:

    a. The Claims are:

    b. True and correct copies of the documents filed in the Nonbankruptcy

    c.   The Nonbankruptcy Action was filed on (date)                                 .

    d. Trial or hearing began/is scheduled to begin on (date) N/A                               .

    e. The trial or hearing is estimated to require N/A days (specify).

    f.   Other plaintiffs in the Nonbankruptcy Action are (specify):
         None.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 6                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA                    Doc 267
                                                       166 Filed 02/27/25
                                                                 12/12/24 Entered 02/27/25
                                                                                    12/12/24 16:15:49
                                                                                             15:46:22                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page137of
                                                                             of1415
                                                                                10

    g. Other defendants in the Nonbankruptcy Action are (specify):
       None.


6. Grounds for relief from stay:

    a.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    b.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate,
               except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary
               complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.

    c.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate. The insurance carrier and policy number
               are (specify):



    d.         The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
               (1)         It is currently set for trial on (date)                      .
               (2)        It is in advanced stages of discovery and Movant believes that it will be set for trial by
                          (date)                 . The basis for this belief is (specify):



               (3)         The Nonbankruptcy Action involves non-debtor parties and a single trial in the nonbankruptcy forum
                           is the most efficient use of judicial resources.

    e.         The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
               Nonbankruptcy Action.

               (1)         Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                           commencement documents.

               (2)         The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                           the Nonbankruptcy Action based upon the following facts (specify):




               (3)         Multiple bankruptcy cases affecting the Property include:

                     (A) Case name:
                         Case number:                                     Chapter:
                         Date filed:                        Date discharged:                           Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                      was         was not granted.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 7                                F 4001-1.RFS.NONBK.MOTION
            Case 8:24-bk-12738-TA                   Doc 267
                                                         166 Filed 02/27/25
                                                                   12/12/24 Entered 02/27/25
                                                                                      12/12/24 16:15:49
                                                                                               15:46:22                                    Desc
                                                    Main
                                                     MainDocument
                                                           Document Page
                                                                       Page148of
                                                                               of1415
                                                                                  10

                      (B) Case name:
                          Case number:                                      Chapter:
                          Date filed:                         Date discharged:                           Date dismissed:
                            Relief from stay regarding this Nonbankruptcy Action                     was        was not granted.

                      (C) Case name:
                          Case number:                                     Chapter:
                          Date filed:                        Date discharged:                           Date dismissed:
                            Relief from stay regarding this Nonbankruptcy Action                     was         was not granted.
                           See attached continuation page for information about other bankruptcy cases affecting the
                           Nonbankruptcy Action.
                           See attached continuation page for additional facts establishing that this case was filed in bad faith.
       f.        See attached continuation page for other facts justifying relief from stay.

  7.        Actions taken in the Nonbankruptcy Action after the bankruptcy petition was filed are specified in the attached
            supplemental declaration(s).

       a.        These actions were taken before Movant knew the bankruptcy petition had been filed, and Movant would
                 have been entitled to relief from stay to proceed with these actions.
       b.        Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                 with the Nonbankruptcy Action enforcement actions in prior bankruptcy cases affecting the Property as set
                 forth in Exhibit
       c.        For other facts justifying annulment, see attached continuation page.


  I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




Date                          Printed name                                                    Signature




              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

  June 2014                                                                 Page 8                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA                     Doc 267
                                                        166 Filed 02/27/25
                                                                  12/12/24 Entered 02/27/25
                                                                                     12/12/24 16:15:49
                                                                                              15:46:22                                    Desc
                                                   Main
                                                    MainDocument
                                                          Document Page
                                                                      Page159of
                                                                              of1415
                                                                                 10

                                           PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Lathrop GPM LLP, 70 S. 1st Street, San Jose, CA 95113

 A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
 THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (ACTION IN NONBANKRUPTCY
 FORUM)

 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
 the manner stated below:




 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
 December 12, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
 the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
 below:
     • Donald H Cram dhc@severson.com, cas@severson.com
     • Evelina Gentry evelina.gentry@akerman.com, rob.diwa@akerman.com;reyko.delpino@akerman.com
     • Monique D Jewett-Brewster mjb@lathropgpm.com, natalie.gonzalez@lathropgpm.com
     • Steven M Kries skries@acc.capital
     • Leib M Lerner leib.lerner@alston.com, autodockettest-lax@alston.com;Melanie.mizrahie@alston.com
     • Mark S Lichtenstein mark.lichtenstein@akerman.com, reyko.delpino@akerman.com
     • Kenneth Misken Kenneth.M.Misken@usdoj.gov
     • David W Parham david.parham@akerman.com, teresa.barrera@akerman.com;cindy.ferguson@akerman.com
     • Lisa M Peters lisa.peters@kutakrock.com, marybeth.brukner@kutakrock.com
     • Laura Taveras laura.taveras@akerman.com
     • United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     • Brian J Wagner brian.wagner@kutakrock.com, mary.clark@kutakrock.com

                                                                                              Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On December 12, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

                                                                                              Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2024, I served the following persons
 and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method),
 by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on,
 or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                              Service information continued on attached page


 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 12, 2024            Natalie D. Gonzalez
Date                          Printed Name                                                    Signature


             This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 June 2014                                                                 Page 9                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA      Doc 267
                                         166 Filed 02/27/25
                                                   12/12/24 Entered 02/27/25
                                                                       12/12/24 16:15:49
                                                                                15:46:22   Desc
                                    Main
                                     MainDocument
                                          Document PagePage16
                                                            10ofof1415
                                                                   10
8:24-bk-12738-TA
Newport Ventures, LLC
                                          PARTIES SERVED BY
                                          UNITED STATES MAIL




                                                 DEBTOR
     Newport Ventures, LLC                     Evelina Gentry                  Mark S Lichtenstein
     Atten: Managing Agent                  633 West Fifth Street        1251 Avenue of the Americas 37th
   1442 E Lincoln Ave Ste 363                    Suite 6400                             Fl
       Orange, CA 92865                    Los Angeles, CA 90071                  XXX-XX-XXXX
                                                                               New York, NY 10020
        David W Parham                        Leah S Siaontz                     Steven M Kries
  2001 Ross Avenue, Suite 3600            Three Brickell City Centre         American Colonial Capital
        Dallas, TX 75201              98 Southeast Seventh St Ste 1100          8059 S. Elk Way
                                              Miami, FL 33131                  Aurora, CO 80016


         Laura Taveras
  2001 Ross Avenue, Suite 3600
        Dallas, TX 75201




                                        20 LARGEST UNSECURED
                                                CREDITORS
       Colorado Comfort Air                     Envysion Inc.                 Heritage Advisors LLC
   Attn: Managing Officer/Agent         Attn: Managing Officer/Agent       Attn: Managing Officer/Agent
          P.O. Box 1962                       PO BOX 669142                1500 East Bethany Home Rd
    Commerce City, CO 80037                Dallas, TX 75266-9142                    Suite 250
                                                                                Phoenix, AZ 85014
      NCR Voyix Corporation            New Horizon Communications             Scape Sol Landscaping
   Attn: Managing Officer/Agent        Attn: Managing Officer/Agent        Attn: Managing Officer/Agent
         P.O. Box 198775                     P.O. Box 981073                 4331 W. Wagon Trail Dr.
     Atlanta, GA 30384-8755              Boston, MA 02298-1073               Denver, CA 80123-1674



                                             OTHER PARTIES

   Auxilior Capital Partners, Inc            Shahvand Aryana                      Kathy Aryana
  Atten: Managing Officer/Agent         1442 Lincoln Ave., Suite 363           14507 W. Christy Dr.
 620 W Germantown Pk Ste 450                Orange, CA 92865                    Surprise, AZ 85379
Plymouth Meeting, IL 60674-0520


           Ernie Abarro                       Leah S Siaontz
  1442 E. Lincoln Ave., Suite 363         Three Brickell City Centre
       Orange, CA 92865               98 Southeast Seventh St Ste 1100
                                              Miami, FL 33131
        Case 8:24-bk-12738-TA                     Doc 267
                                                       160 Filed 02/27/25
                                                                 12/11/24 Entered 02/27/25
                                                                                    12/11/24 16:15:49
                                                                                             08:22:36                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page171of
                                                                             of1415
                                                                                10


 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

Monique D. Jewett-Brewster, State Bar No. 217792
mjb@lathropgpm.com
LATHROP GPM LLP
70 South First Street
San Jose, CA 95113
mailing address:
P.O. Box 1469
San Jose, CA 95109-1469
Telephone: 408.286.9800
Facsimile: 408.998.4790

Benjamin C. Struby, MO State Bar No. 56711
benjamin.struby@lathropgpm.com
LATHROP GPM LLP
2345 Grand Blvd., Suite 2200
Kansas City, MO 64108-2618
Telephone: 816.292.2000
(admitted pro hac vice)




     Individual appearing without attorney
     Attorney for: Del Taco LLC, a California Limited
     Liability Company
                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:24-bk-12738-TA
 Newport Ventures LLC
                                                                              CHAPTER: 11

                                                                                    NOTICE OF MOTION AND MOTION FOR
                                                                                    RELIEF FROM THE AUTOMATIC STAY
                                                                                           UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
                                                                                   (ACTION IN NONBANKRUPTCY FORUM)

                                                                              DATE: January 7. 2024
                                                                              TIME: 10:30 a.m.
                                                                              COURTROOM: Via ZoomGov Video and Audio
                                                              Debtor(s).                     411 West Fourth Street
                                                                                             Suite 5085 / Courtroom 5B
 Movant: Del Taco LLC, a California Limited Liability Company




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 2                                F 4001-1.RFS.NONBK.MOTION
          Case 8:24-bk-12738-TA                   Doc 267
                                                       160 Filed 02/27/25
                                                                 12/11/24 Entered 02/27/25
                                                                                    12/11/24 16:15:49
                                                                                             08:22:36                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page182of
                                                                             of1415
                                                                                10

1. Hearing Location:
          255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
          21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
          3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.

4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)      and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: December 11, 2024                                                       Lathrop GPM LLP
                                                                                    Printed name of law firm (if applicable)

                                                                                   Monique D. Jewett-Brewster
                                                                                    Printed name of individual Movant or attorney for Movant



                                                                                   /s/ Monique D. Jewett-Brewster
                                                                                    Signature of individual Movant or attorney for Movant




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 2                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA                    Doc 267
                                                       160 Filed 02/27/25
                                                                 12/11/24 Entered 02/27/25
                                                                                    12/11/24 16:15:49
                                                                                             08:22:36                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page193of
                                                                             of1415
                                                                                10

      MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION

1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify):

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action) involving
   the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action:
    b. Docket number:
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:

    d. Causes of action or claims for relief (Claims):

3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                        7        11    12        13
               was filed on (date) October 26, 2024     .

    b.         An order to convert this case to chapter                    7   11       12       13
               was entered on (date)                                   .

    c.         A plan was confirmed on (date)                                       .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                  Page 3                                F 4001-1.RFS.NONBK.MOTION
          Case 8:24-bk-12738-TA                   Doc 267
                                                       160 Filed 02/27/25
                                                                 12/11/24 Entered 02/27/25
                                                                                    12/11/24 16:15:49
                                                                                             08:22:36                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page204of
                                                                             of1415
                                                                                10

     f.        The bankruptcy case was filed in bad faith.

               (1)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (2)       The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                         with the Nonbankruptcy Action.
               (3)       Multiple bankruptcy cases affect the Nonbankruptcy Action.
               (4)       The Debtor filed only a few case commencement documents. No schedules or statement of financial
                         affairs (or chapter 13 plan, if appropriate) has been filed.

     g.        Other (specify): Movant seeks relief from the automatic stay to permit enforcement of its post-termination
               rights under Franchise Agreements with the Debtor, including, without limitation, enjoining the Debtor from
               using or infringing Del Taco’s Proprietary Marks, compelling assignment of any real-estate leases for the
               restaurants that Del Taco requests assignment of and the surrender of the restaurants’ premises to Del Taco
               so it can take control over assignment of the franchise locations and protect its brand.

5.   Grounds for Annulment of Stay.

     a.        The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.

     b.        Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
               Exhibit.     .

     c.        Other (specify):


6. Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
   under penalty of perjury and attached to this motion.)

     a.        The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.        Supplemental declaration(s).

     c.        The statements made by Debtor under penalty of perjury concerning Movant’s claims as set forth in Debtor’s
               case commencement documents. Authenticated copies of the relevant portions of the Debtor’s case
               commencement documents are attached as Exhibit.         .

     d.        Other evidence (specify):


7.        An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1. Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.        Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
          the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
          against the Debtor or property of the Debtor’s bankruptcy estate.

3.        The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
          Nonbankruptcy Action shall not constitute a violation of the stay.


            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 4                                F 4001-1.RFS.NONBK.MOTION
           Case 8:24-bk-12738-TA                     Doc 267
                                                          160 Filed 02/27/25
                                                                    12/11/24 Entered 02/27/25
                                                                                       12/11/24 16:15:49
                                                                                                08:22:36                                    Desc
                                                     Main
                                                      MainDocument
                                                            Document Page
                                                                        Page215of
                                                                                of1415
                                                                                   10

   4.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified, or annulled as to the co-debtor,
           on the same terms and condition as to the Debtor.

   5.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

   6.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
           days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

   7.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
           notice

   8.      Other relief requested.




Date: December 11, 2024                                                 Lathrop GPM LLP
                                                                                Printed name of law firm (if applicable)

                                                                        Monique D. Jewett-Brewster
                                                                        Printed name of individual Movant or attorney for Movant

                                                                        /s/ Monique D. Jewett-Brewster
                                                                        Signature of individual Movant or attorney for Movant




               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

   June 2014                                                                 Page 5                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA                    Doc 267
                                                       160 Filed 02/27/25
                                                                 12/11/24 Entered 02/27/25
                                                                                    12/11/24 16:15:49
                                                                                             08:22:36                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page226of
                                                                             of1415
                                                                                10

                             DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
I, (name of Declarant)                                                                                                    , declare as follows:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

         I am the Movant.
         I am Movant’s attorney of record in the Nonbankruptcy Action.
         I am employed by Movant as (title and capacity):
         Other (specify):

2. I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
   to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
   I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
   Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
   in the ordinary course of Movant’s business at or near the time of the acts, conditions or events to which they relate.
   Any such document was prepared in the ordinary course of business of Movant by a person who had personal
   knowledge of the event being recorded and had or has a business duty to record accurately such event. The
   business records are available for inspection and copies can be submitted to the court if required.

3. In the Nonbankruptcy Action, Movant is:

         Plaintiff
         Defendant
         Other (specify):

4. The Nonbankruptcy Action is pending as:

    a. Name of Nonbankruptcy Action:
    b. Docket number:
    c. Nonbankruptcy court or agency where Nonbankruptcy Action is pending:


5. Procedural Status of Nonbankruptcy Action:

    a. The Claims are:

    b. True and correct copies of the documents filed in the Nonbankruptcy

    c.   The Nonbankruptcy Action was filed on (date)                                 .

    d. Trial or hearing began/is scheduled to begin on (date) N/A                               .

    e. The trial or hearing is estimated to require N/A days (specify).

    f.   Other plaintiffs in the Nonbankruptcy Action are (specify):
         None.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 6                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA                    Doc 267
                                                       160 Filed 02/27/25
                                                                 12/11/24 Entered 02/27/25
                                                                                    12/11/24 16:15:49
                                                                                             08:22:36                                    Desc
                                                  Main
                                                   MainDocument
                                                         Document Page
                                                                     Page237of
                                                                             of1415
                                                                                10

    g. Other defendants in the Nonbankruptcy Action are (specify):
       None.


6. Grounds for relief from stay:

    a.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    b.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate,
               except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary
               complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.

    c.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate. The insurance carrier and policy number
               are (specify):



    d.         The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
               (1)         It is currently set for trial on (date)                      .
               (2)        It is in advanced stages of discovery and Movant believes that it will be set for trial by
                          (date)                 . The basis for this belief is (specify):



               (3)         The Nonbankruptcy Action involves non-debtor parties and a single trial in the nonbankruptcy forum
                           is the most efficient use of judicial resources.

    e.         The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
               Nonbankruptcy Action.

               (1)         Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                           commencement documents.

               (2)         The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                           the Nonbankruptcy Action based upon the following facts (specify):




               (3)         Multiple bankruptcy cases affecting the Property include:

                     (A) Case name:
                         Case number:                                     Chapter:
                         Date filed:                        Date discharged:                           Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                      was         was not granted.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 7                                F 4001-1.RFS.NONBK.MOTION
            Case 8:24-bk-12738-TA                   Doc 267
                                                         160 Filed 02/27/25
                                                                   12/11/24 Entered 02/27/25
                                                                                      12/11/24 16:15:49
                                                                                               08:22:36                                    Desc
                                                    Main
                                                     MainDocument
                                                           Document Page
                                                                       Page248of
                                                                               of1415
                                                                                  10

                      (B) Case name:
                          Case number:                                      Chapter:
                          Date filed:                         Date discharged:                           Date dismissed:
                            Relief from stay regarding this Nonbankruptcy Action                     was        was not granted.

                      (C) Case name:
                          Case number:                                     Chapter:
                          Date filed:                        Date discharged:                           Date dismissed:
                            Relief from stay regarding this Nonbankruptcy Action                     was         was not granted.
                           See attached continuation page for information about other bankruptcy cases affecting the
                           Nonbankruptcy Action.
                           See attached continuation page for additional facts establishing that this case was filed in bad faith.
       f.        See attached continuation page for other facts justifying relief from stay.

  7.        Actions taken in the Nonbankruptcy Action after the bankruptcy petition was filed are specified in the attached
            supplemental declaration(s).

       a.        These actions were taken before Movant knew the bankruptcy petition had been filed, and Movant would
                 have been entitled to relief from stay to proceed with these actions.
       b.        Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                 with the Nonbankruptcy Action enforcement actions in prior bankruptcy cases affecting the Property as set
                 forth in Exhibit
       c.        For other facts justifying annulment, see attached continuation page.


  I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




Date                          Printed name                                                    Signature




              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

  June 2014                                                                 Page 8                                F 4001-1.RFS.NONBK.MOTION
          Case 8:24-bk-12738-TA                     Doc 267
                                                         160 Filed 02/27/25
                                                                   12/11/24 Entered 02/27/25
                                                                                      12/11/24 16:15:49
                                                                                               08:22:36                                    Desc
                                                    Main
                                                     MainDocument
                                                           Document Page
                                                                       Page259of
                                                                               of1415
                                                                                  10

                                            PROOF OF SERVICE OF DOCUMENT
  I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
  Lathrop GPM LLP, 70 S. 1st Street, San Jose, CA 95113

  A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
  THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (ACTION IN NONBANKRUPTCY
  FORUM); MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT MOTION FOR RELIEF FROM THE
  AUTOMATIC STAY UNDER 11 U.S.C. § 362; DECLARATION OF JACK TANG SUPPORT OF MOTION FOR RELIEF
  FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362; SUPPLEMENTAL NOTICE OF HEARING TO BE HELD
  REMOTELY USING ZOOMGOV AUDIO AND VIDEO

  will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
  the manner stated below:

  1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
  Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
  December 11, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
  the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
  below:
      • Donald H Cram dhc@severson.com, cas@severson.com
      • Evelina Gentry evelina.gentry@akerman.com, rob.diwa@akerman.com;reyko.delpino@akerman.com
      • Monique D Jewett-Brewster mjb@lathropgpm.com, natalie.gonzalez@lathropgpm.com
      • Steven M Kries skries@acc.capital
      • Leib M Lerner leib.lerner@alston.com, autodockettest-lax@alston.com;Melanie.mizrahie@alston.com
      • Mark S Lichtenstein mark.lichtenstein@akerman.com, reyko.delpino@akerman.com
      • Kenneth Misken Kenneth.M.Misken@usdoj.gov
      • David W Parham david.parham@akerman.com, teresa.barrera@akerman.com;cindy.ferguson@akerman.com
      • Lisa M Peters lisa.peters@kutakrock.com, marybeth.brukner@kutakrock.com
      • Laura Taveras laura.taveras@akerman.com
      • United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
      • Brian J Wagner brian.wagner@kutakrock.com, mary.clark@kutakrock.com

                                                                                               Service information continued on attached page

  2. SERVED BY UNITED STATES MAIL:
  On December 11, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case
  or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
  class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
  will be completed no later than 24 hours after the document is filed.

                                                                                               Service information continued on attached page

  3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
  for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on December 11, 2024, I served the
  following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
  such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
  that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
  filed.

                                                                                               Service information continued on attached page


  I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

December 11, 2024           Natalie D. Gonzalez
 Date                         Printed Name                                                     Signature


              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

  June 2014                                                                 Page 9                                F 4001-1.RFS.NONBK.MOTION
         Case 8:24-bk-12738-TA      Doc 267
                                         160 Filed 02/27/25
                                                   12/11/24 Entered 02/27/25
                                                                       12/11/24 16:15:49
                                                                                08:22:36   Desc
                                    Main
                                     MainDocument
                                          Document PagePage26
                                                            10ofof1415
                                                                   10
8:24-bk-12738-TA
Newport Ventures, LLC
                                          PARTIES SERVED BY
                                          UNITED STATES MAIL




                                                 DEBTOR
     Newport Ventures, LLC                     Evelina Gentry                  Mark S Lichtenstein
     Atten: Managing Agent                  633 West Fifth Street        1251 Avenue of the Americas 37th
   1442 E Lincoln Ave Ste 363                    Suite 6400                             Fl
       Orange, CA 92865                    Los Angeles, CA 90071                  XXX-XX-XXXX
                                                                               New York, NY 10020
        David W Parham                        Leah S Siaontz                     Steven M Kries
  2001 Ross Avenue, Suite 3600            Three Brickell City Centre         American Colonial Capital
        Dallas, TX 75201              98 Southeast Seventh St Ste 1100          8059 S. Elk Way
                                              Miami, FL 33131                  Aurora, CO 80016


         Laura Taveras
  2001 Ross Avenue, Suite 3600
        Dallas, TX 75201




                                        20 LARGEST UNSECURED
                                                CREDITORS
       Colorado Comfort Air                     Envysion Inc.                 Heritage Advisors LLC
   Attn: Managing Officer/Agent         Attn: Managing Officer/Agent       Attn: Managing Officer/Agent
          P.O. Box 1962                       PO BOX 669142                1500 East Bethany Home Rd
    Commerce City, CO 80037                Dallas, TX 75266-9142                    Suite 250
                                                                                Phoenix, AZ 85014
      NCR Voyix Corporation            New Horizon Communications             Scape Sol Landscaping
   Attn: Managing Officer/Agent        Attn: Managing Officer/Agent        Attn: Managing Officer/Agent
         P.O. Box 198775                     P.O. Box 981073                 4331 W. Wagon Trail Dr.
     Atlanta, GA 30384-8755              Boston, MA 02298-1073               Denver, CA 80123-1674



                                             OTHER PARTIES

   Auxilior Capital Partners, Inc            Shahvand Aryana                      Kathy Aryana
  Atten: Managing Officer/Agent         1442 Lincoln Ave., Suite 363           14507 W. Christy Dr.
 620 W Germantown Pk Ste 450                Orange, CA 92865                    Surprise, AZ 85379
Plymouth Meeting, IL 60674-0520


           Ernie Abarro                       Leah S Siaontz
  1442 E. Lincoln Ave., Suite 363         Three Brickell City Centre
       Orange, CA 92865               98 Southeast Seventh St Ste 1100
                                              Miami, FL 33131
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                27 of Thereof
                                                                      1415     Page 1 of 1376


                          1    Monique D. Jewett-Brewster, State Bar No. 217792
                               mjb@lathropgpm.com
                          2    LATHROP GPM LLP
                               70 South First Street
                          3    San Jose, CA 95113
                               mailing address:
                          4    P.O. Box 1469
                               San Jose, CA 95109-1469
                          5    Telephone: 408.286.9800
                               Facsimile: 408.998.4790
                          6
                               Benjamin C. Struby, MO State Bar No. 56711
                          7    benjamin.struby@lathropgpm.com
                               LATHROP GPM LLP
                          8    2345 Grand Blvd., Suite 2200
                               Kansas City, MO 64108-2618
                          9    Telephone: 816.292.2000
                               (admitted pro hac vice)
                     10
                               Attorneys for Del Taco LLC, a California limited
                     11        liability company

                     12

                     13                                 UNITED STATES BANKRUPTCY COURT

                     14                                   CENTRAL DISTRICT OF CALIFORNIA

                     15

                     16        In re:                                              Case No. 8:24-bk-12738-TA

                     17        Newport Ventures LLC                                MEMORANDUM OF POINTS AND
                                                                                   AUTHORITIES IN SUPPORT OF DEL
                     18                                                            TACO’S MOTION FOR RELIEF FROM
                     19                                                            THE AUTOMATIC STAY

                     20                                                            Chapter 11

                     21                                                            Date:    January 7, 2025
                                                                                   Time:    10:30 a.m.
                     22                                                            Place:   Via ZoomGov Video and Audio
                                                                                   Judge:   Hon. Theodor Albert
                     23

                     24

                     25

                     26

                     27

                     28
LATHROP GPM LLP                                                                                                   8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                28 of Thereof
                                                                      1415     Page 2 of 1376


                          1                                                  TABLE OF CONTENTS
                          2                                                                                                                                       Page
                          3   I.     INTRODUCTION ............................................................................................................... 1

                          4   II.    STATEMENT OF FACTS .................................................................................................. 1

                          5          A.        Background .............................................................................................................. 1

                          6          B.        The Franchise Agreements....................................................................................... 3

                          7          C.        The Debtor’s Defaults under the franchise agreements: .......................................... 4

                          8          D.        Pre-petition Termination of the Franchise Agreements and Grant of
                                               Temporary License................................................................................................... 6
                          9
                              III.   APPLICABLE LAW AND ARGUMENT .......................................................................... 8
                     10
                                     A.        The Franchise Agreements Have Been Terminated and There is Not
                     11                        a Post-Petition Cure Period ...................................................................................... 8

                     12              B.        The Automatic Stay Should Be Lifted ................................................................... 10

                     13              C.        Applicable Standards for Relief From the Automatic Stay ................................... 11

                     14              D.        “Cause” Exists to Grant Del Taco Relief from the Automatic Stay
                                               Pursuant to 11 U.S.C. § 362(d)(1) Because the Franchise
                     15                        Agreements Terminated Pre-Petition ..................................................................... 12

                     16              E.        The Court is bound by the Ninth Circuit’s Hypothetical Test. .............................. 13

                     17              F.        The 14-Day Stay Provision of Bankruptcy Rule 4001(a)(3) Should
                                               Be Waived .............................................................................................................. 14
                     18
                              IV.    CONCLUSION .................................................................................................................. 14
                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LATHROP GPM LLP                                                                               -i-                                                 8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                29 of Thereof
                                                                      1415     Page 3 of 1376


                          1                                                  TABLE OF AUTHORITIES
                          2                                                                                                                                 Page(s)
                          3   Cases
                          4   In re B-K of Kansas, Inc.,
                                  69 B.R. 812 (Bankr. D. Kan. 1987) .......................................................................................... 8
                          5
                              In re Beguelin,
                          6       220 B.R. 94 (B.A.P. 9th Cir. 1998) ......................................................................................... 12
                          7   California Sun Tanning USA, Inc. v. Elec. Beach, Inc.,
                                 369 Fed. Appx. 340 (3rd Cir. Mar. 11, 2010) ......................................................................... 10
                          8
                              In re Castlerock Properties,
                          9       781 F.2d 159 (9th Cir. 1986)................................................................................................... 12
                     10       Century 21 Real Estate LLC v. All Prof’l Realty, Inc.,
                                 No. 2:10-2751, 2011 WL 4594910 (C.D. Cal. Feb. 23, 2011) ............................................... 10
                     11
                              Christensen v. Tucson Estates, Inc.,
                     12          912 F.2d 1162 (9th Cir. 1990)................................................................................................. 11
                     13       In re Indian River Estates, Inc.,
                                  293 B.R. 429 (Bankr. N.D. Ohio 2003) .................................................................................. 12
                     14
                              In re Iriss,
                     15           630 F.2d 1370 (10th Cir. 1980)................................................................................................. 8
                     16       Knights Franchise Sys., Inc. v. P.C.P.S. Corp.,
                     17          No. 06- 5243, 2009 WL 3526229 (D.N.J. Oct. 21, 2009)....................................................... 10
                              Kopelman v. Halvagjian (In re Triangle Lab.),
                     18
                                 663 F.2d 463 (3d Cir. 1981) ...................................................................................................... 8
                     19       McDonald’s Corp. v. Robertson,
                     20         147 F.3d 1301 (11th Cir. 1998)............................................................................................... 10

                     21       Moody v. Amoco Oil Co.,
                                734 F.2d (7th Cir. 1984)............................................................................................................ 8
                     22
                              Park ‘N Fly, Inc. v. Dollar Park and Fly, Inc.,
                     23          469 U.S. 189, 105 S. Ct. 658 (1985) ....................................................................................... 13

                     24       In re Pinnacle Foods of California LLC,
                                  No. 24-11015-B-11, 2024 WL 4481070 (Bankr. E.D. Cal. Oct. 10, 2024) ...................... 13, 14
                     25
                              Rich v. Maryland Nat’l Bank,
                     26          42 B.R. 350 (Bankr. D. Md. 1984).......................................................................................... 12

                     27       In re Rincon E., Inc.,
                                  24 F.3d 248 (9th Cir. 1994)....................................................................................................... 8
                     28
LATHROP GPM LLP                                                                                - ii -                                           8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                30 of Thereof
                                                                      1415     Page 4 of 1376


                          1                                                     TABLE OF AUTHORITIES
                                                                                      (continued)
                          2                                                                                                                                         Page(s)
                          3   S&R Corp. v. Jiffy Lube Int’l, Inc.,
                                968 F.2d 371 (3rd Cir. 1992) .................................................................................................. 10
                          4
                              In re Thompson,
                          5       186 B.R. 301 (Bankr. N.D. Ga. 1995)....................................................................................... 8
                          6   In re Tornado Pizza, LLC,
                                  431 B.R. 503 (Bankr. D. Kan. 2010) ........................................................................................ 8
                          7
                              Statutes
                          8
                              11 U.S.C. § 362 ............................................................................................................................... 1
                          9
                              11 U.S.C. § 362(d) ............................................................................................................ 11, 12, 14
                     10
                              11 U.S.C. § 362(d)(1).............................................................................................................. 11, 12
                     11
                              11 U.S.C. § 362(g) ........................................................................................................................ 11
                     12
                              11 U.S.C. § 365(c)(1) .............................................................................................................. 13, 14
                     13
                              California Franchise Relations Act ............................................................................................... 14
                     14
                              Lanham Act ............................................................................................................................. 13, 14
                     15
                              Rules
                     16       Fed. R. Bankr. Proc. 4001(a)(3) .............................................................................................. 14, 15
                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LATHROP GPM LLP                                                                                    - iii -                                              8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                31 of Thereof
                                                                      1415     Page 5 of 1376


                          1   I.     INTRODUCTION

                          2          Franchisor Del Taco LLC (“Del Taco”) files this Memorandum of Points and Authorities

                          3   in Support of its Motion for Relief from the Automatic Stay (the “Motion”) to move the Court to

                          4   modify the automatic stay pursuant to Section 362 of the United States Bankruptcy Code, and states

                          5   as follows:

                          6   II.    STATEMENT OF FACTS
                          7          A.      Background
                          8          Del Taco LLC (“Del Taco”) is a nationally recognized chain of restaurants and Del Taco’s

                          9   brand and image are key to the overall value and success of the Del Taco franchise system. (See

                     10       Tang Declaration, ¶ 3). Del Taco offers its franchisees the opportunity to operate Del Taco

                     11       franchised businesses (“Del Taco Restaurants” or “Franchised Restaurants”) in specific

                     12       geographic areas. Del Taco Restaurants offer quick service, fast casual dining to the general public

                     13       serving Del Taco food and beverage products through a uniform menu featuring primarily

                     14       Mexican-American foods like tacos and burritos, along with burgers, shakes, French fries, breakfast

                     15       items, soft drinks, and similar food and beverage items. (See Tang Declaration, ¶ 4). Del Taco’s

                     16       brand and image are based principally on the use of certain trademarks (the “Proprietary Marks”)

                     17       and proprietary system for establishing and operating restaurant businesses (the “System”) that Del

                     18       Taco owns and licenses to authorized franchisees. (See Tang Declaration, ¶ 5). Del Taco spends

                     19       substantial sums for advertising and promotion of the Proprietary Marks, which are widely

                     20       recognized and contain a substantial amount of goodwill and consumer association. (See Tang

                     21       Declaration, ¶ 5).

                     22              On September 29, 2023, Newport Ventures, LLC (the “Debtor” or “Franchisee”) entered

                     23       into a franchise agreement with Del Taco for operation of one (1) Del Taco Restaurant located in

                     24       Colorado (the “First Franchise Agreement”). On September 29, 2023, the Debtor and Del Taco

                     25       entered into an additional seventeen (17) franchise agreements (the “Second Franchise

                     26       Agreements”) for operation of seventeen (17) Del Taco Restaurants located in Colorado. The First

                     27       Franchise Agreement and the Second Franchise Agreements were amended by the parties pursuant

                     28       to an October 4, 2023 First Amended Franchise Agreement (together with the First Franchise
LATHROP GPM LLP                                                         -1-                             8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                32 of Thereof
                                                                      1415     Page 6 of 1376


                          1   Agreement and the Second Franchise Agreements, the “Franchise Agreements”). On May 22,

                          2   2024, the Debtor entered into a Franchise Renewal Agreement for Store Number 738. The

                          3   Franchise Agreements contain all of the same terms, with different attachments identifying the

                          4   specific location of each franchise and the expiration date of each particular franchise agreement.

                          5   Attached as Exhibits A – S are copies of the Franchise Agreements, which are incorporated by this

                          6   reference. (See Tang Declaration, ¶ 7).

                          7          On October 4, 2023, in conjunction with the Franchise Agreements, the Debtor executed a

                          8   promissory note in favor of Del Taco in the amount of $125,000 (the “Promissory Note”). The

                          9   Promissory Note was personally guaranteed by Shahvand Aryana, Katayoun Aryana and Ernesto

                     10       Abarro. Attached as Exhibit T, is a copy of the Promissory Note, which is incorporated by this

                     11       reference. The due date of the Promissory Note was October 4, 2024. (See Tang Declaration, ¶ 8).

                     12              The Franchise Agreements were terminated pre-petition pursuant to Del Taco’s Notice of

                     13       Termination and Grant of Conditional Temporary License provided to the Debtors on October 21,

                     14       2024 (the “Termination Notice”). Attached as Exhibit U is a copy of the Termination Notice,

                     15       which is incorporated by this reference. As a result of the termination, the Franchise Agreements

                     16       are not property of the Debtor’s bankruptcy estate.

                     17              As set forth in the Termination Notice, the temporary license (the “Temporary License”)

                     18       will expire by the terms of the Termination Notice on December 20, 2024. (See Tang Declaration,

                     19       ¶ 9). The Debtor then filed the instant Bankruptcy on October 26, 2024 (the “Petition Date”).

                     20              Del Taco files this Motion to confirm the automatic stay does not apply to the terminated

                     21       Franchise Agreements. Del Taco also requests that this Court modify the stay to permit enforcement

                     22       (through, if necessary, litigation in any appropriate forum) of its: 1) post-termination rights under

                     23       the Franchise Agreements, including, without limitation, enforcement of the post-termination

                     24       noncompetition and confidentiality covenants, enjoining the Debtor from using or infringing Del

                     25       Taco’s Proprietary Marks, compelling assignment of any real-estate leases for the restaurants that

                     26       Del Taco requests assignment of and the surrender compelling assignment of, and to otherwise

                     27       allow Del Taco to transition the Franchised Restaurants away from Debtor and protect its brand;

                     28       and 2) the right to terminate the Temporary License.
LATHROP GPM LLP                                                              -2-                                  8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                33 of Thereof
                                                                      1415     Page 7 of 1376


                          1          B.       The Franchise Agreements

                          2          The Debtor’s right to use the Proprietary Marks and to operate the Del Taco Restaurants

                          3   was governed by the individual Franchisee Agreements. The Debtor’s right to use the Proprietary

                          4   Marks and to operate the Del Taco Restaurants is now governed by the Termination Notice.

                          5          The Franchise Agreements afford Del Taco with near absolute discretion to act in a

                          6   unilateral manner to ensure the Proprietary Marks, System, and brand image remain intact. The

                          7   Franchise Agreements provide:

                          8               •   Business Judgment: “Whenever Del Taco has expressly reserved in this Agreement
                                              or is deemed to have a right and/or discretion to take or withhold an action, or to
                          9                   grant or decline to grant Franchisee a right to take or withhold an action, except as
                                              otherwise expressly and specifically provided in this Agreement, Del Taco may
                     10                       make such decision or exercise its right and/or discretion on the basis of its sole
                                              judgment of what is in Del Taco’s best interest of the franchise network.”;
                     11
                                          •   This right is without regard to whether: “Del Taco’s decision or the exercise of its
                     12                       right or discretion is adverse to Franchisee’s interests.”; and

                     13                   •   “the terms of [] [the][Franchise] Agreement[s] . . . grants Del Taco the right to make
                                              decisions, take actions and/or refrain from taking actions not inconsistent with
                     14                       Franchisee’s rights and obligations.”

                     15       (See Tang Declaration, ¶ 10, Exhibit A Section 30 (emphasis added).

                     16              In the event of Default, the Franchise Agreements authorize termination of the Franchise

                     17       Agreements:

                     18                   •   Termination Upon Notice Without Opportunity to Cure: Franchisee shall be deemed
                                              to be in default and Del Taco may, at its option, terminate this Agreement and all
                     19                       rights granted hereunder, without affording Franchisee any opportunity to cure the
                                              default, effective immediately upon the delivery of written notice to Franchisee by
                     20                       Del Taco (in the manner set forth under Section 20 below), upon the occurrence of
                                              any of the following events:
                     21
                                                 o “13.2.18 If Franchisee fails to make any payments when due to Del Taco”;
                     22                            or
                     23                          o “13.2.19 If Franchisee fails to submit to Del Taco any financial or other
                                                   information required under this Agreement.”
                     24

                     25       (See Tang Declaration, ¶ 11, Exhibit A Section 13.2).

                     26              In the event of termination of the Franchise Agreements, Del Taco maintains important

                     27       rights which survive termination, including, at its option, the right to step into the shoes of its

                     28       terminated franchisees (such as the Debtor) on leases and requiring its franchisees to cease using
LATHROP GPM LLP                                                             -3-                                 8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                34 of Thereof
                                                                      1415     Page 8 of 1376


                          1   proprietary marks. Specifically, the Franchise Agreements identify:

                          2               •   Requirement that the Franchisee Cease Operations: Franchisee shall immediately
                                              cease to operate the Restaurant, and shall not thereafter, directly or indirectly,
                          3                   represent to the public or hold Franchisee out as a present or former franchisee of
                                              Del Taco.
                          4
                                          •   Requirement that leases be assignable to Del Taco and right to assign leases: Del
                          5                   Taco shall have the right and option, but not the obligation, to acquire the Leases
                                              for the Restaurant, or otherwise acquire the right to occupy the premises. Del Taco
                          6                   may assign or delegate this right or option to any of Del Taco’s affiliates or a third
                                              party designee, without notice to, or request for approval from, the landlord or lessor
                          7                   of the premises.
                          8               •   Damages and Costs: Franchisee shall pay Del Taco all damages, costs, interest, and
                                              expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on
                          9                   such fees, costs, and expenses), incurred by Del Taco subsequent to the termination
                                              or expiration of this Agreement in obtaining injunctive or other relief for the
                     10                       enforcement of any provisions of this Section 14.1.9.
                     11                   •   Cease Use of Proprietary Marks: Franchisee shall immediately and permanently
                                              cease to use, in any manner whatsoever, any confidential methods, procedures and
                     12                       techniques associated with the System, the mark “Del Taco” and all other
                                              Proprietary Marks and distinctive forms, slogans, signs, symbols, and devices
                     13                       associated with the System.
                     14       (See Tang Declaration, ¶ 12, Exhibit A Section 14).
                     15              C.       The Debtor’s Defaults under the franchise agreements:
                     16              Prior to the Termination Notice, on October 2, 2024, Del Taco provided written Notice of
                     17       Debtor’s Default and Demand for Verification of Payments to Third Parties (“First Default
                     18       Letter”). A copy of the First Default Letter is attached and incorporated by this reference as
                     19       Exhibit V. The First Default Letter identified numerous defaults, including:
                     20                   •   The Debtor was in default of Section 13.2.19 of the Franchise Agreements which
                                              provides that “the Franchisee shall be deemed to be in default...if Franchisee fails to
                     21                       submit to Del Taco any financial or other information required under this
                                              Agreement.” Section 7.3 requires “Franchisee to submit to Del Taco a copy of their
                     22                       Profit and Loss Statement for each restaurant...on a quarterly basis as requested by
                                              Del Taco.” Del Taco had requested quarterly Profit and Loss Statements for the
                     23                       Debtor’s franchise locations, and the Debtor failed to provide the requested
                                              information. The Debtor was given five business days to provide the Profit and Loss
                     24                       Statements.
                     25                   •   Del Taco was in receipt of correspondence dated September 24, 2024 from
                                              Shahvand Aryana in which Mr. Aryana claimed all sales taxes, property taxes and
                     26                       3rd party obligations are paid current or are subject to legitimate dispute as to the
                                              balance due. However, Del Taco subsequently received correspondence dated
                     27                       October 1, 2024, from Auxilior Capital Partners, Inc (“ACP”) directed to Debtor,
                                              indicating that Debtor continued to be in default of its obligations to ACP and
                     28
LATHROP GPM LLP                                                                -4-                                  8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                  Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                            12/11/2416:15:49
                                                                                     08:22:36 Desc
                                                                                               Desc
                      Memorandum of Points
                                       Mainand
                                            Document
                                               Authorities Page
                                                           In Support
                                                                35 of Thereof
                                                                      1415     Page 9 of 1376


                          1                  requesting written and documented evidence satisfactory to ACP that, among other
                                             things, all of Debtor’s taxes, assessments, governmental charges and levies are paid
                          2                  current. Pursuant to Sections 7.3 and 7.4 of the Franchise Agreements, Del Taco
                                             demanded that the Debtor verify to Del Taco that all outstanding bills for sales taxes,
                          3                  property taxes and 3rd party obligations have been satisfied.

                          4          Thereafter, on October 14, 2024, Del Taco provided written notice of Debtor’s Defaults

                          5   under the Franchise Agreement. (“Second Default Letter”) A copy of the Second Default Letter

                          6   is attached and incorporated by this reference as Exhibit W. The Second Default Letter also

                          7   identified numerous defaults, including:

                          8              •   Del Taco and Debtor were parties to the Promissory Note, pursuant to which Debtor
                                             agreed to pay to Del Taco One Hundred and Twenty-Five Thousand Dollars
                          9                  ($125,000) by October 4, 2024. As of the date of the letter, Debtor had not paid any
                                             amounts due to Del Taco under the Promissory Note. Paragraph 13.2.18 of the
                     10                      Franchise Agreements provides that “the Franchisee shall be deemed to be in
                                             default...If Franchisee fails to make any payments when due to Del Taco.” In order
                     11                      to cure this default, Del Taco demanded that Debtor pay $125,000 to Del Taco on
                                             or before Thursday, October 17, 2024.
                     12
                                         •   Paragraph 5.4.5 of the Franchise Agreements require the Debtor to “at all times
                     13                      maintain at least one certified general manager in the Restaurant and shall have a
                                             combination of five additional staff comprised of shift managers and an assistant
                     14                      general manager trained and certified by Del Taco for the restaurant.” As of the date
                                             of the Second Default Letter, the Debtor did not maintain a certified general manager
                     15                      or maintain the required number of certified assistant general managers or certified
                                             shift managers in certain of the restaurants as identified on Exhibit A of Second
                     16                      Default Letter. In order to cure this under the Franchise Agreements, the Debtor was
                                             instructed that it must take the following actions: Enroll a sufficient number of
                     17                      candidates approved by Del Taco to begin training to satisfy the requirements of the
                                             Franchise Agreements by Wednesday, November 13, 2024.
                     18
                                         •   Paragraph 5.12.4 required the Debtor “to purchase and install, at Franchisee’s
                     19                      expense...equipment...as Del Taco shall specify; and to refrain from installing or
                                             permitting to be installed on or about the Restaurant premises, without Del Taco’s
                     20                      prior written consent, any...equipment...or other items not previously approved as
                                             meeting Del Taco’s standards and specifications. Newport Ventures has installed
                     21                      unapproved Kratos clamshell grills in each of its Restaurants . . . [t]he clamshell grill
                                             that has been approved by Del Taco is manufactured by Proluxe.” In order to cure
                     22                      those defaults, Debtor was instructed that it must purchase and install Proluxe
                                             clamshell grills in its Restaurants by Wednesday, November 13, 2024.
                     23

                     24              The Debtor failed to cure the defaults noted in the First Default Letter and the Second

                     25       Default Letter. Any one of the identified defaults was sufficient to terminate the Franchise

                     26       Agreements.

                     27       ///

                     28       ///
LATHROP GPM LLP                                                                -5-                                  8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 36 ofThereof
                                                                       1415    Page 10 of 1376


                          1          D.      Pre-petition Termination of the Franchise Agreements and Grant of
                                             Temporary License
                          2

                          3          On October 21, 2024 Del Taco delivered the Termination Notice, which terminated the

                          4   Franchise Agreements and which granted the Temporary License to the Debtor that is set to expire

                          5   on December 20, 2024. (See Exhibit U).

                          6          The Termination Notice referenced the Second Default Letter, specifically the Debtor’s

                          7   default of the Franchise Agreements (Paragraph 13.2.18) for, among other things, failure to make

                          8   payments to Del Taco when due by not paying any amounts due to Del Taco under the Promissory

                          9   Note because the Debtor failed to pay the full amount of $125,000 by October 17, 2024.

                     10       Accordingly, the Franchise Agreements were terminated as of the date of the Termination Notice,

                     11       October 21, 2024 (the “Termination Date”).

                     12              The Termination Notice instructed the Debtor as follows:

                     13              For the parties to assess the next steps regarding the Franchised Restaurants, and to permit

                     14       an orderly turnover of those Del Taco Restaurants and the assets of those Franchised Restaurants

                     15       to Del Taco or a third party, Del Taco granted the Debtor the Temporary License, on the following

                     16       terms (“Temporary License Terms”):

                     17       ///

                     18       ///

                     19       ///

                     20       ///

                     21       ///

                     22       ///

                     23       ///

                     24       ///

                     25       ///

                     26       ///

                     27       ///

                     28       ///
LATHROP GPM LLP                                                               -6-                                 8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 37 ofThereof
                                                                       1415    Page 11 of 1376


                          1

                          2

                          3

                          4

                          5

                          6

                          7

                          8

                          9

                     10

                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25       (See Tang Declaration, ¶¶ 13-17, Exhibit U).

                     26

                     27

                     28
LATHROP GPM LLP                                                               -7-                                 8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 38 ofThereof
                                                                       1415    Page 12 of 1376


                          1   III.    APPLICABLE LAW AND ARGUMENT

                          2           A.     The Franchise Agreements Have Been Terminated and There is Not a Post-
                                             Petition Cure Period
                          3

                          4           The automatic stay only protects property of the estate and a contract validly terminated

                          5   pre-petition is “not resurrected by the filing of the petition in bankruptcy, and cannot therefore be

                          6   included among the debtor’s assets.” Kopelman v. Halvagjian (In re Triangle Lab.), 663 F.2d 463,

                          7   467-68 (3d Cir. 1981); see also In re Rincon E., Inc., 24 F.3d 248 (9th Cir. 1994) (“A franchise

                          8   agreement that has been validly terminated pre-petition is not an assumable executory contract.”)

                          9   (internal citation omitted); Moody v. Amoco Oil Co., 734 F.2d 1200, 1212-13 (7th Cir. 1984)

                     10       (franchise agreement not property of the estate where right to cure franchise agreement terminated

                     11       pre-petition and termination was automatically effective pre-petition; notice of termination sent

                     12       post-petition did not extend debtor’s time to cure default); In re Iriss, 630 F.2d 1370 (10th Cir.

                     13       1980) (contract terminated before filing cannot be assumed or rejected); In re Tornado Pizza, LLC,

                     14       431 B.R. 503, 510-11 (Bankr. D. Kan. 2010) (“when a franchise agreement has been terminated for

                     15       cause prepetition and the termination process is complete with no right to cure when the petition is

                     16       filed, the debtor does not have a property interest in the franchise on the date of filing and there is

                     17       no executory contract to assume, even if on the date of filing the debtor remains in possession of

                     18       the franchised business and continues to use the franchisor’s trademark property. The bankruptcy

                     19       filing does not resuscitate the terminated rights.”); In re Thompson, 186 B.R. 301, 307 (Bankr. N.D.

                     20       Ga. 1995) (contract terminated pre-petition “cannot be revived solely by virtue of a bankruptcy

                     21       petition. Filing for bankruptcy relief does not confer new rights on a debtor in regard to []

                     22       terminated agreements and a debtor is not permitted to cure his defaults and/or assume such

                     23       agreements.”); In re B-K of Kansas, Inc., 69 B.R. 812, 816 (Bankr. D. Kan. 1987) (holding that

                     24       franchise agreements that terminated pre-petition are not property of the bankruptcy estate).

                     25               Here, the Franchise Agreements were terminated with no opportunity to cure on October 21,

                     26       2024, which was prior to the Petition Date. Therefore, the Court should determine that the automatic

                     27       stay does not apply to the Franchise Agreements and that the Franchise Agreements are not part of

                     28       the estate.
LATHROP GPM LLP                                                                -8-                                  8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 39 ofThereof
                                                                       1415    Page 13 of 1376


                          1          The Debtor could have cured, but chose not to cure, the defaults identified in the First

                          2   Default Letter and Second Default Letter – rather than curing, the Debtor did not address its defaults

                          3   and instead and filed this Bankruptcy.

                          4          In multiple filings, the Debtor alleges that Del Taco is a bad actor, in what appears to be an

                          5   effort to claw back the Franchise Agreements. For example, in the Declaration of Shahvand Aryana,

                          6   filed as part of Debtor’s first day motions (“First Day Declaration”), Aryana states that the

                          7   “Debtor disputes that the Franchise Agreements were properly terminated and believes they remain

                          8   in full force and effect.” ECF No. 26, at ¶ 9. The First Day Declaration alleges that Del Taco

                          9   attempted to terminate the Debtor’s Franchise Agreements “unilaterally” and issued the Temporary

                     10       License where the Temporary License Terms allow Del Taco to terminate the Temporary License

                     11       for any reason with or without cause. Id.

                     12              As set forth in the Franchise Agreements, Del Taco was authorized to terminate the

                     13       Franchise Agreements without opportunity to cure defaults, effective immediately upon the

                     14       delivery of written notice to the Debtor if the Debtor failed to make any payments when due to Del

                     15       Taco. See Franchise Agreements ¶ 13.2.18. The Debtor failed to make payment in accordance with

                     16       the Promissory Note, thereby defaulting on the Franchise Agreement, and cannot attempt to revisit

                     17       that choice by filing their Chapter 11 petition. (See Exhibits T, V). Del Taco provided the Debtor a

                     18       cure period in the Second Default Letter and the Debtor failed to comply. As such, Del Taco had

                     19       the right to unilaterally terminate the Franchise Agreements upon written notice, which it did. Del

                     20       Taco provided the Temporary License to ensure proper transition of the Franchised Restaurants

                     21       away from Debtor and to protect its brand image and Proprietary Marks.

                     22              Del Taco’s allowance of the Temporary License was to safeguard an orderly transition of

                     23       the Franchised Restaurants, to ensure customers have access to the Del Taco locations, and protect

                     24       its brand image. The Temporary License does not provide an extended cure period for the Debtor

                     25       to revive the Franchise Agreements. The Debtor also has no right to unilaterally extend or renew

                     26       the Term on the Temporary License. See Exhibit U.

                     27              In the First Day Declaration, the Debtor complains that “Franchisor’s oppressive

                     28       administrative requirements . . . created several significant issues that had a critical impact on the
LATHROP GPM LLP                                                               -9-                                   8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 40 ofThereof
                                                                       1415    Page 14 of 1376


                          1   Debtor’s ability to operate efficiently and more profitably.” ECF No. 26, at ¶ 11. Specifically, the

                          2   Debtor complains about: an incompatibility of the POS and payroll systems; very restrictive control

                          3   over pricing and promotions; Franchisor mandated menu and pricing updates; and Franchisor

                          4   mandated third-party delivery partnerships. ECF No. 26, at ¶ 11.

                          5          Debtor’s claims simply are not valid. The Debtor agreed to specific obligations when it

                          6   signed the Franchise Agreements to operate the Del Taco Restaurants, including: installation and

                          7   use of software as specified by Del Taco and mandated maximum prices on menu items. (See

                          8   Exhibit A, Section 5 generally). In any event, those complaints are not relevant for purposes of

                          9   granting this Motion and the Franchise Agreements provided no excuse for the Debtor’s failure to

                     10       comply with the terms of the Franchise Agreements or the failure to pay amounts owed when due.

                     11       See California Sun Tanning USA, Inc. v. Elec. Beach, Inc., 369 Fed. Appx. 340, 348 (3rd Cir. Mar.

                     12       11, 2010) (rejecting a franchisee’s argument that the franchisor’s alleged breach of contract barred

                     13       specific performance); S&R Corp. v. Jiffy Lube Int’l, Inc., 968 F.2d 371, 375 (3rd Cir. 1992) (“a

                     14       franchisor’s right to terminate a franchisee exists independently of any claims the franchisee might

                     15       have against the franchisor.”); McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1308-09 (11th Cir.

                     16       1998) (holding that “a franchisor’s right to terminate a franchisee exists independently of any

                     17       claims the franchisee might have against the franchisor. The franchisor has the power to terminate

                     18       the relationship where the terms of the franchise agreement are violated”); Century 21 Real Estate

                     19       LLC v. All Prof’l Realty, Inc., No. 2:10-2751, 2011 WL 4594910, at *1-2 (C.D. Cal. Feb. 23, 2011)

                     20       (“The validity of a franchisor’s termination depends on whether the franchisee breached the

                     21       franchise agreement, and a franchisor’s breach does not excuse a franchisee’s breach.”); Knights

                     22       Franchise Sys., Inc. v. P.C.P.S. Corp., No. 06- 5243, 2009 WL 3526229, at *3-4 (D.N.J. Oct. 21,

                     23       2009) (holding that a franchisee is not excused from paying franchise fees based on a claim the

                     24       franchisor breached the franchise agreement).

                     25              B.      The Automatic Stay Should Be Lifted
                     26              To the extent the Court believes that the grant of the Temporary License is an executory

                     27       contract that the Debtors can assume and/or that the Franchise Agreements have not been

                     28       terminated, Del Taco seeks to modify the stay and permit Del Taco to terminate the Temporary
LATHROP GPM LLP                                                           - 10 -                            8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 41 ofThereof
                                                                       1415    Page 15 of 1376


                          1   License and/or terminate the Franchise Agreements. Del Taco also seeks to modify the stay to

                          2   permit Del Taco to enforce its post-termination rights under the Franchise Agreements, including,

                          3   but not limited to enforcement of the post-termination noncompetition and confidentiality

                          4   covenants, enjoining the Debtor from using or infringing on Del Taco’s Proprietary Marks,

                          5   compelling assignment of leases for any Franchised Restaurant that Del Taco requests assignment

                          6   of, and to otherwise allow Del Taco to transition the Franchised Restaurants away from Debtor and

                          7   protect its brand.

                          8           C.      Applicable Standards for Relief From the Automatic Stay
                          9           The Bankruptcy Code permits relief from the automatic stay in recognition of the fact that

                     10       the automatic stay may impose an unfair burden on creditors. Specifically, section 362(d) provides,

                     11       in relevant part, as follows:

                     12                       (d)     On request of a party in interest and after notice and a hearing,
                                              the court shall grant relief from the stay provided under subsection
                     13                       (a) of this section, such as by terminating, annulling, modifying, or
                                              conditioning such stay—
                     14
                                              (1)     for cause, including the lack of adequate protection of an
                     15                       interest in property of such party in interest; ….”
                     16       11 U.S.C. § 362(d).

                     17               The Bankruptcy Code places the principal burden on the debtor of demonstrating that there

                     18       is no cause for relief from the automatic stay when a party in interest seeks relief on such ground.

                     19       Specifically, 11 U.S.C. section 362(g) provides, in relevant part:

                     20                       (g)    In any hearing under subsection (d) ... of this section
                                              concerning relief from the stay of any act under subsection (a) of this
                     21                       section—
                     22                       ....
                     23                       (2)     the party opposing such relief has the burden of proof on all
                                              other issues [than the issue of the debtor’s equity in property].
                     24

                     25       11 U.S.C. § 362(g).

                     26               “Cause” as used in Bankruptcy Code § 362(d)(1), “has no clear definition and is determined

                     27       on a case-by-case basis.” Christensen v. Tucson Estates, Inc., 912 F.2d 1162, 1166 (9th Cir. 1990);

                     28       accord In re Castlerock Properties, 781 F.2d 159, 161 (9th Cir. 1986); In re Beguelin, 220 B.R. 94,
LATHROP GPM LLP                                                             - 11 -                               8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 42 ofThereof
                                                                       1415    Page 16 of 1376


                          1   97-98 (B.A.P. 9th Cir. 1998). The “cause” standard contained in Bankruptcy Code section

                          2   362(d)(1) is “broad and extends beyond the concept of a lack of adequate protection mentioned in

                          3   the statutes.” Rich v. Maryland Nat’l Bank, 42 B.R. 350, 354 (Bankr. D. Md. 1984); see also In re

                          4   Indian River Estates, Inc., 293 B.R. 429, 433 (Bankr. N.D. Ohio 2003) (“As used in [section]

                          5   362(d)(1), the term ‘cause’ is a broad and flexible concept which permits a bankruptcy court, as a

                          6   court of equity, to respond to inherently fact-sensitive situation.”) (internal citations omitted).

                          7          D.      “Cause” Exists to Grant Del Taco Relief from the Automatic Stay Pursuant to
                                             11 U.S.C. § 362(d)(1) Because the Franchise Agreements Terminated Pre-
                          8                  Petition
                          9          The Franchise Agreements Terminated pre-petition and are not assets of the bankruptcy

                     10       estate and Del Taco has rights under the Franchise Agreements upon termination that survive

                     11       termination, such as to require the Debtor to cease operations, discontinue the use of Proprietary

                     12       Marks, and to compel assignment of leases. The Temporary License, which is set to expire without

                     13       automatic renewal within a matter of weeks from the filing of Del Taco’s Motion for Relief from

                     14       the Automatic Stay, granted very specific rights to the Debtors to allow the successful turnover of

                     15       operations to Del Taco or a third party of Del Taco’s choosing and did not grant the full rights of

                     16       the Franchise Agreements.

                     17              There is little prejudice to the Debtors or their estate if the stay is lifted because the

                     18       Franchise Agreements were terminated pre-petition. Even under the Temporary License Del Taco

                     19       has the right to terminate for any reason and without cause, and the Temporary License is set to

                     20       expire without automatic renewal. Cause exists in that, if the stay remains in place, Del Taco will

                     21       suffer harm due to, among other things, the Debtor’s failure to make required payments, the

                     22       Debtor’s use of the Proprietary Marks without permission, and the Debtor operating Del Taco

                     23       Restaurants in contravention of the authorizations or requirements set forth in the Franchise

                     24       Agreements. Cause further exists because Del Taco will also be in danger of negative brand

                     25       goodwill and reputation, should the Debtor continue to operate outside of the requirements of the

                     26       Franchise Agreements and Temporary License. The Debtor’s continued use of the Proprietary

                     27

                     28
LATHROP GPM LLP                                                                - 12 -                                8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 43 ofThereof
                                                                       1415    Page 17 of 1376


                          1   Marks puts the reputation of Del Taco’s brand and its reputation at stake. 1 See Park ‘N Fly, Inc. v.

                          2   Dollar Park and Fly, Inc., 469 U.S. 189, 198, 105 S. Ct. 658, 663 (1985) (“The Lanham Act

                          3   provides national protection of trademarks in order to secure to the owner of the mark the goodwill

                          4   of his business and to protect the ability of consumers to distinguish among competing producers.”).

                          5          E.      The Court is bound by the Ninth Circuit’s Hypothetical Test.
                          6          The Debtor cannot assume the Temporary License and/or the Franchise Agreements

                          7   (assuming, arguendo, that they were not terminated) without the consent of Del Taco, which it will

                          8   not give. This issue was recently vetted in the United States Bankruptcy Court for the Eastern

                          9   District of California. The court in In re Pinnacle Foods of California LLC, No. 24-11015-B-11,

                     10       2024 WL 4481070 (Bankr. E.D. Cal. Oct. 10, 2024) recognized that it was bound by the Ninth

                     11       Circuit “hypothetical test” when interpreting 11 U.S.C. § 365(c)(1). Section 365(c)(1) provides that

                     12       “a debtor may neither assume nor assign a contract if applicable law excuses a counterparty to the

                     13       contract from accepting performance from or rendering performance to any entity other than the

                     14       debtor unless the counterparty consents to such assumption and/or assignment.” Id. at *2. In

                     15       Pinnacle, the bankrupt debtor operated six Popeyes fast food restaurants under franchise

                     16       agreements with franchisor Popeyes Louisiana Kitchen Inc. (“Popeyes”), and attempted to assume

                     17       such franchise agreements as part of their chapter 11, subchapter V case. Relying on Section

                     18       365(c)(1) Popeyes opposed the motion, and argued it was “excused from accepting performance or

                     19       rendering performance to a hypothetical third party” under the Ninth Circuit test. Id. at *1. That

                     20       court explained:

                     21                      Under the “hypothetical test,” even if the debtor merely wishes to
                                             assume an executory contract or an unexpired lease and not assign
                     22                      its contract rights to a third party, the counterparty may still withhold
                                             its consent and block assumption if there is a hypothetical third party
                     23                      to whom the debtor might assign its contract rights but as to whom
                                             the counterparty would be excused from performing for under
                     24                      applicable law.
                     25
                              1
                                See Exhibit X, which is a letter Del Taco and accompanying enclosures received from an
                     26       anonymous employee at one of the Debtor’s Colorado Del Taco Restaurants, the letter complaining
                              that the Debtor’s owners encouraged the use of expired food and created an unsafe work
                     27       environment and, the enclosures including two Colorado Public Health Inspection Reports.
                              Although the letter is dated before bankruptcy filing, Del Taco did not receive this letter until after
                     28       the Petition Date.
LATHROP GPM LLP                                                              - 13 -                               8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 44 ofThereof
                                                                       1415    Page 18 of 1376


                          1   Id. at *2. The court found that the Lanham Act and the California Franchise Relations Act both

                          2   provided “applicable law” pursuant to Section 365(c)(1) to allow Popeyes to withhold its consent

                          3   and block the debtor’s assumption of the franchise agreements. Id. at *6-9. The court reasoned that

                          4   pursuant to the Latham Act, the “owner of the trademark has an interest in the party to whom the

                          5   trademark is assigned so that it can maintain the good will, quality, and value of its products and

                          6   thereby its trademark, trademark rights are personal to the assignee and not freely assignable to a

                          7   third party.” Id. at 6. The court also found that the California Franchise Relations Act provided

                          8   alternative grounds for Popeyes to withhold consent, as there may be a hypothetical third party

                          9   whom the debtor could assign the franchise agreements to, who did not qualify for Popeyes

                     10       standards of approval. Id. at *9. The court recognized “the application of the hypothetical test, in

                     11       many situations, may give veto power over the possibility of effective reorganization to the

                     12       franchisor, who may also be a hostile creditor. Unfortunately, dura lex sed lex -- The law is hard,

                     13       but it is the law.” Id. at 9.

                     14               The foregoing demonstrates that the Debtor cannot assume the Temporary License or

                     15       Franchisee Agreements without the consent of Del Taco, which, like Popeye’s, can withhold

                     16       consent and block assumption.

                     17               F.       The 14-Day Stay Provision of Bankruptcy Rule 4001(a)(3) Should Be Waived
                     18               Bankruptcy Rule 4001(a)(3) provides that any order granting Del Taco’s motion is stayed

                     19       until the expiration of 14 days after the entry of the stay relief order, unless the Court orders

                     20       otherwise. Here, there is no just cause for delaying the effectiveness of any order granting Del

                     21       Taco’s request for stay relief.

                     22       IV.     CONCLUSION
                     23               For the foregoing reasons, Del Taco respectfully requests that the Court enter an order:

                     24       (i) granting immediate relief from the automatic stay under Bankruptcy Code section 362(d) to

                     25       permit Del Taco to exercise its termination rights under its Franchise Agreements, including

                     26       without limitation, enforcement of the post-termination noncompetition and confidentiality

                     27       covenants, enjoining the Debtor from using or infringing Del Taco’s Proprietary Marks, compelling

                     28       assignment of any real-estate leases for the restaurants that Del Taco requests assignment, and to
LATHROP GPM LLP                                                              - 14 -                              8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
                Case
                 Case8:24-bk-12738-TA
                      8:24-bk-12738-TA Doc
                                        Doc160-1
                                            267 Filed
                                                   Filed02/27/25
                                                         12/11/24 Entered
                                                                    Entered02/27/25
                                                                             12/11/2416:15:49
                                                                                      08:22:36 Desc
                                                                                                Desc
                      Memorandum of Points
                                       Mainand
                                             Document
                                               Authorities In
                                                            Page
                                                              Support
                                                                 45 ofThereof
                                                                       1415    Page 19 of 1376


                          1   otherwise allow Del Taco to transition the Franchised Restaurants away from Debtor and protect

                          2   its brand; (ii) the right to terminate the Temporary License granted in the Termination Notice;

                          3   (iii) waiving the 14-day stay provided under Bankruptcy Rule 4001(a)(3); and (iv) for any other

                          4   relief the Court deems necessary and proper under the circumstances.

                          5
                               Dated: December 11, 2024            LATHROP GPM LLP
                          6

                          7                                        By: /s/ Monique D. Jewett-Brewster
                                                                   Monique D. Jewett-Brewster, State Bar No. 217792
                          8                                        mjb@lathropgpm.com
                                                                   LATHROP GPM LLP
                          9                                        70 South First Street
                                                                   San Jose, CA 95113
                     10                                            mailing address:
                                                                   P.O. Box 1469
                     11                                            San Jose, CA 95109-1469
                                                                   Telephone: 408.286.9800
                     12                                            Facsimile: 408.998.4790
                     13                                            and
                     14
                                                                   By:/s/ Benjamin C. Struby
                     15                                            Benjamin C. Struby, MO State Bar No. 56711
                                                                    benjamin.struby@lathropgpm.com
                     16
                                                                   LATHROP GPM LLP
                     17                                            2345 Grand Blvd., Suite 2200
                                                                   Kansas City, MO 64108-2618
                     18                                            Telephone: 816.292.2000
                                                                   Admitted pro hac vice
                     19
                                                                   Attorneys for Del Taco LLC,
                     20                                            a California limited liability company

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LATHROP GPM LLP                                                              - 15 -                               8:24-bk-12738-TA
  ATTORNEYS AT LAW            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC
SAN JOSE  REDWOOD CITY       STAY
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                         12/11/24 Entered
                                                    Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
      Memorandum of Points
                       Mainand
                             Document
                               Authorities In
                                            Page
                                              Support
                                                 46 ofThereof
                                                       1415    Page 20 of 1376




                 Exhibit A
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            47 ofThereof
                                                                  1415    Page 21 of 1376
                                                                               STORE 748




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            48 ofThereof
                                                                  1415    Page 22 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            49 ofThereof
                                                                  1415    Page 23 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                      September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            50 ofThereof
                                                                  1415    Page 24 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            51 ofThereof
                                                                  1415    Page 25 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            52 ofThereof
                                                                  1415    Page 26 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            53 ofThereof
                                                                  1415    Page 27 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            54 ofThereof
                                                                  1415    Page 28 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            55 ofThereof
                                                                  1415    Page 29 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            56 ofThereof
                                                                  1415    Page 30 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            57 ofThereof
                                                                  1415    Page 31 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            58 ofThereof
                                                                  1415    Page 32 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            59 ofThereof
                                                                  1415    Page 33 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            60 ofThereof
                                                                  1415    Page 34 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            61 ofThereof
                                                                  1415    Page 35 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            62 ofThereof
                                                                  1415    Page 36 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            63 ofThereof
                                                                  1415    Page 37 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            64 ofThereof
                                                                  1415    Page 38 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            65 ofThereof
                                                                  1415    Page 39 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            66 ofThereof
                                                                  1415    Page 40 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            67 ofThereof
                                                                  1415    Page 41 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            68 ofThereof
                                                                  1415    Page 42 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            69 ofThereof
                                                                  1415    Page 43 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            70 ofThereof
                                                                  1415    Page 44 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            71 ofThereof
                                                                  1415    Page 45 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            72 ofThereof
                                                                  1415    Page 46 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            73 ofThereof
                                                                  1415    Page 47 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            74 ofThereof
                                                                  1415    Page 48 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            75 ofThereof
                                                                  1415    Page 49 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            76 ofThereof
                                                                  1415    Page 50 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            77 ofThereof
                                                                  1415    Page 51 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            78 ofThereof
                                                                  1415    Page 52 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            79 ofThereof
                                                                  1415    Page 53 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            80 ofThereof
                                                                  1415    Page 54 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            81 ofThereof
                                                                  1415    Page 55 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            82 ofThereof
                                                                  1415    Page 56 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            83 ofThereof
                                                                  1415    Page 57 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            84 ofThereof
                                                                  1415    Page 58 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            85 ofThereof
                                                                  1415    Page 59 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            86 ofThereof
                                                                  1415    Page 60 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            87 ofThereof
                                                                  1415    Page 61 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            88 ofThereof
                                                                  1415    Page 62 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            89 ofThereof
                                                                  1415    Page 63 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            90 ofThereof
                                                                  1415    Page 64 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            91 ofThereof
                                                                  1415    Page 65 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            92 ofThereof
                                                                  1415    Page 66 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            93 ofThereof
                                                                  1415    Page 67 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            94 ofThereof
                                                                  1415    Page 68 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            95 ofThereof
                                                                  1415    Page 69 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                  47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            96 ofThereof
                                                                  1415    Page 70 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            97 ofThereof
                                                                  1415    Page 71 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            98 ofThereof
                                                                  1415    Page 72 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            99 ofThereof
                                                                  1415    Page 73 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           100 ofThereof
                                                                  1415    Page 74 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                        9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           101 ofThereof
                                                                  1415    Page 75 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   1645 Space Center Drive
                                                               Colorado Springs, CO 80915

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       November 16, 2024




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           102 ofThereof
                                                                  1415    Page 76 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           103 ofThereof
                                                                  1415    Page 77 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           104 ofThereof
                                                                  1415    Page 78 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           105 ofThereof
                                                                  1415    Page 79 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                    September 29     , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           106 ofThereof
                                                                  1415    Page 80 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           107 ofThereof
                                                                  1415    Page 81 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           108 ofThereof
                                                                  1415    Page 82 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           109 ofThereof
                                                                  1415    Page 83 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           110 ofThereof
                                                                  1415    Page 84 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           111 ofThereof
                                                                  1415    Page 85 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           112 ofThereof
                                                                  1415    Page 86 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                  Memorandum of Points
                                   Mainand
                                        Document
                                           Authorities Page
                                                       In Support
                                                            113 ofThereof
                                                                   1415    Page 87 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                  Memorandum of Points
                                   Mainand
                                        Document
                                           Authorities Page
                                                       In Support
                                                            114 ofThereof
                                                                   1415    Page 88 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                   12/11/24 Entered
                                                              Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
                Memorandum of Points
                                 Mainand
                                      Document
                                         Authorities Page
                                                     In Support
                                                          115 ofThereof
                                                                 1415    Page 89 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                         12/11/24 Entered
                                                    Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
      Memorandum of Points
                       Mainand
                            Document
                               Authorities Page
                                           In Support
                                                116 ofThereof
                                                       1415    Page 90 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                         12/11/24 Entered
                                                    Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
      Memorandum of Points
                       Mainand
                            Document
                               Authorities Page
                                           In Support
                                                117 ofThereof
                                                       1415    Page 91 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                         12/11/24 Entered
                                                    Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
      Memorandum of Points
                       Mainand
                            Document
                               Authorities Page
                                           In Support
                                                118 ofThereof
                                                       1415    Page 92 of 1376




                 Exhibit B
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           119 ofThereof
                                                                  1415    Page 93 of 1376
                                                                               STORE 778




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           120 ofThereof
                                                                  1415    Page 94 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           121 ofThereof
                                                                  1415    Page 95 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                           29 day of __________,
                                                                                                      September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           122 ofThereof
                                                                  1415    Page 96 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           123 ofThereof
                                                                  1415    Page 97 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           124 ofThereof
                                                                  1415    Page 98 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                 Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           125 ofThereof
                                                                  1415    Page 99 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           126 of
                                                                Thereof
                                                                  1415 Page 100 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           127 of
                                                                Thereof
                                                                  1415 Page 101 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           128 of
                                                                Thereof
                                                                  1415 Page 102 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           129 of
                                                                Thereof
                                                                  1415 Page 103 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           130 of
                                                                Thereof
                                                                  1415 Page 104 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           131 of
                                                                Thereof
                                                                  1415 Page 105 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           132 of
                                                                Thereof
                                                                  1415 Page 106 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           133 of
                                                                Thereof
                                                                  1415 Page 107 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           134 of
                                                                Thereof
                                                                  1415 Page 108 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           135 of
                                                                Thereof
                                                                  1415 Page 109 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           136 of
                                                                Thereof
                                                                  1415 Page 110 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           137 of
                                                                Thereof
                                                                  1415 Page 111 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           138 of
                                                                Thereof
                                                                  1415 Page 112 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           139 of
                                                                Thereof
                                                                  1415 Page 113 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           140 of
                                                                Thereof
                                                                  1415 Page 114 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           141 of
                                                                Thereof
                                                                  1415 Page 115 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           142 of
                                                                Thereof
                                                                  1415 Page 116 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           143 of
                                                                Thereof
                                                                  1415 Page 117 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           144 of
                                                                Thereof
                                                                  1415 Page 118 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           145 of
                                                                Thereof
                                                                  1415 Page 119 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           146 of
                                                                Thereof
                                                                  1415 Page 120 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           147 of
                                                                Thereof
                                                                  1415 Page 121 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           148 of
                                                                Thereof
                                                                  1415 Page 122 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           149 of
                                                                Thereof
                                                                  1415 Page 123 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           150 of
                                                                Thereof
                                                                  1415 Page 124 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           151 of
                                                                Thereof
                                                                  1415 Page 125 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           152 of
                                                                Thereof
                                                                  1415 Page 126 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           153 of
                                                                Thereof
                                                                  1415 Page 127 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           154 of
                                                                Thereof
                                                                  1415 Page 128 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           155 of
                                                                Thereof
                                                                  1415 Page 129 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           156 of
                                                                Thereof
                                                                  1415 Page 130 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           157 of
                                                                Thereof
                                                                  1415 Page 131 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           158 of
                                                                Thereof
                                                                  1415 Page 132 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           159 of
                                                                Thereof
                                                                  1415 Page 133 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           160 of
                                                                Thereof
                                                                  1415 Page 134 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           161 of
                                                                Thereof
                                                                  1415 Page 135 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           162 of
                                                                Thereof
                                                                  1415 Page 136 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           163 of
                                                                Thereof
                                                                  1415 Page 137 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                   43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           164 of
                                                                Thereof
                                                                  1415 Page 138 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           165 of
                                                                Thereof
                                                                  1415 Page 139 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           166 of
                                                                Thereof
                                                                  1415 Page 140 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           167 of
                                                                Thereof
                                                                  1415 Page 141 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           168 of
                                                                Thereof
                                                                  1415 Page 142 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           169 of
                                                                Thereof
                                                                  1415 Page 143 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           170 of
                                                                Thereof
                                                                  1415 Page 144 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           171 of
                                                                Thereof
                                                                  1415 Page 145 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           172 of
                                                                Thereof
                                                                  1415 Page 146 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           173 of
                                                                Thereof
                                                                  1415 Page 147 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   24023 East Prospect Avenue
                                                               Aurora, CO 80016

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       June 2, 2025




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           174 of
                                                                Thereof
                                                                  1415 Page 148 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           175 of
                                                                Thereof
                                                                  1415 Page 149 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           176 of
                                                                Thereof
                                                                  1415 Page 150 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           177 of
                                                                Thereof
                                                                  1415 Page 151 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                  September 29       , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           178 of
                                                                Thereof
                                                                  1415 Page 152 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           179 of
                                                                Thereof
                                                                  1415 Page 153 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___          September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
                       29 day of _________,
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           180 of
                                                                Thereof
                                                                  1415 Page 154 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           181 of
                                                                Thereof
                                                                  1415 Page 155 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           182 of
                                                                Thereof
                                                                  1415 Page 156 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           183 of
                                                                Thereof
                                                                  1415 Page 157 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           184 of
                                                                Thereof
                                                                  1415 Page 158 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            185 of
                                                                 Thereof
                                                                   1415 Page 159 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            186 of
                                                                 Thereof
                                                                   1415 Page 160 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          187 of
                                                               Thereof
                                                                 1415 Page 161 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                188 of
                                                     Thereof
                                                       1415 Page 162 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                189 of
                                                     Thereof
                                                       1415 Page 163 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                190 of
                                                     Thereof
                                                       1415 Page 164 of 1376




                 Exhibit C
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           191 of
                                                                Thereof
                                                                  1415 Page 165 of 1376
                                                                               STORE 787




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           192 of
                                                                Thereof
                                                                  1415 Page 166 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           193 of
                                                                Thereof
                                                                  1415 Page 167 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           194 of
                                                                Thereof
                                                                  1415 Page 168 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           195 of
                                                                Thereof
                                                                  1415 Page 169 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           196 of
                                                                Thereof
                                                                  1415 Page 170 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           197 of
                                                                Thereof
                                                                  1415 Page 171 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           198 of
                                                                Thereof
                                                                  1415 Page 172 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           199 of
                                                                Thereof
                                                                  1415 Page 173 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           200 of
                                                                Thereof
                                                                  1415 Page 174 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           201 of
                                                                Thereof
                                                                  1415 Page 175 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           202 of
                                                                Thereof
                                                                  1415 Page 176 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           203 of
                                                                Thereof
                                                                  1415 Page 177 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           204 of
                                                                Thereof
                                                                  1415 Page 178 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           205 of
                                                                Thereof
                                                                  1415 Page 179 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           206 of
                                                                Thereof
                                                                  1415 Page 180 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           207 of
                                                                Thereof
                                                                  1415 Page 181 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           208 of
                                                                Thereof
                                                                  1415 Page 182 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           209 of
                                                                Thereof
                                                                  1415 Page 183 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           210 of
                                                                Thereof
                                                                  1415 Page 184 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           211 of
                                                                Thereof
                                                                  1415 Page 185 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           212 of
                                                                Thereof
                                                                  1415 Page 186 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           213 of
                                                                Thereof
                                                                  1415 Page 187 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           214 of
                                                                Thereof
                                                                  1415 Page 188 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           215 of
                                                                Thereof
                                                                  1415 Page 189 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           216 of
                                                                Thereof
                                                                  1415 Page 190 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           217 of
                                                                Thereof
                                                                  1415 Page 191 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           218 of
                                                                Thereof
                                                                  1415 Page 192 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           219 of
                                                                Thereof
                                                                  1415 Page 193 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           220 of
                                                                Thereof
                                                                  1415 Page 194 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           221 of
                                                                Thereof
                                                                  1415 Page 195 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           222 of
                                                                Thereof
                                                                  1415 Page 196 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           223 of
                                                                Thereof
                                                                  1415 Page 197 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           224 of
                                                                Thereof
                                                                  1415 Page 198 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           225 of
                                                                Thereof
                                                                  1415 Page 199 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           226 of
                                                                Thereof
                                                                  1415 Page 200 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           227 of
                                                                Thereof
                                                                  1415 Page 201 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           228 of
                                                                Thereof
                                                                  1415 Page 202 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           229 of
                                                                Thereof
                                                                  1415 Page 203 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           230 of
                                                                Thereof
                                                                  1415 Page 204 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           231 of
                                                                Thereof
                                                                  1415 Page 205 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           232 of
                                                                Thereof
                                                                  1415 Page 206 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           233 of
                                                                Thereof
                                                                  1415 Page 207 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           234 of
                                                                Thereof
                                                                  1415 Page 208 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           235 of
                                                                Thereof
                                                                  1415 Page 209 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           236 of
                                                                Thereof
                                                                  1415 Page 210 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           237 of
                                                                Thereof
                                                                  1415 Page 211 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           238 of
                                                                Thereof
                                                                  1415 Page 212 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           239 of
                                                                Thereof
                                                                  1415 Page 213 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           240 of
                                                                Thereof
                                                                  1415 Page 214 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           241 of
                                                                Thereof
                                                                  1415 Page 215 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           242 of
                                                                Thereof
                                                                  1415 Page 216 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           243 of
                                                                Thereof
                                                                  1415 Page 217 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           244 of
                                                                Thereof
                                                                  1415 Page 218 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                          9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           245 of
                                                                Thereof
                                                                  1415 Page 219 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   50 West Belleview Avenue
                                                               Englewood, CO 80110

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       August 13, 2025




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           246 of
                                                                Thereof
                                                                  1415 Page 220 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           247 of
                                                                Thereof
                                                                  1415 Page 221 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           248 of
                                                                Thereof
                                                                  1415 Page 222 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           249 of
                                                                Thereof
                                                                  1415 Page 223 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                   September 29      , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           250 of
                                                                Thereof
                                                                  1415 Page 224 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           251 of
                                                                Thereof
                                                                  1415 Page 225 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                      29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           252 of
                                                                Thereof
                                                                  1415 Page 226 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           253 of
                                                                Thereof
                                                                  1415 Page 227 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           254 of
                                                                Thereof
                                                                  1415 Page 228 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           255 of
                                                                Thereof
                                                                  1415 Page 229 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           256 of
                                                                Thereof
                                                                  1415 Page 230 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            257 of
                                                                 Thereof
                                                                   1415 Page 231 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            258 of
                                                                 Thereof
                                                                   1415 Page 232 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          259 of
                                                               Thereof
                                                                 1415 Page 233 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                260 of
                                                     Thereof
                                                       1415 Page 234 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                261 of
                                                     Thereof
                                                       1415 Page 235 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                262 of
                                                     Thereof
                                                       1415 Page 236 of 1376




                 Exhibit D
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           263 of
                                                                Thereof
                                                                  1415 Page 237 of 1376
                                                                               STORE 793




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           264 of
                                                                Thereof
                                                                  1415 Page 238 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           265 of
                                                                Thereof
                                                                  1415 Page 239 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           266 of
                                                                Thereof
                                                                  1415 Page 240 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           267 of
                                                                Thereof
                                                                  1415 Page 241 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           268 of
                                                                Thereof
                                                                  1415 Page 242 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           269 of
                                                                Thereof
                                                                  1415 Page 243 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           270 of
                                                                Thereof
                                                                  1415 Page 244 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           271 of
                                                                Thereof
                                                                  1415 Page 245 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           272 of
                                                                Thereof
                                                                  1415 Page 246 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           273 of
                                                                Thereof
                                                                  1415 Page 247 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           274 of
                                                                Thereof
                                                                  1415 Page 248 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           275 of
                                                                Thereof
                                                                  1415 Page 249 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           276 of
                                                                Thereof
                                                                  1415 Page 250 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           277 of
                                                                Thereof
                                                                  1415 Page 251 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           278 of
                                                                Thereof
                                                                  1415 Page 252 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           279 of
                                                                Thereof
                                                                  1415 Page 253 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           280 of
                                                                Thereof
                                                                  1415 Page 254 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           281 of
                                                                Thereof
                                                                  1415 Page 255 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           282 of
                                                                Thereof
                                                                  1415 Page 256 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           283 of
                                                                Thereof
                                                                  1415 Page 257 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           284 of
                                                                Thereof
                                                                  1415 Page 258 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           285 of
                                                                Thereof
                                                                  1415 Page 259 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           286 of
                                                                Thereof
                                                                  1415 Page 260 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           287 of
                                                                Thereof
                                                                  1415 Page 261 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           288 of
                                                                Thereof
                                                                  1415 Page 262 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           289 of
                                                                Thereof
                                                                  1415 Page 263 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           290 of
                                                                Thereof
                                                                  1415 Page 264 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           291 of
                                                                Thereof
                                                                  1415 Page 265 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           292 of
                                                                Thereof
                                                                  1415 Page 266 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           293 of
                                                                Thereof
                                                                  1415 Page 267 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           294 of
                                                                Thereof
                                                                  1415 Page 268 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           295 of
                                                                Thereof
                                                                  1415 Page 269 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           296 of
                                                                Thereof
                                                                  1415 Page 270 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           297 of
                                                                Thereof
                                                                  1415 Page 271 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           298 of
                                                                Thereof
                                                                  1415 Page 272 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           299 of
                                                                Thereof
                                                                  1415 Page 273 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           300 of
                                                                Thereof
                                                                  1415 Page 274 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           301 of
                                                                Thereof
                                                                  1415 Page 275 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           302 of
                                                                Thereof
                                                                  1415 Page 276 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           303 of
                                                                Thereof
                                                                  1415 Page 277 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           304 of
                                                                Thereof
                                                                  1415 Page 278 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           305 of
                                                                Thereof
                                                                  1415 Page 279 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           306 of
                                                                Thereof
                                                                  1415 Page 280 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           307 of
                                                                Thereof
                                                                  1415 Page 281 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           308 of
                                                                Thereof
                                                                  1415 Page 282 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           309 of
                                                                Thereof
                                                                  1415 Page 283 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           310 of
                                                                Thereof
                                                                  1415 Page 284 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           311 of
                                                                Thereof
                                                                  1415 Page 285 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           312 of
                                                                Thereof
                                                                  1415 Page 286 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           313 of
                                                                Thereof
                                                                  1415 Page 287 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           314 of
                                                                Thereof
                                                                  1415 Page 288 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           315 of
                                                                Thereof
                                                                  1415 Page 289 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           316 of
                                                                Thereof
                                                                  1415 Page 290 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                           9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           317 of
                                                                Thereof
                                                                  1415 Page 291 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

                 1. Notice Address of Franchisee:              1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            2.       Location of Restaurant:                   5240 South Wadsworth Blvd.
                                                               Lakewood, CO 80123

            3.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            4.       Date of Takeover:                         October 4, 2023

            5.       Date of Expiration:                       September 22, 2025




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           318 of
                                                                Thereof
                                                                  1415 Page 292 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           319 of
                                                                Thereof
                                                                  1415 Page 293 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           320 of
                                                                Thereof
                                                                  1415 Page 294 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           321 of
                                                                Thereof
                                                                  1415 Page 295 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                    September 29     , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           322 of
                                                                Thereof
                                                                  1415 Page 296 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           323 of
                                                                Thereof
                                                                  1415 Page 297 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                      29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           324 of
                                                                Thereof
                                                                  1415 Page 298 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           325 of
                                                                Thereof
                                                                  1415 Page 299 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           326 of
                                                                Thereof
                                                                  1415 Page 300 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           327 of
                                                                Thereof
                                                                  1415 Page 301 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           328 of
                                                                Thereof
                                                                  1415 Page 302 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            329 of
                                                                 Thereof
                                                                   1415 Page 303 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            330 of
                                                                 Thereof
                                                                   1415 Page 304 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          331 of
                                                               Thereof
                                                                 1415 Page 305 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                332 of
                                                     Thereof
                                                       1415 Page 306 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                333 of
                                                     Thereof
                                                       1415 Page 307 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                334 of
                                                     Thereof
                                                       1415 Page 308 of 1376




                  Exhibit E
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           335 of
                                                                Thereof
                                                                  1415 Page 309 of 1376
                                                                               STORE 863




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           336 of
                                                                Thereof
                                                                  1415 Page 310 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           337 of
                                                                Thereof
                                                                  1415 Page 311 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
                                                                                                       September
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           338 of
                                                                Thereof
                                                                  1415 Page 312 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           339 of
                                                                Thereof
                                                                  1415 Page 313 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           340 of
                                                                Thereof
                                                                  1415 Page 314 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           341 of
                                                                Thereof
                                                                  1415 Page 315 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           342 of
                                                                Thereof
                                                                  1415 Page 316 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           343 of
                                                                Thereof
                                                                  1415 Page 317 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           344 of
                                                                Thereof
                                                                  1415 Page 318 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           345 of
                                                                Thereof
                                                                  1415 Page 319 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           346 of
                                                                Thereof
                                                                  1415 Page 320 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           347 of
                                                                Thereof
                                                                  1415 Page 321 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           348 of
                                                                Thereof
                                                                  1415 Page 322 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           349 of
                                                                Thereof
                                                                  1415 Page 323 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           350 of
                                                                Thereof
                                                                  1415 Page 324 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           351 of
                                                                Thereof
                                                                  1415 Page 325 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           352 of
                                                                Thereof
                                                                  1415 Page 326 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           353 of
                                                                Thereof
                                                                  1415 Page 327 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           354 of
                                                                Thereof
                                                                  1415 Page 328 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           355 of
                                                                Thereof
                                                                  1415 Page 329 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           356 of
                                                                Thereof
                                                                  1415 Page 330 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           357 of
                                                                Thereof
                                                                  1415 Page 331 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           358 of
                                                                Thereof
                                                                  1415 Page 332 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           359 of
                                                                Thereof
                                                                  1415 Page 333 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           360 of
                                                                Thereof
                                                                  1415 Page 334 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           361 of
                                                                Thereof
                                                                  1415 Page 335 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           362 of
                                                                Thereof
                                                                  1415 Page 336 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           363 of
                                                                Thereof
                                                                  1415 Page 337 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           364 of
                                                                Thereof
                                                                  1415 Page 338 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           365 of
                                                                Thereof
                                                                  1415 Page 339 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           366 of
                                                                Thereof
                                                                  1415 Page 340 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           367 of
                                                                Thereof
                                                                  1415 Page 341 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           368 of
                                                                Thereof
                                                                  1415 Page 342 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           369 of
                                                                Thereof
                                                                  1415 Page 343 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           370 of
                                                                Thereof
                                                                  1415 Page 344 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           371 of
                                                                Thereof
                                                                  1415 Page 345 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           372 of
                                                                Thereof
                                                                  1415 Page 346 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           373 of
                                                                Thereof
                                                                  1415 Page 347 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           374 of
                                                                Thereof
                                                                  1415 Page 348 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           375 of
                                                                Thereof
                                                                  1415 Page 349 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           376 of
                                                                Thereof
                                                                  1415 Page 350 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           377 of
                                                                Thereof
                                                                  1415 Page 351 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           378 of
                                                                Thereof
                                                                  1415 Page 352 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           379 of
                                                                Thereof
                                                                  1415 Page 353 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                   43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           380 of
                                                                Thereof
                                                                  1415 Page 354 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           381 of
                                                                Thereof
                                                                  1415 Page 355 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           382 of
                                                                Thereof
                                                                  1415 Page 356 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           383 of
                                                                Thereof
                                                                  1415 Page 357 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           384 of
                                                                Thereof
                                                                  1415 Page 358 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           385 of
                                                                Thereof
                                                                  1415 Page 359 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           386 of
                                                                Thereof
                                                                  1415 Page 360 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           387 of
                                                                Thereof
                                                                  1415 Page 361 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           388 of
                                                                Thereof
                                                                  1415 Page 362 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           389 of
                                                                Thereof
                                                                  1415 Page 363 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   570 East Bromley Lane
                                                               Brighton, CO 80601

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       March 3, 2041




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           390 of
                                                                Thereof
                                                                  1415 Page 364 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           391 of
                                                                Thereof
                                                                  1415 Page 365 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           392 of
                                                                Thereof
                                                                  1415 Page 366 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           393 of
                                                                Thereof
                                                                  1415 Page 367 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
                                   September 29
            (“Franchisee”), dated ________________   , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           394 of
                                                                Thereof
                                                                  1415 Page 368 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           395 of
                                                                Thereof
                                                                  1415 Page 369 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                  September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           396 of
                                                                Thereof
                                                                  1415 Page 370 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           397 of
                                                                Thereof
                                                                  1415 Page 371 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           398 of
                                                                Thereof
                                                                  1415 Page 372 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           399 of
                                                                Thereof
                                                                  1415 Page 373 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           400 of
                                                                Thereof
                                                                  1415 Page 374 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            401 of
                                                                 Thereof
                                                                   1415 Page 375 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            402 of
                                                                 Thereof
                                                                   1415 Page 376 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          403 of
                                                               Thereof
                                                                 1415 Page 377 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                404 of
                                                     Thereof
                                                       1415 Page 378 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                405 of
                                                     Thereof
                                                       1415 Page 379 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                406 of
                                                     Thereof
                                                       1415 Page 380 of 1376




                  Exhibit F
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           407 of
                                                                Thereof
                                                                  1415 Page 381 of 1376
                                                                               STORE 864




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           408 of
                                                                Thereof
                                                                  1415 Page 382 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           409 of
                                                                Thereof
                                                                  1415 Page 383 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the 29
                                                                                           ____ day of __________,
                                                                                                        September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           410 of
                                                                Thereof
                                                                  1415 Page 384 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           411 of
                                                                Thereof
                                                                  1415 Page 385 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           412 of
                                                                Thereof
                                                                  1415 Page 386 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           413 of
                                                                Thereof
                                                                  1415 Page 387 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           414 of
                                                                Thereof
                                                                  1415 Page 388 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           415 of
                                                                Thereof
                                                                  1415 Page 389 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           416 of
                                                                Thereof
                                                                  1415 Page 390 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           417 of
                                                                Thereof
                                                                  1415 Page 391 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           418 of
                                                                Thereof
                                                                  1415 Page 392 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           419 of
                                                                Thereof
                                                                  1415 Page 393 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           420 of
                                                                Thereof
                                                                  1415 Page 394 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           421 of
                                                                Thereof
                                                                  1415 Page 395 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           422 of
                                                                Thereof
                                                                  1415 Page 396 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           423 of
                                                                Thereof
                                                                  1415 Page 397 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           424 of
                                                                Thereof
                                                                  1415 Page 398 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           425 of
                                                                Thereof
                                                                  1415 Page 399 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           426 of
                                                                Thereof
                                                                  1415 Page 400 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           427 of
                                                                Thereof
                                                                  1415 Page 401 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           428 of
                                                                Thereof
                                                                  1415 Page 402 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           429 of
                                                                Thereof
                                                                  1415 Page 403 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           430 of
                                                                Thereof
                                                                  1415 Page 404 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           431 of
                                                                Thereof
                                                                  1415 Page 405 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           432 of
                                                                Thereof
                                                                  1415 Page 406 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           433 of
                                                                Thereof
                                                                  1415 Page 407 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           434 of
                                                                Thereof
                                                                  1415 Page 408 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           435 of
                                                                Thereof
                                                                  1415 Page 409 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           436 of
                                                                Thereof
                                                                  1415 Page 410 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           437 of
                                                                Thereof
                                                                  1415 Page 411 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           438 of
                                                                Thereof
                                                                  1415 Page 412 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           439 of
                                                                Thereof
                                                                  1415 Page 413 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           440 of
                                                                Thereof
                                                                  1415 Page 414 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           441 of
                                                                Thereof
                                                                  1415 Page 415 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           442 of
                                                                Thereof
                                                                  1415 Page 416 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           443 of
                                                                Thereof
                                                                  1415 Page 417 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           444 of
                                                                Thereof
                                                                  1415 Page 418 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           445 of
                                                                Thereof
                                                                  1415 Page 419 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           446 of
                                                                Thereof
                                                                  1415 Page 420 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           447 of
                                                                Thereof
                                                                  1415 Page 421 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           448 of
                                                                Thereof
                                                                  1415 Page 422 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           449 of
                                                                Thereof
                                                                  1415 Page 423 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           450 of
                                                                Thereof
                                                                  1415 Page 424 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           451 of
                                                                Thereof
                                                                  1415 Page 425 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           452 of
                                                                Thereof
                                                                  1415 Page 426 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           453 of
                                                                Thereof
                                                                  1415 Page 427 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           454 of
                                                                Thereof
                                                                  1415 Page 428 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           455 of
                                                                Thereof
                                                                  1415 Page 429 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           456 of
                                                                Thereof
                                                                  1415 Page 430 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           457 of
                                                                Thereof
                                                                  1415 Page 431 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           458 of
                                                                Thereof
                                                                  1415 Page 432 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           459 of
                                                                Thereof
                                                                  1415 Page 433 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           460 of
                                                                Thereof
                                                                  1415 Page 434 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                       9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           461 of
                                                                Thereof
                                                                  1415 Page 435 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   14400 East Colfax Avenue
                                                               Aurora, CO 80011

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023
            6.       Date of Expiration:                       June 28, 2041




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           462 of
                                                                Thereof
                                                                  1415 Page 436 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           463 of
                                                                Thereof
                                                                  1415 Page 437 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           464 of
                                                                Thereof
                                                                  1415 Page 438 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           465 of
                                                                Thereof
                                                                  1415 Page 439 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                   September 29      , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           466 of
                                                                Thereof
                                                                  1415 Page 440 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           467 of
                                                                Thereof
                                                                  1415 Page 441 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           468 of
                                                                Thereof
                                                                  1415 Page 442 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           469 of
                                                                Thereof
                                                                  1415 Page 443 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           470 of
                                                                Thereof
                                                                  1415 Page 444 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           471 of
                                                                Thereof
                                                                  1415 Page 445 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           472 of
                                                                Thereof
                                                                  1415 Page 446 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            473 of
                                                                 Thereof
                                                                   1415 Page 447 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            474 of
                                                                 Thereof
                                                                   1415 Page 448 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          475 of
                                                               Thereof
                                                                 1415 Page 449 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                476 of
                                                     Thereof
                                                       1415 Page 450 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                477 of
                                                     Thereof
                                                       1415 Page 451 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                478 of
                                                     Thereof
                                                       1415 Page 452 of 1376




                 Exhibit G
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           479 of
                                                                Thereof
                                                                  1415 Page 453 of 1376
                                                                               STORE 1001




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           480 of
                                                                Thereof
                                                                  1415 Page 454 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           481 of
                                                                Thereof
                                                                  1415 Page 455 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the 29
                                                                                           ____ day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           482 of
                                                                Thereof
                                                                  1415 Page 456 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           483 of
                                                                Thereof
                                                                  1415 Page 457 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           484 of
                                                                Thereof
                                                                  1415 Page 458 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           485 of
                                                                Thereof
                                                                  1415 Page 459 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           486 of
                                                                Thereof
                                                                  1415 Page 460 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           487 of
                                                                Thereof
                                                                  1415 Page 461 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           488 of
                                                                Thereof
                                                                  1415 Page 462 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           489 of
                                                                Thereof
                                                                  1415 Page 463 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           490 of
                                                                Thereof
                                                                  1415 Page 464 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           491 of
                                                                Thereof
                                                                  1415 Page 465 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           492 of
                                                                Thereof
                                                                  1415 Page 466 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           493 of
                                                                Thereof
                                                                  1415 Page 467 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           494 of
                                                                Thereof
                                                                  1415 Page 468 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           495 of
                                                                Thereof
                                                                  1415 Page 469 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           496 of
                                                                Thereof
                                                                  1415 Page 470 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           497 of
                                                                Thereof
                                                                  1415 Page 471 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           498 of
                                                                Thereof
                                                                  1415 Page 472 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           499 of
                                                                Thereof
                                                                  1415 Page 473 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           500 of
                                                                Thereof
                                                                  1415 Page 474 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           501 of
                                                                Thereof
                                                                  1415 Page 475 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           502 of
                                                                Thereof
                                                                  1415 Page 476 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           503 of
                                                                Thereof
                                                                  1415 Page 477 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           504 of
                                                                Thereof
                                                                  1415 Page 478 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           505 of
                                                                Thereof
                                                                  1415 Page 479 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           506 of
                                                                Thereof
                                                                  1415 Page 480 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           507 of
                                                                Thereof
                                                                  1415 Page 481 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           508 of
                                                                Thereof
                                                                  1415 Page 482 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           509 of
                                                                Thereof
                                                                  1415 Page 483 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           510 of
                                                                Thereof
                                                                  1415 Page 484 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           511 of
                                                                Thereof
                                                                  1415 Page 485 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           512 of
                                                                Thereof
                                                                  1415 Page 486 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           513 of
                                                                Thereof
                                                                  1415 Page 487 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           514 of
                                                                Thereof
                                                                  1415 Page 488 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           515 of
                                                                Thereof
                                                                  1415 Page 489 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           516 of
                                                                Thereof
                                                                  1415 Page 490 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           517 of
                                                                Thereof
                                                                  1415 Page 491 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           518 of
                                                                Thereof
                                                                  1415 Page 492 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           519 of
                                                                Thereof
                                                                  1415 Page 493 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           520 of
                                                                Thereof
                                                                  1415 Page 494 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           521 of
                                                                Thereof
                                                                  1415 Page 495 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           522 of
                                                                Thereof
                                                                  1415 Page 496 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           523 of
                                                                Thereof
                                                                  1415 Page 497 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           524 of
                                                                Thereof
                                                                  1415 Page 498 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           525 of
                                                                Thereof
                                                                  1415 Page 499 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           526 of
                                                                Thereof
                                                                  1415 Page 500 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           527 of
                                                                Thereof
                                                                  1415 Page 501 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           528 of
                                                                Thereof
                                                                  1415 Page 502 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           529 of
                                                                Thereof
                                                                  1415 Page 503 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           530 of
                                                                Thereof
                                                                  1415 Page 504 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           531 of
                                                                Thereof
                                                                  1415 Page 505 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           532 of
                                                                Thereof
                                                                  1415 Page 506 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                        9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           533 of
                                                                Thereof
                                                                  1415 Page 507 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   11053 I-25 Frontage Road
                                                               Firestone, CO 80504

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       March 15, 2026




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           534 of
                                                                Thereof
                                                                  1415 Page 508 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           535 of
                                                                Thereof
                                                                  1415 Page 509 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           536 of
                                                                Thereof
                                                                  1415 Page 510 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           537 of
                                                                Thereof
                                                                  1415 Page 511 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                  September 29       , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           538 of
                                                                Thereof
                                                                  1415 Page 512 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           539 of
                                                                Thereof
                                                                  1415 Page 513 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                      29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           540 of
                                                                Thereof
                                                                  1415 Page 514 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           541 of
                                                                Thereof
                                                                  1415 Page 515 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           542 of
                                                                Thereof
                                                                  1415 Page 516 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           543 of
                                                                Thereof
                                                                  1415 Page 517 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           544 of
                                                                Thereof
                                                                  1415 Page 518 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            545 of
                                                                 Thereof
                                                                   1415 Page 519 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            546 of
                                                                 Thereof
                                                                   1415 Page 520 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          547 of
                                                               Thereof
                                                                 1415 Page 521 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                548 of
                                                     Thereof
                                                       1415 Page 522 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                549 of
                                                     Thereof
                                                       1415 Page 523 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                550 of
                                                     Thereof
                                                       1415 Page 524 of 1376




                 Exhibit H
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           551 of
                                                                Thereof
                                                                  1415 Page 525 of 1376
                                                                               STORE 1002




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           552 of
                                                                Thereof
                                                                  1415 Page 526 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           553 of
                                                                Thereof
                                                                  1415 Page 527 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                           29 day of __________,
                                                                                                     September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           554 of
                                                                Thereof
                                                                  1415 Page 528 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           555 of
                                                                Thereof
                                                                  1415 Page 529 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           556 of
                                                                Thereof
                                                                  1415 Page 530 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           557 of
                                                                Thereof
                                                                  1415 Page 531 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           558 of
                                                                Thereof
                                                                  1415 Page 532 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           559 of
                                                                Thereof
                                                                  1415 Page 533 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           560 of
                                                                Thereof
                                                                  1415 Page 534 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           561 of
                                                                Thereof
                                                                  1415 Page 535 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           562 of
                                                                Thereof
                                                                  1415 Page 536 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           563 of
                                                                Thereof
                                                                  1415 Page 537 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           564 of
                                                                Thereof
                                                                  1415 Page 538 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           565 of
                                                                Thereof
                                                                  1415 Page 539 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           566 of
                                                                Thereof
                                                                  1415 Page 540 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           567 of
                                                                Thereof
                                                                  1415 Page 541 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           568 of
                                                                Thereof
                                                                  1415 Page 542 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           569 of
                                                                Thereof
                                                                  1415 Page 543 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           570 of
                                                                Thereof
                                                                  1415 Page 544 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           571 of
                                                                Thereof
                                                                  1415 Page 545 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           572 of
                                                                Thereof
                                                                  1415 Page 546 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           573 of
                                                                Thereof
                                                                  1415 Page 547 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           574 of
                                                                Thereof
                                                                  1415 Page 548 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           575 of
                                                                Thereof
                                                                  1415 Page 549 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           576 of
                                                                Thereof
                                                                  1415 Page 550 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           577 of
                                                                Thereof
                                                                  1415 Page 551 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           578 of
                                                                Thereof
                                                                  1415 Page 552 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           579 of
                                                                Thereof
                                                                  1415 Page 553 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           580 of
                                                                Thereof
                                                                  1415 Page 554 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           581 of
                                                                Thereof
                                                                  1415 Page 555 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           582 of
                                                                Thereof
                                                                  1415 Page 556 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           583 of
                                                                Thereof
                                                                  1415 Page 557 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           584 of
                                                                Thereof
                                                                  1415 Page 558 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           585 of
                                                                Thereof
                                                                  1415 Page 559 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           586 of
                                                                Thereof
                                                                  1415 Page 560 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           587 of
                                                                Thereof
                                                                  1415 Page 561 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           588 of
                                                                Thereof
                                                                  1415 Page 562 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           589 of
                                                                Thereof
                                                                  1415 Page 563 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           590 of
                                                                Thereof
                                                                  1415 Page 564 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           591 of
                                                                Thereof
                                                                  1415 Page 565 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           592 of
                                                                Thereof
                                                                  1415 Page 566 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           593 of
                                                                Thereof
                                                                  1415 Page 567 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           594 of
                                                                Thereof
                                                                  1415 Page 568 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           595 of
                                                                Thereof
                                                                  1415 Page 569 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           596 of
                                                                Thereof
                                                                  1415 Page 570 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           597 of
                                                                Thereof
                                                                  1415 Page 571 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           598 of
                                                                Thereof
                                                                  1415 Page 572 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           599 of
                                                                Thereof
                                                                  1415 Page 573 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           600 of
                                                                Thereof
                                                                  1415 Page 574 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           601 of
                                                                Thereof
                                                                  1415 Page 575 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           602 of
                                                                Thereof
                                                                  1415 Page 576 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           603 of
                                                                Thereof
                                                                  1415 Page 577 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           604 of
                                                                Thereof
                                                                  1415 Page 578 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           605 of
                                                                Thereof
                                                                  1415 Page 579 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   3465 North Salida Street
                                                               Aurora, CO 80011

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                        October 4, 2023
            6.       Date of Expiration:                       February 6, 2026




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           606 of
                                                                Thereof
                                                                  1415 Page 580 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           607 of
                                                                Thereof
                                                                  1415 Page 581 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           608 of
                                                                Thereof
                                                                  1415 Page 582 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           609 of
                                                                Thereof
                                                                  1415 Page 583 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                   September 29      , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           610 of
                                                                Thereof
                                                                  1415 Page 584 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           611 of
                                                                Thereof
                                                                  1415 Page 585 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           612 of
                                                                Thereof
                                                                  1415 Page 586 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           613 of
                                                                Thereof
                                                                  1415 Page 587 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           614 of
                                                                Thereof
                                                                  1415 Page 588 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           615 of
                                                                Thereof
                                                                  1415 Page 589 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           616 of
                                                                Thereof
                                                                  1415 Page 590 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            617 of
                                                                 Thereof
                                                                   1415 Page 591 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            618 of
                                                                 Thereof
                                                                   1415 Page 592 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          619 of
                                                               Thereof
                                                                 1415 Page 593 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                620 of
                                                     Thereof
                                                       1415 Page 594 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                621 of
                                                     Thereof
                                                       1415 Page 595 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                622 of
                                                     Thereof
                                                       1415 Page 596 of 1376




                   Exhibit I
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           623 of
                                                                Thereof
                                                                  1415 Page 597 of 1376
                                                                               STORE 1025




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           624 of
                                                                Thereof
                                                                  1415 Page 598 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           625 of
                                                                Thereof
                                                                  1415 Page 599 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           626 of
                                                                Thereof
                                                                  1415 Page 600 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           627 of
                                                                Thereof
                                                                  1415 Page 601 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           628 of
                                                                Thereof
                                                                  1415 Page 602 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           629 of
                                                                Thereof
                                                                  1415 Page 603 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           630 of
                                                                Thereof
                                                                  1415 Page 604 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           631 of
                                                                Thereof
                                                                  1415 Page 605 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           632 of
                                                                Thereof
                                                                  1415 Page 606 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           633 of
                                                                Thereof
                                                                  1415 Page 607 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           634 of
                                                                Thereof
                                                                  1415 Page 608 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           635 of
                                                                Thereof
                                                                  1415 Page 609 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           636 of
                                                                Thereof
                                                                  1415 Page 610 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           637 of
                                                                Thereof
                                                                  1415 Page 611 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           638 of
                                                                Thereof
                                                                  1415 Page 612 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           639 of
                                                                Thereof
                                                                  1415 Page 613 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           640 of
                                                                Thereof
                                                                  1415 Page 614 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           641 of
                                                                Thereof
                                                                  1415 Page 615 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           642 of
                                                                Thereof
                                                                  1415 Page 616 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           643 of
                                                                Thereof
                                                                  1415 Page 617 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           644 of
                                                                Thereof
                                                                  1415 Page 618 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           645 of
                                                                Thereof
                                                                  1415 Page 619 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           646 of
                                                                Thereof
                                                                  1415 Page 620 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           647 of
                                                                Thereof
                                                                  1415 Page 621 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           648 of
                                                                Thereof
                                                                  1415 Page 622 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           649 of
                                                                Thereof
                                                                  1415 Page 623 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           650 of
                                                                Thereof
                                                                  1415 Page 624 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           651 of
                                                                Thereof
                                                                  1415 Page 625 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           652 of
                                                                Thereof
                                                                  1415 Page 626 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           653 of
                                                                Thereof
                                                                  1415 Page 627 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           654 of
                                                                Thereof
                                                                  1415 Page 628 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           655 of
                                                                Thereof
                                                                  1415 Page 629 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           656 of
                                                                Thereof
                                                                  1415 Page 630 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           657 of
                                                                Thereof
                                                                  1415 Page 631 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           658 of
                                                                Thereof
                                                                  1415 Page 632 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           659 of
                                                                Thereof
                                                                  1415 Page 633 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           660 of
                                                                Thereof
                                                                  1415 Page 634 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           661 of
                                                                Thereof
                                                                  1415 Page 635 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           662 of
                                                                Thereof
                                                                  1415 Page 636 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           663 of
                                                                Thereof
                                                                  1415 Page 637 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           664 of
                                                                Thereof
                                                                  1415 Page 638 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           665 of
                                                                Thereof
                                                                  1415 Page 639 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           666 of
                                                                Thereof
                                                                  1415 Page 640 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           667 of
                                                                Thereof
                                                                  1415 Page 641 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                   43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           668 of
                                                                Thereof
                                                                  1415 Page 642 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           669 of
                                                                Thereof
                                                                  1415 Page 643 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           670 of
                                                                Thereof
                                                                  1415 Page 644 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           671 of
                                                                Thereof
                                                                  1415 Page 645 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           672 of
                                                                Thereof
                                                                  1415 Page 646 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           673 of
                                                                Thereof
                                                                  1415 Page 647 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           674 of
                                                                Thereof
                                                                  1415 Page 648 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           675 of
                                                                Thereof
                                                                  1415 Page 649 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           676 of
                                                                Thereof
                                                                  1415 Page 650 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                        9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           677 of
                                                                Thereof
                                                                  1415 Page 651 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   8100 East 49th Avenue Parkway
                                                               Denver, CO 80239

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023
            6.       Date of Expiration:                       December 5, 2026




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           678 of
                                                                Thereof
                                                                  1415 Page 652 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           679 of
                                                                Thereof
                                                                  1415 Page 653 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           680 of
                                                                Thereof
                                                                  1415 Page 654 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           681 of
                                                                Thereof
                                                                  1415 Page 655 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                   September 29      , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           682 of
                                                                Thereof
                                                                  1415 Page 656 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           683 of
                                                                Thereof
                                                                  1415 Page 657 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           684 of
                                                                Thereof
                                                                  1415 Page 658 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           685 of
                                                                Thereof
                                                                  1415 Page 659 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           686 of
                                                                Thereof
                                                                  1415 Page 660 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           687 of
                                                                Thereof
                                                                  1415 Page 661 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           688 of
                                                                Thereof
                                                                  1415 Page 662 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            689 of
                                                                 Thereof
                                                                   1415 Page 663 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            690 of
                                                                 Thereof
                                                                   1415 Page 664 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          691 of
                                                               Thereof
                                                                 1415 Page 665 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                692 of
                                                     Thereof
                                                       1415 Page 666 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                693 of
                                                     Thereof
                                                       1415 Page 667 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                694 of
                                                     Thereof
                                                       1415 Page 668 of 1376




                   Exhibit J
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           695 of
                                                                Thereof
                                                                  1415 Page 669 of 1376
                                                                               STORE 1034




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           696 of
                                                                Thereof
                                                                  1415 Page 670 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           697 of
                                                                Thereof
                                                                  1415 Page 671 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                        September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           698 of
                                                                Thereof
                                                                  1415 Page 672 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           699 of
                                                                Thereof
                                                                  1415 Page 673 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           700 of
                                                                Thereof
                                                                  1415 Page 674 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           701 of
                                                                Thereof
                                                                  1415 Page 675 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           702 of
                                                                Thereof
                                                                  1415 Page 676 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           703 of
                                                                Thereof
                                                                  1415 Page 677 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           704 of
                                                                Thereof
                                                                  1415 Page 678 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           705 of
                                                                Thereof
                                                                  1415 Page 679 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           706 of
                                                                Thereof
                                                                  1415 Page 680 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           707 of
                                                                Thereof
                                                                  1415 Page 681 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           708 of
                                                                Thereof
                                                                  1415 Page 682 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           709 of
                                                                Thereof
                                                                  1415 Page 683 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           710 of
                                                                Thereof
                                                                  1415 Page 684 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           711 of
                                                                Thereof
                                                                  1415 Page 685 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           712 of
                                                                Thereof
                                                                  1415 Page 686 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           713 of
                                                                Thereof
                                                                  1415 Page 687 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           714 of
                                                                Thereof
                                                                  1415 Page 688 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           715 of
                                                                Thereof
                                                                  1415 Page 689 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           716 of
                                                                Thereof
                                                                  1415 Page 690 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           717 of
                                                                Thereof
                                                                  1415 Page 691 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           718 of
                                                                Thereof
                                                                  1415 Page 692 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           719 of
                                                                Thereof
                                                                  1415 Page 693 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           720 of
                                                                Thereof
                                                                  1415 Page 694 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           721 of
                                                                Thereof
                                                                  1415 Page 695 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           722 of
                                                                Thereof
                                                                  1415 Page 696 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           723 of
                                                                Thereof
                                                                  1415 Page 697 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           724 of
                                                                Thereof
                                                                  1415 Page 698 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           725 of
                                                                Thereof
                                                                  1415 Page 699 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           726 of
                                                                Thereof
                                                                  1415 Page 700 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           727 of
                                                                Thereof
                                                                  1415 Page 701 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           728 of
                                                                Thereof
                                                                  1415 Page 702 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           729 of
                                                                Thereof
                                                                  1415 Page 703 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           730 of
                                                                Thereof
                                                                  1415 Page 704 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           731 of
                                                                Thereof
                                                                  1415 Page 705 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           732 of
                                                                Thereof
                                                                  1415 Page 706 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           733 of
                                                                Thereof
                                                                  1415 Page 707 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           734 of
                                                                Thereof
                                                                  1415 Page 708 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           735 of
                                                                Thereof
                                                                  1415 Page 709 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           736 of
                                                                Thereof
                                                                  1415 Page 710 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           737 of
                                                                Thereof
                                                                  1415 Page 711 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           738 of
                                                                Thereof
                                                                  1415 Page 712 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           739 of
                                                                Thereof
                                                                  1415 Page 713 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           740 of
                                                                Thereof
                                                                  1415 Page 714 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           741 of
                                                                Thereof
                                                                  1415 Page 715 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           742 of
                                                                Thereof
                                                                  1415 Page 716 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           743 of
                                                                Thereof
                                                                  1415 Page 717 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           744 of
                                                                Thereof
                                                                  1415 Page 718 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           745 of
                                                                Thereof
                                                                  1415 Page 719 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           746 of
                                                                Thereof
                                                                  1415 Page 720 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           747 of
                                                                Thereof
                                                                  1415 Page 721 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           748 of
                                                                Thereof
                                                                  1415 Page 722 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           749 of
                                                                Thereof
                                                                  1415 Page 723 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   2913 23rd Avenue
                                                               Greeley, CO 80631

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                        October 4, 2023

            6.       Date of Expiration:                       January 1, 2027




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           750 of
                                                                Thereof
                                                                  1415 Page 724 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           751 of
                                                                Thereof
                                                                  1415 Page 725 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           752 of
                                                                Thereof
                                                                  1415 Page 726 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           753 of
                                                                Thereof
                                                                  1415 Page 727 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                   September 29      , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           754 of
                                                                Thereof
                                                                  1415 Page 728 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           755 of
                                                                Thereof
                                                                  1415 Page 729 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                      29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           756 of
                                                                Thereof
                                                                  1415 Page 730 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           757 of
                                                                Thereof
                                                                  1415 Page 731 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           758 of
                                                                Thereof
                                                                  1415 Page 732 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           759 of
                                                                Thereof
                                                                  1415 Page 733 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           760 of
                                                                Thereof
                                                                  1415 Page 734 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            761 of
                                                                 Thereof
                                                                   1415 Page 735 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            762 of
                                                                 Thereof
                                                                   1415 Page 736 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          763 of
                                                               Thereof
                                                                 1415 Page 737 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                764 of
                                                     Thereof
                                                       1415 Page 738 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                765 of
                                                     Thereof
                                                       1415 Page 739 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                766 of
                                                     Thereof
                                                       1415 Page 740 of 1376




                 Exhibit K
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           767 of
                                                                Thereof
                                                                  1415 Page 741 of 1376
                                                                               STORE 1043




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           768 of
                                                                Thereof
                                                                  1415 Page 742 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           769 of
                                                                Thereof
                                                                  1415 Page 743 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           770 of
                                                                Thereof
                                                                  1415 Page 744 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           771 of
                                                                Thereof
                                                                  1415 Page 745 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           772 of
                                                                Thereof
                                                                  1415 Page 746 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           773 of
                                                                Thereof
                                                                  1415 Page 747 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           774 of
                                                                Thereof
                                                                  1415 Page 748 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           775 of
                                                                Thereof
                                                                  1415 Page 749 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           776 of
                                                                Thereof
                                                                  1415 Page 750 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           777 of
                                                                Thereof
                                                                  1415 Page 751 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           778 of
                                                                Thereof
                                                                  1415 Page 752 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           779 of
                                                                Thereof
                                                                  1415 Page 753 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           780 of
                                                                Thereof
                                                                  1415 Page 754 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           781 of
                                                                Thereof
                                                                  1415 Page 755 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           782 of
                                                                Thereof
                                                                  1415 Page 756 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           783 of
                                                                Thereof
                                                                  1415 Page 757 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           784 of
                                                                Thereof
                                                                  1415 Page 758 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           785 of
                                                                Thereof
                                                                  1415 Page 759 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           786 of
                                                                Thereof
                                                                  1415 Page 760 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           787 of
                                                                Thereof
                                                                  1415 Page 761 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           788 of
                                                                Thereof
                                                                  1415 Page 762 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           789 of
                                                                Thereof
                                                                  1415 Page 763 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           790 of
                                                                Thereof
                                                                  1415 Page 764 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           791 of
                                                                Thereof
                                                                  1415 Page 765 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           792 of
                                                                Thereof
                                                                  1415 Page 766 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           793 of
                                                                Thereof
                                                                  1415 Page 767 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           794 of
                                                                Thereof
                                                                  1415 Page 768 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           795 of
                                                                Thereof
                                                                  1415 Page 769 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           796 of
                                                                Thereof
                                                                  1415 Page 770 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           797 of
                                                                Thereof
                                                                  1415 Page 771 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           798 of
                                                                Thereof
                                                                  1415 Page 772 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           799 of
                                                                Thereof
                                                                  1415 Page 773 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           800 of
                                                                Thereof
                                                                  1415 Page 774 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           801 of
                                                                Thereof
                                                                  1415 Page 775 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           802 of
                                                                Thereof
                                                                  1415 Page 776 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           803 of
                                                                Thereof
                                                                  1415 Page 777 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           804 of
                                                                Thereof
                                                                  1415 Page 778 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           805 of
                                                                Thereof
                                                                  1415 Page 779 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           806 of
                                                                Thereof
                                                                  1415 Page 780 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           807 of
                                                                Thereof
                                                                  1415 Page 781 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           808 of
                                                                Thereof
                                                                  1415 Page 782 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           809 of
                                                                Thereof
                                                                  1415 Page 783 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           810 of
                                                                Thereof
                                                                  1415 Page 784 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           811 of
                                                                Thereof
                                                                  1415 Page 785 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                   43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           812 of
                                                                Thereof
                                                                  1415 Page 786 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           813 of
                                                                Thereof
                                                                  1415 Page 787 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           814 of
                                                                Thereof
                                                                  1415 Page 788 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           815 of
                                                                Thereof
                                                                  1415 Page 789 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           816 of
                                                                Thereof
                                                                  1415 Page 790 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           817 of
                                                                Thereof
                                                                  1415 Page 791 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           818 of
                                                                Thereof
                                                                  1415 Page 792 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           819 of
                                                                Thereof
                                                                  1415 Page 793 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           820 of
                                                                Thereof
                                                                  1415 Page 794 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           821 of
                                                                Thereof
                                                                  1415 Page 795 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   11155 East Arapahoe Place
                                                               Centennial, CO 80015

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:
                                                                October 4, 2023
            6.       Date of Expiration:                       September 28, 2027




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           822 of
                                                                Thereof
                                                                  1415 Page 796 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           823 of
                                                                Thereof
                                                                  1415 Page 797 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           824 of
                                                                Thereof
                                                                  1415 Page 798 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           825 of
                                                                Thereof
                                                                  1415 Page 799 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                    September 29     , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           826 of
                                                                Thereof
                                                                  1415 Page 800 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           827 of
                                                                Thereof
                                                                  1415 Page 801 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           828 of
                                                                Thereof
                                                                  1415 Page 802 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           829 of
                                                                Thereof
                                                                  1415 Page 803 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           830 of
                                                                Thereof
                                                                  1415 Page 804 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           831 of
                                                                Thereof
                                                                  1415 Page 805 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           832 of
                                                                Thereof
                                                                  1415 Page 806 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            833 of
                                                                 Thereof
                                                                   1415 Page 807 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            834 of
                                                                 Thereof
                                                                   1415 Page 808 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          835 of
                                                               Thereof
                                                                 1415 Page 809 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                836 of
                                                     Thereof
                                                       1415 Page 810 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                837 of
                                                     Thereof
                                                       1415 Page 811 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                838 of
                                                     Thereof
                                                       1415 Page 812 of 1376




                  Exhibit L
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           839 of
                                                                Thereof
                                                                  1415 Page 813 of 1376
                                                                               STORE 1047




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           840 of
                                                                Thereof
                                                                  1415 Page 814 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           841 of
                                                                Thereof
                                                                  1415 Page 815 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           842 of
                                                                Thereof
                                                                  1415 Page 816 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           843 of
                                                                Thereof
                                                                  1415 Page 817 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           844 of
                                                                Thereof
                                                                  1415 Page 818 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           845 of
                                                                Thereof
                                                                  1415 Page 819 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           846 of
                                                                Thereof
                                                                  1415 Page 820 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           847 of
                                                                Thereof
                                                                  1415 Page 821 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           848 of
                                                                Thereof
                                                                  1415 Page 822 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           849 of
                                                                Thereof
                                                                  1415 Page 823 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           850 of
                                                                Thereof
                                                                  1415 Page 824 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           851 of
                                                                Thereof
                                                                  1415 Page 825 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           852 of
                                                                Thereof
                                                                  1415 Page 826 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           853 of
                                                                Thereof
                                                                  1415 Page 827 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           854 of
                                                                Thereof
                                                                  1415 Page 828 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           855 of
                                                                Thereof
                                                                  1415 Page 829 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           856 of
                                                                Thereof
                                                                  1415 Page 830 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           857 of
                                                                Thereof
                                                                  1415 Page 831 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           858 of
                                                                Thereof
                                                                  1415 Page 832 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           859 of
                                                                Thereof
                                                                  1415 Page 833 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           860 of
                                                                Thereof
                                                                  1415 Page 834 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           861 of
                                                                Thereof
                                                                  1415 Page 835 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           862 of
                                                                Thereof
                                                                  1415 Page 836 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           863 of
                                                                Thereof
                                                                  1415 Page 837 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           864 of
                                                                Thereof
                                                                  1415 Page 838 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           865 of
                                                                Thereof
                                                                  1415 Page 839 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           866 of
                                                                Thereof
                                                                  1415 Page 840 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           867 of
                                                                Thereof
                                                                  1415 Page 841 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           868 of
                                                                Thereof
                                                                  1415 Page 842 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           869 of
                                                                Thereof
                                                                  1415 Page 843 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           870 of
                                                                Thereof
                                                                  1415 Page 844 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           871 of
                                                                Thereof
                                                                  1415 Page 845 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           872 of
                                                                Thereof
                                                                  1415 Page 846 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           873 of
                                                                Thereof
                                                                  1415 Page 847 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           874 of
                                                                Thereof
                                                                  1415 Page 848 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           875 of
                                                                Thereof
                                                                  1415 Page 849 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           876 of
                                                                Thereof
                                                                  1415 Page 850 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           877 of
                                                                Thereof
                                                                  1415 Page 851 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           878 of
                                                                Thereof
                                                                  1415 Page 852 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           879 of
                                                                Thereof
                                                                  1415 Page 853 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           880 of
                                                                Thereof
                                                                  1415 Page 854 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           881 of
                                                                Thereof
                                                                  1415 Page 855 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           882 of
                                                                Thereof
                                                                  1415 Page 856 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           883 of
                                                                Thereof
                                                                  1415 Page 857 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           884 of
                                                                Thereof
                                                                  1415 Page 858 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           885 of
                                                                Thereof
                                                                  1415 Page 859 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           886 of
                                                                Thereof
                                                                  1415 Page 860 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           887 of
                                                                Thereof
                                                                  1415 Page 861 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           888 of
                                                                Thereof
                                                                  1415 Page 862 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           889 of
                                                                Thereof
                                                                  1415 Page 863 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           890 of
                                                                Thereof
                                                                  1415 Page 864 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           891 of
                                                                Thereof
                                                                  1415 Page 865 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           892 of
                                                                Thereof
                                                                  1415 Page 866 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           893 of
                                                                Thereof
                                                                  1415 Page 867 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   18260 East 104th Avenue
                                                               Commerce City, CO 80022

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:
                                                               October 4, 2023
            6.       Date of Expiration:                       December 28, 2027




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           894 of
                                                                Thereof
                                                                  1415 Page 868 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           895 of
                                                                Thereof
                                                                  1415 Page 869 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           896 of
                                                                Thereof
                                                                  1415 Page 870 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           897 of
                                                                Thereof
                                                                  1415 Page 871 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                    September 29     , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           898 of
                                                                Thereof
                                                                  1415 Page 872 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           899 of
                                                                Thereof
                                                                  1415 Page 873 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           900 of
                                                                Thereof
                                                                  1415 Page 874 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           901 of
                                                                Thereof
                                                                  1415 Page 875 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
                                                                                                             September
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           902 of
                                                                Thereof
                                                                  1415 Page 876 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           903 of
                                                                Thereof
                                                                  1415 Page 877 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           904 of
                                                                Thereof
                                                                  1415 Page 878 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            905 of
                                                                 Thereof
                                                                   1415 Page 879 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            906 of
                                                                 Thereof
                                                                   1415 Page 880 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          907 of
                                                               Thereof
                                                                 1415 Page 881 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                908 of
                                                     Thereof
                                                       1415 Page 882 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                909 of
                                                     Thereof
                                                       1415 Page 883 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                910 of
                                                     Thereof
                                                       1415 Page 884 of 1376




                Exhibit M
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           911 of
                                                                Thereof
                                                                  1415 Page 885 of 1376
                                                                               STORE 1073




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           912 of
                                                                Thereof
                                                                  1415 Page 886 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           913 of
                                                                Thereof
                                                                  1415 Page 887 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                        September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           914 of
                                                                Thereof
                                                                  1415 Page 888 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           915 of
                                                                Thereof
                                                                  1415 Page 889 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           916 of
                                                                Thereof
                                                                  1415 Page 890 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           917 of
                                                                Thereof
                                                                  1415 Page 891 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           918 of
                                                                Thereof
                                                                  1415 Page 892 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           919 of
                                                                Thereof
                                                                  1415 Page 893 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           920 of
                                                                Thereof
                                                                  1415 Page 894 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           921 of
                                                                Thereof
                                                                  1415 Page 895 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           922 of
                                                                Thereof
                                                                  1415 Page 896 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           923 of
                                                                Thereof
                                                                  1415 Page 897 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           924 of
                                                                Thereof
                                                                  1415 Page 898 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           925 of
                                                                Thereof
                                                                  1415 Page 899 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           926 of
                                                                Thereof
                                                                  1415 Page 900 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           927 of
                                                                Thereof
                                                                  1415 Page 901 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           928 of
                                                                Thereof
                                                                  1415 Page 902 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           929 of
                                                                Thereof
                                                                  1415 Page 903 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           930 of
                                                                Thereof
                                                                  1415 Page 904 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           931 of
                                                                Thereof
                                                                  1415 Page 905 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           932 of
                                                                Thereof
                                                                  1415 Page 906 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           933 of
                                                                Thereof
                                                                  1415 Page 907 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           934 of
                                                                Thereof
                                                                  1415 Page 908 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           935 of
                                                                Thereof
                                                                  1415 Page 909 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           936 of
                                                                Thereof
                                                                  1415 Page 910 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           937 of
                                                                Thereof
                                                                  1415 Page 911 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           938 of
                                                                Thereof
                                                                  1415 Page 912 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           939 of
                                                                Thereof
                                                                  1415 Page 913 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           940 of
                                                                Thereof
                                                                  1415 Page 914 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           941 of
                                                                Thereof
                                                                  1415 Page 915 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           942 of
                                                                Thereof
                                                                  1415 Page 916 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           943 of
                                                                Thereof
                                                                  1415 Page 917 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           944 of
                                                                Thereof
                                                                  1415 Page 918 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           945 of
                                                                Thereof
                                                                  1415 Page 919 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           946 of
                                                                Thereof
                                                                  1415 Page 920 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           947 of
                                                                Thereof
                                                                  1415 Page 921 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           948 of
                                                                Thereof
                                                                  1415 Page 922 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           949 of
                                                                Thereof
                                                                  1415 Page 923 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           950 of
                                                                Thereof
                                                                  1415 Page 924 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           951 of
                                                                Thereof
                                                                  1415 Page 925 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           952 of
                                                                Thereof
                                                                  1415 Page 926 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           953 of
                                                                Thereof
                                                                  1415 Page 927 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           954 of
                                                                Thereof
                                                                  1415 Page 928 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           955 of
                                                                Thereof
                                                                  1415 Page 929 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           956 of
                                                                Thereof
                                                                  1415 Page 930 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           957 of
                                                                Thereof
                                                                  1415 Page 931 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           958 of
                                                                Thereof
                                                                  1415 Page 932 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           959 of
                                                                Thereof
                                                                  1415 Page 933 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           960 of
                                                                Thereof
                                                                  1415 Page 934 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           961 of
                                                                Thereof
                                                                  1415 Page 935 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           962 of
                                                                Thereof
                                                                  1415 Page 936 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           963 of
                                                                Thereof
                                                                  1415 Page 937 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           964 of
                                                                Thereof
                                                                  1415 Page 938 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                        9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           965 of
                                                                Thereof
                                                                  1415 Page 939 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   4310 N. Academy Blvd.
                                                               Colorado Springs, CO 80918

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       March 22, 2029




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           966 of
                                                                Thereof
                                                                  1415 Page 940 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           967 of
                                                                Thereof
                                                                  1415 Page 941 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           968 of
                                                                Thereof
                                                                  1415 Page 942 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           969 of
                                                                Thereof
                                                                  1415 Page 943 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                    September 29     , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           970 of
                                                                Thereof
                                                                  1415 Page 944 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           971 of
                                                                Thereof
                                                                  1415 Page 945 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                    September2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           972 of
                                                                Thereof
                                                                  1415 Page 946 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           973 of
                                                                Thereof
                                                                  1415 Page 947 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           974 of
                                                                Thereof
                                                                  1415 Page 948 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           975 of
                                                                Thereof
                                                                  1415 Page 949 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           976 of
                                                                Thereof
                                                                  1415 Page 950 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            977 of
                                                                 Thereof
                                                                   1415 Page 951 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            978 of
                                                                 Thereof
                                                                   1415 Page 952 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                            Filed02/27/25
                                                   12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          979 of
                                                               Thereof
                                                                 1415 Page 953 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                980 of
                                                     Thereof
                                                       1415 Page 954 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                981 of
                                                     Thereof
                                                       1415 Page 955 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                  Filed02/27/25
                                         12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                982 of
                                                     Thereof
                                                       1415 Page 956 of 1376




                 Exhibit N
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           983 of
                                                                Thereof
                                                                  1415 Page 957 of 1376
                                                                               STORE 1086




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           984 of
                                                                Thereof
                                                                  1415 Page 958 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           985 of
                                                                Thereof
                                                                  1415 Page 959 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           986 of
                                                                Thereof
                                                                  1415 Page 960 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           987 of
                                                                Thereof
                                                                  1415 Page 961 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           988 of
                                                                Thereof
                                                                  1415 Page 962 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           989 of
                                                                Thereof
                                                                  1415 Page 963 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           990 of
                                                                Thereof
                                                                  1415 Page 964 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           991 of
                                                                Thereof
                                                                  1415 Page 965 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           992 of
                                                                Thereof
                                                                  1415 Page 966 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           993 of
                                                                Thereof
                                                                  1415 Page 967 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           994 of
                                                                Thereof
                                                                  1415 Page 968 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           995 of
                                                                Thereof
                                                                  1415 Page 969 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           996 of
                                                                Thereof
                                                                  1415 Page 970 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           997 of
                                                                Thereof
                                                                  1415 Page 971 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           998 of
                                                                Thereof
                                                                  1415 Page 972 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           999 of
                                                                Thereof
                                                                  1415 Page 973 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1000 Thereof
                                                                  of 1415 Page 974 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1001 Thereof
                                                                  of 1415 Page 975 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1002 Thereof
                                                                  of 1415 Page 976 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1003 Thereof
                                                                  of 1415 Page 977 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1004 Thereof
                                                                  of 1415 Page 978 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1005 Thereof
                                                                  of 1415 Page 979 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1006 Thereof
                                                                  of 1415 Page 980 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1007 Thereof
                                                                  of 1415 Page 981 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1008 Thereof
                                                                  of 1415 Page 982 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1009 Thereof
                                                                  of 1415 Page 983 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1010 Thereof
                                                                  of 1415 Page 984 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1011 Thereof
                                                                  of 1415 Page 985 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1012 Thereof
                                                                  of 1415 Page 986 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1013 Thereof
                                                                  of 1415 Page 987 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1014 Thereof
                                                                  of 1415 Page 988 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1015 Thereof
                                                                  of 1415 Page 989 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1016 Thereof
                                                                  of 1415 Page 990 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1017 Thereof
                                                                  of 1415 Page 991 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1018 Thereof
                                                                  of 1415 Page 992 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1019 Thereof
                                                                  of 1415 Page 993 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1020 Thereof
                                                                  of 1415 Page 994 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1021 Thereof
                                                                  of 1415 Page 995 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1022 Thereof
                                                                  of 1415 Page 996 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1023 Thereof
                                                                  of 1415 Page 997 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1024 Thereof
                                                                  of 1415 Page 998 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                        267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                Memorandum of Points
                                  Mainand
                                       Document
                                          Authorities Page
                                                      In Support
                                                           1025 Thereof
                                                                  of 1415 Page 999 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1026Thereof
                                                                 of 1415 Page 1000 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1027Thereof
                                                                 of 1415 Page 1001 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                   43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1028Thereof
                                                                 of 1415 Page 1002 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1029Thereof
                                                                 of 1415 Page 1003 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1030Thereof
                                                                 of 1415 Page 1004 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1031Thereof
                                                                 of 1415 Page 1005 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1032Thereof
                                                                 of 1415 Page 1006 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1033Thereof
                                                                 of 1415 Page 1007 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1034Thereof
                                                                 of 1415 Page 1008 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1035Thereof
                                                                 of 1415 Page 1009 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1036Thereof
                                                                 of 1415 Page 1010 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                       9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1037Thereof
                                                                 of 1415 Page 1011 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   11147 Pikes Peak Drive
                                                               Parker, CO 80138

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       January 28, 2030




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1038Thereof
                                                                 of 1415 Page 1012 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1039Thereof
                                                                 of 1415 Page 1013 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1040Thereof
                                                                 of 1415 Page 1014 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1041Thereof
                                                                 of 1415 Page 1015 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                   September 29      , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1042Thereof
                                                                 of 1415 Page 1016 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1043Thereof
                                                                 of 1415 Page 1017 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
                                    September
            made this ___
                       29 day of _________, 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1044Thereof
                                                                 of 1415 Page 1018 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1045Thereof
                                                                 of 1415 Page 1019 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1046Thereof
                                                                 of 1415 Page 1020 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1047Thereof
                                                                 of 1415 Page 1021 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1048Thereof
                                                                 of 1415 Page 1022 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1049Thereof
                                                                  of 1415 Page 1023 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1050Thereof
                                                                  of 1415 Page 1024 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          1051Thereof
                                                                of 1415 Page 1025 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1052Thereof
                                                      of 1415 Page 1026 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1053Thereof
                                                      of 1415 Page 1027 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1054Thereof
                                                      of 1415 Page 1028 of 1376




                 Exhibit O
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1055Thereof
                                                                 of 1415 Page 1029 of 1376
                                                                               STORE 1109




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1056Thereof
                                                                 of 1415 Page 1030 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1057Thereof
                                                                 of 1415 Page 1031 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____ day of __________,
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1058Thereof
                                                                 of 1415 Page 1032 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1059Thereof
                                                                 of 1415 Page 1033 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1060Thereof
                                                                 of 1415 Page 1034 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1061Thereof
                                                                 of 1415 Page 1035 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1062Thereof
                                                                 of 1415 Page 1036 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1063Thereof
                                                                 of 1415 Page 1037 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1064Thereof
                                                                 of 1415 Page 1038 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1065Thereof
                                                                 of 1415 Page 1039 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1066Thereof
                                                                 of 1415 Page 1040 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1067Thereof
                                                                 of 1415 Page 1041 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1068Thereof
                                                                 of 1415 Page 1042 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1069Thereof
                                                                 of 1415 Page 1043 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1070Thereof
                                                                 of 1415 Page 1044 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1071Thereof
                                                                 of 1415 Page 1045 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1072Thereof
                                                                 of 1415 Page 1046 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1073Thereof
                                                                 of 1415 Page 1047 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1074Thereof
                                                                 of 1415 Page 1048 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1075Thereof
                                                                 of 1415 Page 1049 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1076Thereof
                                                                 of 1415 Page 1050 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1077Thereof
                                                                 of 1415 Page 1051 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1078Thereof
                                                                 of 1415 Page 1052 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1079Thereof
                                                                 of 1415 Page 1053 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1080Thereof
                                                                 of 1415 Page 1054 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1081Thereof
                                                                 of 1415 Page 1055 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1082Thereof
                                                                 of 1415 Page 1056 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1083Thereof
                                                                 of 1415 Page 1057 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1084Thereof
                                                                 of 1415 Page 1058 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1085Thereof
                                                                 of 1415 Page 1059 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1086Thereof
                                                                 of 1415 Page 1060 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1087Thereof
                                                                 of 1415 Page 1061 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1088Thereof
                                                                 of 1415 Page 1062 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1089Thereof
                                                                 of 1415 Page 1063 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1090Thereof
                                                                 of 1415 Page 1064 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1091Thereof
                                                                 of 1415 Page 1065 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1092Thereof
                                                                 of 1415 Page 1066 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1093Thereof
                                                                 of 1415 Page 1067 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1094Thereof
                                                                 of 1415 Page 1068 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1095Thereof
                                                                 of 1415 Page 1069 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1096Thereof
                                                                 of 1415 Page 1070 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1097Thereof
                                                                 of 1415 Page 1071 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1098Thereof
                                                                 of 1415 Page 1072 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1099Thereof
                                                                 of 1415 Page 1073 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1100Thereof
                                                                 of 1415 Page 1074 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1101Thereof
                                                                 of 1415 Page 1075 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1102Thereof
                                                                 of 1415 Page 1076 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1103Thereof
                                                                 of 1415 Page 1077 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1104Thereof
                                                                 of 1415 Page 1078 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1105Thereof
                                                                 of 1415 Page 1079 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1106Thereof
                                                                 of 1415 Page 1080 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1107Thereof
                                                                 of 1415 Page 1081 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1108Thereof
                                                                 of 1415 Page 1082 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1109Thereof
                                                                 of 1415 Page 1083 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   43 Union Boulevard
                                                               Lakewood, CO 80228

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                          October 4, 2023
            6.       Date of Expiration:                       April 21, 2031




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1110Thereof
                                                                 of 1415 Page 1084 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1111Thereof
                                                                 of 1415 Page 1085 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1112Thereof
                                                                 of 1415 Page 1086 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1113Thereof
                                                                 of 1415 Page 1087 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
                                   September 29
            (“Franchisee”), dated ________________   , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1114Thereof
                                                                 of 1415 Page 1088 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1115Thereof
                                                                 of 1415 Page 1089 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1116Thereof
                                                                 of 1415 Page 1090 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1117Thereof
                                                                 of 1415 Page 1091 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
                                                                                                             September
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1118Thereof
                                                                 of 1415 Page 1092 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1119Thereof
                                                                 of 1415 Page 1093 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1120Thereof
                                                                 of 1415 Page 1094 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1121Thereof
                                                                  of 1415 Page 1095 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1122Thereof
                                                                  of 1415 Page 1096 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          1123Thereof
                                                                of 1415 Page 1097 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1124Thereof
                                                      of 1415 Page 1098 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1125Thereof
                                                      of 1415 Page 1099 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1126Thereof
                                                      of 1415 Page 1100 of 1376




                  Exhibit P
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1127Thereof
                                                                 of 1415 Page 1101 of 1376
                                                                               STORE 1117




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1128Thereof
                                                                 of 1415 Page 1102 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1129Thereof
                                                                 of 1415 Page 1103 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                       September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1130Thereof
                                                                 of 1415 Page 1104 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1131Thereof
                                                                 of 1415 Page 1105 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1132Thereof
                                                                 of 1415 Page 1106 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1133Thereof
                                                                 of 1415 Page 1107 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1134Thereof
                                                                 of 1415 Page 1108 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1135Thereof
                                                                 of 1415 Page 1109 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1136Thereof
                                                                 of 1415 Page 1110 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1137Thereof
                                                                 of 1415 Page 1111 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1138Thereof
                                                                 of 1415 Page 1112 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1139Thereof
                                                                 of 1415 Page 1113 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1140Thereof
                                                                 of 1415 Page 1114 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1141Thereof
                                                                 of 1415 Page 1115 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1142Thereof
                                                                 of 1415 Page 1116 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1143Thereof
                                                                 of 1415 Page 1117 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1144Thereof
                                                                 of 1415 Page 1118 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1145Thereof
                                                                 of 1415 Page 1119 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1146Thereof
                                                                 of 1415 Page 1120 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1147Thereof
                                                                 of 1415 Page 1121 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1148Thereof
                                                                 of 1415 Page 1122 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1149Thereof
                                                                 of 1415 Page 1123 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1150Thereof
                                                                 of 1415 Page 1124 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1151Thereof
                                                                 of 1415 Page 1125 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1152Thereof
                                                                 of 1415 Page 1126 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1153Thereof
                                                                 of 1415 Page 1127 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1154Thereof
                                                                 of 1415 Page 1128 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1155Thereof
                                                                 of 1415 Page 1129 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1156Thereof
                                                                 of 1415 Page 1130 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1157Thereof
                                                                 of 1415 Page 1131 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1158Thereof
                                                                 of 1415 Page 1132 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1159Thereof
                                                                 of 1415 Page 1133 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1160Thereof
                                                                 of 1415 Page 1134 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1161Thereof
                                                                 of 1415 Page 1135 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1162Thereof
                                                                 of 1415 Page 1136 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1163Thereof
                                                                 of 1415 Page 1137 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1164Thereof
                                                                 of 1415 Page 1138 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1165Thereof
                                                                 of 1415 Page 1139 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1166Thereof
                                                                 of 1415 Page 1140 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1167Thereof
                                                                 of 1415 Page 1141 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1168Thereof
                                                                 of 1415 Page 1142 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1169Thereof
                                                                 of 1415 Page 1143 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1170Thereof
                                                                 of 1415 Page 1144 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1171Thereof
                                                                 of 1415 Page 1145 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1172Thereof
                                                                 of 1415 Page 1146 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1173Thereof
                                                                 of 1415 Page 1147 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1174Thereof
                                                                 of 1415 Page 1148 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1175Thereof
                                                                 of 1415 Page 1149 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1176Thereof
                                                                 of 1415 Page 1150 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1177Thereof
                                                                 of 1415 Page 1151 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1178Thereof
                                                                 of 1415 Page 1152 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1179Thereof
                                                                 of 1415 Page 1153 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1180Thereof
                                                                 of 1415 Page 1154 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1181Thereof
                                                                 of 1415 Page 1155 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   8020 N. Academy Blvd.
                                                               Colorado Springs, CO 80920

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       August 24, 2031




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1182Thereof
                                                                 of 1415 Page 1156 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1183Thereof
                                                                 of 1415 Page 1157 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1184Thereof
                                                                 of 1415 Page 1158 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1185Thereof
                                                                 of 1415 Page 1159 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                    September 29     , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1186Thereof
                                                                 of 1415 Page 1160 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1187Thereof
                                                                 of 1415 Page 1161 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                        29day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1188Thereof
                                                                 of 1415 Page 1162 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1189Thereof
                                                                 of 1415 Page 1163 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
                                                                                                   29
            understands the terms of this Agreement, and voluntarily signed this Agreement on this    day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1190Thereof
                                                                 of 1415 Page 1164 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1191Thereof
                                                                 of 1415 Page 1165 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1192Thereof
                                                                 of 1415 Page 1166 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1193Thereof
                                                                  of 1415 Page 1167 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1194Thereof
                                                                  of 1415 Page 1168 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          1195Thereof
                                                                of 1415 Page 1169 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1196Thereof
                                                      of 1415 Page 1170 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1197Thereof
                                                      of 1415 Page 1171 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1198Thereof
                                                      of 1415 Page 1172 of 1376




                 Exhibit Q
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1199Thereof
                                                                 of 1415 Page 1173 of 1376
                                                                               STORE 1237




                                                             EXHIBIT E

                                                     FRANCHISE AGREEMENT


                                                     FRANCHISE AGREEMENT




            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1200Thereof
                                                                 of 1415 Page 1174 of 1376

                                                                             Table of Contents

                                                                                                                                                                      Page


              1.     Grant. ................................................................................................................................................ 1
              2.     Term and Renewal. ........................................................................................................................... 3
              3.     Fees and Payments. ........................................................................................................................... 4
              4.     Services By Del Taco........................................................................................................................ 6
              5.     Obligations of Franchisee; Operational Standards. ........................................................................... 7
              6.     Advertising and Marketing. ............................................................................................................ 19
              7.     Records and Reports. ...................................................................................................................... 20
              8.     Proprietary Marks. .......................................................................................................................... 22
              9.     Manuals. .......................................................................................................................................... 24
              10.    Confidentiality and Covenants Not To Compete. ........................................................................... 25
              11.    Insurance. ........................................................................................................................................ 27
              12.    Transfer of Interest. ......................................................................................................................... 29
              13.    Default and Termination. ................................................................................................................ 35
              14.    Obligations Upon Termination or Expiration. ................................................................................ 38
              15.    Taxes, Permits and Indebtedness .................................................................................................... 40
              16.    Independent Contractor and Indemnification.................................................................................. 41
              17.    Governing Law and Dispute Resolution. ........................................................................................ 42
              18.    Time is of the Essence .................................................................................................................... 46
              19.    Approvals, Waivers and Binding Effects. ....................................................................................... 46
              20.    Notices. ........................................................................................................................................... 46
              21.    Force Majeure. ................................................................................................................................ 47
              22.    Immunity for Certain Limited Disclosures. .................................................................................... 47
              23.    Entire Agreement and Amendment................................................................................................. 47
              24.    Severability; Enforcement of Covenants; Construction. ................................................................. 48
              25.    Joint and Several Obligation. .......................................................................................................... 48
              26.    Incorporation of Exhibits. ............................................................................................................... 48
              27.    Counterparts. ................................................................................................................................... 48
              28.    Survival of Provisions. .................................................................................................................... 49
              29.    Representations, Warranties and Acknowledgments. ..................................................................... 49
              30.    Business Judgment. ......................................................................................................................... 50

            Exhibits:

            A       Identification of Franchisee
            B       Site Selection Addendum
            C       Authorization Agreement for Prearranged Payments (Direct Debits)
            D       Statement of Ownership Interests
            E       Guarantee, Indemnification, and Acknowledgment
            F       Non-Disclosure and Non-Competition Agreement
            G       Addendum to Lease




                                                                                           i
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1201Thereof
                                                                 of 1415 Page 1175 of 1376




                                                     FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
            “Franchisee”) enter into this Franchise Agreement (this “Agreement”) as of the ____
                                                                                            29 day of __________,
                                                                                                         September
            2023 (the “Effective Date”).

                                                             RECITALS

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.      The distinguishing characteristics of the System include, among other things: one or more
            specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
            kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
            design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
            products; standards, specifications, policies and procedures for construction and management; quality,
            distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
            for restaurant operations; training and assistance; and advertising and promotional programs, all as more
            particularly described and designated in the Manuals (defined below) and all of which Del Taco may
            change, improve, and further develop at its option from time to time;

                     C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
            trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
            names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
            Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
            use such Proprietary Marks in order to identify for the public the source of products and services marketed
            thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
            service;

                    D.       Del Taco is in the business of operating and franchising others to operate restaurants that
            sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
            Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
            receive the training and other assistance provided by Del Taco in connection therewith; and

                     E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
            quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
            this Agreement in conformity with Del Taco’s standards and specifications.

                     Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
            the parties agree as follows:

            1.       Grant.

                    1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
            hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
            one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the

            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1202Thereof
                                                                 of 1415 Page 1176 of 1376


            Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
            from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
            Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
            execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
            approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
            Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
            Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
            consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
            In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
            execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
            Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
            Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
            kind.

                      1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
            is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
            license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
            “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
            defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
            constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
            Items, products, and services to the public within the Protected Area, as may be revised in accordance with
            Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
            1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
            obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
            to or economic impact upon the Restaurant:

                              1.2.1    Advertise and promote the System within and outside of the Protected Area;

                             1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
            within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
            or fixed, permanent or temporary) located on military bases, institutional outlets (including college
            campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, convenience
            stores, casinos, airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited
            access highways, schools, universities, enclosed shopping malls, hotels, industrial or government facilities,
            amusement or theme park complexes, train stations, bus stations or other transportation facilities and other
            locations owned or operated by major institutions with sites throughout the country or a particular state, or
            any other outlet and to use the System in connection with those Alternative Points of Distribution.

                                     1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
            franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
            Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
            days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
            under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
            operational resources available to it for the development of the Del Taco restaurant at the specific
            Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
            terms and conditions offered to Del Taco or another franchisee.

                            1.2.3 Offer and sell any products of services (including those offered by the Restaurant),
            under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
            (including through a Del Taco Restaurant);

                                                                  2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1203Thereof
                                                                 of 1415 Page 1177 of 1376


                           1.2.4 Establish, operate, and license others to establish and operate, businesses other
            than Del Taco Restaurants within and outside of the Protected Area; and

                             1.2.5 Not more often than once every five (5) years, reduce the radius of the Protected
            Area so that the daytime and/or residential population of the Protected Area does not exceed 30,000 people,
            as determined by the then most current information supplied by a third party research service designated
            by Del Taco.

                    1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
            others any right to use the System or the Proprietary Marks.

                     1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
            shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
            shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
            any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
            with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
            or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
            use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

            2.       Term and Renewal.

                    2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
            with the provisions hereof, the initial term of this Agreement shall commence on the Takeover Date and
            expire on the Expiration Date set forth on Exhibit A to this Agreement.

                    2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
            for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
            the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
            following conditions, each of which must be met prior to such renewal:

                           2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
            renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
            term;

                             2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
            greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
            when it delivers the written notice required under Section 2.2.1;

                             2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
            a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
            election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
            provision of this Agreement, any amendment to this Agreement, or any other agreement between
            Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
            have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
            well as the operating standards prescribed by Del Taco during the term of this Agreement;

                            2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
            remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
            approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;


                                                                   3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1204Thereof
                                                                 of 1415 Page 1178 of 1376


                             2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
            comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
            type, including fixtures, furnishings, technology and kitchen equipment.

                             2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
            Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                             2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
            any and all claims against Del Taco and its current and former affiliates, and their respective past and
            present officers, directors, agents, and employees;

                            2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
            which agreement shall supersede this Agreement in all respects (except with respect to the renewal
            provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
            acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
            may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
            a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
            Protected Area;

                           2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
            shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
            Promotional Fee then being charged to new franchisees; and

                            2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
            qualification and training requirements, prior to commencement of operations under the renewal form of
            franchise agreement.

                      2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
            the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
            or assurance that Franchisee will be granted a renewal franchise agreement.

            3.       Fees and Payments.

                     3.1      Franchise Fee. Deleted As Not Applicable.

                     3.2      Promotional Fee. Deleted As Not Applicable.

                    3.3     Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
            continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
            Fees”). Franchisee shall pay the Royalty Fees within three (3) days after the close of each Sales Week
            (defined below), based on the Net Sales of the Restaurant for the immediately preceding Sales Week, or for
            such other period as Del Taco may specify in the Manuals or otherwise in writing.

                              3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
            Items and all other products or services offered at or from the Restaurant, and all other income of every
            kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
            business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
            sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
            check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
            sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
            appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
                                                                  4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1205Thereof
                                                                 of 1415 Page 1179 of 1376


            revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
            as circumstances, business practices, and technology change.

                            3.3.2 The term “Sales Week” means the period starting with the commencement of
            business on Wednesday and concluding at the close of business on the following Tuesday (or, if the
            Restaurant is not open on a Tuesday, the immediately preceding business day); however, Del Taco shall
            designate in writing any other period of not less than seven days to constitute a “Week” under this
            Agreement.

                     3.4     Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
            Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right to increase the Marketing Fee
            to the then-current fee that it charges new franchisees. Franchisee shall pay the Marketing Fee within three
            (3) days after the close of each Sales Week, based on the Net Sales of the Restaurant for the immediately
            preceding Sales Week, or for such other period as Del Taco may specify in the Manuals or otherwise in
            writing. Del Taco expressly reserves the right to change the due date of the Marketing Fee upon ten (10)
            days’ prior written notice to Franchisee.

                     3.5      Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
            3.3 and 3.4 based on the Net Sales for the preceding Sales Week (or for such other period as Del Taco may
            specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
            as to be received by Del Taco within three (3) days after the close of the Sales Week. Franchisee shall
            execute a form of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this
            Agreement or such other form that Del Taco designates) for direct debits from Franchisee’s business bank
            operating account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other
            information required under Section 7 below, at the time and in the format reasonably requested by Del
            Taco, which may include electronically polled data from Franchisee’s Point of Sale system. Franchisee
            shall comply with the payment and reporting procedures specified by Del Taco in this Agreement and the
            Manuals. To ensure that payments are received by Del Taco on as timely basis, such policies and
            procedures may require that Franchisee have sufficient funds in its account by a date certain, as the EFT
            process may sweep such account the day before for payment on the preceding day. Franchisee’s obligations
            for the full and timely payment of Royalty Fees and Marketing Fees, and all other amounts provided for in
            this Agreement, shall be absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net
            Sales. Franchisee shall not for any reason delay or withhold the payment of all or any part of those or any
            other payments due hereunder, put the same in escrow or set off same against any claims or alleged claims
            Franchisee may allege against Del Taco or others. Franchisee shall not, on grounds of any alleged
            nonperformance by Del Taco or others, withhold payment of any fee, including Royalty Fees or Marketing
            Fees, nor withhold or delay submission of any reports due hereunder. Del Taco reserves the right to change
            the due date of any fees upon ten (10) days’ prior written notice to Franchisee.

                    3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
            to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
            Agreement or otherwise.

                     3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
            Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
            report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
            report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
            and interest on such amount from the date it was due until paid, at the rate of one and one half percent
            (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
            shall be in addition to any other remedies Del Taco may have.

                                                                  5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1206Thereof
                                                                 of 1415 Page 1180 of 1376


                    3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
            days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
            monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
            otherwise under this Agreement.

                    3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
            Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
            Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
            Section 3.5 or otherwise in the Manuals.

                    3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
            refund any amounts paid pursuant to this Agreement for any reason whatsoever.

            4.       Services By Del Taco.

                     4.1      Development of the Restaurant. Deleted As Not Applicable.

                     4.2      Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
            Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), General Manager (as defined in
            Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.3 below) and to such of Franchisee’s
            other employees of which Del Taco shall approve for training, such training programs as Del Taco may
            designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco shall also
            provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be responsible
            for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                     4.3      Opening Assistance. Deleted As Not Applicable.

                    4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
            confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
            revised from Del Taco from time to time.

                   4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
            merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
            develop from time to time.

                     4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
            consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
            time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                    4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
            information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
            regarding its plans, policies, research, developments and activities.

                    4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
            types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
            to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
            audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
            between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
            Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
            (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
            “Computer System”).
                                                                 6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1207Thereof
                                                                 of 1415 Page 1181 of 1376


                    4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
            Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                    4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
            or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
            Agreement, as Del Taco may direct.

            5.       Obligations of Franchisee; Operational Standards.

                     5.1      System Standards and Development of Restaurant. Franchisee understands and
            acknowledges that every detail of the Restaurant is important to Franchisee, Del Taco, and other franchisees
            in order to develop and maintain high operating standards, to increase the demand for the products sold by
            all franchisees, and to protect Del Taco’s reputation and goodwill. Franchisee shall construct, furnish, and
            open the Restaurant according to the requirements contained herein, and Franchisee shall open the
            Restaurant at the later of (a) one hundred eighty (180) days from the Effective Date, or (b) if upon execution
            of this Agreement, a location for the Restaurant has not been obtained by Franchisee and approved by Del
            Taco, one hundred eighty (180) days from the later of (i) Del Taco’s approval of the location for the
            Restaurant pursuant to the Site Selection Addendum), or (ii) Franchisee’s access to the leased premises as
            permitted by the lessor under the lease.

                     5.2      Pre-Opening Obligations. Deleted:

                              5.2.1    Deleted As Not Applicable.

                              5.2.2    Deleted As Not Applicable.

                              5.2.3    Deleted As Not Applicable.

                              5.2.4    Deleted As Not Applicable.

                              5.2.5    Deleted As Not Applicable.

                              5.2.6    Deleted As Not Applicable.

                     5.3      Restaurant Opening. Deleted As Not Applicable:

                              5.3.1    Deleted As Not Applicable.

                              5.3.2    Deleted As Not Applicable.

                              5.3.3    Deleted As Not Applicable.

                             5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the General
            Manager and the Shift Managers have successfully completed all training required by Del Taco, and
            Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service the
            anticipated level of the Restaurant’s customers.

                              5.3.5    Deleted As Not Applicable.

                    5.4     Training. Franchisee acknowledges that its owners and managers must be knowledgeable
            regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and

                                                                    7
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1208Thereof
                                                                 of 1415 Page 1182 of 1376


            the provision of customer service in accordance with the brand standards established by Del Taco, which
            may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
            Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
            manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
            one person on the staff at a food service business must satisfactorily complete state and/or local mandated
            food handling training, and be certified as having successfully completed the training. Franchisee and at
            least one of its employees that attend Del Taco’s management training program must also successfully
            complete a state and/or local mandated food handling program before commencing training with Del Taco,
            and Franchisee and each trainee must provide a certificate of successful completion of such program prior
            to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
            compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
            evidence of such coverage if requested by Del Taco. With regard to training, at least five individuals must
            attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal, one
            (1) full-time General Manager, and at least four (4) Shift Managers (collectively, the “Franchisee’s
            Principal Trainees”).

                            5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
            Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
            and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
            aspects of the Franchised Business shall be conducted under the management and supervision of the
            Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
            full-time management of the Operating Principal or General Manager who has successfully completed (to
            Del Taco’s satisfaction) Del Taco’s initial training program.

                            5.4.2 Operating Principal and General Manager. If the Operating Principal or the
            General Manager cease active management of or employment at the Restaurant, Franchisee shall enroll a
            qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
            program not more than thirty (30) days after the cessation of the former person’s full-time employment
            and/or management responsibilities. The replacement shall attend and successfully complete the basic
            management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
            Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                             5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
            Principal Trainees may also be required to attend such refresher courses, seminars, and other training
            programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
            refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
            Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
            up to three (3) days per year.

                              5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
            Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
            use of the System. Franchisee at all times shall maintain at least one certified General Manager in the
            Restaurant and shall have a combination of five additional staff comprised of shift managers and an assistant
            general manager trained and certified by Del Taco for the Restaurant. If Del Taco has given Franchisee
            written consent to operate the Restaurant less than 24 hours each day, Franchisee shall have a minimum of
            four shift managers (inclusive of the General Manager) trained and certified by Del Taco for the Restaurant.
            Franchisee shall have sole authority and discretion regarding all employment matters, including hiring,
            firing, discipline, compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its

                                                                  8
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1209Thereof
                                                                 of 1415 Page 1183 of 1376


            managers and employees are adequately trained and supervised. Del Taco shall make classroom training
            available to all future management employees of Franchisee. Every future manager must complete, to Del
            Taco’s satisfaction, the pre-opening management training described in subparagraph (b), above, and receive
            certification by Del Taco. If a general manager’s position becomes vacant, Franchisee shall fill the vacancy
            within 60 days with a fully-trained and certified general manager.

                              5.4.6    [Reserved]

                             5.4.7 Training costs. The cost of all initial training instruction and required materials
            shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,
            attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
            workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
            and all of its employees, shall be borne by Franchisee.

                             5.4.8 Additional Training. If Franchisee requests that Del Taco provide on-site training
            in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
            it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
            forth in the Manual or otherwise in writing.

                     5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
            of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
            Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
            shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
            at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
            Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
            provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
            or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
            lease and Franchisee’s right to remain in possession of the premises.

                     5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
            numbers sufficient to promptly service customers, including at least one (1) manager on duty at all times
            and to take such steps as are necessary to ensure that its employees preserve good customer relations and
            comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
            employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
            decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
            wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
            discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
            Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
            compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
            Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
            Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed a
            employer or joint employer with Franchisee for any reason. If Del Taco incurs any cost, loss, or damage as
            a result of any actions or omissions of Franchisee or Franchisee’s employees, including any that relate to
            any party making a finding of any joint employer status, Franchisee will fully indemnify Del Taco for such
            loss.

                     5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
            ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
            days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
            resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
            Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
                                                                  9
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1210Thereof
                                                                 of 1415 Page 1184 of 1376


            all necessary and required licenses and certificates for food service and food handling as may be required
            by applicable local rules and regulations and/or the Manual.

                     5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
            degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
            alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
            may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
            furnishings, equipment, and decor as Del Taco may reasonably direct.

                     5.9      Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
            to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
            equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
            then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
            exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
            Restaurant for business with the public. The expenditure required to remodel the Restaurant shall be capped
            at $250,000 indexed pursuant to the Consumer Price Index (CPI); (b) the sale, assignment, transfer or
            encumbrance (collectively, the “Transfer”) of any of the rights created by this Agreement, any part of the
            System, or any other interest created under this Agreement, including if Franchisee is a legal entity, the
            sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee that, alone
            or together with any other related, previous, simultaneous or proposed transfers, would result in a change
            in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the rules and
            regulations promulgated under that act; or (c) the issuance of a successor franchise agreement. If Del Taco
            chooses to exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco
            may exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of
            every ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
            franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
            remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
            to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
            perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
            specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
            restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                     5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
            a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
            and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
            policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
            advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
            such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
            the franchisee advisory council at any time.

                    5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
            time to time, such upgrades and other changes to the electronic equipment utilized in the Restaurant and
            the Computer System as Del Taco may request in writing (and as also specified above) (collectively,
            “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades it deems
            necessary for Franchisee’s Restaurant.

                    5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
            maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
            specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
            Franchisee agrees:

                                                                 10
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1211Thereof
                                                                 of 1415 Page 1185 of 1376


                             5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
            products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
            specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
            without Del Taco’s specific prior written consent.

                             5.12.2 To sell or offer for sale only such products as have been expressly approved for
            sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
            the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del
            Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
            prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
            have the right to disapprove, in writing, at any time.

                             5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
            products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
            independent laboratory to determine whether said samples meet Del Taco’s then current standards and
            specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
            Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
            Del Taco or if the sample fails to conform to Del Taco’s specifications.

                             5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
            systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
            or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
            any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
            Taco’s standards and specifications.

                            5.12.5 To refrain from installing or permitting to be installed any vending machine, game
            or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                             5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
            regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
            (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
            by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
            (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
            the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
            Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
            accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
            it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
            spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
            any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
            shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
            has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
            comply with Del Taco’s standards.

                     5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
            other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
            in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
            factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
            ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
            quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
            System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
            approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
                                                                   11
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1212Thereof
                                                                 of 1415 Page 1186 of 1376


            thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
            be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
            shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
            particular item, and that Del Taco may so designate itself or its affiliate.

                              5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
            supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
            purchase any products or services from any supplier until, and unless, such supplier has been approved in
            writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
            the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
            independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
            the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
            require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
            payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
            by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
            (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
            Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
            such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
            Taco’s then current criteria.

                             5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
            particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
            specifications for formulas, which Del Taco shall have the right to deem confidential.

                             5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
            acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
            alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
            willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
            requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
            may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
            Franchisee must use for some or all products and other products and services, and/or refuse any of
            Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
            franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
            the suppliers who may be permitted to sell products to Franchisee.

                              5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
            and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
            benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
            based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
            on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
            assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
            Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
            restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
            is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
            Taco” brand and/or public awareness of the brand.

                           5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
            and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
            parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
            arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay

                                                                  12
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1213Thereof
                                                                 of 1415 Page 1187 of 1376


            all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
            or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
            Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
            Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
            Manuals.

                             5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
            and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).

                     5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
            Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
            preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
            and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
            maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
            Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
            as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
            Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
            immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
            for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
            such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
            of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
            fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
            the EFT provisions of Section 3.5.

                    5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
            lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
            specifications and policies concerning the use of technology, as they may be specified in this Agreement,
            or specified or modified in the Manuals or otherwise in writing.

                             5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
            information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
            the contemplated interconnection of computer systems and the necessity that such systems be compatible
            with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
            specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
            Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
            efficiency and optimum communication capability between and among equipment and computer systems
            installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
            shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
            determination that Del Taco shall have the right to make, to the effect that same will prove economically
            or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
            changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
            telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
            Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
            maintained by Franchisee on the Computer System or elsewhere.

                              5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
            or to designate, any or all of the following: (a) computer software programs and accounting system software
            that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
            must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
            Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)

                                                                 13
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1214Thereof
                                                                 of 1415 Page 1188 of 1376


            the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
            which may include the Manuals, training other assistance materials, and management reporting solutions;
            and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
            and/or to designate vendors that will provide such order processing.

                            5.15.3 Franchisee agrees to install and use the Computer System and Required Software
            in the manner that Del Taco requires.

                             5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
            to the Computer System and Required Software as Del Taco may reasonably request in writing
            (collectively, “Computer Upgrades”).

                           5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
            Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
            to Computer Upgrades, at Franchisee’s own expense.

                           5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
            and Required Software in the manner, form, and at the times that Del Taco requests.

                             5.15.7 Because changes to technology are dynamic and not predictable within the term of
            this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
            opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
            new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
            that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
            Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
            Agreement, were periodically revised for that purpose.

                     5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
            customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
            exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
            that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
            or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
            in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
            transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
            Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
            12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
            as part of the total purchase price paid for the Restaurant.

                    5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
            of consumer, employee, and transactional information (“Privacy Laws”).

                             5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
            Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
            and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
            immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
            Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
            pertaining to Privacy Laws within the bounds of applicable law.

                            5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
            privacy policy without Del Taco’s prior written consent as to said policy.

                                                                  14
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1215Thereof
                                                                 of 1415 Page 1189 of 1376


                     5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
            Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
            manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
            to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
            designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
            related documents, designs, pages, or other communications that can be accessed through electronic means,
            including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
            Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                    5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
            point of sale systems or such other types of cash register systems that Del Taco has the right to designate
            or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
            of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
            fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
            record all Net Sales and all revenue information on such equipment.

                    5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
            program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
            blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
            may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
            swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
            honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
            card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
            Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
            any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
            payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
            accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
            redeem gift certificates other than gift cards that Del Taco has approved in writing.

                    5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
            comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
            with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
            connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
            on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
            participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
            permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
            approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.

                              5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
            an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
            are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
            bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
            Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
            affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
            Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
            Senders shall be the master and official list of Official Senders.

                             5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
            advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
            prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan

                                                                  15
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1216Thereof
                                                                 of 1415 Page 1190 of 1376


            for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
            solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
            Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
            comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
            with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
            Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
            Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                             5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
            faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
            condition of their employment or position with Franchisee) to give their consent (in an e-mail,
            electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
            transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
            to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
            with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
            faxes, from Official Senders during the term of this Agreement.

                             5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
            formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
            agreed, in a pen-and-paper writing that both parties have signed.

                    5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
            credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
            services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
            mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
            writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
            and designate additional approved or required methods of payment and vendors for processing such
            payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
            policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
            Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
            Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
            organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
            Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
            software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
            regulations.

                   5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
            Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
            purchase such attire only from approved suppliers.

                    5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
            customers, any incentive or convenience programs which Del Taco may institute from time to time, and
            Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                     5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
            have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
            establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
            compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
            Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
            Item, product, or service in excess of the maximum price set by Del Taco.

                                                                  16
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1217Thereof
                                                                 of 1415 Page 1191 of 1376


                     5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
            Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
            regulations including all government regulations relating to handling of food products, occupational hazards
            and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
            federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
            Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
            Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
            of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
            unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
            practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
            Marks and other Restaurants.

                     5.27     Franchisee Structure; Operating Principal and Owners.

                             5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
            corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
            at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
            Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
            as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
            on its records against the transfer of any equity securities and shall only issue securities upon the face of
            which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
            imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
            securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
            voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
            reflect changes in ownership, as permitted under this Agreement.

                              5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
            as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
            prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
            which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
            maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
            partnership interests and equity securities, and shall only issue securities or partnership interests with
            documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
            transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
            organized, and confine its activities, and its governing documents shall at all times provide that its activities
            are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of
            organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
            and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
            members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
            permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
            transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
            satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                            5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
            Del Taco, individuals to serve in the following positions:


                                                                   17
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1218Thereof
                                                                 of 1415 Page 1192 of 1376


                                      5.27.4.1    Operating Principal. An Operating Principal shall participate
            personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
            qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
            Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
            as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
            Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
            experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
            at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
            have at least two years of management experience in the operation of a quick service restaurant), (2) has
            completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
            operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
            business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                      5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
            interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
            owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
            ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
            and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    General Manager: Franchisee shall designate a Restaurant general
            manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
            who shall be responsible for the direct oversight and management of the day-to-day operations and
            personnel at the Restaurant (the “General Manager”). The General Manager and the Principal Operator
            may be the same person, if he/she is qualified to perform both roles and duties, and is approved by Del
            Taco.

                                     5.27.4.4    General Manager: Franchisee shall designate shift managers, subject
            to approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
            responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
            under the supervision of the General Manager and Operating Principal (the “Shift Managers”).

                    5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
            business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
            form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
            a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
            becomes registered under the Securities Exchange Act of 1934.

                    5.29      System Modifications. Franchisee acknowledges and agrees that from time to time
            hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
            the changing market and/or to meet new and changing consumer demands, and that variations and additions
            to the System may be required from time to time to preserve and enhance the public image of the System
            and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
            use of new or modified products, services, equipment and furnishings and new techniques and
            methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
            and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
            provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
            and display in the operation of the Restaurant any such changes in the System, as if they were part of this
            Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
            the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
            assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site

                                                                  18
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1219Thereof
                                                                 of 1415 Page 1193 of 1376


            or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
            operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
            on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
            Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
            supervision of Franchisee, its Principal Operator, the General Manager or another general manager hired
            by and employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a
            management company, manager (other than an employee manager trained and approved by Del Taco), or
            third party to undertake any of the management or operational functions of the Restaurant.

            6.       Advertising and Marketing.

                     Recognizing the value of advertising and marketing, and the importance of the standardization of
            advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
            parties agree as follows:

                     6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
            maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
            marketing, public relations and/or promotional programs and materials, and any other activities which Del
            Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
            media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
            public relations activities; employing advertising and/or public relations agencies to assist therein; brand
            research and development; developing and hosting marketing, brand development and enhancement, and
            customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
            developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
            photographs; conducting and administering visual merchandising, and other merchandising programs;
            purchasing media space or time (including all associated fees and expenses); administering regional and
            multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
            developing and implementing customer loyalty and gift card programs; customer retention programs; the
            creative development of, and actual production associated with, premium items, giveaways, promotions,
            contests, public relation events, and charitable or non-profit events; developing, implementing and
            maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
            more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
            marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
            Taco’s employees to the extent such employees provide services in conjunction with the System marketing
            activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
            Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
            including the concepts, materials, and media used in such programs and the placement and allocation
            thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
            intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
            Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make
            expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
            that any particular franchisee benefits directly or pro rata from such expenditures.

                     6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
            be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
            manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
            all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
            until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set

                                                                 19
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1220Thereof
                                                                 of 1415 Page 1194 of 1376


            forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
            procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
            Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
            franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
            and promotions).

                    6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
            Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
            materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
            or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
            by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
            and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
            include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                            6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
            expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
            employees, including discount coupons;

                              6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
            services;

                              6.3.3    The value of discounts provided to customers;

                              6.3.4    The cost of food items.

                    6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
            samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
            review and prior written approval (except with respect to prices to be charged by Franchisee). If written
            approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
            Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
            acknowledges and agrees that any and all copyright in and to advertising and promotional materials
            developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
            execute such documents (and, if necessary, require its independent contractors to execute such documents)
            as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
            Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
            merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
            community relations programs, and similar advertising and promotional materials. Del Taco may provide
            periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
            templates or other materials for email-based marketing. Del Taco shall have the right to require all
            advertising and promotional materials, signs, decorations, paper goods (including disposable food and
            beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and
            all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
            Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
            by Del Taco.

            7.       Records and Reports.

                    7.1     Records. Franchisee shall maintain for a period of not less than three (3) years during the
            term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
                                                                   20
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1221Thereof
                                                                 of 1415 Page 1195 of 1376


            renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
            generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
            Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
            books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
            during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
            and records are created and/or maintained in an electronic form, all such books and records must be capable
            of being reviewed by Del Taco or its designee without special hardware or software.

                    7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
            specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                    7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
            Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
            annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
            Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
            Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
            by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
            in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
            reporting periods and accounting practices and standards.

                    7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
            examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
            income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
            information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
            independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
            been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
            in the event of an understatement, the amount understated upon demand, in addition to interest from the
            date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
            maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
            to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
            of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
            expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
            and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
            remedies Del Taco may have.

                    7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
            7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
            computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
            Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
            without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
            Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
            compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
            with the System, or in connection with Franchisee’s operation of the business (including but not limited to
            consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
            following termination or expiration of, this Agreement. Copies and/or originals of such data must be
            provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
            Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
            connection with the business franchised under this Agreement. Del Taco may use all such information,
            data, and reports in any manner, including, without limitation, providing financial and operating reports to


                                                                 21
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1222Thereof
                                                                 of 1415 Page 1196 of 1376


            franchisees and operators operating under the System, preparing franchise disclosure documents, and
            providing information to prospective franchisees, and/or in complying with government regulations.

                    7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
            Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
            specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
            ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
            Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
            and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
            specified by such service or company, and shall submit reports to Del Taco as required under this
            Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
            requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
            payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
            accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
            than two (2) years. Franchisee will provide to the service or company complete and accurate information
            required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
            will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
            service or company.

            8.       Proprietary Marks.

                   8.1        Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
            Marks that:

                              8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                            8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
            protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                    8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
            Franchisee agrees that:

                             8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
            use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
            shall bear the then-current logo.

                             8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
            franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
            for the business conducted at or from that location.

                           8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
            operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                              8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
            shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in
            conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
            contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
            the premises of the Restaurant as Del Taco may designate in writing.




                                                                    22
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1223Thereof
                                                                 of 1415 Page 1197 of 1376


                           8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
            authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
            Taco’s rights.

                           8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
            indebtedness on behalf of Del Taco.

                              8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
            corporate or other legal name, or as part of any e-mail address, domain name, websites or other
            identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
            media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                             8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
            protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                              8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                     8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
            infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
            any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
            licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
            administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
            Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
            constitute infringement of the Proprietary Marks.

                                       8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
            is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
            Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
            out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
            of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
            which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
            extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
            with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
            upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
            the cost of any judgment or settlement.

                                      8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
            relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
            things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
            including becoming a nominal party to any legal action.

                     8.3      Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                           8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
            System and those who are authorized to operate under the System.

                             8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
            contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
            indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
            express prior written consent.

                                                                   23
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1224Thereof
                                                                 of 1415 Page 1198 of 1376


                              8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
            interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                            8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
            nonexclusive, and Del Taco thus has and retains the rights, among others:

                                       8.3.4.1       To use the Proprietary Marks itself in connection with selling products
            and services;

                                     8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
            licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
            Marks;

                                     8.3.4.3     To develop and establish other systems using the same or similar
            Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
            providing any rights therein to Franchisee.

                             8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
            identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
            used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
            will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
            such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
            proprietary marks shall be governed by the terms of this Agreement.

            9.       Manuals.

                     9.1     Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
            standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
            accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received on loan
            from Del Taco for the term of this Agreement. The Manuals may consist of multiple volumes of printed
            text, video and/or audio tapes and files, computer disks and other electronically stored data, and various
            and periodic or episodic operational and/or management electronic bulletins, and Franchisee acknowledges
            and agrees that Del Taco may provide a portion or all of the Manuals (including updates and amendments),
            and other instructional information and materials in, or via, electronic media, including through the Internet.

                     9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
            manuals created for or approved for use in the operation of the Restaurant, and the information contained
            therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
            protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
            most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
            reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
            unauthorized person.

                     9.3     Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
            Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
            that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the
            Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
            shall be controlling.




                                                                    24
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1225Thereof
                                                                 of 1415 Page 1199 of 1376


                   9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
            Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
            to comply with each new or changed standard immediately upon receipt of such revision.

            10.      Confidentiality and Covenants Not To Compete.

                     10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
            thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know-how
            concerning the methods of operation of the business franchised hereunder which may be communicated to
            Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
            this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
            only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
            information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Any employee who may have access to any Confidential Information regarding
            the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
            receive in connection with their association with Franchisee. Such covenants shall be on a form provided
            by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
            covenants with the independent right to enforce them. Notwithstanding any other provision of this
            Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
            certain trade secrets, as specified in the Manuals.

                    10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
            requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
            court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
            injunction against violation of, the requirements of this Section 10.

                    10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
            methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
            employees during the term of this Agreement relating to the development and/or operation of the
            Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
            or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
            techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
            and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
            such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
            allow any other person or entity to use any such concept, method, technique or product without obtaining
            Del Taco’s prior written approval.

                    10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
            approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
            Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5    In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
            Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
            information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques
            and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
            Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
            restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
                                                                  25
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1226Thereof
                                                                 of 1415 Page 1200 of 1376


            of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
            any person, persons, partnership, corporation, or entity:

                            10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
            Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
            do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
            the Proprietary Marks and the System.

                           10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
            maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
            stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
            “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
            Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                     10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
            shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
            under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
            termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
            jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
            enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
            interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
            consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
            (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
            owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
            Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
            with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
            begin to run until Franchisee begins to comply.

                    10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
            Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
            publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
            deemed to refer to a corporation which has securities that have been registered under the Securities
            Exchange Act of 1934.

                     10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
            to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
            any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
            Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
            F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
            upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
            10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                     10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
            independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
            this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
            unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
            covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
            as if the resulting covenant were separately stated in and made a part of this Section 10.

                     10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
            forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
                                                                   26
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1227Thereof
                                                                 of 1415 Page 1201 of 1376


            effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
            shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
            the provisions of Section 24 and 24.2 below.

                   10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
            Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
            Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
            reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
            Del Taco in connection with the enforcement of this Section 10.

                    10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
            this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
            available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
            Franchisee in violation of the terms of this Section 10.

                    10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
            and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
            rights.

            11.      Insurance.

                     11.1     Franchisee shall comply with the following indemnification and insurance provisions:

                             11.1.1 Insurance Requirements. Prior to the commencement of any activities or
            operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
            the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
            hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
            following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
            by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
            Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
            having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
            (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
            Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
            policies shall include, at a minimum (except as additional coverages and higher policy limits may
            reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
            writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
            damage awards and other relevant changes in circumstances), the following:

                                    11.1.1.1   Liability. A comprehensive general liability policy in the amount of
            not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
            property damage liability per occurrence, including premises, operations, products and completed
            operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
            injury, and non-owned or hired automobiles.

                                     11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
            subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
            (exclusive of foundation and excavation costs), including all Equipment and any additions to or
            substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall
            include the replacement value of stated items then being constructed or purchased by Del Taco at the time
            of loss.

                                                                  27
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1228Thereof
                                                                 of 1415 Page 1202 of 1376


                                    11.1.1.3     Business Interruption. Business interruption insurance in an amount
            not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
            restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
            months without possibility of co-insurance penalty.

                                      11.1.1.4    Business Automobile Liability Insurance. Business automobile
            liability insurance, including a combined single bodily injury and property damage coverage for all owned,
            non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
            occurrence for both bodily injury and property damage.

                                      11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
            compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
            Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
            or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
            for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
            to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
            Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
            policy waiving the insurer’s right of subrogation.

                                     11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
            liability insurance with limits which bring the total of all primary underlying coverages to not less than
            Three Million Dollars ($3,000,000) total limit of liability.

                                   11.1.1.7     Property Insurance. Property insurance providing coverage for direct
            physical loss or damage to real and personal property for all risk perils, including the perils of flood and
            earthquake.

                                    11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
            not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                       11.1.1.9      Cyber Liability Insurance. Cyber liability insurance in an amount that
            Del Taco designates.

                                      11.1.1.10      Other Insurance. Any other insurance coverage that is required by
            federal, state, or municipal law.

                    11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
            shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                     11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
            policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
            Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
            insurance company.

                    11.4     Construction and Remodeling Insurance. In connection with all significant construction,
            reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
            the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
            contractor’s and all other contractor’s own expense, such insurance policies and bonds with such
            endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
            Del Taco, having a rating as set forth in Section 11.1.1 above.

                                                                    28
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1229Thereof
                                                                 of 1415 Page 1203 of 1376


                    11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
            policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
            may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
            under the indemnity provisions set forth in Section 16.1.3 below.

                      11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
            its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
            and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
            as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
            Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
            or employees. Additional insured status shall include coverage for ongoing and completed operations. The
            additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
            writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
            liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
            acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
            status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
            Agreement.

                     11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
            required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
            such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
            declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
            proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
            that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
            alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
            certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
            affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
            interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
            such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
            to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
            11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
            agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
            from Del Taco.

                    11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
            anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
            Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
            the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
            reasonably require.

                   11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
            changes in minimum policy limits and endorsements as it deems advisable.

                    11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
            maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
            any insurance required by this Section 11.

            12.      Transfer of Interest.

                   12.1   Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
            System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
                                                                  29
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1230Thereof
                                                                 of 1415 Page 1204 of 1376


            Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
            without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
            solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
            assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
            Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
            with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
            recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
            of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
            damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
            Agreement, the System, or Confidential Information to any other party. Nothing contained in this
            Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
            Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
            bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
            Agreement and the System.

                    12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
            Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
            forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
            such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                     12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
            set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
            reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
            Accordingly:

                              12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
            otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
            (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
            or (d) any direct or indirect ownership interest in Franchisee.

                             12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
            without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
            securities, and the recipient of any such securities shall become an owner under this Agreement, if so
            designated by Del Taco.

                             12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
            shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
            partner, or otherwise materially alter the powers of any general partner.

                            12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
            pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                             12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
            default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
            any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                     12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
            by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
            interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to
            transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake

                                                                     30
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1231Thereof
                                                                 of 1415 Page 1205 of 1376


            any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
            or all of the following as conditions of Del Taco’s approval:

                             12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
            and the proposed transferee shall provide Del Taco with all information and documents requested by Del
            Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
            financial terms of the proposed transaction including the leases and/or any assignments, renewal or
            extension of the leases and any necessary landlord consents, financial and operational information regarding
            the proposed transferee, and evidence of any financing that may be required to complete the transaction
            and/or fund the transferee’s operation after the transfer.

                             12.4.2 The transferor shall have executed a general release (which shall include a release
            from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
            of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
            directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
            corporate and individual capacities including claims arising under this Agreement, any other agreement
            between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                             12.4.3 The transferee of an owner shall be designated as an owner and each transferee
            who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
            agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
            any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
            shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                             12.4.4 Prior to, and after the transfer, Franchisee’s new owners shall meet Del Taco’s
            educational, managerial, and business standards; each shall possess a good moral character, business
            reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
            by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
            and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
            and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
            other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
            the effect of negatively impacting the future viability of the Restaurant.

                            12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
            Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
            to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
            hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
            and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
            Marketing Fees, and a different or modified Protected Area, provided however that the term of such
            franchise agreement shall be equal to the then unexpired term of this Agreement.

                             12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
            requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
            then-current standards and specifications of new Restaurant then being established in the System, and shall
            complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
            5.9 above within the time specified by Del Taco.

                             12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
            current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
            including Franchisee’s reporting obligations.

                                                                  31
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1232Thereof
                                                                 of 1415 Page 1206 of 1376


                           12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
            connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
            survive the termination or expiration of this Agreement, and shall execute any and all instruments
            reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
            Operating Principal and any of Franchisee’s General Managers that Del Taco designates shall successfully
            complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such terms and
            conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for attendance at
            such training programs, the transferee shall be responsible for the salary and all expenses of the person who
            attends training).

                             12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
            compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
            with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
            Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
            new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
            addition, in the event a proposed transfer is not consummated or closed, for any reason except for
            disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
            Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
            including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
            to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                             12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
            transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
            financial information and documents regarding the operation of the Restaurant, including the trailing two
            years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
            contracts, and such other information as may be specified by Del Taco.

                            12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
            by the covenants contained in Section 10 above.

                     12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
            all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
            ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
            convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
            withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
            the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
            conditions:

                              12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
            prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
            as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
            formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
            and bank information for the new franchisee entity.

                              12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
            interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
            franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
            of the outstanding voting equity interests in the new franchisee entity.

                                                                   32
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1233Thereof
                                                                 of 1415 Page 1207 of 1376


                              12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
            interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                             12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
            12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
            with Sections 5.27 and 5.28 of this Agreement.

                           12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
            agreements and other materials as Del Taco may require.

                     12.6     Right of First Refusal.

                             12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
            to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
            interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
            provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
            have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
            written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
            conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
            purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
            by Del Taco.

                             12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
            constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
            initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
            waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
            respect to a proposed transfer, or a waiver of any subsequent offer.

                             12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
            such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
            conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
            cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
            consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
            acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
            one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
            another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
            in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
            determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
            appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
            this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
            (½) of the cost of the appraisal, if any, against any payment to the seller.

                     12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
            or the death of an owner, the executor, administrator, or other personal representative of the deceased will
            transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
            If no personal representative is designated or appointed and no probate proceedings are instituted with
            respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
            Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
            to a third party approved by Del Taco within six (6) months after the date of death of the deceased.


                                                                   33
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1234Thereof
                                                                 of 1415 Page 1208 of 1376


                     12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
            permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
            Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
            months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
            injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
            Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
            consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
            Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
            permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
            examination of such person or, if such person refuses to be examined, then such person shall automatically
            be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
            shall pay the cost of the required examination.

                    12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
            permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
            representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
            death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
            any inter vivos transfer.

                     12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
            12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
            be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
            Agreement by the transferor or transferee.

                    12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
            Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
            U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
            Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
            any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                     12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
            Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
            Del Taco for review as described below before such materials are filed with any government agency. Any
            materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
            use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
            or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
            Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
            relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
            not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
            materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
            preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
            the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
            respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
            connection with the offering and shall execute any and all documents required by Del Taco to endorse such
            indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
            Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
            costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
            shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
            transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
            provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering

                                                                  34
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1235Thereof
                                                                 of 1415 Page 1209 of 1376


            shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
            if Franchisee is not the offeror) after the financing is completed.

            13.      Default and Termination.

                     13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
            and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
            become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
            filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
            adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
            or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
            or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
            appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
            any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
            more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
            longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
            or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
            property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
            mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
            within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
            by any sheriff, marshal, or constable.

                    13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
            in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
            without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
            of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
            occurrence of any of the following events:

                           13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
            Agreement or the Site Selection Addendum;

                           13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
            accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
            accordance with Del Taco’s standards and specifications;

                            13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
            training program pursuant to Section 5.4 of this Agreement;

                             13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
            or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
            of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
            Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
            or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
            thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
            approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                             13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
            and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
            any reason, or expires;


                                                                   35
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1236Thereof
                                                                 of 1415 Page 1210 of 1376


                            13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
            of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
            reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
            therewith, or Del Taco’s interest therein;

                             13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
            unethical, or a deceptive practice;

                            13.2.8 If a threat or danger to public health or safety results from the construction,
            maintenance, or operation of the Restaurant;

                            13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
            obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
            of Section 12;

                            13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
            pursuant to Section 7.4;

                            13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
            obtain execution of the covenants required under Section 10.8;

                             13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
            the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                             13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
            reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                            13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
            fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
            under this Agreement;

                             13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
            default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                              13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
            products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
            obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
            any notice required by the contract or under applicable law;

                             13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
            or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
            for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
            of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                              13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                            13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
            required under this Agreement;

                           13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
            including operating the Restaurant in compliance with the operating standards and specifications
                                                                  36
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1237Thereof
                                                                 of 1415 Page 1211 of 1376


            established from time to time by Del Taco as to the quality of service, specifications and use of computer
            hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
            inspection conducted in accordance with Section 5.14 hereof;

                           13.2.21 If Franchisee defaults in the performance of any other obligation under this
            Agreement or any other agreement with Del Taco or any of its affiliates;

                           13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
            comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                              13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
            5.26;

                             13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
            written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
            participate personally in the direct operation of the Restaurant;

                              13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
            whatsoever.

                     13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
            13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
            terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
            below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
            date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
            may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
            satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
            five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
            terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
            (or five (5)) day period or such longer period as applicable law may require.

                    13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
            notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
            franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
            action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
            law shall be substituted for the comparable provisions hereof.

                     13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
            pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
            entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
            to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
            forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
            proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
            such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
            days prior to the date application is made to a court of competent jurisdiction for authority and approval to
            enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
            to be exercised by notice given at any time prior to the effective date of such proposed assignment and
            assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
            and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
            brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
            assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
                                                                   37
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1238Thereof
                                                                 of 1415 Page 1212 of 1376


            described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code
            shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
            12.

                     13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
            actions in addition to terminating this Agreement:

                             13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
            steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
            and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
            the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
            brought it into conformity with Del Taco’s standards and specifications;

                           13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
            Section 1.2 above;

                             13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
            and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
            funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
            then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
            obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                           13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
            or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

            If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
            Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
            accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
            under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
            the terms of this Agreement.

            14.      Obligations Upon Termination or Expiration.

                    14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
            Franchisee shall forthwith terminate, and:

                             14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
            and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
            former franchisee of Del Taco.

                             14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
            cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
            with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
            symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
            advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
            remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
            all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
            expense.

                            14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
            necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
                                                                   38
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1239Thereof
                                                                 of 1415 Page 1213 of 1376


            Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall
            furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
            days after termination or expiration of this Agreement.

                             14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
            then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
            together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
            due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
            of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
            immediately preceding the termination (or such period as the Restaurant was open for business, if the
            Restaurant was not open for business during the entire three year period), multiplied by the number of years
            remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
            precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
            because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
            lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
            termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
            in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
            including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
            and costs.

                            14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
            Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
            handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
            Confidential Information (including any copies thereof, even if such copies were made in violation of this
            Agreement), all of which are acknowledged to be Del Taco’s property.

                              14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
            begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
            colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
            thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
            rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
            trademark, service mark, or representation which suggests or represents a present or past association or
            connection with Del Taco, the System, or the Proprietary Marks.

                              14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
            but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
            premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
            party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
            Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
            to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
            the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
            (including the changing of the telephone number) immediately upon termination or expiration of this
            Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
            Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
            for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
            Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
            and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
            Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
            to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
            or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the

                                                                   39
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1240Thereof
                                                                 of 1415 Page 1214 of 1376


            requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
            of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing
            to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
            pay upon demand.

                              14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
            to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
            Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
            of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
            (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
            parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
            cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
            amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
            Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
            from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
            place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
            or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
            cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
            time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
            shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
            to use the equipment without charge until the transfer of the equipment takes place.

                            14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
            and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
            and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
            obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                            14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
            rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
            applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
            them, terminate or expire.

            15.      Taxes, Permits and Indebtedness

                     15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
            unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
            Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
            tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
            Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
            amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
            received (after such withholding tax and after any additional taxes on account of such additional payment)
            equal to the amount that Del Taco would have received had no tax payment been required, provided that
            such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
            attributable to Del Taco.

                     15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
            assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
            in accordance with procedures of the taxing authority or applicable law; however, in no event shall
            Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
            creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                                                                  40
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1241Thereof
                                                                 of 1415 Page 1215 of 1376


                     15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
            rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating
            regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
            full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
            name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
            are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
            shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
            conflict to Del Taco.

                     15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
            of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
            and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
            governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
            adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
            or a claim against Franchisee or Del Taco.

            16.      Independent Contractor and Indemnification.

                     16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
            create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
            between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
            this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
            venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever.

                            16.1.1 Identification as Independent Contractor. At all times during the term of this
            Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
            contractor operating the business pursuant to a franchise from Del Taco.

                               16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
            or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
            authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
            or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
            liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
            reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
            judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
            or implied, to bind or obligate Del Taco in any way.

                              16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
            applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
            directors, employees, and agents harmless against any and all claims, obligations, and damages arising
            directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
            operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
            this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
            including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
            against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
            to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
            ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
            expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
            costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
            Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
            expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s
                                                                  41
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1242Thereof
                                                                 of 1415 Page 1216 of 1376


            indemnification and hold harmless obligations under this Section 16 shall survive the termination or
            expiration of this Agreement.

            17.      Governing Law and Dispute Resolution.

                     17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
            laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
            which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
            of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
            franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
            State of California to which this Agreement would not otherwise be subject.

                    17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
            any action brought by one party against the other in any court, whether federal or state, shall be brought
            only before a court of competent jurisdiction in Orange County, California. The parties agree that this
            Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
            court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
            all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
            action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
            and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
            basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
            dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
            Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
            under, or the termination of this Agreement, or any other Agreement between the parties shall be referred
            to arbitration in accordance with the following provisions:

                              17.3.1 Demand to Arbitrate. The claimant shall send a notice of a demand for arbitration,
            in writing, to the other party to the dispute. The demand shall state with particularity the nature and grounds
            of the claim, dispute or controversy and the nature of relief being sought. A claimant shall make a demand
            for arbitration promptly after the claim, dispute or other matter in question has arisen; but, in any event,
            before the applicable statute of limitations would bar the institution of legal or equitable proceedings based
            on the claim, dispute or other matter in question.

                              17.3.2 Appointment of Arbitrators. Within 10 days after the demand to arbitrate, Del
            Taco and Franchisee each shall request the appointment of three neutral arbitrators by the American
            Arbitration Association, or its successor, and the three arbitrators chosen shall conduct the arbitration. If
            the failure or refusal of either party to cooperate in the selection of the arbitrators prevents the selection of
            the arbitrators within 30 days after the demand for arbitration, the failure or refusal shall constitute an
            irrevocable consent to the arbitrators appointed by the American Arbitration Association. Unless otherwise
            specifically stated in this Section 17.3.2, the appointment of an arbitrator shall take place in accordance
            with the rules of the American Arbitration Association, or its successor, then in effect. If the American
            Arbitration Association, or successor, no longer exists, either party may apply to the Orange County
            Superior Court for the appointment of the arbitrators.

                             17.3.3 Conduct of Arbitration. Notwithstanding any requirements imposed by law
            (except to the extent mandatory), the following provisions shall apply to any arbitration conducted under
            this Section 17.3.3:


                                                                   42
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1243Thereof
                                                                 of 1415 Page 1217 of 1376


                                      17.3.3.1    Power of Chairman. The arbitrators shall select a chairman of the
            arbitration panel, who shall rule on all procedural matters including the selection of the time and place for
            the hearing, matters relating to discovery, and the admissibility of evidence.

                                       17.3.3.2    Response to Demand. Within five days after the appointment of the
            last arbitrator, the party against whom arbitration is sought shall file with the arbitrators and serve on the
            other party a statement (i) responding with particularity to the claims set forth in the demand to arbitrate,
            (ii) setting forth any defensive matters, and (iii) setting forth any claims that the person has against the party
            instituting the arbitration. The statement required by this provision shall take substantially the same form
            as required for answers and cross-complaints by the Federal Rules of Civil Procedure. If the other party
            does not file a statement required by this provision in a timely manner, it shall not have the right to assert
            any defensive matters or any claims against the party instituting the arbitration.

                                       17.3.3.3      Amendment of Claim. If, after the delivery of the notice of demand
            for arbitration, either party desires to make any new or different claim, the party shall make the claim made
            in writing and shall file it with the arbitrators if the chairman, upon good cause shown, determines the other
            party may file the amended claim. The filing of an amended claim shall not extend the time for the holding
            of the arbitration hearing or the making of an award.

                                      17.3.3.4    Time for Arbitration Hearing. The arbitration hearing shall take place
            no sooner than 60 nor later than 90 days after the appointment of the last arbitrator and the chairman shall
            give notice of the date, time and place of the hearing to the parties within 10 days after the appointment of
            the last arbitrator.

                                      17.3.3.5     List of Witnesses and Documents. Either party, within 10 days after
            receipt of the notice of the hearing, shall have the right to demand in writing, served personally or by
            registered or certified mail, that the other party provide a list of witnesses it intends to call, designating
            which witnesses it will call as expert witnesses, and a list of documents it intends to introduce at the hearing,
            provided that the demanding party provides its lists of witnesses and documents at the time of its demand.
            The demanding party shall serve a copy of those demands and the demanding party’s lists on the arbitrators
            at the time served on the other party. The recipient of the request shall serve on the requesting party
            personally or by certified mail, within 10 days after receipt of the request, copies of the lists requested and,
            also, shall serve such lists on the arbitrators at the same time. The party shall make any documents listed
            available for inspection and copying at reasonable times prior to the hearing. The failure to list a witness
            or a document shall bar the testimony of an unlisted witness or the introduction of any undesignated
            document at the hearing.

                                     17.3.3.6   Record. The arbitrators shall make the necessary arrangements for the
            taking of a stenographic record whenever requested by a party. The cost of the stenographic record should
            be borne by the parties equally.

                                      17.3.3.7     Attendance at Hearings. Any person who is a party to the arbitration
            may attend the hearings. The arbitrators otherwise shall have the power to exclude any witness, other than
            a party or other essential person, during the testimony of any other witness. The arbitrators also shall have
            the power to exclude the attendance of any other person.

                                      17.3.3.8     Adjournments. Except for adjournments required by law or caused by
            the illness or disability of an arbitrator, the arbitrators shall not adjourn, continue or otherwise delay the
            hearing without the written consent of the parties.


                                                                    43
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1244Thereof
                                                                 of 1415 Page 1218 of 1376


                                     17.3.3.9    Production of Witnesses and Records. Upon application of a party to
            the arbitration or upon his or her own determination, the chairman may issue subpoenas for the attendance
            of witnesses and subpoenas duces tecum for the production of books, records, documents and other
            evidence. The parties shall serve and may enforce subpoenas in accordance with the provisions of the
            Federal Rules of Civil Procedure then in effect.

                                      17.3.3.10 Absence of a Party. The arbitration may proceed in the absence of any
            party who, after the notice of the hearing, fails to attend. The arbitrators shall not make an award solely on
            the default of a party, and the arbitrators shall require the party present to submit evidence required for the
            making of an award.

                                       17.3.3.11     Authority to Administer Oaths. The chairman may administer oaths.

                                       17.3.3.12 Evidence. The parties may offer any evidence they desire and shall
            produce any additional evidence the arbitrators may deem necessary to an understanding and determination
            of the dispute. The chairman shall judge the relevancy and materiality of the evidence offered and need not
            conform to the legal rules of evidence. The parties shall present all evidence in the presence of all of the
            arbitrators and all of the parties, except when a party has failed to appear or has waived his or right to attend.

                                     17.3.3.13 Evidence by Affidavit and Filing of Documents. The arbitrators shall
            receive and consider the evidence of witnesses by affidavit, but shall give it only as much weight as they
            deem it entitled to after consideration of any objections made to its admission. Each party shall file all
            documents not filed with the arbitrators at the hearing, but arranged for at the hearing or subsequently by
            agreement of the parties, shall be filed with the arbitrators. All parties shall have the opportunity to examine
            those documents.

                                      17.3.3.14 Discovery. The parties to the arbitration shall have the right to take
            depositions and to obtain discovery regarding the subject matter of the arbitration and, to that end, to use
            and exercise all the same rights, remedies and procedures (subject to all the same duties, liabilities and
            obligations) in the arbitration with respect to the subject matter as provided in the Federal Rules of Civil
            Procedure then in effect, subject to such limitations (based on the nature of the case) as the arbitrators may
            impose. Notwithstanding the foregoing, a party may take a deposition on 10 days’ notice at any time after
            the delivery of the notice of demand to arbitrate and may require an answer or response to interrogatories,
            requests for documents, or for admission within 15 days after their receipt. In connection with any
            discovery, the arbitrator shall have the power to enforce the rights, remedies, procedures, duties, liabilities
            and obligations of discovery by the imposition of the same terms, conditions, consequences, liabilities,
            sanctions and penalties available in like circumstances in a civil action by a federal court under the
            provisions of the Federal Rules Civil Procedure, except the power to order the arrest or imprisonment of
            any person. The chairman may consider, determine and make any orders imposing any terms, conditions,
            consequences, liabilities, sanctions and penalties, deemed necessary or appropriate at any time or stage of
            the course of the arbitration, and those orders shall constitute conclusive, final and enforceable arbitration
            awards on the merits.

                                      17.3.3.15 Reopening of Hearings. The arbitrators may reopen an arbitration
            hearing on his or her own motion or upon application of a party at any time before making an award;
            provided, however, that, if the reopening of the hearing will prevent the making of the award within the
            time specified in this Section 17.3.3.15, the arbitrators may not reopen the matter unless the parties agree
            to an extension of the time limit.

                                     17.3.3.16 Extensions. The parties may modify any period of time by mutual
            agreement, but the arbitrators shall not have the power to extend any period of time whatsoever.
                                                                   44
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1245Thereof
                                                                 of 1415 Page 1219 of 1376


                                    17.3.3.17 Time for Award. The arbitrators shall render the award no later than
            20 days after the completion of the hearing.

                                      17.3.3.18 Confidentiality. The arbitration proceedings and arbitration award
            shall be maintained by the parties as strictly confidential, except as is otherwise required by law or court
            order or as is necessary to confirm, vacate or enforce the award and for disclosure in confidence to the
            parties’ respective attorneys and tax advisors.

                             17.3.4 Application of Federal Rules of Civil Procedure. Except as provided otherwise in
            this Section 17.3.4, any arbitration conducted under this Section 17.3.4 shall take place in accordance with
            the Federal Rules of Civil Procedure then in effect.

                            17.3.5 Finality; Enforcement; Venue. The award of the arbitrators shall constitute a final
            award and shall bind all parties to the arbitration, and the parties may enter a judgment on the award in any
            court of competent jurisdiction. All arbitrations shall take place in Orange County, California.

                              17.3.6 Arbitration Costs, Attorneys’ Fees and Costs. Each party shall bear their share of
            the costs of the arbitration proceeding. The prevailing party to the arbitration shall have the right to an
            award of its reasonable attorneys’ fees and costs incurred after the filing of the demand for arbitration. If
            either Del Taco or Franchisee seeks to enforce this Agreement in any arbitral or other proceeding, the
            prevailing party shall be entitled to recover its reasonable costs and expenses (including reasonable
            attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses) and expert witness fees,
            costs of investigation and proof of facts, court costs, other litigation expenses and travel or living expenses)
            incurred in connection with such judicial or other proceeding.

                              17.3.7 Survival. This agreement to arbitrate shall survive the expiration or termination of
            this Agreement.

                    17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
            either party may file suit in a court of competent jurisdiction for the entry of temporary or preliminary
            injunctive relief, restraining orders and orders of specific performance, including injunctive relief pertaining
            to Franchisee’s use of the System, including Del Taco’s trademarks and service marks.

                   17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
            17.5 ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
            AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
            THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
            OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
            ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
            BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
            LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
            DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
            ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
            RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
            SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
            INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
            FEDERAL STATUTE OF LIMITATIONS.

                 17.6 Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
            AGREEMENT DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY WAIVE
            TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR ANY
                                                                   45
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1246Thereof
                                                                 of 1415 Page 1220 of 1376


            LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR MULTIPLE
            DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A DISPUTE
            AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF DIRECT
            DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S OWNERS.

            18.      Time is of the Essence

                   As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
            Taco under Section 5.14, time shall be of the essence.

            19.      Approvals, Waivers and Binding Effects.

                     19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
            Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
            shall grant, if at all, only in writing.

                    19.2    No Warranties. Del Taco makes no warranties or guarantees upon which Franchisee may
            rely, and assumes no liability or obligation to Franchisee, by providing any waiver, approval, consent or
            suggestion to Franchisee in connection with this Agreement or by reason of any neglect, delay or denial of
            any request.

                              DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                              IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                              PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                              NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                              GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                              WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                              REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                              ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                              EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                              PURCHASE PRICE PAID FOR THE PRODUCTS.

                    19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
            Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
            any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
            of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
            condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
            waiver by Del Taco of any prior breach.

                    19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
            executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
            nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
            than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
            contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
            reason of this Agreement.

            20.      Notices.

                     20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
            be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
            etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
                                                                 46
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1247Thereof
                                                                 of 1415 Page 1221 of 1376


            respective parties at the addresses below, unless and until a different address has been designated by written
            notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
            delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                              Del Taco:                        25521 Commercentre Drive, Suite 200
                                                               Lake Forest, California 92630
                                                               Fax Number: (949) 616-5002

                              Franchisee:                      Franchisee’s notice address set forth on Exhibit A to this
                                                               Agreement

            21.      Force Majeure.

                     No failure by any party to this Agreement to take action on account of any default by any other
            party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
            of any such default or right or the performance required of such other party. Except as otherwise provided
            in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
            breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
            transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
            or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
            comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
            municipal government or any department or agency thereof; compliance with any law; epidemic;
            pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
            performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
            causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
            all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
            any of such causes shall give prompt written notice of the circumstances of such event to the other party,
            but in no event more than five (5) days after the commencement of such event. The notice shall describe
            the nature of the event and an estimate as to its duration.

            22.      Immunity for Certain Limited Disclosures.

                     Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
            accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
            Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
            officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
            violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
            made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
            with any applicable law or create liability for disclosures expressly allowed by law.

            23.      Entire Agreement and Amendment.

                    This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
            complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
            supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements
            no other representations having induced Franchisee to execute this Agreement. There are no other oral or
            written understandings or agreements between Del Taco and Franchisee, or oral representations by Del
            Taco, or written representations by Del Taco (other than those set forth in the Franchise Disclosure
            Document, if any, that Del Taco provided to Franchisee), relating to the subject matter of this Agreement,
            the franchise relationship, or the Restaurant (and any understandings or agreements reached, or any
            representations made, before this Agreement are superseded by this Agreement). However, and
                                                                   47
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1248Thereof
                                                                 of 1415 Page 1222 of 1376


            notwithstanding the foregoing, nothing in this Franchise Agreement is intended to disclaim any
            representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
            Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
            amendment, change, or variance from this Agreement shall be binding on either party unless mutually
            agreed to by the parties and executed by their authorized officers or agents in writing. The System and
            Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

            24.      Severability; Enforcement of Covenants; Construction.

                     24.1    Severability. If any of the provisions of this Agreement may be construed in more than
            one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
            provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
            this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
            event any court or other government authority shall determine that any provision in this Agreement is not
            enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
            fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
            sought and affords the parties the same basic rights and obligations and has the same economic effect. If
            any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
            government authority or in any other proceeding, such findings shall not invalidate the remainder of the
            agreement unless in Del Taco’s reasonable opinion the effect of such determination has the effect of
            frustrating the purpose of this Agreement, whereupon Del Taco shall have the right by notice in writing to
            Franchisee to immediately terminate this Agreement.

                    24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
            imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
            Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
            from striking from any of the provisions hereof any portion or portions which a court may hold to be
            unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
            of any promise or covenant to the extent required to comply with such a court order.

                   24.3     Construction. All captions and headings in this Agreement are intended solely for the
            convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
            Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
            words “include” and “including” will be construed to include the words “without limitation.”

            25.      Joint and Several Obligation.

                     If Franchisee consists of more than one person or entity, each person and entity shall have joint and
            several liability for Franchisee’s obligations under this Agreement.

            26.      Incorporation of Exhibits.

                     All exhibits referred to in this Agreement constitute an integral part of this Agreement.

            27.      Counterparts.

                     This Agreement may be executed in any number of counterparts each of which when so executed
            will be an original, but all of which together will constitute one (1) and the same instrument.




                                                                  48
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1249Thereof
                                                                 of 1415 Page 1223 of 1376


            28.      Survival of Provisions.

                    All provisions of this Agreement which, by their terms or intent, are designed to survive the
            expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
            Agreement.

            29.      Representations, Warranties and Acknowledgments.

                     29.1     Franchisee represents, warrants and acknowledges to Del Taco as follows:

                             29.1.1 Independent Investigation. Franchisee has conducted an independent investigation
            of the business contemplated by this Agreement and recognizes that the business involves risks which make
            the success of the venture dependent upon factors which are beyond the control of Del Taco and largely
            dependent upon Franchisee’s ability. Del Taco expressly disclaims the making of, and Franchisee
            acknowledges that it has not received or relied upon, any warranty or guarantee, expressed or implied, as
            to the potential sales volume, profits or operating success of the business venture contemplated by this
            Agreement.

                                29.1.2 Receipt of Documents. Franchisee acknowledges receipt of a copy of this
            Agreement, the exhibit(s) hereto, and agreements relating hereto, if any, with all of the blank lines therein
            filled in, at least seven (7) days prior to the date on which this Agreement was executed, and with sufficient
            time within which to review the Agreement, with advisors of Franchisee’s choosing. Franchisee further
            acknowledges receipt of the franchise disclosure document required by the Federal Trade Commission’s
            Franchise Rule at least fourteen (14) days prior to the date on which this Agreement was executed.

                             29.1.3 No Other Representations. Franchisee has no knowledge of, and has not relied
            upon, any representations by Del Taco or its officers, directors, owners, employees, or agents about the
            business contemplated by this Agreement contrary to the terms of this Agreement or the information set
            forth in the most recent franchise disclosure document provided to Franchisee.

                             29.1.4 Consultation. Franchisee has read and understands this Agreement and Del Taco
            has afforded Franchisee ample time and opportunity to consult with advisors of its own choosing about the
            potential benefits and risks of entering into this Agreement.

                             29.1.5 Modification of Offers. Franchisee understands that present and future franchisees
            of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
            of the parties to those agreements may differ materially from the obligations and rights contained in this
            Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
            franchises to other franchisees in any manner and at any time, which offers and agreements have or may
            have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
            Agreement.

                              29.1.6 Development Agreement Terms. Franchisee understands that a franchisee who is
            a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
            under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                             29.1.7 No Other Obligations. Each party represents and warrants to the others that
            his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
            other agreement, contract or covenant to which such party is bound, and further represents and warrants to
            the other parties that there are no other agreements, court orders, or any other legal obligations that would

                                                                  49
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1250Thereof
                                                                 of 1415 Page 1224 of 1376


            preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
            exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                             29.1.8 Restaurant Location. Franchisee acknowledges having sole and complete
            responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
            deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
            guarantee of Franchisee’s success at the location, and that Franchisee shall be solely responsible for
            Franchisee’s own success at the location.

                              29.1.9 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
            represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
            statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
            application and other documents and information submitted to Del Taco, or in obtaining the rights granted
            herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
            in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
            disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
            to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
            Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
            contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
            suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
            pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
            maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
            at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
            violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
            corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
            of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
            available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
            currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
            Corrupt Practices Act, or any similar law. Franchisee recognizes that Del Taco approved Franchisee in
            reliance on all of the statements Franchisee and its owners have made in connection therewith, and that
            Franchisee has a continuing obligation to advise Del Taco of any material changes in these statements and
            representations made to Del Taco in this Agreement or in the franchise application.

            30.      Business Judgment.

            Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
            not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
            in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
            or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
            specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
            discretion on the basis of its sole judgment of what is in Del Taco’s best interest of the franchise network,
            at the time Del Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to
            whether: (1) other reasonable alternative decisions or actions, or even arguably preferable alternative
            decisions or actions, could have been made by Del Taco; (2) Del Taco’s decision or the action taken
            promotes Del Taco’s financial or other individual interest; (3) Del Taco’s decision or the action it takes
            applies differently to Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-
            owned operations; or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to
            Franchisee’s interests. In the absence of an applicable statute, Del Taco will have no liability to Franchisee
            for any such decision or action. Del Taco and Franchisee intend that the exercise of Del Taco’s right or
            discretion will not be subject to limitation or review. If applicable law implies a covenant of good faith and

                                                                  50
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1251Thereof
                                                                 of 1415 Page 1225 of 1376


            fair dealing in this Agreement, Del Taco and Franchisee agree that such covenant shall not imply any rights
            or obligations that are inconsistent with a fair construction of the terms of this Agreement and that this
            Agreement grants Del Taco the right to make decisions, take actions and/or refrain from taking actions not
            inconsistent with Franchisee’s rights and obligations hereunder.




                                                     [SIGNATURE PAGE FILLOWS]




                                                                51
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1252Thereof
                                                                 of 1415 Page 1226 of 1376


                     Executed as of the day and year first set forth above.

            FRANCHISOR:                                        DEL TACO LLC


                                                               By:
                                                                       Jack Tang
                                                                       Vice President & General Counsel



            FRANCHISEE:                                        NEWPORT VENTURES, LLC


                                                               By: Techno Industries Inc
                                                               Its President & CEO



                                                               Ernesto Abarro


                                                               By:
                                                                     Katayoun Aryana

                                                                         9/6/2023
                                                               Date:




                                                                  52
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1253Thereof
                                                                 of 1415 Page 1227 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

            1.       Name of Franchisee:                       Newport Ventures, LLC

            2.       Notice Address of Franchisee:             1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com
                                                               Fax Number: (949) 534-7000

            3.       Location of Restaurant:                   6383 Promenade Parkway
                                                               Castle Rock, CO 80108

            4.       Protected Area:                           A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

            5.       Date of Takeover:                         October 4, 2023

            6.       Date of Expiration:                       September 6, 2038




                                                               Exhibit A
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1254Thereof
                                                                 of 1415 Page 1228 of 1376


                                                             EXHBIT B

                                                     Deleted As Not Applicable




                                                              Exhibit B-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1255Thereof
                                                                 of 1415 Page 1229 of 1376


                                                             EXHIBIT C

                                        Authorization Agreement for Prearranged Payments
                                                          (Direct Debits)

                    The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
            debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
            below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
            Wells Fargo Bank                                   Mission Viejo, CA

            Depository                                                     Branch
            26042 Marguerite Pkwy, Mission Viejo, CA 92692
            Street Address, City, State, Zip Code
             122000247                                         7429826410

            Bank Transit/ABA Number                                        Account Number

                     This authority is to remain in full force and effect until Depository has received joint written
            notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
            in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
            Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
            this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
            to have the amount of such entry credited to such account by Depository, if within 15 calendar days
            following the date on which Depository sent to Depositor a statement of account or a written notice
            pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
            Depository a written notice identifying such entry, stating that such entry was in error and requesting
            Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
            may have under federal and state banking laws.


            Depositor

            By:

            Title:
                     9/6/2023
            Date:




                                                               Exhibit C
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1256Thereof
                                                                 of 1415 Page 1230 of 1376


                                                               EXHIBIT D

                                                     Statement of Ownership Interests

            The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
            description of the nature of their ownership interest:

             Individual/Entity Name                              Percentage of Ownership/Nature of Interest*

             Techno Industries Inc                               25%
             Katayoun Aryana                                     75%




            * Must equal 100%.




                                                                 Exhibit D
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1257Thereof
                                                                 of 1415 Page 1231 of 1376


                                                             EXHIBIT E

                                         Guarantee, Indemnification, and Acknowledgment

                    As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
            Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
            (“Franchisee”), dated ________________
                                    September 29     , 2023 (the “Agreement”), the undersigned jointly and severally,
            hereby unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s
            monetary and other obligations under the Agreement will be punctually paid and performed.

                     Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
            make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
            to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
            exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
            relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
            obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
            extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
            any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
            and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                   The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
            harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
            reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
            expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
            perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
            executed by Franchisee referred to therein.

                    The undersigned each hereby jointly and severally acknowledge and expressly agree to be
            individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
            acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
            Marks or System licensed to Franchisee under the Agreement.

                    This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
            obligations and liabilities of the undersigned which arose from events which occurred on or before the
            effective date of such termination shall remain in full force and effect until satisfied or discharged by the
            undersigned, and all covenants which by their terms continue in force after the expiration or termination of
            the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
            the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
            hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
            and effect.

                      If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
            in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
            not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
            fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
            travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
            of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
            failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
            of the above-listed costs and expenses Del Taco incurs.


                                                                Exhibit E-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1258Thereof
                                                                 of 1415 Page 1232 of 1376


                     Subject to the obligations and provisions below, each of the undersigned agrees that all actions
            arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
            and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
            commenced in the state or federal court of general jurisdiction in California and each of the undersigned
            irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
            either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
            Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
            or she is domiciled.

                     Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
            as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
            This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
            any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
            effect to, the application of California conflict of law rules).

                  IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
            Agreement.

                                                              GUARANTOR(S)

            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Ernesto Abarro
                                                              120 S. Lovekin Blvd.
                                                              Blythe, CA 92225



            (Seal)                                            Signed:
                                                                               (In his individual capacity)

                                                              Katayoun Aryana
                                                              1500 E. Bethany Home Road
                                                              Suite 250
                                                              Phoenix, AZ 85014




                                                              Exhibit E-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1259Thereof
                                                                 of 1415 Page 1233 of 1376


                                                             EXHIBIT F

                                          Non-Disclosure and Non-Competition Agreement

                    THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
            made this ___
                       29 day of _________,
                                   September 2023, by and between Newport Ventures, LLC (the “Franchisee”), and
            Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
            in a managerial position with, Franchisee (the “Obligee”).

                                                         BACKGROUND:

                     A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
            developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
            operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
            burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
            additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
            and off-premises consumption (“Menu Items”);

                     B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
            granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
            distribute products and services approved by Del Taco and use the Proprietary Marks in connection
            therewith under the terms and conditions of the Franchise Agreement;

                    C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
            of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
            confidentiality and non-competition agreement that Franchisee is bound by.

                    IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
            valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
            follows:

                    1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
            or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
            association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
            the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
            may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
            information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
            deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
            came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
            Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
            communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
            limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
            in the Manuals.

                     2.       Covenants Not to Compete.

                              (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
            by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
            information, including information regarding the operational, sales, promotional, and marketing methods
            and techniques of Del Taco and the System.

                                                              Exhibit F-1
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1260Thereof
                                                                 of 1415 Page 1234 of 1376


                              (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
            or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
            shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
            persons, partnership, corporation, or entity:

                                      (i)     Divert or attempt to divert any business or customer of the Restaurant or
            of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
            or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
            Taco’s Proprietary Marks and the System; or

                                       (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
            in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
            service, fast food, or fast casual format (“Competitive Business”).

                             (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
            except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
            itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
            entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
            intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
            other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
            franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                            (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
            uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
            Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
            ownership interest in, Franchisee.

                    3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
            of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
            reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
            against violation of, the requirements of this Agreement.

                     4.       Severability. All agreements and covenants contained herein are severable. If any of them,
            or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
            then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
            that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
            business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
            court shall impose the provision with retroactive effect as close as possible to the provision held to be
            invalid.

                    5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
            Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
            provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
            construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.      Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
            in accordance with Section 17 of the Agreement. In the event of any conflict of law, the laws of the State
            of California shall prevail (without regard to, and without giving effect to, the application of California
            conflict of law rules).


                                                                Exhibit F-2
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1261Thereof
                                                                 of 1415 Page 1235 of 1376


                    7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
            intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
            Franchisee.

                    IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
            understands the terms of this Agreement, and voluntarily signed this Agreement on this 29 day of September
                            , 2023.



             FRANCHISEE:                                              OBLIGEE:

             NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


             By:                                                      By:
                   Ernesto Abarro

                                                                      KATAYOUN ARYANA
             By: ___________________________________
                Katayoun Aryana
                                                                      By: ___________________________________




                                                              Exhibit F-3
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1262Thereof
                                                                 of 1415 Page 1236 of 1376


                                                             EXHIBIT G

                                                     ADDENDUM TO LEASE

                   This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
            between ____________________ (“Landlord”) and __________ (“Tenant”).

                   WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
            Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                   WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
            the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
            (“Franchisor”).

                    NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
            consideration, the Landlord and Tenant agree as follows:

            1.       In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                     written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                     Franchisor at the following address:

                                                       Del Taco LLC
                                                       25521 Commercentre Drive
                                                       Lake Forest, California 92630
                                                       Attn: Jack Tang, Vice President, General Counsel

            2.       In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                     notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                     assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                     assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                     will be relieved from any further liability.

            3.       The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                     Franchise Agreement.

            4.       Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                     and exterior design, including graphics, logos and all other decorative features as may be required
                     by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                     current governmental agency requirements.

            5.       All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                     be and remain personal property, regardless of the method in which the same is affixed to the
                     Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                     or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                     specifically agrees that Landlord's rights and the rights of any holder of any present or future
                     encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                     at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                     equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                     acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                     shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                     similar document as may be reasonably required by an equipment-landlord and approved by
                                                               Exhibit F-4
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1263Thereof
                                                                 of 1415 Page 1237 of 1376


                     Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                     financing respecting such personal property, equipment, furniture and fixtures.

            6.       Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                     term of the Lease.

            7.       Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                     business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                     unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                     standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                     meets all current governmental agency requirements.

            8.       Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                     so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                     changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                     determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                     that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

            9.       Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                     extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                     radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                     of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                     which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                     etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

            10.      The term of the lease will provide for a minimum term of 20 years with four options to renew for
                     an additional five (5) years each.

            11.      The Lease is contingent upon Franchisor’s written approval of the site.

            12.      Landlord consents to the operation of the Restaurant on a 24-hour basis.

                    The provisions of this Addendum shall not be modified or terminated without the prior written
            consent of Franchisor.




                                                     [Signature Page Follows]




                                                               Exhibit F-5
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
DocuSign Envelope ID: 97A6FDD2-5426-42CD-BE6A-D6F827BC6BF5
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1264Thereof
                                                                 of 1415 Page 1238 of 1376


                     IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

            Landlord                                                   Tenant

            By:                                                        By:


            Its:                                                       Its:


            Date:                                                      Date:




                                                             Exhibit F-6
            Del Taco LLC
            Franchise Agreement | 2023
            Error! Unknown document property name.
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1265Thereof
                                                                  of 1415 Page 1239 of 1376

Certificate Of Completion
Envelope Id: 97A6FDD2542642CDBE6AD6F827BC6BF5                                                   Status: Completed
Subject: Complete with DocuSign: STORE 738 - FA as Assigned.docx, STORE 793 - FA as Assigned.docx, STORE...
Source Envelope:
Document Pages: 1213                            Signatures: 177                                 Envelope Originator:
Certificate Pages: 5                            Initials: 0                                     Jack Tang
AutoNav: Enabled                                                                                25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                    Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                               mhernandez@deltaco.com
                                                                                                IP Address: 209.234.159.82

Record Tracking
Status: Original                                Holder: Jack Tang                               Location: DocuSign
        9/5/2023 5:36:27 PM                               mhernandez@deltaco.com

Signer Events                                   Signature                                       Timestamp
Ernesto Abarro                                                                                  Sent: 9/5/2023 6:35:09 PM
ernieabarro@gmail.com                                                                           Viewed: 9/6/2023 10:33:13 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:42:42 AM
(None)
                                                Signature Adoption: Pre-selected Style
                                                Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 9/6/2023 10:33:13 AM
   ID: d5b4db8d-9a2b-447f-a9bc-759157f92ce9

Jack Tang                                                                                       Sent: 9/5/2023 6:35:11 PM
jtang@deltaco.com                                                                               Resent: 9/6/2023 10:48:07 AM
General Counsel                                                                                 Resent: 9/29/2023 9:26:01 AM
Del Taco LLC                                                                                    Viewed: 9/29/2023 9:27:32 AM
                                                Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication                                                   Signed: 9/29/2023 9:28:28 AM
(None)                                          Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 9/29/2023 9:27:32 AM
   ID: baa2fdb1-0811-457d-8ef2-bd80c7872e0e

Katayoun Aryana                                                                                 Sent: 9/5/2023 6:35:10 PM
karyana@acc.capital                                                                             Viewed: 9/6/2023 10:34:06 AM
Security Level: Email, Account Authentication                                                   Signed: 9/6/2023 10:36:22 AM
(None)
                                                Signature Adoption: Drawn on Device
                                                Using IP Address: 50.235.38.2
                                                Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 7/28/2023 8:56:42 AM
   ID: 649c602f-389c-46c6-80b2-13f1288df0c4


In Person Signer Events                         Signature                                       Timestamp

Editor Delivery Events                          Status                                          Timestamp

Agent Delivery Events                           Status                                          Timestamp

Intermediary Delivery Events                    Status                                          Timestamp

Certified Delivery Events                       Status                                          Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1266Thereof
                                                                  of 1415 Page 1240 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 9/5/2023 6:35:12 PM
Certified Delivered                  Security Checked                 9/6/2023 10:34:06 AM
Signing Complete                     Security Checked                 9/6/2023 10:36:22 AM
Completed                            Security Checked                 9/29/2023 9:28:28 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          1267Thereof
                                                                of 1415 Page 1241 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1268Thereof
                                                      of 1415 Page 1242 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1269Thereof
                                                      of 1415 Page 1243 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1270Thereof
                                                      of 1415 Page 1244 of 1376




                 Exhibit R
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1271Thereof
                                                                 of 1415 Page 1245 of 1376
                                                                              STORE 738




                                            RENEWAL FRANCHISE AGREEMENT




             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1272Thereof
                                                                 of 1415 Page 1246 of 1376

                                                                                Table of Contents

                                                                                                                                                                         Page


             1.Grant. ......................................................................................................................................................... 1
             2.Term and Renewal. .................................................................................................................................... 3
             3.Fees and Payments. .................................................................................................................................... 5
             4.Services By Del Taco................................................................................................................................. 6
             5.Obligations of Franchisee; Operational Standards. .................................................................................... 7
             6.Advertising and Marketing. ..................................................................................................................... 21
             7.Records and Reports. ............................................................................................................................... 23
             8.Proprietary Marks. ................................................................................................................................... 24
             9.Manuals. ................................................................................................................................................... 26
             10.Confidentiality and Covenants Not To Compete. .................................................................................. 27
             11.Insurance. ............................................................................................................................................... 29
             12.Transfer of Interest. ................................................................................................................................ 31
             13.Default and Termination. ....................................................................................................................... 37
             14.Obligations Upon Termination or Expiration. ....................................................................................... 40
             15.Taxes, Permits and Indebtedness ........................................................................................................... 42
             16.Independent Contractor and Indemnification. ....................................................................................... 43
             17.Governing Law and Dispute Resolution. ............................................................................................... 44
             18.Time is of the Essence ........................................................................................................................... 46
             19.Approvals, Waivers and Binding Effects. .............................................................................................. 46
             20.Notices. .................................................................................................................................................. 46
             21.Force Majeure. ....................................................................................................................................... 47
             22.Immunity for Certain Limited Disclosures. ........................................................................................... 47
             23.Entire Agreement and Amendment........................................................................................................ 47
             24.Severability; Enforcement of Covenants; Construction. ........................................................................ 48
             25.Joint and Several Obligation. ................................................................................................................. 48
             26.Incorporation of Exhibits. ...................................................................................................................... 48
             27.Counterparts. .......................................................................................................................................... 48
             28.Survival of Provisions. ........................................................................................................................... 48
             29.Representations, Warranties and Acknowledgments. ............................................................................ 48
             30.Business Judgment. ................................................................................................................................ 49

             Exhibits:

             A        Identification of Franchisee
             B        Site Selection Addendum
             C        Authorization Agreement for Prearranged Payments (Direct Debits)
             D        Statement of Ownership Interests
             E        Guarantee, Indemnification, and Acknowledgment
             F        Non-Disclosure and Non-Competition Agreement
             G        Addendum to Lease




                                                                                              i
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1273Thereof
                                                                 of 1415 Page 1247 of 1376




                                            RENEWAL FRANCHISE AGREEMENT

                    Del Taco LLC (“Del Taco”), a California limited liability company, and the undersigned (the
             “Franchisee”) enter into this Renewal Franchise Agreement (this “Agreement”) as of the ____
                                                                                                     22 day of
             __________,
              May        2024 (the “Effective Date”).

                                                             RECITALS

                      A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
             developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
             operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
             burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
             additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
             and off-premises consumption (“Menu Items”);

                      B.      The distinguishing characteristics of the System include, among other things: one or more
             specially-designed buildings or facilities for restaurant operations with specified site furniture, fixtures,
             kitchen display systems and equipment; site selection and layout criteria; distinctive interior and exterior
             design, décor, signage color scheme and furnishings, fixtures and other trade dress elements; proprietary
             products; standards, specifications, policies and procedures for construction and management; quality,
             distinctiveness and uniformity of products and services; standards, specifications, policy and procedures
             for restaurant operations; training and assistance; and advertising and promotional programs, all as more
             particularly described and designated in the Manuals (defined below) and all of which Del Taco may
             change, improve, and further develop at its option from time to time;

                      C.     Del Taco identifies the System by means of certain licensed trade names, service marks,
             trademarks, logos, emblems, and indicia of origin, including the mark “Del Taco” and such other trade
             names, service marks and trademarks as are now designated (and may hereinafter be designated by Del
             Taco in writing) for use in connection with the System (the “Proprietary Marks”). Del Taco continues to
             use such Proprietary Marks in order to identify for the public the source of products and services marketed
             thereunder and under the System, and to represent the System’s high standards of quality, appearance, and
             service;

                     D.       Del Taco is in the business of operating and franchising others to operate restaurants that
             sell Menu Items and products and services that Del Taco designates under the System and the Proprietary
             Marks (each a “Del Taco Restaurant”) and Franchisee desires to operate a Del Taco Restaurant and to
             receive the training and other assistance provided by Del Taco in connection therewith; and

                      E.      Franchisee understands and acknowledges the importance of Del Taco’s high standards of
             quality, cleanliness, appearance, and service and the necessity of operating the business franchised under
             this Agreement in conformity with Del Taco’s standards and specifications.

                      Now, therefore, in consideration of the foregoing and of the covenants contained in this Agreement,
             the parties agree as follows:

             1.        Grant.

                     1.1      Grant of Rights. Upon the terms and conditions set forth in this Agreement, Del Taco
             hereby grants to Franchisee the right, and Franchisee accepts and undertakes the obligation, to: (a) operate
             one (1) Del Taco Restaurant under the System (the “Restaurant”); (b) to use, only in connection with the
             Restaurant, the Proprietary Marks and the System, as they may be changed, improved, or further developed
             Del Taco LLC
             Franchise Agreement | 2023
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1274Thereof
                                                                 of 1415 Page 1248 of 1376


             from time to time by Del Taco; and (c) and to do so only at or from a physical premises located within the
             Protected Area (defined below in Section 1.2) at the location specified in Exhibit A. If, at the time of
             execution of this Agreement, a location for the Restaurant has not been obtained by Franchisee and
             approved by Del Taco, Franchisee shall lease, sublease, or acquire a site for the Restaurant, subject to Del
             Taco’s written consent in accordance with the Site Selection Addendum attached as Exhibit B (the “Site
             Selection Addendum”). Franchisee shall not relocate the Restaurant without Del Taco’s prior written
             consent. Del Taco shall grant or withhold consent of the location of the Restaurant under this Section 1.1.
             In connection with Del Taco’s consent to the location, Franchisee shall execute, and cause the landlord to
             execute, the Addendum to Lease appended hereto as Exhibit G. Franchisee acknowledges and agrees that
             Del Taco’s consent to Franchisee’s proposed location, under this Section 1.1 or pursuant to the Site
             Selection Addendum, does not constitute any assurance, representation, or warranty of Del Taco of any
             kind.

                       1.2    Protected Area. Except as otherwise described in this Agreement, for so long as Franchisee
             is in full compliance with this Agreement, Del Taco will not, during the term of this Agreement, operate or
             license others to operate a Del Taco Restaurant at a physical premises located within the Protected Area.
             “Protected Area” shall mean the area described in Exhibit A, with the exception of any outlet that is
             defined in this Agreement as an Alternative Point of Distribution (defined below) that is developed,
             constructed, operated, merchandised, sold, licensed and/or franchised to others by Del Taco to sell Menu
             Items, products, and services to the public within the Protected Area, as may be revised in accordance with
             Section 1.2.5 hereof. “Alternative Point(s) of Distribution” shall mean any outlet described in Section
             1.2.2 of this Agreement. Del Taco retains all other rights not expressly granted in this Agreement. Without
             obligation to Franchisee, Del Taco and its affiliates may, among other things, and regardless of proximity
             to or economic impact upon the Restaurant:

                                 1.2.1    Advertise and promote the System within and outside of the Protected Area;

                              1.2.2 Sell or authorize others to sell Menu Items, products, and services to the public
             within the Protected Area through Alternative Points of Distribution, which include outlets (whether mobile
             or fixed, permanent or temporary) located on military bases, institutional outlets (including college
             campuses, hospitals and school lunch programs), fairs, athletic contests or other special events, casinos,
             airports and larger retail outlets, including Wal-Mart and Home Depot, toll roads, limited access highways,
             schools, universities, enclosed shopping malls, hotels, industrial or government facilities, amusement or
             theme park complexes, train stations, bus stations or other transportation facilities and other locations
             owned or operated by major institutions with sites throughout the country or a particular state, or any other
             outlet and to use the System in connection with those Alternative Points of Distribution.

                                      1.2.2.1      Del Taco shall notify Franchisee in writing of Del Taco’s or another
             franchisee’s intent to develop one or more Del Taco restaurants at the specific Alternative Point of
             Distribution within the Protected Area. If Franchisee can demonstrate to Del Taco’s satisfaction, within 30
             days of Franchisee’s receipt of such notification, that Franchisee has the ability to enter into an agreement
             under the same terms and conditions offered to Del Taco or another franchisee, as well as the financial and
             operational resources available to it for the development of the Del Taco restaurant at the specific
             Alternative Point of Distribution, then Del Taco shall offer the opportunity to Franchisee under the same
             terms and conditions offered to Del Taco or another franchisee.

                             1.2.3 Offer and sell any products or services (including those offered by the Restaurant),
             under any marks (including the Proprietary Marks) outside of the Protected Area, and through any means
             (including through a Del Taco Restaurant);



                                                                     2
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1275Thereof
                                                                 of 1415 Page 1249 of 1376


                              1.2.4 Construct and operate other Del Taco Restaurants and to use the Del Taco System
             or any part of the Del Taco System at any location outside the Protected Area and to license others to do
             the same;

                            1.2.5 Establish, operate, and license others to establish and operate, businesses other
             than Del Taco Restaurants within and outside of the Protected Area;

                              1.2.6 Establish, operate, and license others to establish and operate, any co-branded or
             multi-branded restaurant or food-related business, within or outside the Protected Area, which uses the
             Proprietary Marks and the trademark(s) of one or more other related or unrelated brands and which may
             offer or sell same or similar menu items as Del Taco restaurants;

                              1.2.7 Offer and sell, and authorize others to offer and sell, approved collateral products
             and services, including those offered and sold at the Restaurant (such as pre-packaged food products,
             clothing, and other branded merchandise and memorabilia), under the Proprietary Marks or other marks at
             or from any location or through any channel of distribution (including, but not limited to, grocery stores,
             catalogs, the Internet, other retail or restaurant locations and other food service facilities such as kiosks,
             concessions, food trucks, or multi-brand facilities) and provide a limited number or representative sample
             of the products and services normally offered by the Restaurant;

                             1.2.8 Establish and operate, and license others to establish and operate, any restaurants
             or other businesses that Del Taco or its affiliates may operate or license as a result of any acquisition,
             consolidation, or merger, whether or not located within the Protected Area and despite the proximity of
             such restaurants to the Protected Area or the Restaurant or their actual or threatened impact on sales at the
             Restaurant, whether or not such other restaurants or businesses operate under the Proprietary Marks or
             under other marks; and

                              1.2.9 Engage in any other activity, action, or undertaking that Del Taco or its affiliates
             are not expressly prohibited from taking under this Agreement.

                     1.3      No Right to Subfranchise. Franchisee may not subfranchise, sublicense, or relicense to
             others any right to use the System or the Proprietary Marks.

                      1.4     Goodwill and Del Taco Name. Except as expressly provided by this Agreement, Franchisee
             shall acquire no right, title or interest in and to the System. Any and all goodwill associated with the System
             shall inure exclusively to Del Taco’s benefit; and, upon the expiration or termination of this Agreement for
             any cause whatsoever, Del Taco shall not have any obligation to pay any money for any goodwill associated
             with Franchisee’s use of the System. Franchisee shall not take any action whatsoever to contest the validity
             or ownership of the System or the goodwill associated with the System. Franchisee shall have no right to
             use in its name the name “Del Taco,” “Del” or any other names used by Del Taco.

             2.        Term and Renewal.

                     2.1     Term. Except as otherwise provided herein and unless sooner terminated in accordance
             with the provisions hereof, the initial term of this Agreement shall commence on the Effective Date and
             expire on November 19, 2043.

                     2.2      Renewal. Franchisee may, at its option, renew Franchisee’s right to operate the Restaurant
             for one (1) additional term which shall be the lesser of (a) twenty (20) years or (b) the remaining term of
             the lease for the Restaurant premises, including all applicable extensions or renewals, subject to the
             following conditions, each of which must be met prior to such renewal:

                                                                   3
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1276Thereof
                                                                 of 1415 Page 1250 of 1376


                            2.2.1 Franchisee shall deliver to Del Taco a written notice of Franchisee’s election to
             renew no fewer than twelve (12) months nor more than eighteen (18) months prior to the end of the initial
             term;

                              2.2.2 Franchisee shall pay in lieu of the initial franchise fee, a renewal fee equal to the
             greater of (a) $35,000 or (b) Del Taco’s then-current initial franchise fee for a new Del Taco Restaurant
             when it delivers the written notice required under Section 2.2.1;

                              2.2.3 Franchisee shall not have received, prior to its election to renew, written notice of
             a default under this Agreement on more than 3 separate occasions and, from the time of Franchisee’s
             election to renew through the expiration of the initial term, Franchisee shall not have been in default of any
             provision of this Agreement, any amendment to this Agreement, or any other agreement between
             Franchisee and Del Taco or its affiliates; and, in the reasonable judgment of Del Taco, Franchisee shall
             have substantially complied with all the terms and conditions of this Agreement, such other agreements, as
             well as the operating standards prescribed by Del Taco during the term of this Agreement;

                             2.2.4 Franchisee shall present evidence to Del Taco that Franchisee has the right to
             remain in possession of the premises of the Restaurant for the duration of the renewal term, or shall obtain
             approval by Del Taco of a new location for the Restaurant for the duration of the renewal term;

                              2.2.5 Franchisee shall refurbish, remodel, renovate and upgrade the Restaurant to
             comply with Del Taco’s then-current specifications for new Del Taco restaurants of the same or similar
             type, including fixtures, furnishings, technology and kitchen equipment.

                              2.2.6 Franchisee shall have satisfied all monetary obligations owed by Franchisee to Del
             Taco and its affiliates, and shall have timely met those obligations throughout the term of this Agreement;

                              2.2.7 Franchisee shall execute a general release, in a form satisfactory to Del Taco of
             any and all claims against Del Taco and its current and former affiliates, and their respective past and
             present officers, directors, agents, and employees;

                             2.2.8 Franchisee shall execute Del Taco’s then-current form of franchise agreement,
             which agreement shall supersede this Agreement in all respects (except with respect to the renewal
             provisions of the new franchise agreement, which shall not supersede this Section 2.2, and Franchisee
             acknowledges that the terms, conditions, and provisions of which, and the obligations of the parties thereto,
             may differ substantially from the terms, conditions, provisions and obligations in this Agreement, including
             a higher percentage Royalty Fee and advertising contribution or expenditure, and a different or modified
             Protected Area;

                            2.2.9 Upon execution of the then-current form of franchise agreement, Franchisee also
             shall pay a Promotional Fee (defined below) of the higher of (1) $10,000 or (2) an amount equal to the
             Promotional Fee then being charged to new franchisees; and

                             2.2.10 Franchisee and its personnel shall comply with Del Taco’s then current
             qualification and training requirements, prior to commencement of operations under the renewal form of
             franchise agreement.

                       2.3   No assurances of a renewal franchise agreement. Franchisee accepts this Agreement with
             the full and complete understanding that the grant of rights to operate a Franchise hereunder is not a promise
             or assurance that Franchisee will be granted a renewal franchise agreement.


                                                                   4
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1277Thereof
                                                                 of 1415 Page 1251 of 1376


             3.        Fees and Payments.

                      3.1      Franchise Fee. Franchisee shall pay Del Taco an initial franchise fee of $35,000, upon
             execution of this Agreement. Except as otherwise stated in this Agreement, as between Franchisee and Del
             Taco the Franchise Fee is fully-earned and non-refundable in consideration of the administrative and other
             expenses incurred by Del Taco in granting this franchise and for Del Taco’s lost or deferred opportunity to
             offer the rights to this franchise to others.

                     3.2      Promotional Fee. Franchisee shall pay Del Taco a fee of $10,000 (the “Promotional Fee”)
             upon execution of this Agreement. The Promotional Fee shall be drawn upon by Franchisee through
             reimbursements submitted to Del Taco in the manner that Del Taco designates or through direct payments
             by Del Taco to vendors in order to promote the Restaurant within a year of the Restaurant’s opening.
             Franchisee shall not contract for nor make any expenditures related to the promotion of the Restaurant
             unless Franchisee has submitted a request and received the written approval of Del Taco. Franchisee shall
             submit invoices for promotional expenditures to Del Taco for direct payment to the vendor or for
             reimbursement. Del Taco shall not pay or reimburse food or paper costs. Del Taco shall not have any
             obligation to refund any portion of the Promotional Fee for any reason. If Franchisee fails to spend all of
             the Promotional Fee within 12 months after the opening of the Restaurant, Franchisee shall forfeit the
             unused portion of the fee and Del Taco shall apply it toward Del Taco’s general advertising or marketing
             programs.

                     3.3      Royalty Fees. During the initial term of this Agreement, Franchisee shall pay Del Taco a
             continuing royalty fee in an amount equal to five percent (5%) of the Restaurant’s Net Sales (“Royalty
             Fees”). Franchisee shall pay the Royalty Fees monthly by the fifteenth (15th) day of each month, based on
             the Net Sales of the Restaurant for the immediately preceding month, or for such other period as Del Taco
             may specify in the Manuals or otherwise in writing.

                               3.3.1 “Net Sales” means all revenue from the sale of all products, including all Menu
             Items and all other products or services offered at or from the Restaurant, and all other income of every
             kind and nature related to, derived from, or originating from the Restaurant, including proceeds of any
             business interruption insurance policies, whether at retail, delivery, catering, or wholesale (whether such
             sales are permitted or not), whether for cash, check, or credit, and regardless of collection in the case of
             check or credit; provided, however, that “Net Sales” excludes any customer refunds, discounts from coupon
             sales, sales taxes, and/or other taxes collected from customers by Franchisee and actually transmitted to the
             appropriate taxing authorities. Del Taco reserves the right to modify its policies and practices regarding
             revenue recognition, revenue reporting, and the inclusion or exclusion of certain revenue from “Net Sales”
             as circumstances, business practices, and technology change.

                             3.3.2 The term “Sales Week” means the period starting with the commencement of
             business on Monday and concluding at the close of business on the following Sunday (or, if the Restaurant
             is not open on a Sunday, the immediately preceding business day); however, Del Taco shall designate in
             writing any other period of not less than seven days to constitute a “Week” under this Agreement.

                     3.4      Marketing Fee. Franchisee shall pay to Del Taco a marketing fee equal to 4% of the
             Restaurant’s Net Sales (the “Marketing Fee”). Del Taco reserves the right, upon prior written notice to
             Franchisee, to increase the Marketing Fee to the then-current fee that it charges new franchisees. Franchisee
             shall pay the Marketing Fee monthly by the fifteenth (15th) day of each month, based on the Net Sales of
             the Restaurant for the immediately preceding month, or for such other period as Del Taco may specify in
             the Manuals or otherwise in writing. Del Taco expressly reserves the right to change the due date of the
             Marketing Fee upon ten (10) days’ prior written notice to Franchisee.


                                                                  5
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1278Thereof
                                                                 of 1415 Page 1252 of 1376


                      3.5     Continuing Payments, EFT, and Reporting Obligations. All payments required by Sections
             3.3 and 3.4 based on the Net Sales for the preceding month (or for such other period as Del Taco may
             specify in the Manuals or otherwise in writing), shall be paid and submitted by electronic funds transfer so
             as to be received by Del Taco by the fifteenth (15th) day of each month. Franchisee shall execute a form
             of electronic funds transfer (“EFT” authorization (in the form attached as Exhibit C to this Agreement or
             such other form that Del Taco designates) for direct debits from Franchisee’s business bank operating
             account. Franchisee shall deliver to Del Taco any and all reports, statements and/or other information
             required under Section 7 below, at the time and in the format reasonably requested by Del Taco, which may
             include electronically polled data from Franchisee’s Point of Sale system. Franchisee shall comply with the
             payment and reporting procedures specified by Del Taco in this Agreement and the Manuals. To ensure
             that payments are received by Del Taco on as timely basis, such policies and procedures may require that
             Franchisee have sufficient funds in its account by a date certain, as the EFT process may sweep such account
             the day before for payment on the preceding day. Franchisee’s obligations for the full and timely payment
             of Royalty Fees and Marketing Fees, and all other amounts provided for in this Agreement, shall be
             absolute, unconditional, fully earned, and due upon Franchisee’s generation of Net Sales. Franchisee shall
             not for any reason delay or withhold the payment of all or any part of those or any other payments due
             hereunder, put the same in escrow or set off same against any claims or alleged claims Franchisee may
             allege against Del Taco or others. Franchisee shall not, on grounds of any alleged nonperformance by Del
             Taco or others, withhold payment of any fee, including Royalty Fees or Marketing Fees, nor withhold or
             delay submission of any reports due hereunder. Del Taco reserves the right to change the due date of any
             fees upon ten (10) days’ prior written notice to Franchisee.

                     3.6    No Subordination. Franchisee shall not subordinate to any other obligation its obligation
             to pay Del Taco the Royalty Fees and/or any other fee or charge payable to Del Taco, whether under this
             Agreement or otherwise.

                      3.7      Overdue Payments and Reports; Interest. Any payment or report not actually received by
             Del Taco on or before the date such payment or report is due shall be deemed overdue. If any payment or
             report is overdue, Franchisee shall pay Del Taco, in addition to the overdue amount, a late payment/late
             report charge of one hundred dollars ($100) for each week or part thereof that the payment or report is late,
             and interest on such amount from the date it was due until paid, at the rate of one and one half percent
             (1.5%) per month, or the maximum rate permitted by law, whichever is less. Entitlement to such interest
             shall be in addition to any other remedies Del Taco may have.

                     3.8     Payments on Behalf of Franchisee. Franchisee shall pay to Del Taco, within fifteen (15)
             days of any written request by Del Taco which is accompanied by reasonable substantiating material, any
             monies which Del Taco has paid, or has become obligated to pay, on behalf of Franchisee, by consent or
             otherwise under this Agreement.

                     3.9      Other Payments. All payments and fees owed by Franchisee to Del Taco shall be paid by
             Franchisee in the manner and within the time periods as provided for in this Agreement or in the Manuals.
             Del Taco reserves the right to collect all fees and payments due by Franchisee by EFT as provided for in
             Section 3.5 or otherwise in the Manuals.

                     3.10   No Refunds. Upon the expiration or termination of this Agreement, Del Taco shall not
             refund any amounts paid pursuant to this Agreement for any reason whatsoever.

             4.        Services By Del Taco.

                       4.1       Development of the Restaurant. Deleted As Not Applicable.


                                                                   6
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1279Thereof
                                                                 of 1415 Page 1253 of 1376


                      4.2     Initial and Ongoing Assistance. Prior to the Restaurant opening, Del Taco shall provide to
             Franchisee, its Operating Principal (as defined in Section 5.27.4.1 below), Restaurant Manager (as defined
             in Section 5.27.4.3 below), Shift Managers (as defined in Section 5.27.4.4 below) and to such of
             Franchisee’s other employees of which Del Taco shall approve for training, such training programs as Del
             Taco may designate, to be conducted at such time(s) and location(s) designated by Del Taco. Del Taco
             shall also provide such ongoing training as it may, from time to time, deem appropriate. Del Taco shall be
             responsible for the cost of instruction and materials, subject to the terms set forth in Section 5.4.7 below.

                       4.3       Opening Assistance. Deleted As Not Applicable

                     4.4     Manuals. Del Taco shall loan or otherwise provide Franchisee access to Del Taco’s
             confidential Standard Operating Procedures Manual and other manuals (the “Manuals”), which may be
             revised from Del Taco from time to time.

                    4.5     Merchandising and Marketing Advice. Del Taco shall provide Franchisee such
             merchandising, marketing and other related advice as Del Taco deems advisable and as Del Taco may
             develop from time to time.

                      4.6     Ongoing Assistance. Del Taco shall provide such periodic individual or group advice,
             consultation and assistance, rendered by personal visit, telephone, mail or e-mail and made available from
             time to time as Del Taco deems advisable at the time(s) and in the manner determined by Del Taco.

                     4.7      Bulletins and Reports. Del Taco shall provide Franchisee such bulletins, intranet
             information, brochures and reports published by Del Taco from time to time as Del Taco deems advisable
             regarding its plans, policies, research, developments and activities.

                     4.8     Computer System. Del Taco shall have the right to specify or require that certain brands,
             types, makes, and/or models of communications, computer systems, kitchen display systems and hardware
             to be used by, between, or among Restaurants, including: (a) back office and point of sale systems, data,
             audio, video, and voice storage, retrieval, and transmission systems for use at Franchisee’s Restaurant,
             between or among Restaurants, and between and among Franchisee’s Restaurant and Del Taco and/or
             Franchisee; (b) physical, electronic, and other security systems; (c) printers and other peripheral devices;
             (d) archival back-up systems; (e) e mail systems; and (f) Internet access mode and speed (collectively, the
             “Computer System”).

                     4.9     Inspection. Del Taco shall inspect the Restaurant prior to the opening of the Restaurant.
             Franchisee shall not commence operation of the Restaurant without Del Taco’s prior written approval.

                     4.10   Delegation of Duties. Franchisee acknowledges and agrees that any designee, employee,
             or agent of Del Taco may perform any duty or obligation imposed on or available to Del Taco by the
             Agreement, as Del Taco may direct.

             5.        Obligations of Franchisee; Operational Standards.

                       5.1       System Standards and Development of Restaurant. Deleted As Not Applicable

                     5.2      Pre-Opening Obligations. Before commencing any construction of the Restaurant,
             Franchisee, at its expense, shall comply, to Del Taco’s satisfaction, with all of the following requirements:

                                 5.2.1    Deleted As Not Applicable.


                                                                       7
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1280Thereof
                                                                 of 1415 Page 1254 of 1376


                                 5.2.2 Franchisee shall comply, at Franchisee’s expense, with all federal, state and local
                                 laws, codes and regulations, including the applicable provisions of the ADA regarding the
                                 construction, design and operation of the Restaurant.

                                 5.2.3 Deleted As Not Applicable.

                                 5.2.4    Deleted As Not Applicable.

                                 5.2.5    Deleted As Not Applicable.

                                 5.2.6 Prior to signing a lease, Franchisee shall submit to Del Taco a final draft of the lease
                                 for the Restaurant premises. The lease must contain the provisions contained in Exhibit G
                                 (Addendum to Lease) hereof and be approved in writing by Del Taco prior to Franchisee’s
                                 signing of the final lease. Within fifteen (15) days following Franchisee’s execution of the
                                 lease for the Restaurant premises, Franchisee shall provide to Del Taco copies of (i) the
                                 fully-executed lease for the premises and the executed Addendum to Lease and (ii) the
                                 landlord’s and property management company’s notice address and contact information.
                                 Further, not later than ten (10) days following Franchisee’s opening of the Restaurant for
                                 business, Franchisee shall provide Del Taco with a copy of the commencement date letter
                                 from the landlord, or similar documentary evidence which indicates the commencement
                                 date under the lease and the expiration date of the lease.

                       5.3       Restaurant Opening. Deleted As Not Applicable.

                             5.3.1 Franchisee shall not open the Restaurant for business without first complying with
             all of Del Taco’s pre-opening requirements and obligations contained in this Agreement and the Manuals.

                            5.3.2 Franchisee shall draw upon the Promotional Fee as described in Section 3.2 to
             conduct such grand opening and promotional activities as Del Taco may require.

                             5.3.3 Franchisee shall not open the Restaurant until Del Taco has determined that all
             construction has been substantially completed, and that such construction conforms to Del Taco’s standards
             including materials, quality of work, signage, decor, paint, and equipment.

                              5.3.4 Franchisee shall not open the Restaurant until the Operating Principal, the
             Restaurant Manager and the Shift Managers have successfully completed all training required by Del Taco,
             and Franchisee has hired and trained to Del Taco’s standards a sufficient number of employees to service
             the anticipated level of the Restaurant’s customers.

                             5.3.5 In addition, Franchisee shall not open the Restaurant until all amounts due to Del
             Taco under this Agreement or any other related agreements have been paid.

                     5.4      Training. Franchisee acknowledges that its owners and managers must be knowledgeable
             regarding the operation of Del Taco Restaurants, including the preparation and delivery of Menu Items and
             the provision of customer service in accordance with the brand standards established by Del Taco, which
             may be modified by Del Taco from time to time. Franchisee acknowledges that successful completion of
             Del Taco’s training programs by Franchisee’s owners and managers is critical to properly own, operate and
             manage the Restaurant. Franchisee acknowledges that applicable laws and regulations require that at least
             one person on the staff at a food service business must satisfactorily complete state and/or local mandated
             food handling training, and be certified as having successfully completed the training. Franchisee and at
             least one of its employees that attend Del Taco’s management training program must also successfully

                                                                       8
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1281Thereof
                                                                 of 1415 Page 1255 of 1376


             complete a state and/or local mandated food handling program before commencing training with Del Taco,
             and Franchisee and each trainee must provide a certificate of successful completion of such program prior
             to commencing training. Also, Franchisee’s employees must be covered by Franchisee’s workers’
             compensation insurance policy prior to commencing training with Del Taco, and Franchisee must provide
             evidence of such coverage if requested by Del Taco. With regard to training, at least seven individuals
             must attend and successfully complete Del Taco’s training programs: the Franchisee’s Operating Principal,
             one (1) full-time Restaurant Manager, and at least five (5) Shift Managers (collectively, the “Franchisee’s
             Principal Trainees”).

                             5.4.1 Initial Training. Prior to the opening of the Restaurant, the Franchisee’s Principal
             Trainees, and such other employees of Franchisee who Del Taco shall have the right to approve, shall attend
             and successfully complete, to Del Taco’s satisfaction, the initial training program offered by Del Taco. All
             aspects of the Franchised Business shall be conducted under the management and supervision of the
             Operating Principal. In addition, the daily operations of the Restaurant shall be supervised under the active
             full-time management of the Operating Principal or Restaurant Manager who has successfully completed
             (to Del Taco’s satisfaction) Del Taco’s initial training program.

                              5.4.2 Operating Principal and Restaurant Manager. If the Operating Principal or the
             Restaurant Manager cease active management of or employment at the Restaurant, Franchisee shall enroll
             a qualified replacement (who shall be reasonably acceptable to Del Taco) in Del Taco’s initial training
             program not more than thirty (30) days after the cessation of the former person’s full-time employment
             and/or management responsibilities. The replacement shall attend and successfully complete the basic
             management training program, to Del Taco’s reasonable satisfaction, as soon as it is practical to do so.
             Franchisee shall pay Del Taco’s then-current training fees and per diem expenses.

                              5.4.3 Refresher Training. If Franchisee is in default of this Agreement, the Franchisee’s
             Principal Trainees may also be required to attend such refresher courses, seminars, and other training
             programs as Del Taco may reasonably specify from time to time, including up to twenty (20) days of
             refresher programs each year during the term of the Agreement. In addition, such of the Franchisee’s
             Principal Trainees as Del Taco may require, may be required to attend Del Taco’s annual convention for
             up to three (3) days per year.

                                 5.4.4    Pre-Opening Crew Training. Deleted As Not Applicable.

                              5.4.5 Continuing Management and Crew Training. After the Restaurant has opened, Del
             Taco may, at its option, assist Franchisee in the training of management and crew to promote the proper
             use of the System. Franchisee at all times shall maintain at least one certified Restaurant Manager in the
             Restaurant and shall have a combination of nine additional Shift Managers trained and certified by Del
             Taco for the Restaurant. If Del Taco has given Franchisee written consent to operate the Restaurant less
             than 24 hours each day, Franchisee shall have a minimum of eight Shift Managers (inclusive of the
             Restaurant Manager) trained and certified by Del Taco for the Restaurant. Franchisee shall have sole
             authority and discretion regarding all employment matters, including hiring, firing, discipline,
             compensation, benefits, and scheduling. Franchisee is solely responsible for ensuring its managers and
             employees are adequately trained and supervised. Del Taco shall make training available to all future
             management employees of Franchisee. Every future manager must complete, to Del Taco’s satisfaction,
             the pre-opening management training described in Section 5.4 above, and receive certification by Del Taco.
             If a Restaurant Manager’s position becomes vacant, Franchisee shall fill the vacancy within 60 days with a
             fully-trained and certified Restaurant Manager.

                             5.4.6 Training costs. The cost of all initial training instruction and required materials
             shall be borne by Del Taco. All other expenses incurred in connection with training and, if required,

                                                                   9
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1282Thereof
                                                                 of 1415 Page 1256 of 1376


             attendance at Del Taco’s annual convention, including the costs of transportation, lodging, meals, wages,
             workers’ compensation insurance and trainees’ meals during training sessions, for Franchisee, its investors,
             and all of its employees, shall be borne by Franchisee.

                              5.4.7 Additional Training. If Franchisee requests that Del Taco provide on-site training
             in addition to that described in this Section 5.4, and Del Taco is able to do so, then Franchisee agrees that
             it shall pay Del Taco’s then-current per diem charges and out-of-pocket expenses, which shall be as set
             forth in the Manual or otherwise in writing.

                      5.5     Restaurant Premises. Franchisee shall use the Restaurant premises solely for the operation
             of the Restaurant; shall keep the Restaurant open and in normal operation for such hours and days as Del
             Taco may from time to time specify in the Manuals or as Del Taco may otherwise approve in writing; and
             shall refrain from using or permitting the use of the Restaurant premises for any other purpose or activity
             at any time. As used in this Section 5.5, the term “premises” shall include the grounds surrounding the
             Restaurant. Franchisee shall comply with all terms and conditions of the lease for the Restaurant, and shall
             provide Del Taco with copies of all notices of default or breach of the lease, notices regarding the renewal
             or extension of the lease, and all other notices or correspondence related to Franchisee compliance with
             lease and Franchisee’s right to remain in possession of the premises.

                      5.6     Personnel. Franchisee agrees to maintain a competent, conscientious, trained staff in
             numbers sufficient to promptly service customers, including at least one (1) Shift Manager on duty at all
             times and to take such steps as are necessary to ensure that its employees preserve good customer relations
             and comply with such dress code as Del Taco may prescribe. Franchisee shall comply with all applicable
             employment and wage and hour laws and regulations. Franchisee is solely responsible for all employment
             decisions and functions of the Restaurant including those related to hiring, firing, training, compliance with
             wage and hour requirements, personnel policies, scheduling, benefits, recordkeeping, supervision, and
             discipline of employees, regardless of whether Franchisee receives advice from Del Taco on these subjects.
             Franchisee acknowledges and agrees that all personnel decisions, including hiring, firing, disciplining,
             compensation, benefits, and scheduling, shall be made by Franchisee, without any influence or advice from
             Del Taco, and such decisions and actions shall not be, nor be deemed to be, a decision or action of Del
             Taco. Further, it is the intention of the parties to this Agreement that Del Taco shall not be deemed an
             employer or joint employer with Franchisee or Franchisee’s employees for any reason. If Del Taco incurs
             any cost, loss, or damage as a result of any actions or omissions of Franchisee or Franchisee’s employees,
             including any that relate to any party making a finding of any joint employer status, Franchisee will fully
             indemnify Del Taco for such loss.

                      5.7     Health Standards. Franchisee shall meet and maintain the highest health standards and
             ratings applicable to the operation of the Restaurant. Franchisee shall furnish to Del Taco, within five (5)
             days after receipt thereof, a copy of all inspection reports, warnings, citations, certificates, and/or ratings
             resulting from inspections conducted by any federal, state or municipal agency with jurisdiction over the
             Restaurant. Without limiting the foregoing, Franchisee and all required personnel shall obtain and maintain
             all necessary and required licenses and certificates for food service and food handling as may be required
             by applicable local rules and regulations and/or the Manual, at Franchisee’s sole expense.

                      5.8     Restaurant Maintenance. Franchisee shall at all times maintain the Restaurant in a high
             degree of sanitation, repair, and condition, and in connection therewith shall make such additions,
             alterations, repairs, and replacements thereto (but no others without Del Taco’s prior written consent) as
             may be required for that purpose, including such periodic repainting or replacement of obsolete signs,
             furnishings, equipment, and decor as Del Taco may reasonably direct.



                                                                   10
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1283Thereof
                                                                 of 1415 Page 1257 of 1376


                      5.9       Remodeling. Del Taco shall have the right (the “Remodel Right”) to require Franchisee
             to perform such remodeling, repairs, replacements and redecoration in and upon the premises and
             equipment as Del Taco may deem necessary and practical to bring the premises and equipment up to the
             then-current operational standards and image of Del Taco (an “Image Enhancement”). Del Taco may
             exercise its Remodel Right upon (a) the expiration of every ten-year period following the opening of the
             Restaurant for business with the public (the expenditure required to remodel the Restaurant shall be capped
             at $250,000 indexed pursuant to the Consumer Price Index (CPI)); (b) the sale, assignment, transfer or
             encumbrance (collectively, the “Transfer”) of the Restaurant, any of the rights created by this Agreement,
             any part of the System, or any other interest created under this Agreement, including if Franchisee is a legal
             entity, the sale, resale, pledge, assignment, transfer or encumbrance of any ownership interest in Franchisee
             that, alone or together with any other related, previous, simultaneous or proposed transfers, would result in
             a change in “control” of Franchisee within the meaning of the Securities Act of 1933, as amended, and the
             rules and regulations promulgated under that act, or a Transfer of a Restaurant from Del Taco, its affiliate,
             or another franchisee; or (c) the issuance of a successor franchise agreement. If Del Taco chooses to
             exercise its Remodel Right upon the occurrence of a Transfer, then, after the Transfer, Del Taco may
             exercise its Remodel Right upon the occurrence of any of the following events: (a) the expiration of every
             ten-year period following the Transfer; (b) a subsequent Transfer; or (c) the issuance of a successor
             franchise agreement. Del Taco reserves the right to designate type and scheduling of the refurbishing,
             remodeling and/or renovation referred to above. If Franchisee at any time deems it necessary and practical
             to replace any equipment or repair or remodel the premises or take any similar action, Franchisee shall
             perform the replacement, repairs or remodeling in accordance with Del Taco’s then-current standards and
             specifications. The obligations imposed under this Section 5.9 supplement any obligation to maintain,
             restore or repair the premises imposed under any lease or sublease with respect to the Restaurant.

                      5.10    Franchisee Advisory Council. Del Taco has established or shall have the right to establish
             a franchisee advisory council or similar advisory group, for the purpose of fostering communication among
             and between franchisees and Del Taco, as well as to establish, modify or discuss various practices or
             policies applicable to Del Taco Restaurants. Franchisee may be required to participate in such franchisee
             advisory council meetings and programs as Del Taco shall designate. Franchisee may be required to pay
             such dues to the franchisee advisory council as Del Taco shall determine. Del Taco may modify or dissolve
             the franchisee advisory council at any time.

                      5.11    Equipment Upgrades. In addition to Facilities Remodeling, Franchisee shall make, from
             time to time, such upgrades and other changes to the kitchen equipment and electronic equipment utilized
             in the Restaurant and the Computer System as Del Taco may request in writing (and as also specified above)
             (collectively, “Equipment Upgrades”). Del Taco shall have the right to require any Equipment Upgrades
             it deems necessary for Franchisee’s Restaurant.

                     5.12    Standards and Specifications. To ensure that the highest degree of quality and service is
             maintained, Franchisee shall operate the Restaurant in strict conformity with such methods, standards, and
             specifications as Del Taco may from time to time prescribe in the Manuals or otherwise in writing.
             Franchisee agrees:

                              5.12.1 To maintain in sufficient supply, and to use and/or sell at all times only such
             products, ingredients, materials, supplies, and paper goods as conform to Del Taco’s written standards and
             specifications, and to refrain from deviating therefrom by the use or offer of any non-conforming items
             without Del Taco’s specific prior written consent.

                              5.12.2 To sell or offer for sale only such products as have been expressly approved for
             sale in writing by Del Taco; to sell or offer for sale all such products, utilizing the ingredients and employing
             the preparation standards and techniques, as specified by Del Taco; to refrain from any deviation from Del

                                                                    11
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1284Thereof
                                                                 of 1415 Page 1258 of 1376


             Taco’s standards and specifications, including the manner of preparation of products, without Del Taco’s
             prior written consent; and to discontinue selling and offering for sale any products which Del Taco shall
             have the right to disapprove, in writing, at any time.

                              5.12.3 To permit Del Taco or its agents, at any reasonable time, to remove samples of
             products, without payment therefor, in amounts reasonably necessary for testing by Del Taco or an
             independent laboratory to determine whether said samples meet Del Taco’s then current standards and
             specifications. In addition to any other remedies it may have under this Agreement, Del Taco may require
             Franchisee to bear the cost of such testing if the supplier of the item has not previously been approved by
             Del Taco or if the sample fails to conform to Del Taco’s specifications.

                              5.12.4 To purchase and install, at Franchisee’s expense, all fixtures, kitchen display
             systems, furnishings, equipment, decor, and signs as Del Taco shall specify; and to refrain from installing
             or permitting to be installed on or about the Restaurant premises, without Del Taco’s prior written consent,
             any fixtures, furnishings, equipment, decor, signs, or other items not previously approved as meeting Del
             Taco’s standards and specifications.

                             5.12.5 To refrain from installing or permitting to be installed any vending machine, game
             or coin operated device, unless specifically approved in writing, in advance, by Del Taco.

                              5.12.6 To fully and faithfully comply with all applicable governing authorities, laws and
             regulations. Franchisee shall immediately close the Restaurant and terminate operations in the event that:
             (i) any products sold at the Restaurant evidence adulteration or deviation from the standards set for products
             by Del Taco; (ii) any products sold at the Restaurant fail to comply with applicable laws or regulations; or
             (iii) Franchisee fails to maintain the products, Restaurant premises, equipment, personnel, or operation of
             the Restaurant in accordance with any applicable law or regulations. In the event of such closing,
             Franchisee shall immediately notify Del Taco in writing and Franchisee shall destroy immediately in
             accordance with procedures set forth in the Manual, or otherwise in writing by Del Taco, all products which
             it knows, or should know through the exercise of reasonable care, to be adulterated, tainted, contaminated,
             spoiled, unsafe, or otherwise unfit for human consumption and eliminate the source thereof, and remedy
             any unsanitary, unsafe, or other condition or other violation of the applicable law or regulation. Franchisee
             shall not reopen the Restaurant until after Del Taco has inspected the Restaurant premises, and Del Taco
             has determined that Franchisee has corrected the condition and that all products sold at the Restaurant
             comply with Del Taco’s standards.

                      5.13    Suppliers. Franchisee shall purchase all products, ingredients, supplies, materials, and
             other products used or offered for sale at the Restaurant solely from suppliers that Del Taco has approved
             in writing. In determining whether it will approve any particular supplier, Del Taco shall consider various
             factors, including a supplier who can demonstrate, to Del Taco’s continuing reasonable satisfaction, the
             ability to meet Del Taco’s then current standards and specifications for such items; who possesses adequate
             quality controls and capacity to supply Franchisee’s needs promptly and reliably; who would enable the
             System, in Del Taco’s sole opinion, to take advantage of marketplace efficiencies; and who has been
             approved in writing by Del Taco prior to any purchases by Franchisee from any such supplier, and have not
             thereafter been disapproved. For the purpose of this Agreement, the term “supplier” shall include, but not
             be limited to, manufacturers, distributors, resellers, and other vendors. Franchisee recognizes that Del Taco
             shall have the right to appoint only one manufacturer, distributor, reseller, and/or other vendor for any
             particular item, and that Del Taco may so designate itself or its affiliate.

                             5.13.1 If Franchisee wishes to purchase any products or any items from an unapproved
             supplier, Franchisee shall first submit to Del Taco a written request for such approval. Franchisee shall not
             purchase any products or services from any supplier until, and unless, such supplier has been approved in

                                                                  12
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1285Thereof
                                                                 of 1415 Page 1259 of 1376


             writing by Del Taco. Del Taco shall have the right to require that its representatives be permitted to inspect
             the supplier’s facilities, and that samples from the supplier be delivered, either to Del Taco or to an
             independent laboratory designated by Del Taco for testing. A charge not to exceed the reasonable cost of
             the inspection and the actual cost of the test shall be paid by Franchisee or the supplier. Del Taco may also
             require that the supplier comply with such other requirements as Del Taco may deem appropriate, including
             payment of reasonable continuing inspection fees and administrative costs, or other payment to Del Taco
             by the supplier on account of their dealings with Franchisee or other franchisees, for use, without restriction
             (unless otherwise instructed by the supplier) and for services that Del Taco may render to such suppliers.
             Del Taco reserves the right, at its option, to reinspect from time to time the facilities and products of any
             such approved supplier and to revoke its approval upon the supplier’s failure to continue to meet any of Del
             Taco’s then current criteria.

                              5.13.2 Nothing in the foregoing shall be construed to require Del Taco to approve any
             particular supplier, nor to require Del Taco to make available to prospective suppliers, standards and
             specifications for formulas, which Del Taco shall have the right to deem confidential.

                              5.13.3 Notwithstanding anything to the contrary contained in this Agreement, Franchisee
             acknowledges and agrees that, at Del Taco’s sole option, Del Taco may establish one or more strategic
             alliances or preferred vendor programs with one or more nationally or regionally-known suppliers who are
             willing to supply all or some Restaurants with some or all of the products and/or services that Del Taco
             requires for use and/or sale in the development and/or operation of Restaurants. In this event, Del Taco
             may limit the number of approved suppliers with whom Franchisee may deal, designate sources that
             Franchisee must use for some or all products and other products and services, and/or refuse any of
             Franchisee’s requests if Del Taco believes that this action is in the best interests of the System or the
             franchised network of Restaurants. Del Taco shall have unlimited discretion to approve or disapprove of
             the suppliers who may be permitted to sell products to Franchisee.

                               5.13.4 Franchisee acknowledges and agrees that Del Taco shall have the right to collect
             and retain all manufacturing allowances, marketing allowances, rebates, credits, monies, payments or
             benefits (collectively, “Allowances”) offered by suppliers to Franchisee or to Del Taco or its affiliates
             based upon Franchisee’s purchases of products and other goods and services. These Allowances are based
             on System-wide purchases of food, beverages, paper goods, merchandise and other items. Franchisee
             assigns to Del Taco or its designee all of Franchisee’s right, title and interest in and to any and all such
             Allowances and authorizes Del Taco or its designee to collect and retain any or all such Allowances without
             restriction (unless otherwise instructed by the supplier); provided, however, that Del Taco’s current policy
             is to utilize such funds for purposes that Del Taco believes, in its sole discretion, may enhance the “Del
             Taco” brand and/or public awareness of the brand.

                               5.13.5 Franchisee shall comply with all terms, conditions, and obligations of all contracts
             and arrangements with suppliers, including contracts and arrangements negotiated by Del Taco or third
             parties as part of a network or multiple-franchise or multiple-restaurant supply and distribution
             arrangement, and Franchisee’s contracts with and obligations to suppliers. Franchisee shall promptly pay
             all suppliers in accordance with the agreed-upon terms. In the event Franchisee fails to promptly pay one
             or more suppliers as required, Del Taco may, but is not required to, pay such supplier(s) on behalf of
             Franchisee, and Franchisee shall promptly reimburse Del Taco for such payment following notice from Del
             Taco, or Del Taco may obtain payment through the EFT process described in Section 3.5 above and the
             Manuals.

                              5.13.6 Del Taco reserves the right to designate, specify and/or approve the manufacturer
             and/or supplier of all signs used or installed at the Restaurant (the “Sign Manufacturer”).


                                                                   13
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1286Thereof
                                                                 of 1415 Page 1260 of 1376


                      5.14    Inspections. Franchisee grants Del Taco and its agents the right to enter upon the
             Restaurant premises at any time for the purpose of conducting inspections, for among other purposes,
             preserving validity of the Proprietary Marks, and verifying Franchisee’s compliance with this Agreement
             and the policies and procedures outlined in the Manuals. Del Taco shall also have the right to take and
             maintain photographs and videos, in any medium, of the Restaurant and the operations at the Restaurant.
             Franchisee shall cooperate with Del Taco’s representatives in such inspections by rendering such assistance
             as they may reasonably request; and, upon notice from Del Taco or its agents and without limiting Del
             Taco’s other rights under this Agreement, Franchisee shall take such steps as may be necessary to correct
             immediately any deficiencies detected during any such inspection. Franchisee shall reimburse Del Taco
             for all of Del Taco’s costs and expenses, including labor and travel expenses, incurred in conducting all
             such follow-up inspections after the first follow-up inspection. Del Taco may also assess a reinspection fee
             of $500 per visit, in addition to a reimbursement of costs. Franchisee shall make such payments within
             fifteen (15) days of receipt of an invoice from Del Taco, or Del Taco may elect to obtain payment through
             the EFT provisions of Section 3.5.

                     5.15     Technology and Computer System. At Del Taco’s request, Franchisee shall purchase or
             lease, and thereafter maintain, the Computer System, and comply with Del Taco’s requirements,
             specifications and policies concerning the use of technology, as they may be specified in this Agreement,
             or specified or modified in the Manuals or otherwise in writing.

                              5.15.1 Del Taco shall have the right at any time to retrieve and use such data and
             information from Franchisee’s Computer System that Del Taco deems necessary or desirable. In view of
             the contemplated interconnection of computer systems and the necessity that such systems be compatible
             with each other, Franchisee expressly agrees that it shall strictly comply with Del Taco’s standards and
             specifications for all item(s) associated with Franchisee’s Computer System, and will otherwise operate its
             Computer System in accordance with Del Taco’s standards and specifications. To ensure full operational
             efficiency and optimum communication capability between and among equipment and computer systems
             installed by Franchisee, Del Taco, and other franchisees, Franchisee agrees, at its expense, that Franchisee
             shall keep its Computer System in good maintenance and repair, and, at its expense, and following the
             determination that Del Taco shall have the right to make, to the effect that same will prove economically
             or otherwise beneficial to all System franchisees, that Franchisee shall promptly install such additions,
             changes, modifications, substitutions and/or replacement to Franchisee’s computer hardware, software,
             telephone and power lines, and other related facilities, as Del Taco directs periodically in writing.
             Franchisee shall provide to Del Taco, upon Del Taco’s request, all e mail lists and customer lists used or
             maintained by Franchisee on the Computer System or elsewhere.

                               5.15.2 Del Taco has the right, but not the obligation, to develop or have developed for it,
             or to designate, any or all of the following: (a) computer software programs and accounting system software
             that Franchisee must use in connection with the Computer System (“Required Software”), which Franchisee
             must install; (b) updates, supplements, modifications, or enhancements to the Required Software, which
             Franchisee must install; (c) the tangible media upon which such Franchisee must record or receive data; (d)
             the database file structure of Franchisee’s Computer System; (e) an Extranet for informational assistance,
             which may include the Manuals, training other assistance materials, and management reporting solutions;
             and (f) answering service requirements and/or system-wide phone order processing of all delivery orders,
             and/or to designate vendors that will provide such order processing.

                             5.15.3 Franchisee agrees to install and use the Computer System and Required Software
             in the manner that Del Taco requires.




                                                                  14
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1287Thereof
                                                                 of 1415 Page 1261 of 1376


                              5.15.4 Franchise agrees to implement and periodically upgrade and make other changes
             to the Computer System and Required Software as Del Taco may reasonably request in writing
             (collectively, “Computer Upgrades”).

                            5.15.5 Franchisee agrees to comply with Del Taco’s written specifications (whether in the
             Manuals or otherwise) with respect to the Computer System and the Required Software, and with respect
             to Computer Upgrades, at Franchisee’s own expense.

                            5.15.6 Franchisee agrees to afford Del Taco unimpeded access to its Computer System
             and Required Software in the manner, form, and at the times that Del Taco requests.

                              5.15.7 Because changes to technology are dynamic and not predictable within the term of
             this Agreement, and in order to provide for inevitable but unpredictable changes to technological needs and
             opportunities, Franchisee agrees: (a) that Del Taco will have the right to establish, in writing, reasonable
             new standards to address new technologies, whether published in the Manuals or otherwise in writing, and
             that Del Taco has the right to implement those changes in technology into the System; and (b) to abide by
             Del Taco’s reasonable new standards as if this Section 5.15, and other technology provisions in this
             Agreement, were periodically revised for that purpose.

                      5.16     Customer Data. Franchisee agrees that all data that it collects from customers and potential
             customers in connection with the Franchised Business (“Customer Data”) is deemed to be owned
             exclusively by Del Taco, and Franchisee also agrees to provide the Customer Data to Del Taco at any time
             that Del Taco requests. Franchisee has the right to use Customer Data while this Agreement or a successor
             or renewal Franchise Agreement is in effect, but only in connection with operating the Restaurant and only
             in accordance with the policies that Del Taco establishes from time to time. Franchisee may not sell,
             transfer, or use Customer Data for any purpose other than operating the Restaurant and marketing “Del
             Taco brand” products and services. However, if Franchisee Transfers the Restaurant (as provided in Section
             12.3 below), as part of the Transfer, Franchisee must also Transfer use of the Customer Data to the buyer
             as part of the total purchase price paid for the Restaurant. Franchisee must secure from its vendors,
             customers, prospective customers, and others all consents and authorizations, and provide them all
             disclosures, that applicable law requires to transmit the Customer Data to Del Taco and its affiliates and for
             Del Taco and its affiliates to use that Customer Data in the manner that this Agreement contemplates.

                     5.17   Privacy Laws. Franchisee agrees to abide by all applicable laws pertaining to the privacy
             of consumer, employee, and transactional information (“Privacy Laws”).

                              5.17.1 Franchisee agrees to comply with Del Taco’s standards and policies pertaining to
             Privacy Laws. If there is a conflict between Del Taco’s standards and policies pertaining to Privacy Laws
             and actual applicable law, Franchisee shall: (i) comply with the requirements of applicable law; (ii)
             immediately give Del Taco written notice of said conflict; and (iii) promptly and fully cooperate with Del
             Taco and its counsel in determining the most effective way, if possible, to meet its standards and policies
             pertaining to Privacy Laws within the bounds of applicable law.

                             5.17.2 Franchisee agrees not to publish, disseminate, implement, revise, or rescind a data
             privacy policy without Del Taco’s prior written consent as to said policy.

                               5.17.3 For purposes of this Section 5.17, “Personal Information” means Customer Data
             and any other information that is received from Del Taco, or collected on Del Taco’s behalf, that identifies,
             relates to, describes, is capable of being associated with, or is linked or could reasonably be linked, directly
             or indirectly, with a particular consumer or household, and including particular elements of “personal
             information” as defined under Cal. Civ. Code § 1798.140.

                                                                   15
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1288Thereof
                                                                 of 1415 Page 1262 of 1376


                               5.17.4 With regard to Personal Information that Franchisee may collect, receive, or
             otherwise process as a result of any agreements between Franchisee and Del Taco (or its subsidiaries or
             affiliates), including this Agreement, Franchisee agrees and certifies that it will:

                                     5.17.4.1    Process Personal Information only for the limited and specified
             purposes of providing services requested by Del Taco.

                                     5.17.4.2   Notify Del Taco, and provide Del Taco with the ability to object,
             before transmitting Personal Information to a service provider, sub-processor, subcontractor, or other
             vendor.

                                     5.17.4.3    Require any service provider, sub-processor, subcontractor, or other
             vendor that receives Personal Information to agree to provisions materially similar to those found within
             this Section 5.17.

                                      5.17.4.4      Cooperate and assist Del Taco with responding to any request from an
             individual to exercise their rights under a data privacy or data security law or regulation.

                                      5.17.4.5     Comply with all applicable data privacy and data security laws
             including, but not limited to, Cal. Civ. Code 1798.100. et seq.

                                          5.17.4.6    Notify Del Taco if it believes that it can no longer meet the obligations
             of this Section 5.17.

                                      5.17.4.7     Implement and maintain reasonable and appropriate security
             procedures and practices designed to protect the Personal Information from unauthorized access,
             destruction, use, modification, or disclosure.

                                      5.17.4.8    Notify Del Taco immediately after becoming aware of any loss,
             unauthorized, or unlawful processing, destruction, damage, alteration, or unauthorized disclosure of, or
             access to, the Personal Information (a “Security Breach”), and cooperate with Del Taco in the event of a
             Security Breach, including by sharing information relevant to the Security Breach.

                                      5.17.4.9    Allow and contribute to reasonable audits by Del Taco, including
             inspections by the Del Taco or its auditor, to verify Franchisee’s compliance with data processing and
             security obligations and applicable data protection statutes and regulations.

                                 5.17.5 Franchisee further agrees and certifies that it will not:

                                       5.17.5.1   Sell, rent, release, disclose, disseminate, make available, transfer, or
             otherwise communicate orally, in writing, or by electronic or other means, Personal Information to another
             business or a third party for monetary or other valuable consideration.

                                     5.17.5.2     Retain, use, disclose, collect, sell, or otherwise process Personal
             Information for any purpose other than for the specific purpose of, and as necessary for, performing services
             for Del Taco pursuant to a written agreement(s). For clarity, Franchisee may not retain, use, or disclose the
             Personal Information for any other commercial purposes or outside of the direct business relationship
             between Franchisee and Del Taco.

                                     5.17.5.3      Combine the Personal Information that it receives from Del Taco with
             the Personal Information that it receives from another company or business (or that it collects from its own

                                                                      16
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1289Thereof
                                                                 of 1415 Page 1263 of 1376


             interaction with individuals), except if expressly permitted to do so by Del Taco or required to do so by
             law.

                                     5.17.5.4    Share, rent, release, disclose, disseminate, make available, transfer, or
             otherwise communicate orally, in writing, or by electronic or other means, Personal Information for the
             purpose of cross-context behavioral advertising.

                              5.17.6 This Section 5.17 will survive expiration or termination of this Agreement and any
             other agreement(s) that may exist between Franchisee and Del Taco (or its subsidiaries or affiliates).
             Existing terms in such agreement(s) remain in effect except that this Section 5.17 controls in the event of a
             conflict with such terms. In the event of a breach of this Section 5.17, Del Taco may take reasonable and
             appropriate steps to stop and remediate the unauthorized use by Franchisee of Personal Information.

                      5.18    Website. Del Taco will maintain a Website for benefit of Del Taco and its franchisees.
             Franchisee shall not establish a Website or permit any other party to establish a Website that relates in any
             manner to its Restaurant or referring to the Proprietary Marks. Del Taco has the right, but not the obligation,
             to provide one or more references or webpage(s) to Franchisee’s Restaurant, as Del Taco may periodically
             designate, within Del Taco’s Website. (The term “Website” as used in this Agreement means one or more
             related documents, designs, pages, or other communications that can be accessed through electronic means,
             including the Internet, World Wide Web, social networking sites (including Facebook, Twitter, LinkedIn,
             Instagram, YouTube, etc.), blogs, vlogs, and other applications, etc.).

                     5.19     POS or Cash Register Systems. Franchisee agrees to record all sales on computer-based
             point of sale systems or such other types of cash register systems that Del Taco has the right to designate
             or approve in the Manual or otherwise in writing (“POS System”). The POS System is deemed to be part
             of Franchisee’s Computer System. Franchisee must utilize computer-based point-of-sale devices that are
             fully compatible with any program or system that Del Taco has the right to designate, and Franchisee must
             record all Net Sales and all revenue information on such equipment.

                     5.20      Gift Cards. If Del Taco requires, Franchisee agrees to participate in the gift card
             program(s) that Del Taco specifies. For this purpose, Franchisee must purchase the software, hardware,
             blank cards, and other items needed to sell and process gift cards or stored value cards, which Del Taco
             may specify in the Manuals or otherwise in writing. Franchisee also agrees to pay such monthly and per-
             swipe transaction fees as may be required by the vendor of the gift card system. Franchisee must sell or
             honor gift cards only in accordance with Del Taco’s written standards. Franchisee must account for all gift
             card sales, gift card redemptions, and other gift card transactions in the manner Del Taco specifies in the
             Manuals. Franchisee must maintain sufficient cash reserves to pay Del Taco or other franchisees as part of
             any network-wide periodic reconciliation of the gift card program. Franchisee shall pay Del Taco or make
             payments as specified by Del Taco, in such amounts and at such times as directed by Del Taco, in
             accordance with Del Taco’s gift card rules, programs and policies. Franchisee agrees not to sell, issue, or
             redeem gift certificates other than gift cards that Del Taco has approved in writing.

                     5.21      E-Mail, Internet and Other Media; E-Mail and Fax Communications. Franchisee must
             comply with Del Taco’s requirements and policies (as described in the Manuals or otherwise in writing)
             with respect to the transmission of all e-mails in connection with the Restaurant and the business, and in
             connection with discussing, advertising, or disseminating any information, or otherwise having a presence,
             on the Internet, or in any other media, regarding the Restaurant and the business. Such activities include
             participation in any Internet “blogs” or social networking sites. Any such activities which are not expressly
             permitted in the Manuals or otherwise in writing, or for which Franchisee has not previously received
             approval from Del Taco, shall be subject to Del Taco’s approval as described in Section 6 below.


                                                                   17
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1290Thereof
                                                                 of 1415 Page 1264 of 1376


                               5.21.1 Franchisee agrees that exchanging information with Del Taco by e-mail and fax is
             an important way to enable quick, effective, and efficient communication, and that Del Taco and Franchisee
             are entitled to rely upon each other’s use of e-mail and faxes for communicating as part of the economic
             bargain underlying this Agreement. To facilitate the use of e-mail and fax to exchange information,
             Franchisee authorizes the transmission of e-mail by Del Taco and Del Taco’s employees, vendors, and
             affiliates (on matters pertaining to the business contemplated hereunder) (together, “Official Senders”) to
             Franchisee and Franchisee’s employees during the term of this Agreement. Del Taco’s list of Official
             Senders shall be the master and official list of Official Senders.

                               5.21.2 Franchisee agrees not to transmit or cause any other party to transmit
             advertisements or solicitations by telephone, text, or e-mail or other electronic media without Del Taco’s
             prior written consent as to: (a) the content of such advertisements or solicitations; and (b) Franchisee’s plan
             for transmitting such advertisements or solicitations. Del Taco’s review of Franchisee’s advertisements or
             solicitations, or of Franchisee’s plan for transmitting such advertisements or solicitations, is only for Del
             Taco’s benefit and Del Taco’s review will pertain to whether the proposed advertisements or solicitations
             comply with Del Taco’s specifications. Franchisee agrees that it will be solely responsible for complying
             with any laws pertaining to sending such advertisements and solicitations, including the Controlling the
             Assault of Non-Solicited Pornography and Proprietary Marketing Act of 2003 (known as the “CAN-SPAM
             Act of 2003”) and the Telephone Consumer Protection Act of 1991.

                              5.21.3 Franchisee agrees that: (a) Official Senders are authorized to send e-mails and
             faxes to Franchisee and its employees; (b) Franchisee will cause its officers, directors, and employees (as a
             condition of their employment or position with Franchisee) to give their consent (in an e-mail,
             electronically, or in a pen-and-paper writing, as Del Taco may reasonably require) to Official Senders’
             transmission of e-mails and faxes to those persons, and that such persons shall not opt-out, or otherwise ask
             to no longer receive e-mails, from Official Senders during the time that such person works for or is affiliated
             with Franchisee; and (c) Franchisee will not opt-out, or otherwise ask to no longer receive e-mails and/or
             faxes, from Official Senders during the term of this Agreement.

                              5.21.4 The consent given above in this Section 5.21 will not apply to the provision of
             formal notices under this Agreement by either party using e-mail unless and until the parties have otherwise
             agreed, in a pen-and-paper writing that both parties have signed.

                     5.22     Credit Cards and Other Methods of Payment. At all times, Franchisee must maintain
             credit-card relationships with the credit- and debit-card issuers or sponsors, check or credit verification
             services, financial-center services, and electronic-funds-transfer systems that Del Taco designates as
             mandatory, and Franchisee must not use any such services or providers that Del Taco has not approved in
             writing or for which Del Taco has revoked its approval. Del Taco has the right to modify its requirements
             and designate additional approved or required methods of payment and vendors for processing such
             payments, and to revoke its approval of any service provider. Franchisee must comply with all credit-card
             policies as prescribed in the Manuals. Franchisee must comply with the Payment Card Industry Data
             Security Standards (“PCI DSS”) as they may be revised and modified by the Payment Card Industry
             Security Standards Council (see www.pcisecuritystandards.org), or such successor or replacement
             organization and/or in accordance with other standards as Del Taco may specify, and the Fair and Accurate
             Credit Transactions Act (“FACTA”). Franchisee shall also upgrade periodically its POS System and related
             software, at Franchisee’s expense, to maintain compliance with PCI DSS, FACTA, and all related laws and
             regulations.

                    5.23     Uniforms. To promote a uniform System image, Franchisee shall require all of its
             Restaurant personnel to dress during business hours in the attire specified in the Manuals. Franchisee shall
             purchase such attire only from approved suppliers.

                                                                   18
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1291Thereof
                                                                 of 1415 Page 1265 of 1376


                     5.24    Incentive Programs. Franchisee shall offer for sale, and will honor for purchases by
             customers, any incentive or convenience programs which Del Taco may institute from time to time, and
             Franchisee shall do so in compliance with Del Taco’s standards and procedures for such programs.

                      5.25    Prices. With respect to the sale of all Menu Items, products, or services, Franchisee shall
             have sole discretion as to the prices to be charged to customers; provided, however, that Del Taco may
             establish, advertise, and promote maximum prices on such Menu Items, products, and services, subject to
             compliance with applicable laws. If Del Taco has imposed such a maximum price on a particular Menu
             Item, product, or service, and subject to applicable law, Franchisee may not charge a price for such Menu
             Item, product, or service in excess of the maximum price set by Del Taco.

                      5.26    Compliance with Laws and Good Business Practices. Franchisee shall operate the
             Restaurant in full compliance, subject to its right to contest, with all applicable laws, ordinances and
             regulations including all government regulations relating to handling of food products, occupational hazards
             and health, workers’ compensation insurance, unemployment insurance and withholding and payment of
             federal and state income taxes, social security taxes and sales taxes. All advertising and promotion by
             Franchisee shall be factually accurate and conform to the highest standards of ethical advertising.
             Franchisee shall in all dealings with its customers, suppliers and the public adhere to the highest standards
             of honesty, integrity, fair dealing and ethical conduct, and shall comply with all consumer protection and
             unfair competition laws and regulations. Franchisee agrees to refrain from any business or advertising
             practice which may be injurious to the business of Del Taco and the goodwill associated with the Proprietary
             Marks and other Restaurants.

                       5.27      Franchisee Structure; Operating Principal and Owners.

                              5.27.1 Except as otherwise approved in writing by Del Taco, if Franchisee is a
             corporation, it shall: (i) be newly organized, and confine its activities, and its governing documents shall
             at all times provide that its activities are confined, exclusively to operating the Restaurant; (ii) furnish Del
             Taco with a copy of its articles or certificates of incorporation and bylaws, as well as such other documents
             as Del Taco may reasonably request, and any amendment thereto; (iii) maintain stop transfer instructions
             on its records against the transfer of any equity securities and shall only issue securities upon the face of
             which a legend, in a form satisfactory to Del Taco, appears which references the transfer restrictions
             imposed by this Agreement; (iv) not issue any voting securities or securities convertible into voting
             securities; and (v) maintain a current list of all owners of record and all beneficial owners of any class of
             voting stock of Franchisee and furnish the list to Del Taco upon request, which list shall be amended to
             reflect changes in ownership, as permitted under this Agreement.

                               5.27.2 If Franchisee is a partnership or limited liability partnership it shall: (i) be newly
             organized, and confine its activities, and its governing documents shall at all times provide that its activities
             are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with its partnership agreement
             as well as such other documents as Del Taco may reasonably request, and any amendments thereto; (iii)
             prepare and furnish to Del Taco, upon request, a current list of all general and limited partners in Franchisee,
             which list shall be amended to reflect changes in ownership, as permitted under this Agreement; and (iv)
             maintain stop transfer instructions on its records and in its partnership agreement against the transfer of
             partnership interests and equity securities, and shall only issue securities or partnership interests with
             documentation which bears a notice or legend, in a form satisfactory to Del Taco, which references the
             transfer restrictions imposed by this Agreement.

                             5.27.3 If a Franchisee is a limited liability company, Franchisee shall: (i) be newly
             organized, and confine its activities, and its governing documents shall at all times provide that its activities
             are confined, exclusively to operating the Restaurant; (ii) furnish Del Taco with a copy of its articles of

                                                                    19
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1292Thereof
                                                                 of 1415 Page 1266 of 1376


             organization and operating agreement, as well as such other documents as Del Taco may reasonably request,
             and any amendments thereto; (iii) prepare and furnish to Del Taco, upon request, a current list of all
             members and managers in Franchisee, which list shall be amended to reflect changes in ownership, as
             permitted under this Agreement; and (iv) maintain stop transfer instructions on its records against the
             transfer of equity securities and shall only issue securities upon the face of which bear a legend, in a form
             satisfactory to Del Taco, which references the transfer restrictions imposed by this Agreement.

                             5.27.4 Franchisee shall designate, subject to the review and approval or disapproval by
             Del Taco, individuals to serve in the following positions:

                                       5.27.4.1    Operating Principal. An Operating Principal shall participate
             personally in the direct operation of the Restaurant. If Franchisee is an individual and meets the required
             qualifications, Franchisee may serve as the Operating Principal for the Restaurant. Franchisee shall notify
             Del Taco promptly if the individual serving as the Operating Principal for the Restaurant no longer serves
             as an employee of Franchisee or no longer meets the requirements of being an Operating Principal for the
             Restaurant. “Operating Principal” shall mean an individual who (1) has at least five years of management
             experience in the operation of a quick service restaurant (or, if Franchisee or Franchisee’s affiliate operates
             at least one Del Taco Restaurant as of the Effective Date, the Operating Principal of the Restaurant must
             have at least two years of management experience in the operation of a quick service restaurant), (2) has
             completed Del Taco’s required training program, (3) Del Taco has approved to supervise the day-to-day
             operations of the Restaurant, (4) owns at least 10% of the equity interest in Franchisee if Franchisee is a
             business entity, and (5) lives no more than a three-hour drive from the Restaurant.

                                       5.27.4.2     Owners: An “owner” is any person that has any direct or indirect
             interest in Franchisee, or in any entity that has any direct or indirect ownership interest in Franchisee. All
             owners along with their ownership interests, shall be identified in Exhibit E hereto, and any change in
             ownership, whether subject to Section 12.3 or not, shall be provided to Del Taco, in advance and in writing,
             and Exhibit E shall be amended to reflect all changes in ownership.

                                    5.27.4.3    Restaurant Manager: Franchisee shall designate a Restaurant
             Manager, subject to approval by Del Taco, and satisfactory completion of Del Taco’s training programs,
             who shall be responsible for the direct oversight and management of the day-to-day operations and
             personnel at the Restaurant (the “Restaurant Manager”). The Restaurant Manager and the Principal
             Operator may be the same person, if he/she is qualified to perform both roles and duties, and is approved
             by Del Taco.

                                      5.27.4.4    Other Managers: Franchisee shall designate shift managers, subject to
             approval by Del Taco, and satisfactory completion of Del Taco’s training programs, who shall be
             responsible for oversight and management of the day-to-day shift operations and personnel at the Restaurant
             under the supervision of the Restaurant Manager and Operating Principal (the “Shift Managers”).

                     5.28     Personal Guarantee. Concurrent with its execution of this Agreement, if Franchisee is a
             business entity, each owner shall execute the Guarantee, Indemnification and Acknowledgement in the
             form attached to this Agreement as Exhibit D, provided, however, that no guarantee shall be required from
             a person who acquires Franchisee’s securities (other than a controlling interest) if and after Franchisee
             becomes registered under the Securities Exchange Act of 1934.

                     5.29    System Modifications. Franchisee acknowledges and agrees that from time to time
             hereafter Del Taco may change or modify the System as Del Taco deems appropriate, including to reflect
             the changing market and/or to meet new and changing consumer demands, and that variations and additions
             to the System may be required from time to time to preserve and enhance the public image of the System

                                                                   20
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1293Thereof
                                                                 of 1415 Page 1267 of 1376


             and operations of Del Taco Restaurants. Del Taco’s changes to the System may include the adoption and
             use of new or modified products, services, equipment and furnishings and new techniques and
             methodologies relating to the preparation, sale, promotion and marketing of food and beverage products
             and services, and new trademarks, service marks and copyrighted materials. Notwithstanding the
             provisions and limitations of Section 5.9, Franchisee shall, upon reasonable notice, accept, implement, use
             and display in the operation of the Restaurant any such changes in the System, as if they were part of this
             Agreement at the time of execution hereof, at Franchisee’s sole expense. Additionally, Del Taco reserves
             the right, in its sole discretion, to vary the standards throughout the System, as well as the services and
             assistance that Del Taco may provide to some franchisees based upon the peculiarities of a particular site
             or circumstance, existing business practices, or other factors that Del Taco deems to be important to the
             operation of any Del Taco Restaurant or the System. Franchisee shall have no recourse against Del Taco
             on account of any variation to any franchisee and shall not be entitled to require Del Taco to provide
             Franchisee with a like or similar variation hereunder.

                     5.30    No Third-Party Management. The Restaurant shall be operated under the control and
             supervision of Franchisee, its Principal Operator, the Restaurant Manager or another manager hired by and
             employed by Franchisee and approved by Del Taco. Franchisee shall not hire or retain a management
             company, manager (other than an employee manager trained and approved by Del Taco), or third party to
             undertake any of the management or operational functions of the Restaurant.

             6.        Advertising and Marketing.

                      Recognizing the value of advertising and marketing, and the importance of the standardization of
             advertising and marketing programs to the furtherance of the goodwill and public image of the System, the
             parties agree as follows:

                      6.1      Marketing Fee Expenditure. Del Taco shall use the Marketing Fee for any and all costs of
             maintaining, administering, directing, conducting, creating and/or otherwise preparing advertising,
             marketing, public relations and/or promotional programs and materials, and any other activities which Del
             Taco believes will enhance the image of the System, including the costs of preparing and/or conducting:
             media advertising campaigns; social media campaigns; direct mail advertising; marketing surveys and other
             public relations activities; employing advertising and/or public relations agencies to assist therein; brand
             research and development; developing and hosting marketing, brand development and enhancement, and
             customer engagement seminars for franchisees; purchasing promotional items; creating menu boards;
             developing new or modified trade dress and marks; point-of-purchase (POP) materials; design and
             photographs; conducting and administering visual merchandising, and other merchandising programs;
             purchasing media space or time (including all associated fees and expenses); administering regional and
             multi-regional marketing and advertising programs; market research and customer satisfaction surveys;
             developing and implementing customer loyalty and gift card programs; customer retention programs; the
             creative development of, and actual production associated with, premium items, giveaways, promotions,
             contests, public relation events, and charitable or non-profit events; developing, implementing and
             maintaining an electronic commerce website and/or related strategies; maintaining and developing one or
             more websites devoted to the System and/or the “Del Taco” brand; providing promotional and other
             marketing materials and services to the Del Taco restaurants operated under the System; the salaries of Del
             Taco’s employees to the extent such employees provide services in conjunction with the System marketing
             activities; and all administrative and internal costs and expenses incurred in connection with the above. Del
             Taco or its designee shall have the right to direct all advertising programs, as well as all aspects thereof,
             including the concepts, materials, and media used in such programs and the placement and allocation
             thereof. Franchisee agrees and acknowledges that Del Taco’s expenditures from the marketing fees are
             intended to maximize general public recognition, acceptance, perception of, and use of the System; and that
             Del Taco and its designee are not obligated, in administering the marketing fee expenditures, to make

                                                                  21
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1294Thereof
                                                                 of 1415 Page 1268 of 1376


             expenditures for Franchisee which are equivalent or proportionate to Franchisee’s contribution, or to ensure
             that any particular franchisee benefits directly or pro rata from such expenditures.

                      6.2     Local Advertising and Promotion. All local advertising and promotion by Franchisee shall
             be in such media, and of such type and format as Del Taco may approve; shall be conducted in a dignified
             manner; shall conform to such standards and requirements as Del Taco may specify; and shall comply with
             all applicable laws. Franchisee shall not use any advertising or promotional plans or materials unless and
             until Franchisee has received written approval from Del Taco, pursuant to the procedures and terms set
             forth in Section 6.4 below. Franchisee shall comply with all of Del Taco’s written instructions, policies,
             procedures, and restrictions regarding advertising and marketing within the Protected Area, outside of
             Franchisee’s Protected Area, and in areas that may be territories assigned to other Del Taco Restaurants or
             franchisees (including, without limitation, rules regarding honoring of gift certificates, stored value cards,
             and promotions).

                     6.3      Costs of Local Advertising and Promotion. As used in this Agreement, the term “Local
             Advertising and Promotion” shall consist only of the direct costs of purchasing and producing advertising
             materials (including, but not limited to, camera ready advertising and point of sale materials), media (space
             or time), and those direct out of pocket expenses related to costs of advertising and sales promotion spent
             by Franchisee in the Protected Area, advertising agency fees and expenses, postage, shipping, telephone,
             and photocopying; however, the parties expressly agree that advertising and sales promotion shall not
             include costs or expenses incurred by or on behalf of Franchisee in connection with any of the following:

                             6.3.1 Salaries and expenses of any employees of Franchisee, including salaries or
             expenses for attendance at advertising meetings or activities, or incentives provided or offered to such
             employees, including discount coupons;

                                 6.3.2    Charitable, political, or other contributions or donations, whether in cash, food, or
             services;

                                 6.3.3    The value of discounts provided to customers;

                                 6.3.4    The cost of food items.

                     6.4      Approvals. For all proposed Local Advertising and Promotion, Franchisee shall submit
             samples of such plans and materials to Del Taco in the manner that Del Taco prescribes, for Del Taco’s
             review and prior written approval (except with respect to prices to be charged by Franchisee). If written
             approval is not received by Franchisee from Del Taco within fifteen (15) days of the date of receipt by Del
             Taco of such samples or materials, Del Taco shall be deemed to have disapproved them. Franchisee
             acknowledges and agrees that any and all copyright in and to advertising and promotional materials
             developed by or on behalf of Franchisee shall be the sole property of Del Taco, and Franchisee agrees to
             execute such documents (and, if necessary, require its independent contractors to execute such documents)
             as may be deemed reasonably necessary by Del Taco to give effect to this provision.

                     6.5     Promotional Materials. Del Taco may make available to Franchisee from time to time, at
             Franchisee’s expense, advertising plans and promotional materials, including newspaper mats, coupons,
             merchandising materials, sales aids, point of purchase materials, special promotions, direct mail materials,
             community relations programs, and similar advertising and promotional materials. Del Taco may provide
             periodic marketing assistance to Franchisee, including telephone and email marketing assistance, and
             templates or other materials for email-based marketing. Del Taco shall have the right to require all
             advertising and promotional materials, signs, decorations, paper goods (including disposable food and
             beverage containers, bags, napkins, menus, and all forms and stationery used in the Restaurant), any and

                                                                      22
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1295Thereof
                                                                 of 1415 Page 1269 of 1376


             all replacement trade dress products, and other items which may be designated by Del Taco, to bear the Del
             Taco’s then-current Proprietary Marks and logos in the form, color, location, and manner then-prescribed
             by Del Taco.

             7.        Records and Reports.

                     7.1      Records. Franchisee shall maintain for a period of not less than three (3) years during the
             term of this Agreement, and, for not less than three (3) years following the termination, expiration, or non-
             renewal of this Agreement, full, complete, and accurate books, records, and accounts in accordance with
             generally accepted accounting principles, as required by law, and in the form and manner prescribed by Del
             Taco from time to time in the Manuals or otherwise in writing. Franchisee shall prepare and maintain all
             books and records required under this Agreement and as prescribed by Del Taco during each fiscal year
             during the Term of this Agreement and for the three years prior to each fiscal year. To the extent books
             and records are created and/or maintained in an electronic form, all such books and records must be capable
             of being reviewed by Del Taco or its designee without special hardware or software.

                     7.2     Periodic Reports. Franchisee shall, at its expense, provide to Del Taco, in a format
             specified by Del Taco, such financial and operating reports that Del Taco prescribes.

                     7.3     Reporting Requirements. In addition to the Sales Reports required pursuant to Section 3.5,
             Franchisee shall submit to Del Taco a copy of their Profit and Loss Statement for each restaurant on an
             annual basis by March of the following year, and on a quarterly basis as requested by Del Taco.
             Additionally, Franchisee shall provide such other forms, reports, records, information, and data as and when
             Del Taco may reasonably designate, in the form and format, and at the times and places reasonably required
             by Del Taco, upon request and as specified from time to time in the Manuals or otherwise in writing, restated
             in accordance with Del Taco’s financial reporting periods, consistent with Del Taco’s then current financial
             reporting periods and accounting practices and standards.

                     7.4      Audit. Del Taco or its designated agents shall have the right at all reasonable times to
             examine, copy, and/or personally review or audit, at Del Taco’s expense, all books, records, and sales and
             income tax returns of Franchisee. Franchisee shall cooperate fully with all audits and requests for
             information made by Del Taco or its designees. Del Taco shall also have the right, at any time, to have an
             independent audit made of the books of Franchisee. If an inspection should reveal that any payments have
             been understated or overstated in any report to Del Taco, then Franchisee shall immediately pay Del Taco,
             in the event of an understatement, the amount understated upon demand, in addition to interest from the
             date such amount was due until paid, at the rate of one and one half percent (1.5%) per month, or the
             maximum rate permitted by law, whichever is less. If an inspection is necessitated because Franchisee fails
             to timely provide Sales Reports or if an inspection discloses an understatement in any report by Franchisee
             of two percent (2%) or more, Franchisee shall, in addition, reimburse Del Taco for any and all costs and
             expenses connected with the inspection (including, without limitation, travel, lodging and wages expenses,
             and reasonable accounting and legal costs). The foregoing remedies shall be in addition to any other
             remedies Del Taco may have.

                     7.5      Data. All data provided by Franchisee in any form, and whether required by this Section
             7.5 or any other requirement under the System or in the Manuals, including data uploaded to Del Taco’s
             computer system from the Franchisee’s Computer System, and/or downloaded from the Franchisee’s
             Computer System to Del Taco’s computer system, is and will be owned exclusively by Del Taco, including
             without limitation, Customer Data (described in Section 5.16 above), customer lists and e mail lists, and
             Del Taco will have the right to use such data in any manner that Del Taco deems appropriate without
             compensation to Franchisee. In addition, all other data created or collected by Franchisee in connection
             with the System, or in connection with Franchisee’s operation of the business (including but not limited to

                                                                  23
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1296Thereof
                                                                 of 1415 Page 1270 of 1376


             consumer and transaction data), is and will be owned exclusively by Del Taco during the term of, and
             following termination or expiration of, this Agreement. Copies and/or originals of such data must be
             provided to Del Taco upon Del Taco’s request. Del Taco hereby licenses use of such data back to
             Franchisee, at no additional cost, solely for the term of this Agreement and solely for Franchisee’s use in
             connection with the business franchised under this Agreement. Del Taco may use all such information,
             data, and reports in any manner, including, without limitation, providing financial and operating reports to
             franchisees and operators operating under the System, preparing franchise disclosure documents, and
             providing information to prospective franchisees, and/or in complying with government regulations.

                     7.6      Accounting and Bookkeeping Services. Del Taco reserves the right to require that
             Franchisee retain and utilize an accounting and bookkeeping service or company that is designated,
             specified or approved by Del Taco, from the Effective Date of this Agreement through the period that is
             ninety (90) days after the completion of Franchisee’s second full calendar year of operation of the
             Restaurant following the opening of the business. Franchisee shall pay such service or company the fees
             and costs charged by the service or company, shall use such on-line, electronic, and paper reporting systems
             specified by such service or company, and shall submit reports to Del Taco as required under this
             Agreement or in the Manual. In addition, in the event Franchisee fails to comply with any reporting
             requirement under this Section 7.6 or in the Manuals, or fails to make timely, accurate and complete
             payments as required under this Agreement, Del Taco has the right to require that Franchisee utilize an
             accounting or bookkeeping service or company designated or specified by Del Taco for a period of not less
             than two (2) years. Franchisee will provide to the service or company complete and accurate information
             required by Del Taco and the service or company, and Franchisee acknowledges and agrees that Del Taco
             will have full access to the data and information that Franchisee provides to the accounting or bookkeeping
             service or company.

             8.        Proprietary Marks.

                    8.1          Ownership of the Proprietary Marks. Del Taco represents with respect to the Proprietary
             Marks that:

                                 8.1.1    Del Taco is the owner of all right, title, and interest in and to the Proprietary Marks.

                             8.1.2 Del Taco has taken and will take all steps reasonably necessary to preserve and
             protect Del Taco’s ownership of, and validity in, the Proprietary Marks.

                     8.2     Use of the Proprietary Marks. With respect to Franchisee’s use of the Proprietary Marks,
             Franchisee agrees that:

                              8.2.1 Franchisee shall use only the Proprietary Marks designated by Del Taco, and shall
             use them only in the manner authorized and permitted by Del Taco; all items bearing the Proprietary Marks
             shall bear the then-current logo.

                              8.2.2 Franchisee shall use the Proprietary Marks only for the operation of the business
             franchised hereunder and only at the location authorized hereunder, or in Del Taco approved advertising
             for the business conducted at or from that location.

                            8.2.3 Unless Del Taco otherwise directs Franchisee, in writing, to do so, Franchisee shall
             operate and advertise the Restaurant only under the name “Del Taco,” without prefix or suffix.

                               8.2.4 During the term of this Agreement and any renewal of this Agreement, Franchisee
             shall identify itself (in a manner reasonably acceptable to Del Taco) as the owner of the Restaurant in

                                                                       24
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1297Thereof
                                                                 of 1415 Page 1271 of 1376


             conjunction with any use of the Proprietary Marks, including uses on invoices, order forms, receipts, and
             contracts, as well as the display of a notice in such content and form and at such conspicuous locations on
             the premises of the Restaurant as Del Taco may designate in writing.

                            8.2.5 Franchisee’s right to use the Proprietary Marks is limited to such uses as are
             authorized under this Agreement, and any unauthorized use thereof shall constitute an infringement of Del
             Taco’s rights.

                            8.2.6 Franchisee shall not use the Proprietary Marks to incur any obligation or
             indebtedness on behalf of Del Taco.

                               8.2.7 Franchisee shall not use the Proprietary Marks or any variant thereof as part of its
             corporate or other legal name, or as part of any e-mail address, domain name, websites or other
             identification of Franchisee in any electronic medium (including e-mail addresses, account names in a social
             media site, and the like) of Franchisee or the Restaurant in any forum or medium.

                              8.2.8 Franchisee shall execute any documents deemed necessary by Del Taco to obtain
             protection for the Proprietary Marks or to maintain their continued validity and enforceability.

                                 8.2.9    With respect to litigation involving the Proprietary Marks, the parties agree that:

                                      8.2.9.1      Franchisee shall promptly notify Del Taco of any suspected
             infringement of the Proprietary Marks, any known challenge to the validity of the Proprietary Marks, or
             any known challenge to Del Taco’s ownership of, or Franchisee’s right to use, the Proprietary Marks
             licensed hereunder. Franchisee acknowledges that Del Taco shall have the right to direct and control any
             administrative proceeding or litigation involving the Proprietary Marks, including any settlement thereof.
             Del Taco shall also have the right, but not the obligation, to take action against uses by others that may
             constitute infringement of the Proprietary Marks.

                                        8.2.9.2       Except to the extent that any litigation involving the Proprietary Marks
             is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent with the terms of this
             Agreement or involving any other claim against Del Taco, Del Taco agrees to reimburse Franchisee for its
             out of pocket litigation costs in doing such acts and things, except that Franchisee shall bear the salary costs
             of its employees, and Del Taco shall bear the costs of any judgment or settlement but only if the claim on
             which the judgment or settlement is made is only related to the validity or ownership of the mark. To the
             extent that such litigation is the result of Franchisee’s use of the Proprietary Marks in a manner inconsistent
             with the terms of this Agreement, Franchisee shall reimburse Del Taco for the cost of such litigation (or,
             upon Del Taco’s written request, pay Del Taco’s legal fees directly), including attorney’s fees, as well as
             the cost of any judgment or settlement.

                                       8.2.9.3     If Del Taco undertakes the defense or prosecution of any litigation
             relating to the Proprietary Marks, Franchisee shall execute any and all documents and do such acts and
             things as may, in the opinion of counsel for Del Taco, be necessary to carry out such defense or prosecution,
             including becoming a nominal party to any legal action.

                       8.3       Franchisee Acknowledgements. Franchisee expressly understands and acknowledges that:

                            8.3.1 The Proprietary Marks are valid, owned by Del Taco, and serve to identify the
             System and those who are authorized to operate under the System.



                                                                      25
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1298Thereof
                                                                 of 1415 Page 1272 of 1376


                              8.3.2 Neither Franchisee nor any Principal of Franchisee shall directly or indirectly
             contest the validity or Del Taco’s ownership of the Proprietary Marks, nor shall Franchisee, directly or
             indirectly, seek to register the Proprietary Marks with any government agency, except with Del Taco’s
             express prior written consent.

                               8.3.3 Franchisee’s use of the Proprietary Marks does not give Franchisee any ownership
             interest or other interest in or to the Proprietary Marks, except the license granted by this Agreement.

                             8.3.4 The right and license of the Proprietary Marks granted hereunder to Franchisee is
             nonexclusive, and Del Taco thus has and retains the rights, among others:

                                          8.3.4.1   To use the Proprietary Marks itself in connection with selling products
             and services;

                                      8.3.4.2       To grant other licenses for the Proprietary Marks, in addition to those
             licenses already granted to existing franchisees or other licensees authorized to operate using the Proprietary
             Marks;

                                      8.3.4.3     To develop and establish other systems using the same or similar
             Proprietary Marks, or any other proprietary marks, and to grant licenses or franchises thereto without
             providing any rights therein to Franchisee.

                              8.3.5. Del Taco reserves the right to substitute different proprietary marks for use in
             identifying the System and the businesses operating thereunder if the Proprietary Marks no longer can be
             used, or if Del Taco, exercising its right to do so, determines that substitution of different proprietary marks
             will be beneficial to the System. In such circumstances, Franchisee shall implement at Franchisee’s expense
             such substituted proprietary marks in such ways as Del Taco may direct, and the use of the substituted
             proprietary marks shall be governed by the terms of this Agreement.

             9.        Manuals.

                     9.1       Manuals. In order to protect the reputation and goodwill of Del Taco and to maintain high
             standards of operation under Del Taco’s Proprietary Marks, Franchisee shall conduct its business in
             accordance with the Manuals, one (1) copy of which Franchisee acknowledges having received
             electronically from Del Taco for the term of this Agreement. The Manuals may consist of multiple
             electronic files, including videos and other electronically stored data, and various and periodic or episodic
             operational and/or management electronic bulletins, and Franchisee acknowledges and agrees that Del Taco
             may provide a portion or all of the Manuals (including updates and amendments), and other instructional
             information and materials in, or via, electronic media, including through the Internet.

                      9.2     Confidentiality of the Manuals. Franchisee shall at all times treat the Manuals, any other
             manuals created for or approved for use in the operation of the Restaurant, and the information contained
             therein, as confidential, and shall use best efforts to maintain such information as secret and confidential,
             protect it from viewing by others, and treat the Manuals with the same degree of care as it would treat its
             most highly confidential documents. Franchisee shall not at any time copy, duplicate, record, or otherwise
             reproduce the foregoing materials, in whole or in part, nor otherwise make the same available to any
             unauthorized person.

                      9.3    Protection of the Manuals. The Manuals shall at all times remain the sole property of Del
             Taco and shall at all times be kept in a secure place on the Restaurant premises. Franchisee shall ensure
             that the Manuals are kept current and up to date; and, in the event of any dispute as to the contents of the

                                                                   26
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1299Thereof
                                                                 of 1415 Page 1273 of 1376


             Manuals, the terms of the master copy of the Manuals maintained by Del Taco at Del Taco’s home office
             shall be controlling.

                    9.4      Revisions to the Manuals. Del Taco may from time to time revise the contents of the
             Manuals, and Franchisee expressly agrees to make corresponding revisions to its copy of the Manuals and
             to comply with each new or changed standard immediately upon receipt of such revision.

             10.       Confidentiality and Covenants Not To Compete.

                      10.1    Confidential Information. Franchisee shall not, during the term of this Agreement or
             thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
             association, or corporation any confidential information, trade secrets, knowledge, or know-how
             concerning the methods of operation of the business franchised hereunder which may be communicated to
             Franchisee or of which Franchisee may be apprised by virtue of Franchisee’s operation under the terms of
             this Agreement (the “Confidential Information”). Franchisee shall divulge such Confidential Information
             only to such of its employees as must have access to it in order to operate the Restaurant. Any and all
             information, knowledge, know-how, and techniques which Del Taco designates as confidential shall be
             deemed confidential for purposes of this Agreement, except information which Franchisee can demonstrate
             came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
             Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
             communication by others. Any employee who may have access to any Confidential Information regarding
             the Restaurant shall execute a covenant that s/he will maintain the confidentiality of information they
             receive in connection with their association with Franchisee. Such covenants shall be on a form provided
             by Del Taco, which form shall, among other things, designate Del Taco as a third party beneficiary of such
             covenants with the independent right to enforce them. Notwithstanding any other provision of this
             Agreement, there may be certain, limited circumstances where applicable law allows for the disclosure of
             certain trade secrets, as specified in the Manuals.

                     10.2     Irreparable Injury. Franchisee acknowledges that any failure to comply with the
             requirements of this Section 10 will cause Del Taco irreparable injury, and Franchisee agrees to pay all
             court costs and reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an
             injunction against violation of, the requirements of this Section 10.

                     10.3    Information Exchange. Franchisee agrees to disclose to Del Taco all ideas, concepts,
             methods, techniques and products conceived or developed by Franchisee, its affiliates, owners, agents, or
             employees during the term of this Agreement relating to the development and/or operation of the
             Restaurant. Franchisee hereby grants to Del Taco and agrees to procure from its affiliates, owners, agents,
             or employees a perpetual, non-exclusive, and worldwide right to use any such ideas, concepts, methods,
             techniques and products in all food service businesses operated by Del Taco or its affiliates, franchisees
             and designees. Del Taco shall have no obligation to make any payments to Franchisee with respect to any
             such ideas, concepts, methods, techniques or products. Franchisee agrees that Franchisee will not use or
             allow any other person or entity to use any such concept, method, technique or product without obtaining
             Del Taco’s prior written approval.

                     10.4     Full Time and Best Efforts. During the term of this Agreement, except as otherwise
             approved in writing by Del Taco, the Operating Principal or a Manager appointed in accordance with
             Section 5 shall devote full time, energy, and best efforts to the management and operation of the Restaurant.

                    10.5     In-Term Covenants. Franchisee specifically acknowledges that, pursuant to this
             Agreement, Franchisee will receive valuable specialized training and Confidential Information, including
             information regarding Del Taco’s operational, sales, promotional, and marketing methods and techniques

                                                                  27
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1300Thereof
                                                                 of 1415 Page 1274 of 1376


             and the System. During the term of this Agreement, except as otherwise approved in writing by Del Taco,
             Franchisee shall not (a) within the Protected Area or (b) within two (2) miles of any other Del Taco
             restaurant owned and/or operated or then under construction by Del Taco or any other franchisee or licensee
             of Del Taco, either directly or indirectly, for Franchisee, or through, on behalf of, or in conjunction with
             any person, persons, partnership, corporation, or entity:

                             10.5.1 Divert or attempt to divert any business or customer of the Restaurant or of any
             Del Taco Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or
             do or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with
             the Proprietary Marks and the System.

                            10.5.2 Except as otherwise approved in writing by Del Taco directly or indirectly own,
             maintain, operate, engage in, have any interest in or provide any assistance to (whether as owner,
             stockholder, partner, officer, director, employee, consultant, franchisor, lessor, or otherwise) any
             “Competitive Business,” which shall mean a restaurant or food service business that offers one or more
             Mexican or similar style menu items, and is operated in a quick service, fast food, or fast casual format.

                      10.6      Post-Term Covenants. Except as otherwise approved in writing by Del Taco, Franchisee
             shall not, for a continuous uninterrupted period of two (2) years from the date of: (a) a transfer permitted
             under Section 12.3 above; (b) expiration or termination of this Agreement (regardless of the cause for
             termination); or (c) a final order of a duly authorized arbitrator, panel of arbitrators, or a court of competent
             jurisdiction (after all appeals have been taken) with respect to any of the foregoing or with respect to the
             enforcement of this Section 10.6; either directly or indirectly own, maintain, operate, engage in, have any
             interest in, or provide any assistance to (whether as owner, stockholder, partner, officer, director, employee,
             consultant, franchisor, lessor or otherwise) any Competitive Business which is, or is intended to be, located:
             (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any other Del Taco restaurant
             owned and/or operated or then under construction by Del Taco or any other franchisee or licensee of Del
             Taco as of the time that the obligations under this Section 10.6 commence. If Franchisee does not comply
             with the post-term covenants as specified in this Section 10.6, the post-term non-compete period shall not
             begin to run until Franchisee begins to comply.

                     10.7    Publicly-Held Corporations. Section 10.6 above shall not apply to ownership by
             Franchisee of less than a five percent (5%) beneficial interest in the outstanding equity securities of any
             publicly held corporation. As used in this Agreement, the term “publicly held corporation” shall be
             deemed to refer to a corporation which has securities that have been registered under the Securities
             Exchange Act of 1934.

                      10.8     Individual Covenants. Franchisee shall require and obtain execution of covenants similar
             to those set forth in Sections 8, 9, 10, 12, and 14 (as modified to apply to an individual, if applicable) from
             any or all of Franchisee’s owners holding a ten percent (10%) or greater interest in Franchisee and the
             Operating Principal. The covenants required by this Section 10.8 shall be in the form provided in Exhibit
             F to this Agreement. Franchisee shall deliver to Del Taco copies of such executed covenants immediately
             upon Del Taco’s request. Failure by Franchisee to obtain execution of a covenant required by this Section
             10.8 shall constitute a default under Sections 10.5 and 10.6 above.

                      10.9     Severability. The parties agree that each of the foregoing covenants shall be construed as
             independent of any other covenant or provision of this Agreement. If all or any portion of a covenant in
             this Section 10 is held unreasonable or unenforceable by a court or agency having valid jurisdiction in an
             unappealed final decision to which Del Taco is a party, Franchisee agrees to be bound by any lesser
             covenant subsumed within the terms of such covenant that imposes the maximum duty permitted by law,
             as if the resulting covenant were separately stated in and made a part of this Section 10.

                                                                    28
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1301Thereof
                                                                 of 1415 Page 1275 of 1376


                      10.10 Scope of Covenants. Del Taco shall have the right to reduce the scope of any covenant set
             forth in Sections 10.5 and 10.6 in this Agreement, or any portion thereof, without Franchisee’s consent,
             effective immediately upon receipt by Franchisee of written notice thereof; and Franchisee agrees that it
             shall comply forthwith with any covenant as so modified, which shall be fully enforceable notwithstanding
             the provisions of Section 24 and 24.2 below.

                    10.11 Enforcement of Claims. The existence of any claims Franchisee may have against Del
             Taco, whether or not arising from this Agreement, shall not constitute a defense to the enforcement by Del
             Taco of the covenants in this Section 10. Franchisee agrees to pay all costs and expenses (including
             reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses)) incurred by
             Del Taco in connection with the enforcement of this Section 10.

                     10.12 Irreparable Injury. Franchisee acknowledges that Franchisee’s violation of the terms of
             this Section 10 would result in irreparable injury to Del Taco for which no adequate remedy at law may be
             available, and Franchisee accordingly consents to the issuance of an injunction prohibiting any conduct by
             Franchisee in violation of the terms of this Section 10.

                     10.13 Remedies Not Exclusive. The remedies in this Section 10 are in addition to the other right
             and remedies available to Del Taco and shall not serve as an election of remedies or a waiver of any other
             rights.

             11.       Insurance.

                       11.1      Franchisee shall comply with the following indemnification and insurance provisions:

                              11.1.1 Insurance Requirements. Prior to the commencement of any activities or
             operations pursuant to this Agreement, Franchisee shall procure and maintain in full force and effect during
             the term of this Agreement (and for such period thereafter as is necessary to provide the coverages required
             hereunder for events having occurred during the Term of this Agreement), at Franchisee’s expense, the
             following insurance policy or policies in connection with the Restaurant or other facilities on premises, or
             by reason of the construction, operation, or occupancy of the Restaurant or other facilities on premises.
             Such policy or policies shall be written by an insurance company or companies approved by Del Taco,
             having a rating of at least “A” in the most recent Key Rating Guide published by the A.M. Best Company
             (or another rating that Del Taco reasonably designates if A.M. Best Company no longer publishes the Key
             Rating Guide) and licensed to do business in the state in which the Restaurant is located. Such policy or
             policies shall include, at a minimum (except as additional coverages and higher policy limits may
             reasonably be specified for all franchisees from time to time by Del Taco in the Manuals or otherwise in
             writing to reflect inflation, identification of new risks, changes in the law or standards of liability, higher
             damage awards and other relevant changes in circumstances), the following:

                                     11.1.1.1   Liability. A comprehensive general liability policy in the amount of
             not less than $2,000,000 combined single limit bodily injury liability per person and per occurrence and
             property damage liability per occurrence, including premises, operations, products and completed
             operations, broad form property damage, blanket contractual owner’s and contractor’s protective, personal
             injury, and non-owned or hired automobiles.

                                      11.1.1.2    Fire. Fire, extended coverage and “all risk” or direct physical loss,
             subject to standard exclusions, in an amount not less than 100% of the replacement value of the premises
             (exclusive of foundation and excavation costs), including all Equipment and any additions to or
             substitutions for the premises and Equipment. The replacement cost values as defined in said policy shall


                                                                   29
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1302Thereof
                                                                 of 1415 Page 1276 of 1376


             include the replacement value of stated items then being constructed or purchased by Del Taco at the time
             of loss.

                                     11.1.1.3     Business Interruption. Business interruption insurance in an amount
             not less than adequate to pay for the monthly rent reserved under any real property lease or sublease,
             restaurant equipment lease or sublease, sign lease or sublease, and other continuing expenses up to six
             months without possibility of co-insurance penalty.

                                       11.1.1.4    Business Automobile Liability Insurance. Business automobile
             liability insurance, including a combined single bodily injury and property damage coverage for all owned,
             non-owned, and hired vehicles, with limits of liability not less than One Million Dollars ($1,000,000) per
             occurrence for both bodily injury and property damage.

                                       11.1.1.5     Statutory Workers’ Compensation Insurance. Statutory workers’
             compensation insurance and employer’s liability insurance for a minimum limit of at least One Million
             Dollars ($1,000,000), as well as such other disability benefits type insurance as may be required by statute
             or rule of the state in which the Restaurant is located. Franchisee shall have and maintain such insurance
             for all of its employees prior to any employee commencing any training with Del Taco. Franchisee agrees
             to obtain a waiver of subrogation endorsement on its workers’ compensation policy, and shall provide to
             Del Taco proof of both (i) the effective workers’ compensation policy, and (ii) the endorsement to such
             policy waiving the insurer’s right of subrogation.

                                      11.1.1.6    Commercial Umbrella Liability Insurance. Commercial umbrella
             liability insurance with limits which bring the total of all primary underlying coverages to not less than
             Three Million Dollars ($3,000,000) total limit of liability.

                                    11.1.1.7     Property Insurance. Property insurance providing coverage for direct
             physical loss or damage to real and personal property for all risk perils, including the perils of flood and
             earthquake.

                                     11.1.1.8     Products Liability Insurance. Products liability insurance in an amount
             not less than One Million Dollars ($1,000,000), which policy shall be considered primary.

                                          11.1.1.9   Cyber Liability Insurance. Cyber liability insurance in an amount that
             Del Taco designates.

                                       11.1.1.10     Other Insurance. Any other insurance coverage that is required by
             federal, state, or municipal law.

                     11.2     Referenced in Manuals. All policies listed in Section 11.1 (unless otherwise noted below)
             shall contain such endorsements as shall, from time to time, be provided in the Manuals.

                      11.3    Policy Cancellation. In the event of cancellation, material change, or non-renewal of any
             policy, sixty (60) days’ advance written notice must be provided to Del Taco in the manner provided in
             Section 11.7 below. Franchisee shall arrange for a copy of such notification to be sent to Del Taco by the
             insurance company.

                     11.4     Construction and Remodeling Insurance. In connection with all significant construction,
             reconstruction, or remodeling of the Restaurant during the term of this Agreement, Franchisee will cause
             the general contractor, its subcontractors, and any other contractor, to effect and maintain at general
             contractor’s and all other contractor’s own expense, such insurance policies and bonds with such

                                                                    30
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1303Thereof
                                                                 of 1415 Page 1277 of 1376


             endorsements as are set forth in the Manuals, all written by insurance or bonding companies approved by
             Del Taco, having a rating as set forth in Section 11.1.1 above.

                     11.5     No Waiver of Obligations. Franchisee’s obligation to obtain and maintain the foregoing
             policy or policies in the amounts specified shall not be limited in any way by reason of any insurance which
             may be maintained by Del Taco, nor shall Franchisee’s performance of that obligation relieve it of liability
             under the indemnity provisions set forth in Section 16.1.3 below.

                       11.6     Del Taco to be Additional Named Insured. All insurance policies shall list Del Taco and
             its affiliates, and their respective officers, directors, employees, partners, members, subsidiaries, employees
             and agents as additional named insureds, and shall also contain a provision that Del Taco, although named
             as an insured, shall nevertheless be entitled to recover under said policies on any loss occasioned to Del
             Taco or its servants, agents, or employees by reason of the negligence of Franchisee or its servants, agents,
             or employees. Additional insured status shall include coverage for ongoing and completed operations. The
             additional insured endorsement form shall be ISO CG 20-26 or such other form that Del Taco approves in
             writing that provides comparable coverage. Additional insured coverage shall not be limited to vicarious
             liability and shall extend to (and there shall be no endorsement limiting coverage for) Del Taco’s negligent
             acts, errors or omissions or other additional insureds. Franchisee shall maintain such additional insured
             status for Del Taco on Franchisee’s general liability policies continuously during the term of the Franchise
             Agreement.

                      11.7     Evidence of Insurance. At least thirty (30) days prior to the time any insurance is first
             required to be carried by Franchisee, and thereafter at least thirty (30) days prior to the expiration of any
             such policy, Franchisee shall deliver to Del Taco, certificates of insurance, endorsements, insurance
             declarations and/or other documents requested by Del Taco (collectively, “certificates”), evidencing the
             proper coverage with limits not less than those required hereunder. All certificates shall expressly provide
             that no less than thirty (30) days’ prior written notice shall be given Del Taco in the event of material
             alteration to, cancellation, or non-renewal of the coverages evidenced by such certificates. Further
             certificates evidencing the insurance required by Section 11.1.1 above shall name Del Taco, and each of its
             affiliates, directors, agents, and employees as additional insureds, and shall expressly provide that any
             interest of same therein shall not be affected by any breach by Franchisee of any policy provisions for which
             such certificates evidence coverage. In the event that Franchisee fails to obtain the required insurance or
             to provide evidence reasonably satisfactory to Del Taco of the insurance policies required by this Section
             11.1, Del Taco shall have the right to obtain such required policies on Franchisee’s behalf, and Franchisee
             agrees that it will promptly reimburse Del Taco for all costs related to obtaining such policies upon notice
             from Del Taco.

                     11.8    Proof of Insurance. In addition to its obligations under Section 11.7 above, on the first (1st)
             anniversary of the Effective Date, and on each subsequent anniversary thereof during the term of this
             Agreement and any renewal hereof, Franchisee shall provide Del Taco with proof of insurance evidencing
             the proper coverage with limits not less than those required hereunder, in such form as Del Taco may
             reasonably require.

                    11.9    Policy Limit Changes. Del Taco shall have the right, from time to time, to make such
             changes in minimum policy limits and endorsements as it deems advisable.

                     11.10 Del Taco’s Insurance. Franchisee acknowledges and agrees that any insurance policies
             maintained by Del Taco for Del Taco’s benefit shall have no effect upon Franchisee’s obligation to obtain
             any insurance required by this Section 11.

             12.       Transfer of Interest.

                                                                   31
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1304Thereof
                                                                 of 1415 Page 1278 of 1376


                      12.1    Del Taco Transfers. Del Taco has the right to transfer or assign this Agreement, the
             System, Confidential Information, and all or any part of Del Taco’s rights or obligations under this
             Agreement or Del Taco’s interest in the System and Confidential Information to any person or legal entity
             without Franchisee’s consent. Any transferee or assignee of this Agreement from Del Taco will become
             solely responsible for all of Del Taco’s obligations under this Agreement from the date of the transfer or
             assignment. Without limiting the foregoing, Del Taco may sell its assets (including its rights in the
             Proprietary Marks and the System) to a third party; may offer its securities privately or publicly; may merge
             with or acquire other legal entities, or be acquired by another legal entity; and may undertake a refinancing,
             recapitalization, leveraged buyout, or other economic or financial restructuring. With regard to any or all
             of the above transfers, sales, assignments, and dispositions, Franchisee waives any claims, demands, or
             damages against Del Taco or its affiliates arising from or related to Del Taco’s transfer of its rights in this
             Agreement, the System, or Confidential Information to any other party. Nothing contained in this
             Agreement will require Del Taco to remain in the business of operating or licensing the operation of Del
             Taco Restaurants or other businesses or to offer any services or products to Franchisee, whether or not
             bearing the Proprietary Marks, if Del Taco transfers or assigns its rights in or obligations under this
             Agreement and the System.

                     12.2     Owners. If Franchisee is a business entity, each owner and the interest of each of them in
             Franchisee, is identified in Exhibit A hereto. Franchisee represents and warrants that its owners are set
             forth on Exhibit A attached to this Agreement, and covenant that Franchisee will not permit the identity of
             such owners, or their respective interests in Franchisee, to change without complying with this Agreement.

                      12.3    Franchisee Transfers. Franchisee understands and acknowledges that the rights and duties
             set forth in this Agreement are personal to Franchisee, and that Del Taco has granted this franchise in
             reliance on Franchisee or its owners’ business skill, financial capacity, and personal character.
             Accordingly:

                               12.3.1 Franchisee shall not, without Del Taco’s prior written consent, transfer, pledge or
             otherwise encumber: (a) this Agreement or any of Del Taco’s rights and obligations under this Agreement;
             (b) all or substantially all of the assets of the Restaurant; (c) the leases or any other interest in the Restaurant;
             or (d) any direct or indirect ownership interest in Franchisee.

                              12.3.2 If Franchisee is a corporation or limited liability company, Franchisee shall not,
             without Del Taco’s prior written consent, issue any voting securities or securities convertible into voting
             securities, and the recipient of any such securities shall become an owner under this Agreement, if so
             designated by Del Taco.

                              12.3.3 If Franchisee is a partnership or limited partnership, the partners of the partnership
             shall not, without Del Taco’s prior written consent, admit additional general partners, remove a general
             partner, or otherwise materially alter the powers of any general partner.

                             12.3.4 Franchisee’s owner shall not, without Del Taco’s prior written consent, transfer,
             pledge or otherwise encumber any interest of an owner in Franchisee as shown in Exhibit A.

                              12.3.5 Franchisee shall not transfer or assign the lease for the Restaurant, or permit a
             default or surrender of the lease that will or may cause the Restaurant to be owned, leased, or operated by,
             any person or entity that will not operate a Del Taco Restaurant, without Del Taco’s prior written consent.

                      12.4     Conditions for Approval. Del Taco shall not unreasonably withhold any consent required
             by Section 12.3.4 above; provided, that if Franchisee proposes to transfer its obligations hereunder or any
             interest in all or substantially all of the assets of the Restaurant, or if Franchisee or an owner proposes to

                                                                      32
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1305Thereof
                                                                 of 1415 Page 1279 of 1376


             transfer any direct or indirect interest in Franchisee, or if Franchisee or any owner proposes to undertake
             any transfer that is subject to Section 12.3, Del Taco shall have the right to require, among other things, any
             or all of the following as conditions of Del Taco’s approval:

                              12.4.1 Franchisee shall comply with Del Taco’s then-current transfer policies. Franchisee
             and the proposed transferee shall provide Del Taco with all information and documents requested by Del
             Taco for its evaluation of the proposed transfer, transaction, and transferee, including the business and
             financial terms of the proposed transaction including the leases and/or any assignments, renewal or
             extension of the leases and any necessary landlord consents, financial and operational information regarding
             the proposed transferee, and evidence of any financing that may be required to complete the transaction
             and/or fund the transferee’s operation after the transfer.

                              12.4.2 The transferor shall have executed a general release (which shall include a release
             from the transferor, Franchisee, Franchisee’s owners, and guarantors), in a form satisfactory to Del Taco,
             of any and all claims against Del Taco and its affiliates, successors, and assigns, and their respective
             directors, officers, shareholders, partners, agents, representatives, servants, and employees in their
             corporate and individual capacities including claims arising under this Agreement, any other agreement
             between Del Taco and Franchisee or their affiliates, and federal, state, and local laws and rules.

                              12.4.3 The transferee of an owner shall be designated as an owner and each transferee
             who is designated as an owner shall enter into a written agreement, in a form satisfactory to Del Taco,
             agreeing to be bound as an owner under the terms of this Agreement as long as such person or entity owns
             any interest in Franchisee; and, if Franchisee’s obligations were guaranteed by the transferor, the owner
             shall guarantee the performance of all such obligations in writing in a form satisfactory to Del Taco.

                              12.4.4 Prior to and after the transfer, Franchisee’s new owners shall meet Del Taco’s
             educational, managerial, and business standards; each shall possess a good moral character, business
             reputation, and credit rating; have the aptitude and ability to operate the Restaurant, as may be evidenced
             by prior related business experience or otherwise; Franchisee’s Operating Principal, and such other owners
             and employees as specified by Del Taco, shall satisfactorily complete Del Taco’s initial training program;
             and have adequate financial resources and capital to operate the Restaurant. The price, consideration, and
             other proposed terms of the proposed transfer must not, in Del Taco’s reasonable business judgment, have
             the effect of negatively impacting the future viability of the Restaurant.

                             12.4.5 If a proposed transfer would result in a change of control in Franchisee, at Del
             Taco’s option, Franchisee (or transferee) shall execute the form of franchise agreement then being offered
             to new franchisees, and such other ancillary agreements required by Del Taco for the business franchised
             hereunder, which agreements shall supersede this Agreement and its ancillary documents in all respects,
             and the terms of which may differ from the terms of this Agreement including higher Royalty Fees and
             Marketing Fees, and a different or modified Protected Area, provided however that the term of such
             franchise agreement shall be equal to the then unexpired term of this Agreement.

                              12.4.6 If a proposed transfer would result in a change in Franchisee’s control, and if so
             requested by Del Taco, Franchisee, at Franchisee’s expense, shall upgrade the Restaurant to conform to the
             then-current standards and specifications of new Restaurant then being established in the System, and shall
             complete the upgrading and other requirements set forth in this Section 12.4.6 or as required under Section
             5.9 above within the time specified by Del Taco.

                              12.4.7 All of Franchisee’s monetary obligations hereunder shall be paid in full on a
             current basis, and Franchisee must not be otherwise in default of any of Franchisee’s obligations hereunder
             including Franchisee’s reporting obligations.

                                                                   33
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1306Thereof
                                                                 of 1415 Page 1280 of 1376


                            12.4.8 The transferor shall remain liable for all of the obligations to Del Taco in
             connection with the Restaurant that arose prior to the effective date of the transfer, and any covenants that
             survive the termination or expiration of this Agreement, and shall execute any and all instruments
             reasonably requested by Del Taco to evidence such liability.

                             12.4.9 At Franchisee’s expense, one (1) owner designated by Del Taco to be a new
             Operating Principal and any of Franchisee’s Restaurant Managers that Del Taco designates shall
             successfully complete (to Del Taco’s satisfaction) all training programs required by Del Taco upon such
             terms and conditions as Del Taco may reasonably require (and while Del Taco will not charge a fee for
             attendance at such training programs, the transferee shall be responsible for the salary and all expenses of
             the person who attends training).

                              12.4.10 If a proposed transfer would result in a change in Franchisee’s control, and to
             compensate Del Taco for Del Taco’s legal, accounting, training, and other expenses incurred in connection
             with the transfer, Franchisee shall pay Del Taco a non-refundable transfer fee in the amount of Five
             Thousand Dollars ($5,000). The transfer fee shall be paid at the earlier of (a) when the transferee signs the
             new franchise agreement, or (b) when the transferee begins training. The transfer fee is non-refundable. In
             addition, in the event a proposed transfer is not consummated or closed, for any reason except for
             disapproval by Del Taco, Franchisee or the proposed transferee shall reimburse Del Taco for all of Del
             Taco’s costs and expenses incurred in connection with Del Taco’s evaluation of the proposed transfer,
             including attorneys’ and accountants’ fees, background checks, site evaluation, and training, if applicable,
             to the extent the portion of the transfer fee paid does not cover those costs and expenses.

                              12.4.11 The transferor and/or the transferring franchisee must certify to Del Taco that the
             transferring franchisee has provided to the transferee true, complete and accurate copies of Franchisee’s
             financial information and documents regarding the operation of the Restaurant, including the trailing two
             years of financial statements and monthly cash reports, the lease for the Restaurant premises, material
             contracts, and such other information as may be specified by Del Taco.

                             12.4.12 The transferor must acknowledge and agree that the transferor shall remain bound
             by the covenants contained in Section 10 above.

                      12.5    Transfers to Entities for the Convenience of Ownership. If Franchisee desires to transfer
             all of Franchisee’s interest in this Agreement, or if all of Franchisee’s owners desire to transfer all of their
             ownership interests in Franchisee, to a corporation, limited liability company, or other entity, solely for the
             convenience of ownership and/or for tax or estate planning reasons, Del Taco shall not unreasonably
             withhold Del Taco’s consent to such transfer, and Del Taco shall not require that Franchisee comply with
             the provisions and conditions of Section 12.4 or 12.6, if Franchisee complies with all of the following
             conditions:

                               12.5.1 Franchisee shall provide written notice to Del Taco not less than thirty (30) days
             prior to the date of the proposed transfer, and shall provide Del Taco with such documents and information
             as Del Taco may request in support of Franchisee’s request, which may include, among other things, entity
             formation and good standing certifications, evidence of insurance in the name of the new franchisee entity,
             and bank information for the new franchisee entity.

                               12.5.2 Franchisee and Franchisee’s owners shall own all of the outstanding equity
             interests in the new franchisee entity, and shall own the same percentage ownership interests in the new
             franchisee entity as they own in Franchisee, and if Franchisee is an individual, Franchisee shall own 100%
             of the outstanding voting equity interests in the new franchisee entity.


                                                                   34
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1307Thereof
                                                                 of 1415 Page 1281 of 1376


                               12.5.3 Each owner who owns at least twenty percent (20%) of the outstanding equity
             interests in the new franchisee entity shall execute a Guarantee in the form attached as Exhibit E hereto.

                              12.5.4 Franchisee and Franchisee’s owners shall comply with the provisions of Sections
             12.4.1, 12.4.2, 12.4.6, 12.4.7, and 12.4.11 of this Agreement, and the new entity and its owners shall comply
             with Sections 5.27 and 5.28 of this Agreement.

                            12.5.5 Franchisee and Franchisee’s owners shall execute such transfer documents,
             agreements and other materials as Del Taco may require.

                       12.6      Right of First Refusal.

                              12.6.1 If Franchisee or any owner desires to accept any bona fide offer from a third party
             to purchase Franchisee, all or substantially all of the assets of the Restaurant, or any direct or indirect
             interest in Franchisee, Franchise or such owner shall promptly notify Del Taco of such offer and shall
             provide such information and documentation relating to the offer as Del Taco may require. Del Taco shall
             have the right and option, exercisable within thirty (30) days after receipt of all such information, to send
             written notice to the seller that Del Taco intends to purchase the seller’s interest on the same terms and
             conditions offered by the third party. If Del Taco elects to purchase the seller’s interest, the closing on such
             purchase shall occur within sixty (60) days from the date of notice to the seller of the election to purchase
             by Del Taco.

                              12.6.2 Any material change in the terms of the bona fide offer prior to closing shall
             constitute a new offer subject to the same rights of first refusal by Del Taco as in the case of the third party’s
             initial offer. Del Taco’s failure to exercise the option afforded by this Section 12.6 shall not constitute a
             waiver of any other provision of this Agreement, including all of the requirements of this Section 12.6, with
             respect to a proposed transfer, or a waiver of any subsequent offer.

                              12.6.3 In the event the consideration, terms, and/or conditions offered by a third party are
             such that Del Taco may not reasonably be required to furnish the same consideration, terms, and/or
             conditions, then Del Taco may purchase the interest proposed to be sold for the reasonable equivalent in
             cash. If the parties cannot agree within a reasonable time on the reasonable equivalent in cash of the
             consideration, terms, and/or conditions offered by the third party, they must attempt to appoint a mutually-
             acceptable independent appraiser to make a binding determination. If the parties are unable to agree upon
             one (1) independent appraiser, then an independent appraiser shall be promptly designated by Del Taco and
             another independent appraiser shall be promptly designated by Franchisee, which two (2) appraisers shall,
             in turn, promptly designate a third appraiser; all three (3) appraisers shall promptly confer and reach a single
             determination, which determination shall be binding upon Del Taco and Franchisee. The cost of any such
             appraisal shall be shared equally by Del Taco and Franchisee. If Del Taco elects to exercise its right under
             this Section 12.6, Del Taco shall have the right to set off all amounts due from Franchisee, and one-half
             (½) of the cost of the appraisal, if any, against any payment to the seller.

                      12.7     Transfer Upon Death. Within six (6) months after Franchisee’s death (if a natural person)
             or the death of an owner, the executor, administrator, or other personal representative of the deceased will
             transfer the interest of the deceased in this Agreement or Franchisee to a third party approved by Del Taco.
             If no personal representative is designated or appointed and no probate proceedings are instituted with
             respect to the estate of the deceased, the distributee of the interest of the deceased must be approved by Del
             Taco. If the distributee is not approved by Del Taco, the distributee will transfer the interest of the deceased
             to a third party approved by Del Taco within six (6) months after the date of death of the deceased.



                                                                    35
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1308Thereof
                                                                 of 1415 Page 1282 of 1376


                      12.8     Transfer Upon Permanent Disability. Upon Franchisee’s permanent disability or the
             permanent disability of any owner with a controlling interest in Franchisee, Del Taco may require
             Franchisee’s or the owner’s interest to be transferred to a third party approved by Del Taco within six (6)
             months after notice to Franchisee. “Permanent Disability” shall mean any physical, emotional, or mental
             injury, illness, or incapacity that would prevent a person from performing the obligations set forth in this
             Agreement for at least six (6) consecutive months and from which condition recovery within six (6)
             consecutive months from the date of determination of disability is unlikely. If Del Taco and Franchisee or
             Franchisee’s representative disagree as to whether a person has a permanent disability, the existence of the
             permanent disability shall be determined by a licensed practicing physician selected by Del Taco upon
             examination of such person or, if such person refuses to be examined, then such person shall automatically
             be deemed permanently disabled for the purposes of this Section 12.8 as of the date of refusal. Del Taco
             shall pay the cost of the required examination.

                     12.9     Notification Upon Death or Permanent Disability. Within ten (10) days after the death or
             permanent disability of Franchisee (if a natural person) or an owner, Franchisee or Franchisee’s
             representative shall notify Del Taco of the death or permanent disability in writing. Any transfer upon
             death or permanent disability will be subject to the same terms and conditions set out in this Section 12 for
             any inter vivos transfer.

                      12.10 No Waiver of Claims. Del Taco’s consent to a transfer which is the subject of this Section
             12 shall not constitute a waiver of any claims Del Taco may have against the transferring party, nor shall it
             be deemed a waiver of Del Taco’s right to demand exact compliance with any of the terms of this
             Agreement by the transferor or transferee.

                     12.11 Insolvency. If Franchisee or any person holding any interest (direct or indirect) in
             Franchisee becomes a debtor in a proceeding under the U.S. Bankruptcy Code or any similar law in the
             U.S. or elsewhere, it is the parties’ understanding and agreement that any transfer in Franchisee,
             Franchisee’s obligations and/or rights hereunder, all or substantially all of the assets of the Restaurant, or
             any indirect or direct interest in Franchisee shall be subject to all of the terms of this Section 12.

                      12.12 Securities Offerings. All materials for an offering of stock or partnership interests in
             Franchisee or any of Franchisee’s affiliates which are required by federal or state law shall be submitted to
             Del Taco for review as described below before such materials are filed with any government agency. Any
             materials to be used in any exempt offering shall be submitted to Del Taco for such review prior to their
             use. No offering by Franchisee or any of Franchisee’s affiliates shall imply (by use of the Proprietary Marks
             or otherwise) that Del Taco is participating in an underwriting, issuance, or offering of the securities of
             Franchisee or Franchisee’s affiliates; and Del Taco’s review of any offering shall be limited solely to the
             relationship between Del Taco and Franchisee and any subsidiaries and affiliates, if applicable, and shall
             not constitute any opinion as to any legal requirement. Del Taco may, at its option, require the offering
             materials to contain a written statement prescribed by Del Taco concerning the limitations stated in the
             preceding sentence. Franchisee (and the offeror if not Franchisee), the owners, and all other participants in
             the offering must fully indemnify Del Taco, its subsidiaries, affiliates, successor, and assigns, and their
             respective directors, officers, shareholders, partners, agents, representatives, servants, and employees in
             connection with the offering and shall execute any and all documents required by Del Taco to endorse such
             indemnification. For each proposed offering, Franchisee shall pay Del Taco a non-refundable fee of Five
             Thousand Dollars ($5,000) or such greater amount as is necessary to reimburse Del Taco for its reasonable
             costs and expenses (including legal and accounting fees) for reviewing the proposed offering. Franchisee
             shall give Del Taco written notice at least thirty (30) days before the date that any offering or other
             transaction described in this Section 12 commences. Any such offering shall be subject to all of the other
             provisions of this Section 12; and further, without limiting the foregoing, it is agreed that any such offering


                                                                   36
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1309Thereof
                                                                 of 1415 Page 1283 of 1376


             shall be subject to Del Taco’s approval as to the structure and voting control of the offeror (and Franchisee,
             if Franchisee is not the offeror) after the financing is completed.

             13.       Default and Termination.

                      13.1     Automatic Termination. Franchisee shall be deemed to be in default under this Agreement,
             and all rights granted herein shall automatically terminate without notice to Franchisee, if Franchisee shall
             become insolvent or make a general assignment for the benefit of creditors; or if a petition in bankruptcy is
             filed by Franchisee or such a petition is filed against and not opposed by Franchisee; or if Franchisee is
             adjudicated bankrupt or insolvent; or if a bill in equity or other proceeding for the appointment of a receiver
             or other custodian for Franchisee’s business or assets is filed and consented to by Franchisee; or if a receiver
             or other custodian (permanent or temporary) of Franchisee’s assets or property, or any part thereof, is
             appointed by any court of competent jurisdiction; or if proceedings for a composition with creditors under
             any state or federal law should be instituted by or against Franchisee; or if a final judgment of $10,000 or
             more against Franchisee or Franchisee’s affiliate remains unsatisfied or of record for thirty (30) days or
             longer (unless unappealed or a supersedeas bond is filed); or if Franchisee is dissolved; or if an attachment
             or execution is levied against Franchisee’s business or property, including Franchisee’s bank accounts,
             property or any receivables and is not dismissed within thirty (30) days; or if suit to foreclose any lien or
             mortgage against the Restaurant premises or equipment is instituted against Franchisee and not dismissed
             within five (5) days; or if the real or personal property of the Restaurant shall be sold after levy thereupon
             by any sheriff, marshal, or constable.

                     13.2    Termination Upon Notice Without Opportunity to Cure. Franchisee shall be deemed to be
             in default and Del Taco may, at its option, terminate this Agreement and all rights granted hereunder,
             without affording Franchisee any opportunity to cure the default, effective immediately upon the delivery
             of written notice to Franchisee by Del Taco (in the manner set forth under Section 20 below), upon the
             occurrence of any of the following events:

                            13.2.1 If Franchisee fails to obtain approval of the site for the Restaurant pursuant to this
             Agreement or the Site Selection Addendum;

                            13.2.2 If Franchisee fails to construct, maintain, repair or renovate the Restaurant in
             accordance with this Agreement or Del Taco’s plans and specifications or fails to equip the Restaurant in
             accordance with Del Taco’s standards and specifications;

                             13.2.3 If Franchisee, its Operating Principal, or managers fail to complete the initial
             training program pursuant to Section 5.4 of this Agreement;

                              13.2.4 If Franchisee at any time without the written consent of Del Taco ceases to operate
             or otherwise abandons the Restaurant for three (3) consecutive business days, or loses the right to possession
             of the Restaurant, or otherwise forfeits the right to do or transact business in the jurisdiction where the
             Restaurant is located; provided, however, that if, through no fault of Franchisee, the premises are damaged
             or destroyed by an event such that repairs or reconstruction cannot be completed within ninety (90) days
             thereafter, then Franchisee shall have thirty (30) days after such event in which to apply for Del Taco’s
             approval to relocate and/or reconstruct the Restaurant, which approval shall not be unreasonably withheld;

                              13.2.5 If Franchisee defaults under any lease or sublease for the Restaurant (the “Lease”)
             and fails to cure the default within the time period specified in the Lease, or if the Lease is terminated, for
             any reason, or expires;



                                                                   37
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1310Thereof
                                                                 of 1415 Page 1284 of 1376


                             13.2.6 If Franchisee, any owner of Franchisee, or any affiliate of Franchisee is convicted
             of a felony, a crime involving moral turpitude, or any other crime or offense that Del Taco believes is
             reasonably likely to have an adverse effect on the System, the Proprietary Marks, the goodwill associated
             therewith, or Del Taco’s interest therein;

                              13.2.7 If Franchisee engages in any conduct or practice that is fraudulent, unfair,
             unethical, or a deceptive practice;

                             13.2.8 If a threat or danger to public health or safety results from the construction,
             maintenance, or operation of the Restaurant;

                             13.2.9 If Franchisee or any of Franchisee’s owners purports to transfer any rights or
             obligations under this Agreement or any interest to any third party in a manner that is contrary to the terms
             of Section 12;

                             13.2.10 If Franchisee fails to permit an inspection pursuant to Section 5.14 or an audit
             pursuant to Section 7.4;

                             13.2.11 If Franchisee fails to comply with the covenants in Section 10.5 or fails to timely
             obtain execution of the covenants required under Section 10.8;

                              13.2.12 If, contrary to the terms of Sections 9 or 10 above, Franchisee discloses or divulges
             the contents of the Manuals or other Confidential Information provided to Franchisee by Del Taco;

                              13.2.13 If Franchisee knowingly maintains false books or records, or submits any false
             reports (including information provided as part of Franchisee’s application for this franchise) to Del Taco;

                             13.2.14 If Franchisee makes, or has made, any misrepresentation or engaged in any act of
             fraud in connection with obtaining this Agreement or in conducting the business franchised and licensed
             under this Agreement;

                              13.2.15 If Franchisee fails to pay any supplier or vendor when due, and fails to cure such
             default within the time period specified by the supplier or vendor, or in the applicable supply contract;

                               13.2.16 If Franchisee fails to pay any third party, including a lender, seller or lessor of
             products, services or equipment, any amount due by Franchisee to such parties on any note, financing,
             obligation, or financial instrument when due, and such failure to pay the full amount owed is not cured after
             any notice required by the contract or under applicable law;

                              13.2.17 If Franchisee makes any unauthorized or improper use of the Proprietary Marks,
             or if Franchisee or any owner of Franchisee fails to utilize the Proprietary Marks solely in the manner and
             for the purposes directed by Del Taco, or directly or indirectly contests the validity of Del Taco’s ownership
             of the Proprietary Marks or Del Taco’s right to use and to license others to use the Proprietary Marks;

                                 13.2.18 If Franchisee fails to make any payments when due to Del Taco;

                             13.2.19 If Franchisee fails to submit to Del Taco any financial or other information
             required under this Agreement;

                             13.2.20 If Franchisee fails to operate the Restaurant in accordance with this Agreement,
             including operating the Restaurant in compliance with the operating standards and specifications
             established from time to time by Del Taco as to the quality of service, specifications and use of computer
                                                                   38
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1311Thereof
                                                                 of 1415 Page 1285 of 1376


             hardware and software, cleanliness, health and sanitation, or if Franchisee receives a failing score on any
             inspection conducted in accordance with Section 5.14 hereof;

                            13.2.21 If Franchisee defaults in the performance of any other obligation under this
             Agreement or any other agreement with Del Taco or any of its affiliates;

                            13.2.22 If Franchisee fails on more than two occasions during any 12-month period to
             comply with one or more requirements of this Agreement or any other agreement with Del Taco;

                                 13.2.23 If Franchisee fails to comply with any laws as more specifically set forth in Section
             5.26;

                              13.2.24 If Franchisee, prior to operating the Restaurant, does not obtain Del Taco’s prior
             written approval of an Operating Principal if (1) Franchisee is not an individual or (2) Franchisee does not
             participate personally in the direct operation of the Restaurant;

                                 13.2.25 If the right of Franchisee to possess the Restaurant terminates for any reason
             whatsoever.

                      13.3     Termination With Opportunity to Cure. Except as otherwise provided in Sections 13.1 and
             13.2 above, upon any other default by Franchisee of Franchisee’s obligations hereunder, Del Taco may
             terminate this Agreement by giving written notice of termination (in the manner set forth under Section 20
             below) setting forth the nature of such default to Franchisee at least thirty (30) days prior to the effective
             date of termination (or, with respect to monetary defaults, five (5) days); provided, however, that Franchisee
             may avoid termination by immediately initiating a remedy to cure such default, curing it to Del Taco’s
             satisfaction, and by promptly providing proof thereof satisfactory to Del Taco, all within the thirty (30) (or
             five (5)) day period. If any such default is not cured within the specified time, this Agreement shall
             terminate without further notice to Franchisee effective immediately upon the expiration of the thirty (30)
             (or five (5)) day period or such longer period as applicable law may require.

                     13.4     Extended Notice of Termination. If any law applicable to this Section 13 requires a longer
             notice period prior to termination of this Agreement, or prior to a refusal to enter into a successor or renewal
             franchise, than is required hereunder, a different standard of “good cause”, or the taking of some other
             action not required hereunder, the prior notice, “good cause” standard, and/or other action required by such
             law shall be substituted for the comparable provisions hereof.

                      13.5    Assignment Upon Bankruptcy. If, for any reason, this Agreement is not terminated
             pursuant to this Section 13, and the Agreement is assumed, or assignment of the same to any person or
             entity who has made a bona fide offer to accept an assignment of the Agreement is contemplated, pursuant
             to the United States Bankruptcy Code, then notice of such proposed assignment or assumption, setting
             forth: (i) the name and address of the proposed assignee; and (ii) all of the terms and conditions of the
             proposed assignment and assumption, shall be given to Del Taco within twenty (20) days after receipt of
             such proposed assignee’s offer to accept assignment of this Agreement, and, in any event, within ten (10)
             days prior to the date application is made to a court of competent jurisdiction for authority and approval to
             enter into such assignment and assumption, and Del Taco shall thereupon have the prior right and option,
             to be exercised by notice given at any time prior to the effective date of such proposed assignment and
             assumption, to accept an assignment of this Agreement to Del Taco upon the same terms and conditions
             and for the same consideration, if any, as in the bona fide offer made by the proposed assignee, less any
             brokerage commissions which may be payable by Franchisee out of the consideration to be paid by such
             assignee for the assignment of this Agreement. In the event Del Taco does not elect to exercise the options
             described in this Section 13.5, any transfer or assignment pursuant to the United States Bankruptcy Code

                                                                     39
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1312Thereof
                                                                 of 1415 Page 1286 of 1376


             shall be subject to the same terms and conditions of any other transfer or assignment set forth in Section
             12.

                      13.6    Other Remedies. Del Taco has the right to undertake any one or more of the following
             actions in addition to terminating this Agreement:

                              13.6.1 Del Taco may require Franchisee to close the Restaurant and take the necessary
             steps to bring the Restaurant (including the operation, maintenance of the equipment and premises, repair
             and restoration of the Restaurant) into strict conformity with Del Taco’s standards and specifications and
             the requirements of this Agreement. Franchisee shall not reopen the Restaurant until Franchisee has
             brought it into conformity with Del Taco’s standards and specifications;

                             13.6.2 Del Taco may modify, or eliminate completely, the Protected Area described in
             Section 1.2 above;

                              13.6.3 Del Taco may elect, but has no obligation, to assume complete operating control
             and possession of the Restaurant and operate the same in the capacity of a receiver. Del Taco shall apply
             funds received from that operation, first to the payment of all of Del Taco’s costs and expenses of operation,
             then to the current obligations of Franchisee to Del Taco or any third party, and then to the past due
             obligations of Franchisee to Del Taco or any third party, with any remaining funds paid over to Franchisee;

                            13.6.4 Del Taco may disable access to or remove all or any references to the Restaurant
             or webpage(s) of the Restaurant from the Authorized Website, until such time as the default is fully cured;

             If any of such rights, options, arrangements, or areas are terminated or modified in accordance with this
             Section 13.6, such action shall be without prejudice to Del Taco’s right to terminate this Agreement in
             accordance with Sections 13.2 or 13.3 above, and/or to terminate any other rights, options or arrangements
             under this Agreement at any time thereafter for the same default or as a result of any additional defaults of
             the terms of this Agreement.

             14.       Obligations Upon Termination or Expiration.

                     14.1    Upon termination or expiration of this Agreement, all rights granted hereunder to
             Franchisee shall forthwith terminate, and:

                              14.1.1 Cease Operations. Franchisee shall immediately cease to operate the Restaurant,
             and shall not thereafter, directly or indirectly, represent to the public or hold Franchisee out as a present or
             former franchisee of Del Taco.

                              14.1.2 Cease Use of Proprietary Marks. Franchisee shall immediately and permanently
             cease to use, in any manner whatsoever, any confidential methods, procedures and techniques associated
             with the System, the mark “Del Taco” and all other Proprietary Marks and distinctive forms, slogans, signs,
             symbols, and devices associated with the System. In particular, Franchisee shall cease to use all signs,
             advertising materials, displays, stationery, forms, and any other articles that display the Proprietary Marks,
             remove all such articles and/or permit Del Taco to enter the Restaurant and remove or permanently cover
             all signs or advertisements identifiable in any way with Del Taco’s name or business, at Franchisee’s
             expense.

                             14.1.3 Cancellation of Assumed Names. Franchisee shall take such action as may be
             necessary to cancel any assumed name or equivalent registration which contains the Proprietary Mark “Del
             Taco” and all other Proprietary Marks, and/or any other service mark or trademark, and Franchisee shall

                                                                   40
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1313Thereof
                                                                 of 1415 Page 1287 of 1376


             furnish Del Taco with evidence satisfactory to Del Taco of compliance with this obligation within five (5)
             days after termination or expiration of this Agreement.

                              14.1.4 Pay Monies Owed; Liquidated Damages. Franchisee shall pay Del Taco all sums
             then due plus damages for the right to receive the Royalty Fees for the remaining term of this Agreement,
             together with any other damages suffered by Del Taco as a result of the default. The damages for royalties
             due during the remainder of the term of this Agreement shall equal the product of the average yearly amount
             of all fees paid or payments by Franchisee under Section 3 of this Agreement during the three years
             immediately preceding the termination (or such period as the Restaurant was open for business, if the
             Restaurant was not open for business during the entire three year period), multiplied by the number of years
             remaining in the term, minus 20%. The payments called for in this Section 14.1.4 are not a penalty. A
             precise calculation of the full extent of damages that Del Taco will incur if this Agreement terminates
             because Franchisee defaults cannot be reasonably determined. Nevertheless, the parties agree that the
             lump-sum payment provided under this Section 14.1.4 is reasonable in light of the damages for premature
             termination that may reasonably be expected to occur in such event. Franchisee shall also pay to Del Taco,
             in addition to any amounts then due and owing, all expenses incurred by Del Taco as a result of any default,
             including reasonable attorneys’ fees, expenses, and costs, and interest on such attorneys’ fees, expenses,
             and costs.

                             14.1.5 Return of Manuals and Other Materials. Franchisee shall immediately deliver to
             Del Taco the Manuals, plans and specifications, designs, records, data, samples, models, programs,
             handbooks and drawings relating to Del Taco’s operations or business, and all other materials containing
             Confidential Information (including any copies thereof, even if such copies were made in violation of this
             Agreement), all of which are acknowledged to be Del Taco’s property.

                               14.1.6 No Confusion. Franchisee agrees that, if it continues to operate or subsequently
             begins to operate any other business, Franchisee shall not use any reproduction, counterfeit copy, or
             colorable imitation of the Proprietary Marks, either in connection with such other business or the promotion
             thereof, which is likely to cause confusion, mistake, or deception, or which is likely to dilute Del Taco’s
             rights in and to the Proprietary Marks, and further agree not to utilize any designation of origin, description,
             trademark, service mark, or representation which suggests or represents a present or past association or
             connection with Del Taco, the System, or the Proprietary Marks.

                               14.1.7 Assign Leases; Modification of Premises. Del Taco shall have the right and option,
             but not the obligation, to acquire the Leases for the Restaurant, or otherwise acquire the right to occupy the
             premises. Del Taco may assign or delegate this right or option to any of Del Taco’s affiliates or a third
             party designee, without notice to, or request for approval from, the landlord or lessor of the premises. If
             Del Taco or its assignee or delegatee does not elect or is unable to exercise any option Del Taco may have
             to acquire the leases or subleases for the premises of the Restaurant, or otherwise acquire the right to occupy
             the premises, Franchisee shall make such modifications or alterations to the premises operated hereunder
             (including the changing of the telephone number) immediately upon termination or expiration of this
             Agreement as may be necessary to distinguish the appearance of said premises from that of other Del Taco
             Restaurants, and shall make such specific additional changes thereto as Del Taco may reasonably request
             for that purpose. In addition, Franchisee shall cease use of, and if Del Taco requests shall transfer to Del
             Taco, all telephone numbers, customer “loyalty” lists, and any domain names, websites, email addresses,
             and any other identifiers, whether or not authorized by Del Taco, used by Del Taco while operating the
             Restaurant, and shall promptly execute such documents or take such steps necessary to remove reference
             to the Restaurant from all trade or business telephone directories, including “yellow” and “white” pages,
             or at Del Taco’s request transfer same to Del Taco. If Franchisee fails or refuses to comply with the
             requirements of this Section 14.1.7, Del Taco (or its designee) shall have the right to enter upon the premises
             of the Restaurant, without being guilty of trespass or any other tort, for the purpose of making or causing

                                                                   41
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1314Thereof
                                                                 of 1415 Page 1288 of 1376


             to be made such changes as may be required, at Franchisee’s expense, which expense Franchisee agrees to
             pay upon demand.

                               14.1.8 Option to Purchase Equipment and Furnishings. Del Taco shall have the option,
             to be exercised within thirty (30) days after termination or expiration of this Agreement, to purchase from
             Franchisee any or all of the equipment or inventory related to the operation of the Restaurant, at the lesser
             of the fair market value or Franchisee’s book value. The book value shall be determined based upon a five
             (5) year straight line depreciation of original costs. For equipment that is five (5) or more years old, the
             parties agree that fair market value shall be deemed to be ten percent (10%) of the equipment’s original
             cost. If Del Taco elects to exercise any option to purchase herein provided, Del Taco shall set off all
             amounts due from Franchisee. Notwithstanding any term or provision in this subparagraph to the contrary,
             Del Taco expressly reserves the right, but not the obligation, to negotiate to purchase the equipment directly
             from the lessor of the equipment. The transfer of the equipment from Franchisee to Del Taco shall take
             place within sixty (60) days after the expiration or termination of this Agreement upon receipt of payment
             or any applicable transfer and release documents from Del Taco; provided, however, that if the transfer
             cannot take place within that time period because of delays caused by Franchisee’s lender or lessor, the
             time period shall extend by a like number of days. If Del Taco exercises the foregoing option, Franchisee
             shall leave all of the equipment at the Restaurant in good working order and repair and shall allow Del Taco
             to use the equipment without charge until the transfer of the equipment takes place.

                             14.1.9 Damages and Costs. Franchisee shall pay Del Taco all damages, costs, interest,
             and expenses, including reasonable attorneys’ fees, costs, and expenses (and interest on such fees, costs,
             and expenses), incurred by Del Taco subsequent to the termination or expiration of this Agreement in
             obtaining injunctive or other relief for the enforcement of any provisions of this Section 14.1.9.

                             14.1.10 Other Rights of Franchisee. The termination of this Agreement shall not affect the
             rights of Franchisee to operate other Del Taco restaurants in accordance with the terms of any other
             applicable franchise agreements with Del Taco until and unless the other franchise agreements, or any of
             them, terminate or expire.

             15.       Taxes, Permits and Indebtedness

                      15.1     Taxes. Franchisee shall promptly pay when due all taxes levied or assessed, including
             unemployment and sales taxes, and all accounts and other indebtedness of every kind incurred by
             Franchisee in the conduct of the Restaurant. If Franchisee is required to deduct any sales tax, gross receipts
             tax, income tax, withholding tax or similar tax from any payment to Del Taco, then, to the extent that Del
             Taco is not able to successfully obtain and utilize a tax credit from the applicable taxing authorities, the
             amount payable by Del Taco shall be increased by such amount as is necessary to make the actual amount
             received (after such withholding tax and after any additional taxes on account of such additional payment)
             equal to the amount that Del Taco would have received had no tax payment been required, provided that
             such shortfall is not caused by Del Taco’s negligence in filing the claims, or for reasons that can be solely
             attributable to Del Taco.

                      15.2    Tax Disputes. In the event of any bona fide dispute as to Franchisee’s liability for taxes
             assessed or other indebtedness, Franchisee may contest the validity or the amount of the tax or indebtedness
             in accordance with procedures of the taxing authority or applicable law; however, in no event shall
             Franchisee permit a tax sale or seizure by levy of execution or similar writ or warrant, or attachment by a
             creditor, to occur against the premises of the Restaurant, or any improvements thereon.

                      15.3    Compliance With Laws. Franchisee shall comply with all federal, state, and local laws,
             rules, and regulations, including employment, labor, and wage and hour laws, tax laws, and local operating

                                                                  42
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1315Thereof
                                                                 of 1415 Page 1289 of 1376


             regulations. Franchisee shall timely obtain any and all permits, certificates, or licenses necessary for the
             full and proper conduct of the Restaurant, including licenses to do business, health certificates, fictitious
             name registrations, sales tax permits, and fire clearances. To the extent that the requirements of said laws
             are in conflict with the terms of this Agreement, the Manuals, or Del Taco’s other instructions, Franchisee
             shall: (a) comply with said laws; and (b) immediately provide written notice describing the nature of such
             conflict to Del Taco.

                      15.4    Notification of Claims. Franchisee shall notify Del Taco in writing within three (3) days
             of receipt of notice of any health or safety violation, the commencement of any action, suit, or proceeding,
             and of the issuance of any order, writ, injunction, award, or decree of any court, agency, or other
             governmental instrumentality, or within three (3) days occurrence of any accident or injury which may
             adversely affect the operation of the Restaurant or Franchisee’s financial condition, or give rise to liability
             or a claim against Franchisee or Del Taco.

             16.       Independent Contractor and Indemnification.

                      16.1     It is understood and agreed by the parties hereto that this Agreement does not in any way
             create the relationship of principal, agent, fiduciary, joint venture, joint employer, or employer/employee
             between Del Taco and Franchisee; that Franchisee shall be an independent contractor; and that nothing in
             this Agreement is intended to constitute either party an agent, legal representative, subsidiary, joint
             venturer, joint employer, partner, employee, or servant of the other for any purpose whatsoever. For the
             avoidance of doubt, Del Taco is not the employer or joint employer of Franchisee or Franchisee’s
             employees.

                             16.1.1 Identification as Independent Contractor. At all times during the term of this
             Agreement and any extensions hereof, Franchisee shall hold itself out to the public as an independent
             contractor operating the business pursuant to a franchise from Del Taco.

                                16.1.2 No Agency. Franchisee shall not act or attempt to act or represent itself, directly
             or by implication, as an agent of Del Taco. It is understood and agreed that nothing in this Agreement
             authorizes Franchisee to make any contract, agreement, warranty, or representation on Del Taco’s behalf,
             or to incur any debt or other obligation in Del Taco’s name; and that Del Taco shall in no event assume
             liability for, or be deemed liable hereunder as a result of, any such action; nor shall Del Taco be liable by
             reason of any act or omission by Franchisee in Franchisee’s conduct of the Restaurant or for any claim or
             judgment arising therefrom against Franchisee or Del Taco. Franchisee shall not have the authority, express
             or implied, to bind or obligate Del Taco in any way.

                               16.1.3 Indemnification. Franchisee shall, to the fullest extent permissible under
             applicable law, indemnify and hold Del Taco and its affiliates, and each of Del Taco’s respective officers,
             directors, employees, and agents harmless against any and all claims, obligations, and damages arising
             directly or indirectly from, as a result of, or in connection with this Agreement, the Restaurant, Franchisee’s
             operation of the Restaurant, Franchisee and its employees’ actions and inaction, or Franchisee’s breach of
             this Agreement, including those alleged to be caused by Del Taco’s negligence, as well as the costs,
             including attorneys’ fees, costs, and expenses (and interest on such fees, costs, and expenses), of defending
             against them, unless (and then only to the extent that) the claims, obligations, and damages are determined
             to be caused solely by Del Taco’s gross negligence or willful misconduct according to a final, unappealable
             ruling issued by a court or arbitrator with competent jurisdiction. In the event Del Taco incurs any costs or
             expenses, including legal fees (including attorneys’ fees, costs, and expenses (and interest on such fees,
             costs, and expenses)), travel expenses, and other charges, in connection with any proceeding involving
             Franchisee in which Del Taco are not a party, Franchisee shall reimburse Del Taco for all such costs and
             expenses promptly upon presentation of invoices. Franchisee acknowledges and agrees that Franchisee’s

                                                                   43
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1316Thereof
                                                                 of 1415 Page 1290 of 1376


             indemnification and hold harmless obligations under this Section 16 shall survive the termination or
             expiration of this Agreement.

             17.       Governing Law and Dispute Resolution.

                      17.1    Governing Law. This Agreement shall be governed and construed in accordance with the
             laws of California, without regard to its conflicts of laws provisions. However, the laws of the state in
             which the Restaurant operates shall govern the enforcement of the non-compete provisions of Section 10
             of this Agreement. Nothing in this Section 17 is intended by the parties to subject this Agreement to any
             franchise, business opportunity, antitrust, consumer protection, or any other law, rule, or regulation of the
             State of California to which this Agreement would not otherwise be subject.

                     17.2     Venue. Subject to the terms and provisions of Section 17.3 below, the parties agree that
             any action brought by one party against the other in any court, whether federal or state, shall be brought
             only before a court of competent jurisdiction in Orange County, California. The parties agree that this
             Section 17.2 shall not be construed as preventing either party from removing an action from state to federal
             court; provided, however, that venue shall be as set forth above. Franchisee and its owners hereby waive
             all questions of personal jurisdiction or venue for the purpose of carrying out this provision. Any such
             action shall be conducted on an individual basis, and not as part of a consolidated, common, or class action,
             and Franchisee and its owners waive any and all rights to proceed on a consolidated, common, or class
             basis.

                     17.3     Arbitration. Except as otherwise provided in this Agreement, any claim, controversy or
             dispute arising out of or relating to this Agreement, the Restaurant, or the relationship created by this
             Agreement, including any claim by Franchisee or its owners, concerning the entry into, the performance
             under, or the termination of this Agreement, or any other agreement between the parties will be resolved
             via binding arbitration under the authority of the Federal Arbitration Act in accordance with the following
             provisions:

                              17.3.1 Any arbitration will be administered by the American Arbitration Association (or
             its successor) pursuant to its then-current commercial arbitration rules and procedures. The arbitrator will
             have the authority to decide issues regarding arbitrability and the scope of the arbitrator’s jurisdiction. The
             arbitration must take place in the county in which our headquarters are located at the time of the dispute
             (currently Orange County, California).

                               17.3.2 Any arbitration must be on an individual basis, and not as part of a common,
             consolidated, or class action. The parties and the arbitrator will have no authority or power to proceed with
             any claim as a class action or otherwise to join or consolidate any claim with any other claim or any other
             proceeding involving third parties. If a court determines that this limitation on joinder of or class action
             certification of claims is unenforceable, then this entire commitment to arbitrate will become null and void
             and the parties will submit all claims to the jurisdiction of the courts.

                              17.3.3 The arbitrator must follow the law and not disregard the terms of this Agreement
             or its related agreements. Except as otherwise provided in this Agreement, the arbitrator will have the
             authority to award any interim, interlocutory, or final remedy or relief that a court of the State of California
             could order or grant, including, without limitation, general damages, specific performance of any obligation
             created under this Agreement, the issuance of an injunction or other extraordinary relief, or the imposition
             of sanctions for abuse or frustration of the arbitration process; however, the arbitrator may not under any
             circumstances: (i) stay the effectiveness of any pending termination of this Agreement; (ii) assess punitive
             or other prohibited damages; or (iii) make an award that extends, modifies, or suspends any lawful term of
             this Agreement or its related agreements or any reasonable standard of business performance that we set.

                                                                   44
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1317Thereof
                                                                 of 1415 Page 1291 of 1376


             A judgment may be entered upon the arbitration award by any state or federal court of competent
             jurisdiction. The decision of the arbitrator will be binding and final on all parties to the dispute.

                              17.3.4 Except as necessary to obtain interim or provisional relief, to enforce any
             arbitration award or order, or to comply with any franchise-specific disclosure obligation, the arbitration
             proceeding and award will be maintained as strictly confidential and neither party hereto nor the arbitrator
             may disclose the existence, content, or results of any arbitration hereunder without the prior written consent
             of both parties hereto.

                              17.3.5 Each party will bear its share of the costs of the arbitration proceeding. The
             prevailing party to the arbitration will have the right to an award of its reasonable attorneys’ fees and costs
             incurred after the filing of the demand for arbitration. If either Del Taco or Franchisee seeks to enforce this
             Agreement in any arbitral or other proceeding, the prevailing party will be entitled to recover its reasonable
             costs and expenses (including reasonable attorneys’ fees, costs, and expenses (and interest on such fees,
             costs, and expenses) and expert witness fees, costs of investigation and proof of facts, court costs, other
             litigation expenses and travel or living expenses) incurred in connection with such judicial or other
             proceeding.

                                 17.3.6 This agreement to arbitrate will survive the expiration or termination of this
             Agreement.

                     17.4      Injunctive Relief. Notwithstanding anything to the contrary contained in this Section 17,
             either party may file suit in a court of competent jurisdiction (pursuant to Section 17.2) for the entry of
             temporary or preliminary injunctive relief, restraining orders, and orders of specific performance, including
             injunctive relief pertaining to Franchisee’s use of the System, including Del Taco’s trademarks and service
             marks.

                    17.5 Limitation of Actions. EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION
             17.5, ANY AND ALL CLAIMS AND ACTIONS ARISING OUT OF OR RELATING TO THIS
             AGREEMENT, THE FRANCHISE RELATIONSHIP, OR FRANCHISEE’S OPERATION OF
             THE FRANCHISED BUSINESS, (INCLUDING ANY DEFENSES AND ANY CLAIMS OF SET-
             OFF OR RECOUPMENT), SHALL BE IRREVOCABLY BARRED UNLESS BROUGHT OR
             ASSERTED BEFORE THE EXPIRATION OF THE EARLIER OF (A) THE TIME PERIOD FOR
             BRINGING AN ACTION UNDER ANY APPLICABLE STATE OR FEDERAL STATUTE OF
             LIMITATIONS; (B) ONE (1) YEAR AFTER THE DATE UPON WHICH A PARTY
             DISCOVERED, OR SHOULD HAVE DISCOVERED, THE FACTS GIVING RISE TO AN
             ALLEGED CLAIM; OR (C) TWO (2) YEARS AFTER THE FIRST ACT OR OMISSION GIVING
             RISE TO AN ALLEGED CLAIM. CLAIMS ATTRIBUTABLE TO UNDERREPORTING OF
             SALES, AND CLAIMS OF THE PARTIES FOR FAILURE TO PAY MONIES OWED AND/OR
             INDEMNIFICATION SHALL BE SUBJECT ONLY TO THE APPLICABLE STATE OR
             FEDERAL STATUTE OF LIMITATIONS.

                  17.6  Waiver of Damages. EXCEPT AS OTHERWISE DESCRIBED IN THIS
             AGREEMENT (INCLUDING, WITHOUT LIMITATION, AS TO INDEMNIFICATION UNDER
             SECTION 16.1.3), DEL TACO, FRANCHISEE, AND FRANCHISEE’S OWNERS HEREBY
             WAIVE TO THE FULLEST EXTENT PERMITTED BY LAW ANY RIGHT TO OR CLAIM FOR
             ANY LOST FUTURE PROFITS OR PUNITIVE, EXEMPLARY, CONSEQUENTIAL, OR
             MULTIPLE DAMAGES AGAINST THE OTHER, AND AGREE THAT IN THE EVENT OF A
             DISPUTE AMONG THEM EACH SHALL BE LIMITED TO THE RECOVERY ONLY OF
             DIRECT DAMAGES SUSTAINED BY DEL TACO, FRANCHISEE, OR FRANCHISEE’S
             OWNERS.

                                                                   45
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1318Thereof
                                                                 of 1415 Page 1292 of 1376


                     17.7     Waiver of Jury Trial. The parties hereto irrevocably waive trial by jury in any action,
             proceeding, or counterclaim in connection with any matter or dispute of any kind arising under or in any
             way connected with this Agreement or any right or remedy hereunder, whether at law or in equity, brought
             by either party hereto.

             18.       Time is of the Essence.

                    As to all reports and fees payable to or to be made to Del Taco and any inspections initiated by Del
             Taco under Section 5.14, time shall be of the essence.

             19.       Approvals, Waivers and Binding Effects.

                      19.1      Approvals. Whenever this Agreement requires Del Taco’s prior approval or consent,
             Franchisee shall make a timely written request to Del Taco for the approval or consent, which Del Taco
             shall grant, if at all, only in writing.

                     19.2    No Warranties. Del Taco makes no warranties or guarantees, and assumes no liability or
             obligation to Franchisee, by providing any waiver, approval, consent or suggestion to Franchisee in
             connection with this Agreement or by reason of any neglect, delay or denial of any request.

                                 DEL TACO DISCLAIMS ALL WARRANTIES FOR THE GOODS, EXPRESS OR
                                 IMPLIED, INCLUDING THE WARRANTIES OF FITNESS FOR PARTICULAR
                                 PURPOSE, MERCHANTABILITY, AND NONINFRINGEMENT. DEL TACO WILL
                                 NOT BE LIABLE TO FRANCHISEE RELATING TO THE RESALE OF ANY OF THE
                                 GOODS FURNISHED, WHETHER SUCH CLAIM IS BASED ON BREACH OF
                                 WARRANTY, CONTRACT, TORT OR OTHER LEGAL THEORY AND
                                 REGARDLESS OF THE CAUSES OF SUCH LOSS OR DAMAGES OR WHETHER
                                 ANY OTHER REMEDY PROVIDED IN THIS AGREEMENT FAILS AND IN NO
                                 EVENT WILL ANY SUCH LIABILITY UNDER THIS SECTION 19.2 EXCEED THE
                                 PURCHASE PRICE PAID FOR THE PRODUCTS.

                     19.3     Waivers. Except as set forth in this Agreement, no rights or remedies set forth in this
             Agreement shall exclude any other right or remedy allowed by law or in equity. No waiver by a party of
             any covenant or condition or breach of any covenant or condition of this Agreement shall constitute a waiver
             of any subsequent breach or nonobservance on any other occasion of the same or any other covenant or
             condition of this Agreement. Subsequent acceptance by Del Taco of payments due it shall not constitute a
             waiver by Del Taco of any prior breach.

                     19.4     Binding Effect; No Other Rights. This Agreement shall bind the parties and their respective
             executors, administrators, successors and assigns. Except as expressly provided to the contrary herein,
             nothing in this Agreement is intended, nor shall be deemed, to confer upon any person or legal entity other
             than Franchisee, Del Taco, and such of the parties’ respective successors and assigns as may be
             contemplated (and, as to Franchisee, permitted) by Section 12.3 above, any rights or remedies under or by
             reason of this Agreement.

             20.       Notices.

                      20.1    Any and all notices required or permitted under this Agreement shall be in writing and shall
             be personally delivered, sent by registered mail, a recognized overnight delivery service (e.g., UPS, FedEx,
             etc.), or by other means which affords the sender evidence of delivery, or of rejected delivery, to the
             respective parties at the addresses below, unless and until a different address has been designated by written

                                                                  46
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1319Thereof
                                                                 of 1415 Page 1293 of 1376


             notice to the other party. Any notice by a means which affords the sender evidence of delivery, or rejected
             delivery, shall be deemed to have been given at the date and time of receipt or rejected delivery.

                                 Del Taco:                      25521 Commercentre Drive, Suite 150
                                                                Lake Forest, California 92630
                                                                Fax Number: (949) 616-5002

                                 Franchisee:                    Franchisee’s notice address set forth on Exhibit A to this
                                                                Agreement

             21.       Force Majeure.

                      No failure by any party to this Agreement to take action on account of any default by any other
             party, or to exercise any right hereunder, whether in a single instance or repeatedly, shall constitute a waiver
             of any such default or right or the performance required of such other party. Except as otherwise provided
             in this Agreement, neither Del Taco nor Franchisee shall be liable for loss or damage or deemed to be in
             breach of this Agreement if the failure to perform the obligations of Del Taco or Franchisee results from:
             transportation shortages, inadequate supply of equipment, merchandise, supplies, labor, material or energy,
             or the voluntary foregoing of the right to acquire or use any of the foregoing in order to accommodate or
             comply with the orders, requests, regulations, recommendations or instructions of any federal, state, or
             municipal government or any department or agency thereof; compliance with any law; epidemic;
             pandemic; public health emergency; or act of God. Any delay resulting from any of such causes shall extend
             performance accordingly or excuse performance, in whole or in part, as may be reasonable, except that such
             causes shall not excuse payments of amounts owed at the time of such occurrence or payment of fees and
             all other amounts due to Del Taco and its affiliates thereafter. The party whose performance is affected by
             any of such causes shall give prompt written notice of the circumstances of such event to the other party,
             but in no event more than five (5) days after the commencement of such event. The notice shall describe
             the nature of the event and an estimate as to its duration.

             22.       Immunity for Certain Limited Disclosures.

                      Notwithstanding anything in this Agreement to the contrary, Franchisee and its affiliates may, in
             accordance with any applicable law, including the federal Defend Trade Secrets Act, disclose Confidential
             Information, including Del Taco’s trade secrets, (a) in confidence, to federal, state, or local government
             officials, or to an attorney of Franchisee, for the sole purpose of reporting or investigating a suspected
             violation of law; or (b) in a document filed in a lawsuit or other legal proceeding, but only if the filing is
             made under seal and protected from public disclosure. Nothing in this Agreement is intended to conflict
             with any applicable law or create liability for disclosures expressly allowed by law.

             23.       Entire Agreement and Amendment.

                      This Agreement and the exhibits referred to in this Agreement constitute the entire, full, and
             complete Agreement between Del Taco and Franchisee concerning the Agreement’s subject matter, and
             supersede any and all prior or contemporaneous negotiations, discussions, understandings and agreements.
             There are no other oral or written understandings or agreements between Del Taco and Franchisee relating
             to the subject matter of this Agreement. Nothing in this Franchise Agreement is intended to disclaim any
             representations made by Del Taco in the Franchise Disclosure Document that Del Taco furnished to
             Franchisee, if any. Except for those permitted to be made unilaterally by Del Taco hereunder, no
             amendment, change, or variance from this Agreement shall be binding on either party unless mutually
             agreed to by the parties and executed by their authorized officers or agents in writing. The System and
             Manuals are subject to change by Del Taco at any time, at Del Taco’s option.

                                                                   47
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1320Thereof
                                                                 of 1415 Page 1294 of 1376


             24.       Severability; Enforcement of Covenants; Construction.

                      24.1    Severability. If any of the provisions of this Agreement may be construed in more than
             one way, one of which would render the provision illegal or otherwise voidable or unenforceable, such
             provision shall have the meaning which renders it valid and enforceable. The language of all provisions of
             this Agreement shall be construed according to its fair meaning and not strictly against any party. In the
             event any court or other government authority shall determine that any provision in this Agreement is not
             enforceable as written, the parties agree that the provision shall be amended so that it is enforceable to the
             fullest extent permissible under the laws and public policies of the jurisdiction in which enforcement is
             sought and affords the parties the same basic rights and obligations and has the same economic effect. If
             any provision in this Agreement is held invalid or otherwise unenforceable by any court or other
             government authority or in any other proceeding, such findings shall not invalidate the remainder of the
             agreement.

                     24.2    Enforceability of Covenants. Franchisee agrees to be bound by any promise or covenant
             imposing the maximum duty permitted by law which is subsumed within the terms of any provision of this
             Agreement, as though it were separately articulated in and made a part of this Agreement, that may result
             from striking from any of the provisions hereof any portion or portions which a court may hold to be
             unenforceable in a final decision to which Del Taco and Franchisee are a party, or from reducing the scope
             of any promise or covenant to the extent required to comply with such a court order.

                    24.3     Construction. All captions and headings in this Agreement are intended solely for the
             convenience of the parties, and none shall be deemed to affect the meaning or construction of any provision.
             Each pronoun used in this Agreement shall include the other numbers and genders, as appropriate. The
             words “include” and “including” will be construed to include the words “without limitation.”

             25.       Joint and Several Obligation.

                      If Franchisee consists of more than one person or entity, each person and entity shall have joint and
             several liability for Franchisee’s obligations under this Agreement.

             26.       Incorporation of Exhibits.

                       All exhibits referred to in this Agreement constitute an integral part of this Agreement.

             27.       Counterparts.

                      This Agreement may be executed in any number of counterparts each of which when so executed
             will be an original, but all of which together will constitute one (1) and the same instrument.

             28.       Survival of Provisions.

                     All provisions of this Agreement which, by their terms or intent, are designed to survive the
             expiration or termination of this Agreement, shall so survive the expiration and/or termination of this
             Agreement.

             29.       Representations, Warranties and Acknowledgments.

                       29.1      Franchisee represents, warrants and acknowledges to Del Taco as follows:

                            29.1.1 Modification of Offers. Franchisee understands that present and future franchisees
             of Del Taco may operate under different forms of agreements and, consequently, the obligations and rights
                                                                    48
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1321Thereof
                                                                 of 1415 Page 1295 of 1376


             of the parties to those agreements may differ materially from the obligations and rights contained in this
             Agreement. Franchisee also acknowledges and agrees that Del Taco may modify the offer of Del Taco
             franchises to other franchisees in any manner and at any time, which offers and agreements have or may
             have terms, conditions, and obligations that may differ from the terms, conditions, and obligations in this
             Agreement.

                               29.1.2 Development Agreement Terms. Franchisee understands that a franchisee who is
             a party to a Del Taco Development Agreement may enjoy significantly more favorable terms and conditions
             under its Del Taco Franchise Agreement than the terms and conditions contained in this Agreement.

                               29.1.3 No Other Obligations. Each party represents and warrants to the others that
             his/her/its execution of this Agreement and all exhibits and addenda hereto do not violate or breach any
             other agreement, contract or covenant to which such party is bound, and further represents and warrants to
             the other parties that there are no other agreements, court orders, or any other legal obligations that would
             preclude or in any manner restrict such party from: (a) negotiating and entering into this Agreement; (b)
             exercising its rights under this Agreement; and/or (c) fulfilling its responsibilities under this Agreement.

                              29.1.4 Restaurant Location. Franchisee acknowledges having sole and complete
             responsibility for the choice of the location of the Restaurant; and that Del Taco has not (and shall not be
             deemed to have, even by Del Taco’s approval of the location) given any representation, promise, or
             guarantee of Franchisee’s success at the location.

                               29.1.5 Compliance with Anti-Terrorism Laws and Other Laws. Franchisee and its owners
             represent and warrant to Del Taco that: (a) neither Franchisee nor any of its owners have made any untrue
             statement of any material fact nor omitted to state any material fact in Franchisee and their franchise
             application and other documents and information submitted to Del Taco, or in obtaining the rights granted
             herein; (b) neither Franchisee nor any of its owners have any direct or indirect legal or beneficial interest
             in any business that may be deemed a Competitive Business, except as otherwise completely and accurately
             disclosed in Franchisee’s franchise application materials; (c) Franchisee and its owners have a legal right
             to own and operate the Restaurant, and the owner or officer that executes this Franchise Agreement on
             Franchisee’s behalf has all legal right an authority to execute on Franchisee’s behalf and to legally and
             contractually bind Franchisee; and (d) neither Franchisee nor its owners (i) have been designated as
             suspected terrorists under U.S. Executive Order 13244; (ii) is identified, either by name or an alias,
             pseudonym or nickname, on the lists of “Specially Designated Nationals” or “Blocked Persons”
             maintained by the U.S. Treasury Department’s Office of Foreign Assets Control (texts currently available
             at https://www.treasury.gov/resource-center/sanctions/SDN-List/Pages/default.aspx /); (iii) have not
             violated and will not violate any law (in effect now or which may become effective in the future) prohibiting
             corrupt business practices, money laundering or the aid or support of persons who conspire to commit acts
             of terror against any person or government, including acts prohibited by the U.S. Patriot Act (text currently
             available at http://www.epic.org/privacy/terrorism/hr3162.html), U.S. Executive Order 13244 (text
             currently available at http://www.treas.gov/offices/enforcement/ofac/sanctions/terrorism.html), the Foreign
             Corrupt Practices Act, or any similar law.

             30.       Business Judgment.

             Franchisee understands and agrees that Del Taco may operate and change the System in any manner that is
             not expressly and specifically prohibited by this Agreement. Whenever Del Taco has expressly reserved
             in this Agreement or is deemed to have a right and/or discretion to take or withhold an action, or to grant
             or decline to grant Franchisee a right to take or withhold an action, except as otherwise expressly and
             specifically provided in this Agreement, Del Taco may make such decision or exercise its right and/or
             discretion on the basis of Del Taco’s sole judgment of what is in Del Taco’s best interest of Del Taco and

                                                                  49
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1322Thereof
                                                                 of 1415 Page 1296 of 1376


             the System and brand overall, including Del Taco, its affiliates, and the franchise network, at the time Del
             Taco’s decision is made or Del Taco’s right or discretion is exercised, without regard to whether: (1) other
             reasonable alternative decisions or actions, or even arguably preferable alternative decisions or actions,
             could have been made by Del Taco; (2) Del Taco’s decision or the action taken promotes Del Taco’s
             financial or other individual interest; (3) Del Taco’s decision or the action it takes applies differently to
             Franchisee and one or more other franchisees or Del Taco company-owned or affiliate-owned operations;
             or (4) Del Taco’s decision or the exercise of its right or discretion is adverse to Franchisee’s interests. If
             applicable law implies a covenant of good faith and fair dealing in this Agreement, Del Taco and Franchisee
             agree that such covenant shall not imply any rights or obligations that are inconsistent with the express
             wording of the terms of this Agreement and that this Agreement grants Del Taco the right to make decisions,
             take actions and/or refrain from taking actions not inconsistent with Franchisee’s rights and obligations
             hereunder.




                                                       [Signature Page Follows]




                                                                  50
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1323Thereof
                                                                 of 1415 Page 1297 of 1376


                       Executed as of the day and year first set forth above.

             FRANCHISOR:                                         DEL TACO LLC


                                                                 By:
                                                                       Jack Tang
                                                                       Vice President, General Counsel



             FRANCHISEE:                                         NEWPORT VENTURES, LLC


                                                                 By: Techno Industries Inc
                                                                 Its President & CEO


                                                                 By:
                                                                       Ernesto Abarro


                                                                 By:
                                                                       Katayoun Aryana

                                                                         5/21/2024
                                                                 Date:




                                                                    51
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1324Thereof
                                                                 of 1415 Page 1298 of 1376

                                                              Exhibit A

                                                     Identification of Franchisee

             1.        Name of Franchisee:                     Newport Ventures, LLC

             2.        Notice Address of Franchisee:           1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014
                                                               E-Mail: ernieabarro@gmail.com &
                                                               karyana@newportdel.com
                                                               Fax Number: (949) 534-7000

             3.        Location of Restaurant:                 7506 Parkway Drive
                                                               Lonetree, CO 80124

             4.        Protected Area:                         A circular area within a one-mile radius
                                                               from the front door of the Restaurant, subject to Section
                                                               1.2. of the Franchise Agreement.

             5.        Original Date of Opening:               November 20, 2003

             6.        Renewal Date:                           November 20, 2023

             7.        Expiration Date:                        November 19, 2043




                                                               Exhibit A
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1325Thereof
                                                                 of 1415 Page 1299 of 1376


                                                             Exhibit B

                                                     Deleted As Not Applicable




                                                             Exhibit B-1
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1326Thereof
                                                                 of 1415 Page 1300 of 1376


                                                               Exhibit C

                                          Authorization Agreement for Prearranged Payments
                                                            (Direct Debits)

                     The undersigned depositor (“Depositor”) hereby authorizes Del Taco LLC (“Del Taco”) to initiate
             debit entries and/or credit correction entries to the Depositor’s checking and/or savings account(s) indicated
             below and the depository (“Depository”) to debit such account pursuant to Del Taco’s instructions.
             Wells Fargo Bank                                  Denver, Colorado

             Depository                                                     Branch
              2043 S Colorado Blvd.
              Denver, Co 8022
             Street Address, City, State, Zip Code
             10200076                                            3510253861


             Bank Transit/ABA Number                                        Account Number

                      This authority is to remain in full force and effect until Depository has received joint written
             notification from Del Taco and Depositor of the Depositor’s termination of such authority in such time and
             in such manner as to afford Depository a reasonable opportunity to act on it. Notwithstanding the foregoing,
             Depository shall provide Del Taco and Depositor with 30 days’ prior written notice of the termination of
             this authority. If an erroneous debit entry is initiated to Depositor’s account, Depositor shall have the right
             to have the amount of such entry credited to such account by Depository, if within 15 calendar days
             following the date on which Depository sent to Depositor a statement of account or a written notice
             pertaining to such entry or 45 days after posting, whichever occurs first, Depositor shall have sent to
             Depository a written notice identifying such entry, stating that such entry was in error and requesting
             Depository to credit the amount thereof to such account. These rights are in addition to any rights Depositor
             may have under federal and state banking laws.



             Depositor



             By:



             Title:


                       5/21/2024
             Date:




                                                                Exhibit C
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1327Thereof
                                                                 of 1415 Page 1301 of 1376


                                                             Exhibit D

                                                 Statement of Ownership Interests

             The following is a list of all of Franchisee’s owners, the percentage of their ownership interest and a
             description of the nature of their ownership interest:

              Individual/Entity Name                         Percentage of Ownership/Nature of Interest*


              Techno Industries Inc                          25%
              Katayoun Aryana                                75%




             * Must equal 100%.




                                                              Exhibit D
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1328Thereof
                                                                 of 1415 Page 1302 of 1376


                                                                Exhibit E

                                          Guarantee, Indemnification, and Acknowledgment

                     As an inducement to Del Taco, LLC (“Del Taco” or “Franchisor”) to execute the Del Taco
             Franchise Agreement between Del Taco and Ernesto Abarro & Katayoun Aryana, individually
             (“Franchisee”), dated May 22 , 2024 (the “Agreement”), the undersigned jointly and severally, hereby
             unconditionally guarantee to Del Taco and its successors and assigns that all of Franchisee’s monetary and
             other obligations under the Agreement will be punctually paid and performed.

                      Upon demand by Del Taco, the undersigned each hereby jointly and severally agree to immediately
             make each payment required of Franchisee under the Agreement and waive any right to require Del Taco
             to: (a) proceed against Franchisee for any payment required under the Agreement; (b) proceed against or
             exhaust any security from Franchisee; (c) pursue or exhaust any remedy, including any legal or equitable
             relief, against Franchisee; or (d) give notice of demand for payment by Franchisee. Without affecting the
             obligations of the undersigned under this Guarantee, Del Taco may, without notice to the undersigned,
             extend, modify, or release any indebtedness or obligation of Franchisee, or settle, adjust, or compromise
             any claims against Franchisee, and the undersigned each hereby jointly and severally waive notice of same
             and agree to remain and be bound by any and all such amendments and changes to the Agreement.

                    The undersigned each hereby jointly and severally agree to defend, indemnify and hold Del Taco
             harmless against any and all losses, damages, liabilities, costs, and expenses (including, but not limited to,
             reasonable attorney’s fees, reasonable costs of financial and other investigation, court costs, and fees and
             expenses) resulting from, consisting of, or arising out of or in connection with any failure by Franchisee to
             perform any obligation of Franchisee under the Agreement, any amendment thereto, or any other agreement
             executed by Franchisee referred to therein.

                     The undersigned each hereby jointly and severally acknowledge and expressly agree to be
             individually bound by all of the covenants contained in Sections 8, 9, and 10 of the Agreement, and
             acknowledge and agree that this Guarantee does not grant the undersigned any right to use the “Del Taco”
             Marks or System licensed to Franchisee under the Agreement.

                     This Guarantee shall terminate upon the termination or expiration of the Agreement, except that all
             obligations and liabilities of the undersigned which arose from events which occurred on or before the
             effective date of such termination shall remain in full force and effect until satisfied or discharged by the
             undersigned, and all covenants which by their terms continue in force after the expiration or termination of
             the Agreement shall remain in force according to their terms. Upon the death of an individual guarantor,
             the estate of such guarantor shall be bound by this Guarantee, but only for defaults and obligations
             hereunder existing at the time of death; and the obligations of the other guarantors will continue in full force
             and effect.

                       If Del Taco is required to enforce this Guarantee in a judicial or arbitration proceeding, and prevails
             in such proceeding, Del Taco shall be entitled to reimbursement of its costs and expenses, including, but
             not limited to, reasonable accountants’, attorneys’, attorneys’ assistants’, arbitrators’, and expert witness
             fees, costs, and expenses, costs of investigation and proof of facts, court costs, other litigation expenses,
             travel and living expenses, and interest, whether incurred prior to, in preparation for, or in contemplation
             of the filing of any such proceeding. If Del Taco is required to engage legal counsel in connection with any
             failure by the undersigned to comply with this Guarantee, the undersigned shall reimburse Del Taco for any
             of the above-listed costs and expenses Del Taco incurs.



                                                                 Exhibit E-1
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1329Thereof
                                                                 of 1415 Page 1303 of 1376


                      Subject to the obligations and provisions below, each of the undersigned agrees that all actions
             arising under this Guarantee or the Agreement, or otherwise as a result of the relationship between Del Taco
             and the undersigned, shall be governed by the provisions of Section 17 of the Agreement, and must be
             commenced in the state or federal court of general jurisdiction in California and each of the undersigned
             irrevocably submits to the jurisdiction of those courts and waives any objection he or she might have to
             either the jurisdiction of or venue in those courts. Nonetheless, each of the undersigned agrees that Del
             Taco may enforce this Guarantee and any orders and awards in the courts of the state or states in which he
             or she is domiciled.

                      Unless specifically stated otherwise, the terms used in this Guarantee shall have the same meaning
             as in the Agreement, and shall be interpreted and construed in accordance with Section 17 of the Agreement.
             This Guarantee shall be interpreted and construed under the laws of the State of California. In the event of
             any conflict of law, the laws of the State of California shall prevail (without regard to, and without giving
             effect to, the application of California conflict of law rules).

                   IN WITNESS WHEREOF, each of the undersigned has signed this Guarantee as of the date of the
             Agreement.

                                                               GUARANTOR(S)

             (Seal)                                            Signed:
                                                                                (In his individual capacity)

                                                               Ernesto Abarro
                                                               120 S. Lovekin Blvd.
                                                               Blythe, CA 92225



             (Seal)                                            Signed:
                                                                                (In his individual capacity)

                                                               Katayoun Aryana
                                                               1500 E. Bethany Home Road
                                                               Suite 250
                                                               Phoenix, AZ 85014




                                                               Exhibit E-2
             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1330Thereof
                                                                 of 1415 Page 1304 of 1376


                                                               Exhibit F

                                          Non-Disclosure and Non-Competition Agreement

                     THIS NON-DISCLOSURE AND NON-COMPETITION AGREEMENT (“Agreement”) is
             made this ___
                        22 day of _________,
                                      May       2024, by and between Newport Ventures, LLC (the “Franchisee”), and
             Ernesto Abarro & Katayoun Aryanna, who is an owner, manager, supervisor, member, partner, or a person
             in a managerial position with, Franchisee (the “Obligee”).

                                                             BACKGROUND:

                      A.      Del Taco, as the result of the expenditure of significant time, skill, effort and money, has
             developed a distinctive and proprietary system (the “Del Taco System” or “System”) for establishing and
             operating restaurant businesses, which specialize in the sale of Mexican-American foods such as tacos and
             burritos, along with burgers, shakes and desserts, French fries, breakfast items, soft drinks, and such
             additional or alternate menu and other items as Del Taco may designate from time to time for on-premises
             and off-premises consumption (“Menu Items”);

                      B.     Del Taco and Franchisee have executed a Franchise Agreement (“Franchise Agreement”)
             granting Franchisee the right to operate one (1) Del Taco restaurant (the “Restaurant”) and to produce and
             distribute products and services approved by Del Taco and use the Proprietary Marks in connection
             therewith under the terms and conditions of the Franchise Agreement;

                     C.       The Member, by virtue of his or her position with Franchisee, will gain access to certain
             of Del Taco’s Confidential Information, as defined herein, and must therefore be bound by the same
             confidentiality and non-competition agreement that Franchisee is bound by.

                     IN CONSIDERATION of these premises, the conditions stated herein, and for other good and
             valuable consideration, the sufficiency and receipt of which are hereby acknowledged, the parties agree as
             follows:

                     1.       Confidential Information. Obligee shall not, during the term of the Franchise Agreement
             or thereafter, communicate, divulge, or use for the benefit of any other person, persons, partnership, entity,
             association, or corporation any confidential information, trade secrets, knowledge, or know how concerning
             the methods of operation of the Restaurant which may be communicated to Obligee or of which Obligee
             may be apprised by virtue of Franchisee’s operation under the terms of this Agreement. Any and all
             information, knowledge, know how, and techniques which Del Taco designates as confidential shall be
             deemed confidential for purposes of this Agreement, except information which Obligee can demonstrate
             came to its attention prior to disclosure thereof by Del Taco; or which, at or after the time of disclosure by
             Del Taco to Franchisee, had become or later becomes a part of the public domain, through publication or
             communication by others. Notwithstanding any other provision of this Agreement, there may be certain,
             limited circumstances where applicable law allows for the disclosure of certain trade secrets, as specified
             in the Manuals.

                       2.        Covenants Not to Compete.

                               (a)      Obligee specifically acknowledges that, pursuant to the Franchise Agreement, and
             by virtue of its position with Franchisee, Obligee will receive valuable specialized training and confidential
             information, including information regarding the operational, sales, promotional, and marketing methods
             and techniques of Del Taco and the System.


             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1331Thereof
                                                                 of 1415 Page 1305 of 1376


                               (b)      Obligee covenants and agrees that during the term of Obligee’s employment with,
             or ownership interest in, Franchisee, and except as otherwise approved in writing by Del Taco, Obligee
             shall not, either directly or indirectly, for itself, or through, on behalf of, or in conjunction with any person,
             persons, partnership, corporation, or entity:

                                       (i)     Divert or attempt to divert any business or customer of the Restaurant or
             of any Restaurant using the System to any competitor, by direct or indirect inducement or otherwise, or do
             or perform, directly or indirectly, any other act injurious or prejudicial to the goodwill associated with Del
             Taco’s Proprietary Marks and the System; or

                                        (ii)     Own, maintain, operate, engage in, be employed by, or have any interest
             in any business that it offers one or more Mexican or similar style menu items, and is operated in a quick
             service, fast food, or fast casual format (“Competitive Business”).

                              (c)     Obligee covenants and agrees that during the Post-Term Period (defined below),
             except as otherwise approved in writing by Del Taco, Obligee shall not, either directly or indirectly, for
             itself, or through, on behalf of, or in conjunction with any person, persons, partnership, corporation, or
             entity, own, maintain, operate, engage in, or have any interest in any Competitive Business which is, or is
             intended to be, located: (a) within the Protected Area of the Restaurant or (b) within two (2) miles of any
             other Del Taco restaurant owned and/or operated or then under construction by Del Taco or any other
             franchisee or licensee of Del Taco as of the time that the obligations under this Section commence.

                             (d)      As used in this Agreement, the term “Post-Term Period” shall mean a continuous
             uninterrupted period of two (2) years from the date of: (a) a transfer permitted under Section 12.3 of the
             Franchise Agreement with respect to Obligee; and/or (b) termination of Obligee’s employment with, and/or
             ownership interest in, Franchisee.

                     3.       Injunctive Relief. Obligee acknowledges that any failure to comply with the requirements
             of this Agreement will cause Del Taco irreparable injury, and Obligee agrees to pay all court costs and
             reasonable attorney’s fees incurred by Del Taco in obtaining specific performance of, or an injunction
             against violation of, the requirements of this Agreement.

                      4.       Severability. All agreements and covenants contained herein are severable. If any of them,
             or any part or parts of them, shall be held invalid by any court of competent jurisdiction for any reason,
             then the Obligee agrees that the court shall have the authority to reform and modify that provision in order
             that the restriction shall be the maximum necessary to protect Del Taco’s and/or Franchisee’s legitimate
             business needs as permitted by applicable law and public policy. In so doing, the Obligee agrees that the
             court shall impose the provision with retroactive effect as close as possible to the provision held to be
             invalid.

                     5.      Delay. No delay or failure by Del Taco or the Franchisee to exercise any right under this
             Agreement, and no partial or single exercise of that right, shall constitute a waiver of that or any other right
             provided herein, and no waiver of any violation of any terms and provisions of this Agreement shall be
             construed as a waiver of any succeeding violation of the same or any other provision of this Agreement.

                     6.       Jurisdiction, Venue and Choice of Law. This agreement shall be interpreted and construed
             in accordance with Section 17 of the Franchise Agreement. In the event of any conflict of law, the laws of
             the State of California shall prevail (without regard to, and without giving effect to, the application of
             California conflict of law rules).




             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1332Thereof
                                                                 of 1415 Page 1306 of 1376


                     7.      Third-Party Beneficiary. Obligee hereby acknowledges and agrees that Del Taco is an
             intended third-party beneficiary of this Agreement with the right to enforce it, independently or jointly with
             Franchisee.

                     IN WITNESS WHEREOF, the Franchisee and the Obligee attest that each has read and
             understands the terms of this Agreement, and voluntarily signed this Agreement on this 22 day of May
                             , 2024.




            FRANCHISEE:                                              OBLIGEE:

            NEWPORT VENTURES, LLC                                    ERNESTO ABARRO


            By:                                                      By:
                  Ernesto Abarro

                                                                     KATAYOUN ARYANA
            By: ___________________________________
               Katayoun Aryana
                                                                     By: ___________________________________




             Del Taco LLC
             Franchise Agreement | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1333Thereof
                                                                 of 1415 Page 1307 of 1376
                                                                Exhibit G

                                                       ADDENDUM TO LEASE

                    This Addendum to Lease (“Addendum”) is dated __________________ and is entered into by and
             between ____________________ (“Landlord”) and __________ (“Tenant”).

                    WHEREAS Landlord and Tenant have entered into a Lease dated _______ (the “Lease”), for
             Tenant’s operation of a Del Taco Restaurant (“Restaurant”) at ______________________________.

                    WHEREAS Tenant has requested and Landlord has agreed to incorporate certain provisions into
             the Lease required by Tenant’s franchisor, Del Taco LLC, a California limited liability company
             (“Franchisor”).

                     NOW, THEREFORE, notwithstanding anything to the contrary contained in the Lease, for valuable
             consideration, the Landlord and Tenant agree as follows:

             1.        In the event of Tenant’s default under the Lease for which Landlord is obligated to give Tenant
                       written notice, at the same time that Landlord sends notice to Tenant, Landlord shall send notice to
                       Franchisor at the following address:

                                                         Del Taco LLC
                                                         25521 Commercentre Drive
                                                         Suite 150
                                                         Lake Forest, California 92630
                                                         Attn: Jack Tang, General Counsel

             2.        In the event of Tenant’s default under the Lease, and within thirty (30) days of its receipt of written
                       notice thereof, Franchisor shall have the right, but not the obligation, to cure Tenant’s default, to
                       assume Tenant’s position under the Lease, to take over the operation of the Restaurant, and/or to
                       assign its rights under the Lease to an approved franchisee of Franchisor in which event Franchisor
                       will be relieved from any further liability.

             3.        The use of the real property shall be restricted to a Del Taco Restaurant, during the term of the
                       Franchise Agreement.

             4.        Landlord consents to Tenant’s use in the Restaurant and on the premises of the signage, interior
                       and exterior design, including graphics, logos and all other decorative features as may be required
                       by Franchisor (collectively the “Proprietary Marks”), provided that said Proprietary Marks meet all
                       current governmental agency requirements.

             5.        All furniture, fixtures and equipment installed by Tenant in the Demised Premises shall at all times
                       be and remain personal property, regardless of the method in which the same is affixed to the
                       Demised Premises, and shall remain the personal property of Tenant and/or the equipment-lessor
                       or conditional landlord of such furniture, fixtures and equipment, as the case may be. Landlord
                       specifically agrees that Landlord's rights and the rights of any holder of any present or future
                       encumbrance on the Demised Premises, if any, in any such furniture, fixtures and equipment shall
                       at all times be subject and subordinate to the rights of Tenant and any equipment-lessor or
                       equipment-landlord of such furniture, fixtures, and equipment, or other person or entity who
                       acquires a security interest in the same as a result of a financial transaction with Tenant. Landlord
                       shall, upon request of Tenant, promptly furnish a Landlord's Waiver and/or Mortgagee's Waiver or
                       similar document as may be reasonably required by an equipment-landlord and approved by
                       Franchisor, equipment-lessor or other person or entity in connection with Tenant's acquisition or
                       financing respecting such personal property, equipment, furniture and fixtures.


             Del Taco LLC
             Franchise Disclosure Document | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1334Thereof
                                                                 of 1415 Page 1308 of 1376
             6.        Tenant shall have the unrestricted right to assign the Lease to Franchisor or its designee during the
                       term of the Lease.

             7.        Upon the expiration of every ten (10) year period following the opening of the Restaurant for
                       business, Tenant shall have the right, subject to Landlord’s prior written consent not to be
                       unreasonably withheld, to remodel the Restaurant to bring the Restaurant up to the then current
                       standards of Franchisor as required under the Franchise Agreement, provided that said remodeling
                       meets all current governmental agency requirements.

             8.        Within thirty (30) days of expiration or early termination of the Lease, should the Tenant fail to do
                       so, Franchisor shall have the right but not the obligation to enter upon the premises and make such
                       changes to the Restaurant building as are necessary to protect its Proprietary Marks, including, if
                       determined necessary by Franchisor, the right to remodel the Restaurant building to such an extent
                       that it is no longer confusingly similar in color or design to any then-existing Del Taco restaurant.

             9.        Landlord, its affiliates, its successors or assigns agree, during the term of this Lease and any
                       extension thereof, to hold any land now or hereafter owned or controlled by Landlord within a
                       radius of one (1) mile of the Demised Premises subject to the following restrictions for the benefit
                       of Tenant: No part of such land shall be sold, leased or used for a Mexican quick service restaurant
                       which competes with Tenant including, but not limited to, Taco Bell, Green Burrito, El Pollo Loco,
                       etc. Such restrictions shall be included in and recorded with the Memorandum of Lease.

             10.       The term of the lease will provide for a minimum term of 20 years with four options to renew for
                       an additional five (5) years each.

             11.       The Lease is contingent upon Franchisor’s written approval of the site.

             12.       Landlord consents to the operation of the Restaurant on a 24-hour basis.

                     The provisions of this Addendum shall not be modified or terminated without the prior written
             consent of Franchisor.


                                                        [Signature Page Follows]




             Del Taco LLC
             Franchise Disclosure Document | 2024
DocuSign Envelope ID: EAE34E94-F171-4FB4-8367-5F654131FE63
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1335Thereof
                                                                 of 1415 Page 1309 of 1376
                       IN WITNESS THEREOF, Landlord and Tenant have executed this Addendum.

             Landlord                                           Tenant

             By:                                                By:


             Its:                                               Its:


             Date:                                              Date:




             Del Taco LLC
             Franchise Disclosure Document | 2024
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1336Thereof
                                                                  of 1415 Page 1310 of 1376

Certificate Of Completion
Envelope Id: EAE34E94F1714FB483675F654131FE63                                                      Status: Completed
Subject: Complete with DocuSign: Store - FA Renewal Addendum.pdf, Store 738 - Hardware and Software Lice...
Source Envelope:
Document Pages: 99                               Signatures: 27                                    Envelope Originator:
Certificate Pages: 5                             Initials: 0                                       Jack Tang
AutoNav: Enabled                                                                                   25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                       Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                                  mhernandez@deltaco.com
                                                                                                   IP Address: 209.234.159.82

Record Tracking
Status: Original                                 Holder: Jack Tang                                 Location: DocuSign
        5/15/2024 11:03:35 AM                              mhernandez@deltaco.com

Signer Events                                    Signature                                         Timestamp
Ernesto Abarro                                                                                     Sent: 5/15/2024 11:31:46 AM
eabarro@newportdel.com                                                                             Resent: 5/17/2024 11:37:42 AM
Security Level: Email, Account Authentication                                                      Resent: 5/20/2024 3:41:51 PM
(None)                                                                                             Viewed: 5/21/2024 9:46:28 AM
                                                 Signature Adoption: Drawn on Device
                                                                                                   Signed: 5/21/2024 4:01:19 PM
                                                 Using IP Address: 107.115.41.127


Electronic Record and Signature Disclosure:
   Accepted: 5/15/2024 12:12:42 PM
   ID: 4ba46647-baa6-4041-be08-ec491dba5f2b

Katayoun Aryana                                                                                    Sent: 5/15/2024 11:31:47 AM
karyana@newportdel.com                                                                             Resent: 5/21/2024 4:02:16 PM
Security Level: Email, Account Authentication                                                      Viewed: 5/21/2024 4:02:37 PM
(None)                                                                                             Signed: 5/21/2024 4:02:56 PM
                                                 Signature Adoption: Drawn on Device
                                                 Using IP Address: 12.75.117.78
                                                 Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 5/15/2024 12:04:35 PM
   ID: 9b6cbae2-686a-4771-b69f-6f4677b747d6

Jack Tang                                                                                          Sent: 5/15/2024 11:31:47 AM
jtang@deltaco.com                                                                                  Resent: 5/21/2024 4:04:00 PM
General Counsel                                                                                    Viewed: 5/22/2024 9:50:19 AM
Del Taco LLC                                                                                       Signed: 5/22/2024 9:50:39 AM
                                                 Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(None)                                           Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 5/22/2024 9:50:19 AM
   ID: e69efba3-5d53-49e8-a9ae-eb42512299d4


In Person Signer Events                          Signature                                         Timestamp

Editor Delivery Events                           Status                                            Timestamp

Agent Delivery Events                            Status                                            Timestamp

Intermediary Delivery Events                     Status                                            Timestamp

Certified Delivery Events                        Status                                            Timestamp
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1337Thereof
                                                                  of 1415 Page 1311 of 1376
Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 5/15/2024 11:31:47 AM
Envelope Updated                     Security Checked                 5/17/2024 11:35:50 AM
Envelope Updated                     Security Checked                 5/17/2024 11:35:50 AM
Certified Delivered                  Security Checked                 5/22/2024 9:50:19 AM
Signing Complete                     Security Checked                 5/22/2024 9:50:39 AM
Completed                            Security Checked                 5/22/2024 9:50:39 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Katayoun Aryana, Jack Tang
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          1338Thereof
                                                                of 1415 Page 1312 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1339Thereof
                                                      of 1415 Page 1313 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1340Thereof
                                                      of 1415 Page 1314 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1341Thereof
                                                      of 1415 Page 1315 of 1376




                  Exhibit S
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1342Thereof
                                                                 of 1415 Page 1316 of 1376



                                FIRST AMENDMENT TO FRANCHISE AGREEMENT

                   Del Taco LLC (“Del Taco”) and Newport Ventures, LLC (the “Franchisee”) enter into this
            First Amendment to Franchise Agreement (this “Amendment”) as of October 4, 2023 (the
            “Effective Date”).

                                                         WITNESSETH:

                    Whereas, Del Taco and the Franchisee have entered into the Franchise Agreements set
            forth on the attached Exhibit A for the operation of Del Taco restaurants (the “Units”); and

                   Whereas, Del Taco and the Franchisee wish to modify and/or add certain provisions to the
            Franchise Agreements, as set forth below:

                    1.      Assignment, Condition and Limitations. The Franchise Agreements provide that
            upon the assignment of each of the Franchise Agreements to an assignee, a transfer fee of $5,000
            shall be due to Del Taco upon the transfer of the Franchise Agreements and Units.

                    2.      Del Taco and Franchisee have agreed to defer the payment of the total transfer fees
            of $90,000 (“Transfer Fee”) to 90 days following the date of the transfer of the Units. The payment
            of the Transfer Fee shall be in accordance with the Promissory Note and Guaranty and Assumption
            of Obligations attached as Exhibit B of this Amendment.

                    3.    Other Terms. Except as modified by this Amendment, all of the terms of the
            Franchise Agreement shall remain in full force and effect.

                     4.      Release. The Franchisee, on behalf of themselves and their heirs, successors and
            assigns, hereby release and discharge any and all liabilities, obligations or claims, whether known or
            unknown, vested or contingent, including without limitation, any claimed violation or breach of the
            Franchise Agreement or Federal or state laws, including franchise investment laws, against Del Taco,
            and its parents and affiliates, and their respective subsidiaries, officers, directors, limited liability
            company managers, employees, agents subsidiaries or affiliates, and any and all of their respective
            representatives. The Franchisees realize the facts as presently known or understood to exist with
            respect to any known or unknown claims the Franchisees may have against the above may, in fact,
            be either incorrect or incomplete, or both. Notwithstanding such possibility, the Franchisees freely
            enter into this Agreement and assume all risks of any such possibility and waive any rights whatsoever
            to attack the validity and finality of this Agreement even if the present knowledge and understanding
            of the facts on the part of the Franchisees is in any way incorrect. The Franchisees expressly waive
            any and all rights and benefits against Del Taco conferred upon them by the provisions of Section
            1542 of the California Civil Code. Section 1542 of the California Civil Code reads as follows:

                             "A general release does not extend to claims that the creditor or releasing party
                             does not know or suspect to exist in his or her favor at the time of executing the
                             release and that, if known by him or her, would have materially affected his or
                             her settlement with the debtor or released party."
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1343Thereof
                                                                 of 1415 Page 1317 of 1376




                                             [SIGNATURE PAGE FOLLOWS]



                    Executed and delivered as of the day and year first set forth above.

            FRANCHISOR:                                      DEL TACO LLC


                                                             By: ______________________________
                                                                 Jack Tang
                                                                 Vice President & General Counsel


            FRANCHISEE:                                       NEWPORT VENTURES, LLC


                                                             By:
                                                                   Katayoun Aryana
                                                                   Member

                                                             By: Techno Industries Inc
                                                             Its President & CEO

                                                               ___________________________________
                                                                Ernesto Abarro


                                                                     10/4/2023
                                                             Date:
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1344Thereof
                                                                 of 1415 Page 1318 of 1376


                                                             EXHIBIT A


                                               Units               Licensed Restaurant
                                                                        Location


                                                 738                 7506 Parkway Drive
                                                                     Lonetree, CO 80124
                                                 748              1645 Space Center Drive
                                                                 Colorado Springs, CO 80915

                                                 778             24023 East Prospect Avenue
                                                                     Aurora, CO 80016

                                                 787              50 West Belleview Avenue
                                                                    Englewood, CO 80110

                                                 793             5240 South Wadsworth Blvd
                                                                    Lakewood, CO 80123

                                                 863               570 East Bromley Lane
                                                                    Brighton, CO 80601

                                                 864              14400 East Colfax Avenue
                                                                     Aurora, CO 80011

                                                1001              11053 I-25 Frontage Road
                                                                    Firestone, CO 80504

                                                1002               3465 North Salida Street
                                                                     Aurora, CO 80011

                                                1025              8100 East 49th Ave Pkwy
                                                                     Denver, CO 80239

                                                1034                  2913 23rd Ave.
                                                                     Greeley, CO 80631

                                                1043             11155 East Arapahoe Place
                                                                   Centennial, CO 80015

                                                1047               18260 East 104th Ave.
                                                                  Commerce City, CO 80022

                                                1073               4310 N. Academy Blvd.
                                                                Colorado Springs, CO 80918

                                                1086               11147 Pikes Peak Drive
                                                                     Parker, CO 80138

                                                1109                 43 Union Boulevard
                                                                    Lakewood, CO 80228
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1345Thereof
                                                                 of 1415 Page 1319 of 1376


                                                1117           8020 N. Academy Blvd
                                                             Colorado Springs, CO 80920

                                                1237          6383 Promenade Parkway
                                                               Castle Rock, CO 80108
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1346Thereof
                                                                 of 1415 Page 1320 of 1376


                                                             EXHIBIT B
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1347Thereof
                                                                  of 1415 Page 1321 of 1376

Certificate Of Completion
Envelope Id: B132E2787F8B40D8B9CC5CF794AD6ABB                                                       Status: Completed
Subject: Complete with DocuSign: Note Guaranty - Aryana and Abarro1 (2023-10-02) clean.docx, Note Guaran...
Source Envelope:
Document Pages: 22                                Signatures: 14                                    Envelope Originator:
Certificate Pages: 5                              Initials: 0                                       Jack Tang
AutoNav: Enabled                                                                                    25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                        Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                                   mhernandez@deltaco.com
                                                                                                    IP Address: 209.234.159.82

Record Tracking
Status: Original                                  Holder: Jack Tang                                 Location: DocuSign
        10/4/2023 8:37:10 AM                                mhernandez@deltaco.com

Signer Events                                     Signature                                         Timestamp
Ernesto Abarro                                                                                      Sent: 10/4/2023 8:51:47 AM
ernieabarro@gmail.com                                                                               Viewed: 10/4/2023 8:57:14 AM
Security Level: Email, Account Authentication                                                       Signed: 10/4/2023 8:58:28 AM
(None)
                                                  Signature Adoption: Pre-selected Style
                                                  Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 8:57:14 AM
   ID: 3ccbc32d-1e7b-4ccd-84ae-0d0e5620a004

Jack Tang                                                                                           Sent: 10/4/2023 8:51:49 AM
jtang@deltaco.com                                                                                   Resent: 10/4/2023 9:07:33 AM
General Counsel                                                                                     Viewed: 10/4/2023 9:42:12 AM
Del Taco LLC                                                                                        Signed: 10/4/2023 9:42:44 AM
                                                  Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(None)                                            Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 9:42:12 AM
   ID: df2f93b2-e377-4a02-a1fe-d2994a12b2ee

Katayoun Aryana                                                                                     Sent: 10/4/2023 8:51:48 AM
kathy.aryana@gmail.com                                                                              Viewed: 10/4/2023 8:56:02 AM
Security Level: Email, Account Authentication                                                       Signed: 10/4/2023 8:56:38 AM
(None)
                                                  Signature Adoption: Drawn on Device
                                                  Using IP Address: 108.147.94.107
                                                  Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 8:56:02 AM
   ID: b5d18fa6-c292-4921-b305-3e21414214f0

Shahvand Aryana                                                                                     Sent: 10/4/2023 8:51:49 AM
aryana613@gmail.com                                                                                 Viewed: 10/4/2023 8:54:50 AM
Security Level: Email, Account Authentication                                                       Signed: 10/4/2023 8:55:32 AM
(None)
                                                  Signature Adoption: Drawn on Device
                                                  Using IP Address: 104.28.50.165
                                                  Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 8:54:50 AM
   ID: 6f16f902-6516-49ed-b787-d609a241ea38
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1348Thereof
                                                                  of 1415 Page 1322 of 1376
In Person Signer Events              Signature                        Timestamp

Editor Delivery Events               Status                           Timestamp

Agent Delivery Events                Status                           Timestamp

Intermediary Delivery Events         Status                           Timestamp

Certified Delivery Events            Status                           Timestamp

Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 10/4/2023 8:51:49 AM
Certified Delivered                  Security Checked                 10/4/2023 8:54:50 AM
Signing Complete                     Security Checked                 10/4/2023 8:55:32 AM
Completed                            Security Checked                 10/4/2023 9:42:44 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana, Shahvand Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          1349Thereof
                                                                of 1415 Page 1323 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1350Thereof
                                                      of 1415 Page 1324 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1351Thereof
                                                      of 1415 Page 1325 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1352Thereof
                                                      of 1415 Page 1326 of 1376




                  Exhibit T
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1353Thereof
                                                                 of 1415 Page 1327 of 1376


            $125,000.00
            Effective Date: October 4, 2023
            Lake Forest, CA
                                          PROMISSORY NOTE

                   FOR VALUE RECEIVED, the undersigned, NEWPORT VENTURES, LLC , a
            South Dakota limited liability company (“Borrower”), promises to pay without notice or
            demand, to DEL TACO LLC, a California limited liability company, or order (“Lender”), at
            25521 Commercentre Drive, Suite 200, Lake Forest, CA 92630, or to Lender at such
            other place as Lender may from time to time designate in writing to Borrower, the principal
            sum of One Hundred Twenty-Five Thousand Dollars ($125,000.00).                   Borrower
            acknowledges that this Note is being executed and delivered for business purposes.
                  On or before October 4, 2024, Borrower shall pay all outstanding principal to
            Lender (“Due Date”).
                   Borrower reserves the right at any time to prepay all or a portion of the amount due
            under this Promissory Note (the “Note”) without penalty.
                   In the event the payment hereunder is not paid on the Due Date, Lender’s actual
            damages would be impracticable or extremely difficult to determine and the following is a
            reasonable estimate of Lender’s actual damages under such circumstances. In the event
            of a default in payment hereunder:
                    (i)      Borrower agrees to pay to Lender, without notice or demand, as liquidated
                             damages, five percent (5%) of the total amount of the payment due
                             hereunder, which is not paid by the Due Date, and
                    (ii)     In addition to any other remedies available to Lender at law or in equity, and
                             to the maximum extent permitted by law, if this Note shall not be paid in full
                             on or before the Due Date, any amounts remaining outstanding shall
                             thereafter accrue interest at a default rate of 10% until paid in full.
                   Each payment hereunder shall be applied in the following order (a) to liquidated
            damages due to the date such payment is received, (b) to accrued but unpaid interest as
            of the date such payment is received, and (c) the balance to be applied to principal.
                  All amounts to be paid hereon shall be made without deduction, set off or
            counterclaim.
                    It is expressly stipulated and agreed to be the intent of Borrower and Lender at all
            times to comply with applicable law governing the maximum rate or amount of interest
            payable on or in connection with this Note. If the applicable law is ever judicially
            interpreted so as to render usurious any amount called for under this Note or contracted
            for, charged, taken, reserved or received with respect to this Note, or if acceleration of
            the maturity of this Note or if any prepayment by Borrower results in Borrower having paid
            any interest in excess of that permitted by law, then it is Borrower’s and Lender’s express
            intent that all excess amounts theretofore collected by Lender be credited on the principal
            balance of this Note (or, if this Note has been or would thereby be paid in full, refunded
            to Borrower), and the provisions of this Note immediately be deemed reformed and the
            amounts thereafter collectible hereunder and thereunder reduced, without the necessity
            of the execution of any new document, so as to comply with applicable law, but so as to
            permit the recovery of the fullest amount otherwise called for hereunder and thereunder.
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1354Thereof
                                                                 of 1415 Page 1328 of 1376


            Any right to accelerate maturity of this Note does not include the right to accelerate any
            interest which has not otherwise accrued on the date of such acceleration, and Lender
            does not intend to collect any unearned interest in the event of acceleration. All sums
            paid or agreed to be paid to Lender for the use, forbearance or detention of the
            indebtedness evidenced hereby shall, to the extent permitted by applicable law, be
            amortized, prorated, allocated and spread throughout the full term of such indebtedness
            until payment in full so that the rate or amount of interest on account of such indebtedness
            does not exceed the applicable usury ceiling.
                    This Note shall be personally guaranteed by Shahvand Aryana, Katayoun Aryana
            and Ernesto Abarro pursuant to a written guaranty in a form approved by Lender, in its
            sole discretion.

                    Notwithstanding any other provision contained herein, in the event of a sale,
            assignment or other transfer by the undersigned, with or without the consent of Lender,
            and whether voluntary, involuntary or by operation of law, of those certain Franchise
            Agreements between or among the parties hereto and pertaining to the Del Taco
            restaurants referenced above , or if Borrower fails to pay any sum due under this Note,
            or fails to perform any of the terms, covenants or conditions of this Note, or otherwise
            defaults in the performance of its obligations hereunder, under the Franchise
            Agreements, then, in addition to any other rights and remedies available to Lender,
            Lender may declare the entire unpaid principal balance of this Note, with all interest
            thereon, together with all other indebtedness owing from the undersigned to Lender
            represented or arising from any agreement or account between Lender and Borrower, to
            be immediately due and payable, without notice or demand.
                    The failure of Lender to exercise any option or any right to which Lender may be
            entitled shall not constitute a waiver of the right to exercise the option or any right in the
            event of any subsequent default.
                   If any action or proceeding arising out of this Note shall be commenced by either
            Lender or Borrower against the other, the prevailing party shall be entitled to recover from
            the losing party such amount as the court may adjudge to be reasonable costs and
            attorneys’ fees for the services rendered to the party finally prevailing in such action or
            proceeding.
                   Notices from Lender to Borrower shall be deemed given if addressed to Borrower
            at 1500 E. Bethany Home Road, Suite 250, Phoenix, AZ 85014 (or such other address
            as Borrower may designate in writing to Lender), and deposited in the United States Mails
            postage prepaid and certified. Lender or any holder hereof may rely on the foregoing
            address, as the same may be changed pursuant to the foregoing, as being the address
            of the undersigned last known to the holder thereof. The date that any notice is so
            deposited in the United States Mails shall be deemed to be the date that notice is given.

                   This Note is to be construed and enforced according to and governed by, the laws
            of the State of California.

                    This Note may not be changed or terminated orally, but only by an agreement in
            writing properly signed by the parties against whom such change or termination is sought.
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1355Thereof
                                                                 of 1415 Page 1329 of 1376



             BORROWER:

             NEWPORT VENTURE, LLC, a
             South Dakota limited liability company

             By:________________________

             Its:_________________________
                   10/4/2023
DocuSign Envelope ID: B132E278-7F8B-40D8-B9CC-5CF794AD6ABB
           Case
            Case8:24-bk-12738-TA
                 8:24-bk-12738-TA Doc
                                   Doc160-1
                                       267 Filed
                                              Filed02/27/25
                                                     12/11/24 Entered
                                                                Entered02/27/25
                                                                        12/11/2416:15:49
                                                                                 08:22:36 Desc
                                                                                           Desc
                Memorandum of Points
                                  Main
                                     and
                                       Document
                                         Authorities In
                                                      Page
                                                        Support
                                                           1356Thereof
                                                                 of 1415 Page 1330 of 1376
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1357Thereof
                                                                  of 1415 Page 1331 of 1376

Certificate Of Completion
Envelope Id: B132E2787F8B40D8B9CC5CF794AD6ABB                                                       Status: Completed
Subject: Complete with DocuSign: Note Guaranty - Aryana and Abarro1 (2023-10-02) clean.docx, Note Guaran...
Source Envelope:
Document Pages: 22                                Signatures: 14                                    Envelope Originator:
Certificate Pages: 5                              Initials: 0                                       Jack Tang
AutoNav: Enabled                                                                                    25521 Commercentre drive Suite 200
EnvelopeId Stamping: Enabled                                                                        Lake Forest, CA 92630
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                                   mhernandez@deltaco.com
                                                                                                    IP Address: 209.234.159.82

Record Tracking
Status: Original                                  Holder: Jack Tang                                 Location: DocuSign
        10/4/2023 8:37:10 AM                                mhernandez@deltaco.com

Signer Events                                     Signature                                         Timestamp
Ernesto Abarro                                                                                      Sent: 10/4/2023 8:51:47 AM
ernieabarro@gmail.com                                                                               Viewed: 10/4/2023 8:57:14 AM
Security Level: Email, Account Authentication                                                       Signed: 10/4/2023 8:58:28 AM
(None)
                                                  Signature Adoption: Pre-selected Style
                                                  Using IP Address: 50.225.0.130


Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 8:57:14 AM
   ID: 3ccbc32d-1e7b-4ccd-84ae-0d0e5620a004

Jack Tang                                                                                           Sent: 10/4/2023 8:51:49 AM
jtang@deltaco.com                                                                                   Resent: 10/4/2023 9:07:33 AM
General Counsel                                                                                     Viewed: 10/4/2023 9:42:12 AM
Del Taco LLC                                                                                        Signed: 10/4/2023 9:42:44 AM
                                                  Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(None)                                            Using IP Address: 209.234.159.82


Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 9:42:12 AM
   ID: df2f93b2-e377-4a02-a1fe-d2994a12b2ee

Katayoun Aryana                                                                                     Sent: 10/4/2023 8:51:48 AM
kathy.aryana@gmail.com                                                                              Viewed: 10/4/2023 8:56:02 AM
Security Level: Email, Account Authentication                                                       Signed: 10/4/2023 8:56:38 AM
(None)
                                                  Signature Adoption: Drawn on Device
                                                  Using IP Address: 108.147.94.107
                                                  Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 8:56:02 AM
   ID: b5d18fa6-c292-4921-b305-3e21414214f0

Shahvand Aryana                                                                                     Sent: 10/4/2023 8:51:49 AM
aryana613@gmail.com                                                                                 Viewed: 10/4/2023 8:54:50 AM
Security Level: Email, Account Authentication                                                       Signed: 10/4/2023 8:55:32 AM
(None)
                                                  Signature Adoption: Drawn on Device
                                                  Using IP Address: 104.28.50.165
                                                  Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 10/4/2023 8:54:50 AM
   ID: 6f16f902-6516-49ed-b787-d609a241ea38
            Case
             Case8:24-bk-12738-TA
                  8:24-bk-12738-TA Doc
                                    Doc160-1
                                        267 Filed
                                               Filed02/27/25
                                                      12/11/24 Entered
                                                                 Entered02/27/25
                                                                         12/11/2416:15:49
                                                                                  08:22:36 Desc
                                                                                            Desc
                 Memorandum of Points
                                   Main
                                      and
                                        Document
                                          Authorities In
                                                       Page
                                                         Support
                                                            1358Thereof
                                                                  of 1415 Page 1332 of 1376
In Person Signer Events              Signature                        Timestamp

Editor Delivery Events               Status                           Timestamp

Agent Delivery Events                Status                           Timestamp

Intermediary Delivery Events         Status                           Timestamp

Certified Delivery Events            Status                           Timestamp

Carbon Copy Events                   Status                           Timestamp

Witness Events                       Signature                        Timestamp

Notary Events                        Signature                        Timestamp

Envelope Summary Events              Status                           Timestamps
Envelope Sent                        Hashed/Encrypted                 10/4/2023 8:51:49 AM
Certified Delivered                  Security Checked                 10/4/2023 8:54:50 AM
Signing Complete                     Security Checked                 10/4/2023 8:55:32 AM
Completed                            Security Checked                 10/4/2023 9:42:44 AM

Payment Events                       Status                           Timestamps
Electronic Record and Signature Disclosure
Electronic Record and Signature Disclosure created on: 1/10/2021 12:05:45 PM
          Case
           Case8:24-bk-12738-TA
                8:24-bk-12738-TA Doc
                                  Doc160-1
                                      267 Filed
                                             Filed02/27/25
                                                    12/11/24 Entered
                                                               Entered02/27/25
                                                                       12/11/2416:15:49
                                                                                08:22:36 Desc
                                                                                          Desc
Parties agreed to: Ernesto Abarro, Jack Tang, Katayoun Aryana, Shahvand Aryana
               Memorandum of Points
                                 Main
                                    and
                                      Document
                                        Authorities In
                                                     Page
                                                       Support
                                                          1359Thereof
                                                                of 1415 Page 1333 of 1376



            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE

            From time to time, Del Taco LLC (we, us or Company) may be required by law to provide to
            you certain written notices or disclosures. Described below are the terms and conditions for
            providing to you such notices and disclosures electronically through the DocuSign system.
            Please read the information below carefully and thoroughly, and if you can access this
            information electronically to your satisfaction and agree to this Electronic Record and Signature
            Disclosure (ERSD), please confirm your agreement by selecting the check-box next to ‘I agree to
            use electronic records and signatures’ before clicking ‘CONTINUE’ within the DocuSign
            system.


            Getting paper copies

            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after the signing session and, if you
            elect to create a DocuSign account, you may access the documents for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.


            Withdrawing your consent

            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.


            Consequences of changing your mind

            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. Further, you will no longer be able to use the DocuSign system to
            receive required notices and consents electronically from us or to sign electronically documents
            from us.


            All notices and disclosures will be sent to you electronically
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1360Thereof
                                                      of 1415 Page 1334 of 1376



 Unless you tell us otherwise in accordance with the procedures described herein, we will provide
 electronically to you through the DocuSign system all required notices, disclosures,
 authorizations, acknowledgements, and other documents that are required to be provided or made
 available to you during the course of our relationship with you. To reduce the chance of you
 inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
 notices and disclosures to you by the same method and to the same address that you have given
 us. Thus, you can receive all the disclosures and notices electronically or in paper format through
 the paper mail delivery system. If you do not agree with this process, please let us know as
 described below. Please also see the paragraph immediately above that describes the
 consequences of your electing not to receive delivery of the notices and disclosures
 electronically from us.


 How to contact Del Taco LLC:

 You may contact us to let us know of your changes as to how we may contact you electronically,
 to request paper copies of certain information from us, and to withdraw your prior consent to
 receive notices and disclosures electronically as follows:
 To contact us by email send messages to: mhernandez@deltaco.com


 To advise Del Taco LLC of your new email address

 To let us know of a change in your email address where we should send notices and disclosures
 electronically to you, you must send an email message to us at mhernandez@deltaco.com and in
 the body of such request you must state: your previous email address, your new email
 address. We do not require any other information from you to change your email address.

 If you created a DocuSign account, you may update it with your new email address through your
 account preferences.


 To request paper copies from Del Taco LLC

 To request delivery from us of paper copies of the notices and disclosures previously provided
 by us to you electronically, you must send us an email to mhernandez@deltaco.com and in the
 body of such request you must state your email address, full name, mailing address, and
 telephone number. We will bill you for any fees at that time, if any.


 To withdraw your consent with Del Taco LLC

 To inform us that you no longer wish to receive future notices and disclosures in electronic
 format you may:
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1361Thereof
                                                      of 1415 Page 1335 of 1376



 i. decline to sign a document from within your signing session, and on the subsequent page,
 select the check-box indicating you wish to withdraw your consent, or you may;

 ii. send us an email to mhernandez@deltaco.com and in the body of such request you must state
 your email, full name, mailing address, and telephone number. We do not need any other
 information from you to withdraw consent.. The consequences of your withdrawing consent for
 online documents will be that transactions may take a longer time to process..


 Required hardware and software

 The minimum system requirements for using the DocuSign system may change over time. The
 current system requirements are found here: https://support.docusign.com/guides/signer-guide-
 signing-system-requirements.


 Acknowledging your access and consent to receive and sign documents electronically

 To confirm to us that you can access this information electronically, which will be similar to
 other electronic notices and disclosures that we will provide to you, please confirm that you have
 read this ERSD, and (i) that you are able to print on paper or electronically save this ERSD for
 your future reference and access; or (ii) that you are able to email this ERSD to an email address
 where you will be able to print on paper or save it for your future reference and access. Further,
 if you consent to receiving notices and disclosures exclusively in electronic format as described
 herein, then select the check-box next to ‘I agree to use electronic records and signatures’ before
 clicking ‘CONTINUE’ within the DocuSign system.

 By selecting the check-box next to ‘I agree to use electronic records and signatures’, you confirm
 that:

       You can access and read this Electronic Record and Signature Disclosure; and
       You can print on paper this Electronic Record and Signature Disclosure, or save or send
        this Electronic Record and Disclosure to a location where you can print it, for future
        reference and access; and
       Until or unless you notify Del Taco LLC as described above, you consent to receive
        exclusively through electronic means all notices, disclosures, authorizations,
        acknowledgements, and other documents that are required to be provided or made
        available to you by Del Taco LLC during the course of your relationship with Del Taco
        LLC.
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1362Thereof
                                                      of 1415 Page 1336 of 1376




                 Exhibit U
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1363Thereof
                                                      of 1415 Page 1337 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1364Thereof
                                                      of 1415 Page 1338 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1365Thereof
                                                      of 1415 Page 1339 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1366Thereof
                                                      of 1415 Page 1340 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1367Thereof
                                                      of 1415 Page 1341 of 1376




                 Exhibit V
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1368Thereof
                                                      of 1415 Page 1342 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1369Thereof
                                                      of 1415 Page 1343 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1370Thereof
                                                      of 1415 Page 1344 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1371Thereof
                                                      of 1415 Page 1345 of 1376




                Exhibit W
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1372Thereof
                                                      of 1415 Page 1346 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1373Thereof
                                                      of 1415 Page 1347 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1374Thereof
                                                      of 1415 Page 1348 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1375Thereof
                                                      of 1415 Page 1349 of 1376




                 Exhibit X
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1376Thereof
                                                      of 1415 Page 1350 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1377Thereof
                                                      of 1415 Page 1351 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1378Thereof
                                                      of 1415 Page 1352 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1379Thereof
                                                      of 1415 Page 1353 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1380Thereof
                                                      of 1415 Page 1354 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1381Thereof
                                                      of 1415 Page 1355 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1382Thereof
                                                      of 1415 Page 1356 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1383Thereof
                                                      of 1415 Page 1357 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1384Thereof
                                                      of 1415 Page 1358 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1385Thereof
                                                      of 1415 Page 1359 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1386Thereof
                                                      of 1415 Page 1360 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1387Thereof
                                                      of 1415 Page 1361 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1388Thereof
                                                      of 1415 Page 1362 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1389Thereof
                                                      of 1415 Page 1363 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1390Thereof
                                                      of 1415 Page 1364 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1391Thereof
                                                      of 1415 Page 1365 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1392Thereof
                                                      of 1415 Page 1366 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1393Thereof
                                                      of 1415 Page 1367 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1394Thereof
                                                      of 1415 Page 1368 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1395Thereof
                                                      of 1415 Page 1369 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1396Thereof
                                                      of 1415 Page 1370 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1397Thereof
                                                      of 1415 Page 1371 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1398Thereof
                                                      of 1415 Page 1372 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1399Thereof
                                                      of 1415 Page 1373 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1400Thereof
                                                      of 1415 Page 1374 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1401Thereof
                                                      of 1415 Page 1375 of 1376
Case
 Case8:24-bk-12738-TA
      8:24-bk-12738-TA Doc
                        Doc160-1
                            267 Filed
                                   Filed02/27/25
                                          12/11/24 Entered
                                                     Entered02/27/25
                                                             12/11/2416:15:49
                                                                      08:22:36 Desc
                                                                                Desc
     Memorandum of Points
                       Main
                          and
                            Document
                              Authorities In
                                           Page
                                             Support
                                                1402Thereof
                                                      of 1415 Page 1376 of 1376
       
                 Case
                  Case8:24-bk-12738-TA
                       8:24-bk-12738-TA     Doc
                                             Doc160-2
                                                  267 Filed
                                                         Filed02/27/25
                                                               12/11/24 Entered
                                                                         Entered02/27/25
                                                                                  12/11/2416:15:49
                                                                                           08:22:36 Desc
                                                                                                     Desc
                                DeclarationMain
                                              of Jack
                                                 Document
                                                      tang In Support
                                                               Page 1403
                                                                      Thereof
                                                                          of 1415
                                                                               Page 1 of 5


                        1   Monique D. Jewett-Brewster, State Bar No. 217792
                            mjb@lathropgpm.com
                        2   LATHROP GPM LLP
                            70 South First Street
                        3   San Jose, CA 95113
                            mailing address:
                        4   P.O. Box 1469
                            San Jose, CA 95109-1469
                        5   Telephone: 408.286.9800
                            Facsimile: 408.998.4790
                        6
                            Benjamin C. Struby, MO State Bar No. 56711
                        7   benjamin.struby@lathropgpm.com
                            LATHROP GPM LLP
                        8   2345 Grand Blvd., Suite 2200
                            Kansas City, MO 64108-2618
                        9   Telephone: 816.292.2000
                            (admitted pro hac vice)
                       10

                       11
                            Attorneys for Del Taco LLC, a California limited
                       12   liability company
                       13

                       14                               UNITED STATES BANKRUPTCY COURT

                       15                           FOR THE CENTRAL DISTRICT OF CALIFORNIA

                       16                                         SANTA ANA DIVISION

                       17

                       18   In Re:                                                  Case No. 8:24-bk-12738-TA
                       19   Newport Ventures,                                       Chapter 11
                       20                       Debtor.                             DECLARATION OF JACK TANG IN
                                                                                    SUPPORT OF DEL TACO’S MOTION
                       21                                                           FOR RELIEF FROM THE
                                                                                    AUTOMATIC STAY
                       22
                                                                                    Date:
                       23                                                           Time:
                                                                                    Place:
                       24                                                           Judge:    Hon. Theodor Albert
                       25

                       26            I, Jack Tang, declare as follows:

                       27            1.     I am the Vice President and General Counsel of Del Taco LLC, which is the

                       28   Franchisor for the Debtor Franchised Restaurants. I am the signatory on behalf of Del Taco LLC
L ATHROP GPM LLP
  ATTO RNEY S AT LAW
    K A NSA S C IT Y
                                                                              -1-                                8:24-BK-12738-TA
                            DECLARATION OF JACK TANG IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
        
                  Case
                   Case8:24-bk-12738-TA
                        8:24-bk-12738-TA     Doc
                                              Doc160-2
                                                   267 Filed
                                                          Filed02/27/25
                                                                12/11/24 Entered
                                                                          Entered02/27/25
                                                                                   12/11/2416:15:49
                                                                                            08:22:36 Desc
                                                                                                      Desc
                                 DeclarationMain
                                               of Jack
                                                  Document
                                                       tang In Support
                                                                Page 1404
                                                                       Thereof
                                                                           of 1415
                                                                                Page 2 of 5


                         1     on the Franchise Agreements (as defined below) with the Debtors. As part of my responsibilities,

                         2     I have become familiar with the Franchise Agreements and the termination of the Franchise

                         3     Agreements with the Debtor. Except as to those matters stated upon information and belief, I have

                         4     personal knowledge of the matters set forth in this declaration based upon my personal review of

                         5     Newport Ventures business records. If called upon to do so, I could and would competently

                         6     testify thereto.

                         7             2.         I make this declaration in support of Del Taco’s Motion for Relief from the

                         8     Automatic Stay (“Motion”) relating to the terminated Franchise Agreements and Conditional

                         9     Temporary License.

                      10               3.         Del Taco LLC (“Del Taco”) is a nationally recognized chain of restaurants and Del

                      11       Taco’s brand and image are key to the overall value and success of the Del Taco franchise

                      12       system.

                      13               4.         Del Taco offers qualified, independent businesspersons the opportunity to operate

                      14       Del Taco franchised businesses (“Del Taco Restaurants” or “Franchised Restaurants”) in

                      15       specific geographic areas. Del Taco Restaurants offer quick service, fast casual dining to the

                      16       general public serving Del Taco food and beverage products through a uniform menu featuring
                      17       primarily Mexican-American foods like tacos and burritos, along with burgers, shakes, French

                      18       fries, breakfast items, soft drinks, and similar food and beverage items.

                      19               5.         Del Taco’s brand and image are based principally on the use of certain trademarks

                      20       (the “Proprietary Marks”) and proprietary system for establishing and operating restaurant

                      21       businesses (the “System”) that Del Taco owns and licenses to authorized franchisees.

                      22               6.         Del Taco spends substantial sums for advertising and promotion of the Proprietary

                      23       Marks, which are widely recognized and contain a substantial amount of goodwill and consumer

                      24       association.

                      25               7.         On September 29, 2023, Newport Ventures, LLC (the “Debtor” or “Franchisee”)

                      26       entered into a franchise agreement with Del Taco for operation of one (1) Del Taco Restaurant
                      27       located in Colorado (the “First Franchise Agreement”). On September 29, 2023, the Debtor

                      28       and Del Taco entered into an additional seventeen (17) franchise agreements (the “Second
L ATHROP GPM LLP
   ATTO RNEY S AT LAW                                                            -2-                                8:24-BK-12738-TA
SAN JO SE  R EDW OOD CIT Y
                              DECLARATION OF JACK TANG IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
        
                  Case
                   Case8:24-bk-12738-TA
                        8:24-bk-12738-TA     Doc
                                              Doc160-2
                                                   267 Filed
                                                          Filed02/27/25
                                                                12/11/24 Entered
                                                                          Entered02/27/25
                                                                                   12/11/2416:15:49
                                                                                            08:22:36 Desc
                                                                                                      Desc
                                 DeclarationMain
                                               of Jack
                                                  Document
                                                       tang In Support
                                                                Page 1405
                                                                       Thereof
                                                                           of 1415
                                                                                Page 3 of 5


                         1     Franchise Agreements”) for operation of seventeen (17) Del Taco Restaurants located in

                         2     Colorado. The First Franchise Agreement and the Second Franchise Agreements were amended

                         3     by the parties pursuant to an October 4, 2023 First Amended Franchise Agreement (together with

                         4     the First Franchise Agreement and the Second Franchise Agreements, the “Franchise

                         5     Agreements”). On May 22, 2024, the Debtor entered into a Franchise Renewal Agreement for

                         6     Store Number 738. The Franchise Agreements contain all of the same terms, with different

                         7     attachments identifying the specific location of each franchise and the expiration date of each

                         8     particular franchise agreement. Attached as Exhibits A – S are copies of the Franchise

                         9     Agreements, which are incorporated by this reference.

                      10              8.      On October 4, 2023, in conjunction with the Franchise Agreements, the Debtor

                      11       executed a promissory note in favor of Del Taco in the amount of $125,000 (the “Promissory

                      12       Note”). The Promissory Note was personally guaranteed by Shahvand Aryana, Katayoun Aryana

                      13       and Ernesto Abarro. Attached as Exhibit T, is a copy of the Promissory Note, which is

                      14       incorporated by this reference. The due date of the Promissory Note was October 4, 2024.

                      15              9.      The Franchise Agreements were terminated pre-petition pursuant to Del Taco’s

                      16       Notice of Termination and Grant of Conditional Temporary License provided to the Debtors on
                      17       October 21, 2024 (the “Termination Notice”). Attached as Exhibit U is a copy of the

                      18       Termination Notice, which is incorporated by this reference.

                      19              10.     The Franchise Agreements afford Del Taco with near absolute discretion to act in

                      20       a unilateral manner to ensure the Proprietary Marks, System and brand image remain intact.

                      21              11.     In the event of Default, the Franchise Agreements offer Del Taco discretion to

                      22       terminate the Franchise Agreements.

                      23              12.     In the event of termination of the Franchise Agreements, Del Taco is afforded

                      24       important rights wherein Del Taco can step into the shoes of the Debtors on the leases and

                      25       purchase the Debtor’s equipment, furnishings, supplies, and other products.

                      26              13.     On October 2, 2024, Del Taco provided written notice of Debtor’s Default and
                      27       Demand for Verification of Payments to Third Parties (“First Default Letter”) (See Exhibit V).

                      28       The Debtor failed to cure the defaults outlined in the First Default Letter.
L ATHROP GPM LLP
   ATTO RNEY S AT LAW                                                           -3-                                8:24-BK-12738-TA
SAN JO SE  R EDW OOD CIT Y
                              DECLARATION OF JACK TANG IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
        
                  Case
                   Case8:24-bk-12738-TA
                        8:24-bk-12738-TA     Doc
                                              Doc160-2
                                                   267 Filed
                                                          Filed02/27/25
                                                                12/11/24 Entered
                                                                          Entered02/27/25
                                                                                   12/11/2416:15:49
                                                                                            08:22:36 Desc
                                                                                                      Desc
                                 DeclarationMain
                                               of Jack
                                                  Document
                                                       tang In Support
                                                                Page 1406
                                                                       Thereof
                                                                           of 1415
                                                                                Page 4 of 5


                         1            14.     On October 14, 2024, Del Taco provided written notice of Debtor’s Defaults under

                         2     the Franchise Agreement. (“Second Default Letter”) (See Exhibit W). The Debtor failed to cure

                         3     the defaults outlined in the Second Default Letter.

                         4            15.     On October 21, 2024 Del Taco delivered the Termination Notice, which granted a

                         5     conditional temporary license to the Debtor that is set to expire on December 20, 2024. (See

                         6     Exhibit U).

                         7            16.     The Termination Notice referenced the Second Default Letter, specifically the

                         8     Debtor’s default of the Franchise Agreements (Paragraph 13.2.18) for, among other things, failure

                         9     to make payments to Del Taco when due, by not paying any amounts due to Del Taco under the

                      10       Promissory Note. The Debtor failed to pay the full amount of $125,000 due under the Promissory

                      11       Note by October 17, 2024 to Del Taco. Accordingly, the Franchise Agreements were thereby

                      12       terminated as of the date of the Termination Notice, having a termination date of October 21,

                      13       2024 (“Termination Date”).

                      14              17.     For the parties to assess the next steps regarding the Franchised Restaurants, and to

                      15       permit an orderly turnover of those Del Taco Restaurants and the assets of those Franchised

                      16       Restaurants to Del Taco or a third party, Del Taco granted the Debtor a conditional temporary
                      17       license to continue operating the Del Taco Restaurants (the “Conditional Temporary License”),

                      18       on specified terms ("Temporary License Terms"). (See Exhibit U).

                      19              18.     Pursuant to various guarantees, the Guarantors of the Debtor agreed to guarantee

                      20       and be bound by Franchisee's obligations under the Franchise Agreements.

                      21              19.     The administrative requirements of a franchisee are provided in detail in the

                      22       franchise agreements. Every franchisee is aware of these requirements prior to agreement.

                      23              I declare under penalty of perjury under the laws of the United States that the foregoing is

                      24       true and correct and that this declaration was executed on December __, 2024, at Fountain Valley,

                      25       California.

                      26                                                                /s/ Jack Tang
                                                                                        Jack Tang
                      27

                      28
L ATHROP GPM LLP
   ATTO RNEY S AT LAW                                                           -4-                                8:24-BK-12738-TA
SAN JO SE  R EDW OOD CIT Y
                              DECLARATION OF JACK TANG IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
        
                  Case
                   Case8:24-bk-12738-TA
                        8:24-bk-12738-TA     Doc
                                              Doc160-2
                                                   267 Filed
                                                          Filed02/27/25
                                                                12/11/24 Entered
                                                                          Entered02/27/25
                                                                                   12/11/2416:15:49
                                                                                            08:22:36 Desc
                                                                                                      Desc
                                 DeclarationMain
                                               of Jack
                                                  Document
                                                       tang In Support
                                                                Page 1407
                                                                       Thereof
                                                                           of 1415
                                                                                Page 5 of 5


                         1

                         2
                                                   COUNSEL DECLARATION OF ORAL VERIFICATION
                         3
                                      In compliance with LBR 9011-1(b)(4)(B)(i), I declare, under penalties of perjury under
                         4
                               the laws of the United States, that I have obtained oral verification from declarant Jack Tang that
                         5
                               they intended to sign this document electronically.
                         6
                                                                                       /s/ Benjamin C. Struby
                         7
                                                                                       Benjamin C. Struby
                         8

                         9

                      10

                      11

                      12

                      13

                      14

                      15

                      16
                      17

                      18

                      19

                      20

                      21

                      22

                      23

                      24

                      25

                      26
                      27

                      28
L ATHROP GPM LLP
   ATTO RNEY S AT LAW                                                           -5-                                8:24-BK-12738-TA
SAN JO SE  R EDW OOD CIT Y
                              DECLARATION OF JACK TANG IN SUPPORT OF DEL TACO’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 8:24-bk-12738-TA    Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49   Desc
                        Main Document   Page 1408 of 1415




               Exhibit B
Case 8:24-bk-12738-TA    Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49   Desc
                        Main Document   Page 1409 of 1415
Case 8:24-bk-12738-TA    Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49   Desc
                        Main Document   Page 1410 of 1415
Case 8:24-bk-12738-TA    Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49   Desc
                        Main Document   Page 1411 of 1415




               Exhibit C
                  Case 8:24-bk-12738-TA             Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                 Desc
                                                   Main Document   Page 1412 of 1415


                          1    Monique D. Jewett-Brewster, State Bar No. 217792
                               mjb@lathropgpm.com
                          2    LATHROP GPM LLP
                               70 South First Street
                          3    San Jose, CA 95113
                               mailing address:
                          4    P.O. Box 1469
                               San Jose, CA 95109-1469
                          5    Telephone: 408.286.9800
                               Facsimile: 408.998.4790
                          6
                               Benjamin C. Struby, MO State Bar No. 56711
                          7    benjamin.struby@lathropgpm.com
                               LATHROP GPM LLP
                          8    2345 Grand Blvd., Suite 2200
                               Kansas City, MO 64108-2618
                          9    Telephone: 816.292.2000
                               (admitted pro hac vice)
                     10
                               Attorneys for Del Taco LLC, a California limited
                     11        liability company

                     12

                     13                                 UNITED STATES BANKRUPTCY COURT

                     14                                   CENTRAL DISTRICT OF CALIFORNIA

                     15                                           SANTA ANA DIVISION
                     16

                     17        In re:                                               Case No. 8:24-bk-12738-TA
                                                                                    Chapter 11
                     18        Newport Ventures LLC

                     19                                                             DECLARATION OF BENJAMIN
                                                                                    STRUBY IN SUPPORT OF
                     20                                                             APPLICATION FOR ORDER
                                                                                    SHORTENING TIME FOR
                     21                                                             EMERGENCY HEARING ON
                                                                                    RENEWED MOTION FOR RELIEF
                     22                                                             FROM THE AUTOMATIC STAY

                     23
                                                                                    Date: TBD
                     24                                                             Time: __:__ _.m.
                                                                                    Place: Via ZoomGov Video and Audio
                     25                                                             Judge: Hon. Theodor Albert

                     26

                     27

                     28
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                       -1-                                 8:24-bk-12738-TA
                              DECLARATION OF BENJAMIN STRUBY IN SUPPORT OF APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY
                              HEARING ON RENEWED MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                  Case 8:24-bk-12738-TA            Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                  Desc
                                                  Main Document   Page 1413 of 1415


                          1

                          2          I, Benjamin Struby, declare as follows:

                          3          1.      I am an attorney and partner with the firm Lathrop GPM LLP, counsel for Del

                          4   Taco LLC (“Del Taco”) in this proceeding.

                          5          2.      The statements made in Del Taco’s Application for Order Shortening Time for

                          6   Emergency Hearing on a Renewed Motion for Relief from the Automatic Stay are true and

                          7   correct to the best of my knowledge, information, and belief.

                          8          3.      On February 27, 2025 at 1:01 a.m. PST, the Allen Song, the court appointed Chief

                          9   Restructuring Officer, informed Del Taco via email that he was closing the Restaurants effective

                     10       that day:

                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23              4.      On February 27, 2025, the CRO and/or the Debtor caused the following

                     24       communication to be distributed to employees at the Restaurants, advising them that their

                     25       position are eliminated as of the end of the work day on February 27, 2025:

                     26

                     27

                     28
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                        -2-                                8:24-bk-12738-TA
                               DECLARATION OF JACK TANG IN SUPPORT OF APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON
                               RENEWED MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                  Case 8:24-bk-12738-TA             Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                 Desc
                                                   Main Document   Page 1414 of 1415


                          1

                          2

                          3

                          4

                          5

                          6

                          7

                          8

                          9

                     10

                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18              5.      On February 27, 2025, the following notice was to be posted at the eighteen (18)

                     19       restaurants (the “Restaurants”) at issue in this case:

                     20

                     21

                     22

                     23

                     24

                     25

                     26              6.      On February 26, 2025, the CRO instructed employees to disposed of food at the

                     27       Restaurants. Furthermore, the food vendor for the Restaurants has informed counsel for Del Taco

                     28       that is was ceasing deliveries.
LATHROP GPM LLP
  ATTORNEYS AT LAW
SAN JOSE  REDWOOD CITY                                                       -3-                                 8:24-bk-12738-TA
                               DECLARATION OF JACK TANG IN SUPPORT OF APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON
                               RENEWED MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                 Case 8:24-bk-12738-TA            Doc 267 Filed 02/27/25 Entered 02/27/25 16:15:49                  Desc
                                                 Main Document   Page 1415 of 1415


                         1          I declare under penalty of perjury under the laws of the United States that the foregoing is

                         2   true and correct and that this declaration was executed on February 27, 2025, at Kansas City,
                         3   Jackson County, Missouri.
                         4
                         5

                         6

                         7

                         8

                         9
                     10

                     11

                     12
                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
LATHROP GPM LLP
  ATTORNEYS AT LAW

SAN JOE ' REDWOOD CITY                                                       -4-                                 8:24-bk-12738-TA
                              DECLARATION OF JACK TANG IN SUPPORT OF APPLICATION FOR ORDER SHORTENING TIME FOR EMERGENCY HEARING ON
                              RENEWED MOTION FOR RELIEF FROM THE AUTOMATIC STAY
